Case 19-40883           Doc 119        Filed 02/20/19 Entered 02/20/19 13:49:44                    Main Document
                                                    Pg 1 of 57


                                 UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF MISSOURI
                                         EASTERN DIVISION

 In re:                                                  )    Case No. 19-40883-659
                                                         )    Chapter 11
 PAYLESS HOLDINGS LLC, et al.,                           )
                                                         )
                                                         )    Jointly Administered
                              Debtors.                   )
                                                         )    Related Docket No.: 24

           INTERIM ORDER (I) AUTHORIZING THE DEBTORS TO ASSUME THE
          CONSULTING AGREEMENT, (II) APPROVING PROCEDURES FOR STORE
                CLOSING SALES AND (III) GRANTING RELATED RELIEF

            Upon the motion (the “Motion”)1 of the above-captioned debtors and debtors in

 possession (collectively, the “Debtors”) for entry of an interim order (this “Interim Order”),

 (i) authorizing, but not directing, the Debtors to assume the Consulting Agreement,

 (ii) authorizing and approving the Store Closing Procedures, with such sales to be free and clear

 of all liens, claims, and encumbrances, and (iii) granting related relief; and upon the First Day

 Declaration and the Malfitano Declaration; all as more fully set forth in the Motion; and the

 Court having found that it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

 1334 and Rule 81-9.01(B)(1) of the Local Rules of the United States District Court for the

 Eastern District of Missouri; and the Court having found that this is a core proceeding pursuant

 to 28 U.S.C. § 157(b)(2); and the Court having found that venue of this proceeding and the

 Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

 found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were

 appropriate under the circumstances and no other notice need be provided; and the Court having

 reviewed the Motion and having heard the statements in support of the relief requested therein at



 1
     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
Case 19-40883       Doc 119       Filed 02/20/19 Entered 02/20/19 13:49:44          Main Document
                                               Pg 2 of 57


 a hearing before this Court (the “Hearing”); and the Court having determined that the legal and

 factual bases set forth in the Motion and at the Hearing establish just cause for the relief granted

 herein; and upon all of the proceedings had before the Court and after due deliberation and

 sufficient cause appearing therefore:

 THE COURT HEREBY FINDS AND DETERMINES THAT:

         A.      The findings and conclusions set forth herein constitute the Court’s findings of

 fact and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to this

 proceeding pursuant to Bankruptcy Rule 9014. To the extent that any of the following findings

 of fact constitute conclusions of law, they are adopted as such. To the extent any of the

 following conclusions of law constitute findings of fact, they are adopted as such.

         B.      The Debtors have advanced sound business reasons for seeking to assume the

 Consulting Agreement and adopt the Store Closing Procedures, on an interim basis subject to the

 Final Hearing, as set forth in the Motion and at the Hearing, and entering into the Consulting

 Agreement is a reasonable exercise of the Debtors’ business judgment and in the best interests of

 the Debtors and their estates.

         C.      The conduct of the Store Closings, in accordance with the Store Closing

 Procedures and with the assistance of the Consultant, will provide an efficient means for the

 Debtors to dispose of the Store Closure Assets as quickly and effectively as possible, and are in

 the best interest of the Debtors’ estates.

         D.      The Consulting Agreement was negotiated, proposed, and entered into by the

 Consultant and the Debtors without collusion, in good faith, and from arm’s-length bargaining

 positions.




                                                  2
Case 19-40883       Doc 119      Filed 02/20/19 Entered 02/20/19 13:49:44             Main Document
                                              Pg 3 of 57


         E.      The assumption of the Consulting Agreement on an interim basis is a sound

 exercise of the Debtors’ business judgment.

         F.      The Resolution Procedures are fair and reasonable, and comply with applicable

 law.

         G.      The Debtors have represented that, pursuant to the Motion, they are not seeking to

 either sell or lease personally identifiable information during the course of the Store Closings at

 the Stores; provided, however, that the Consultant will be authorized to distribute emails and

 promotional materials to the Debtors’ customers consistent with the Debtors’ existing policies on

 the use of consumer information.

         H.      The relief set forth herein is necessary to avoid immediate and irreparable harm to

 the Debtors and their estates, and the Debtors have demonstrated good, sufficient, and sound

 business purposes and justifications for the relief approved herein.

         I.      The entry of this Interim Order is in the best interest of the Debtors and their

 estates, creditors, and interest holders and all other parties in interest herein.

 IT IS HEREBY ORDERED THAT:

         1.      The Motion is granted on an interim basis as provided herein.

         2.      The final hearing (the “Final Hearing”) on the Motion shall be held on March 14,

 2019 at 10:00 a.m., prevailing Central Time, in Courtroom 7-North. Any objections or

 responses to entry of a final order on the Motion (the “Final Order”) shall be filed on or before

 4:00 p.m., prevailing Central Time, on March 7, 2019, and shall be served on: (a) the

 Debtors, 3231 SE 6th Avenue, Topeka, KS 66607; (b) proposed counsel to the Debtors (i) Akin

 Gump Strauss Hauer & Feld LLP (Attn:                Meredith A. Lahaie, Kevin Zuzolo and Julie

 Thompson), (ii) Armstrong Teasdale LLP (Attn: Richard W. Engel, Jr., Erin M. Edelman and

 John G. Willard) and (iii) Cassels Brock & Blackwell LLP (Attn: Ryan Jacobs, Jane Dietrich,
                                                    3
Case 19-40883          Doc 119        Filed 02/20/19 Entered 02/20/19 13:49:44                       Main Document
                                                   Pg 4 of 57


 Natalie Levine and Monique Sassi); (c) the Office of the United States Trustee for the Eastern

 District of Missouri; (d) the holders of the 50 largest unsecured claims against the Debtors (on a

 consolidated basis); (e) counsel to the Prepetition ABL Administrative Agent (i) Choate Hall &

 Stewart LLP (Attn: Kevin Simard, Doug Gooding and Jonathan Marshall) and (ii) Thompson

 Coburn LLP (Attn: Mark Bossi); (f) counsel to the FILO Agent, Greenberg Traurig, LLP (Attn:

 Jeffrey Wolf); (g) counsel to certain Prepetition Term Loan Lenders (i) Kramer Levin Naftalis &

 Frankel LLP (Attn: Stephen D. Zide); (ii) Doster, Ullom & Boyle, LLC (Attn: Gregory D.

 Willard), (iii) Stroock & Stroock & Lavan LLP (Attn: Kristopher M. Hansen and Daniel A.

 Fliman) and (iv) Lewis Rice LLC (Attn: Sonette T. Magnus); (h) the proposed Monitor, FTI

 Consulting Canada, Inc. (Attn: Paul Bishop, Greg Watson and Jim Robinson); (i) counsel to the

 proposed Monitor, Bennett Jones LLP (Attn: Sean Zweig, Kevin Zych and Aiden Nelms);

 (j) counsel to the Consultant (i) Kirkland & Ellis LLP (Attn: Chad J. Husnick, P.C. and Jaimie

 Fedell) and (ii) Law Office of Tracy A. Brown, P.C. (Attn: Gary L. Vincent); (k) counsel to any

 statutory committee appointed in the chapter 11 cases; (l) the United States Attorney’s Office for

 the Eastern District of Missouri; (m) the Internal Revenue Service; (n) the United States

 Securities and Exchange Commission; (o) the state attorneys general in which the Store Closure

 Assets are located; (p) all parties who are known by the Debtors to assert liens against the Store

 Closure Assets; (q) municipalities in which the Store Closure Assets are located; (r) all of the

 Debtors’ landlords at the locations of the Stores;2 (s) all applicable state and consumer protection

 agencies; (t) counsel to Prepetition Term Loan Agent, Norton Rose Fulbright US LLP

 (Attn: Stephen Castro and David A. Rosenzweig) and (u) any party that has requested notice

 pursuant to Bankruptcy Rule 2002. In the event no objections to entry of a final order on the


 2
  A full list of the affected Stores and distribution centers (the “Distribution Center”), including Store and
 Distribution Center locations, is attached hereto as Exhibit B (the “Closing Stores List”).

                                                            4
Case 19-40883      Doc 119     Filed 02/20/19 Entered 02/20/19 13:49:44          Main Document
                                            Pg 5 of 57


 Motion are timely received, this Court may enter such final order without need for the Final

 Hearing.

        3.      The failure to specifically include any particular provision of the Consulting

 Agreement in this Interim Order shall not diminish or impair the effectiveness of such

 provisions, it being the intent of the Court that the Consulting Agreement and all of its

 provisions, payments and transaction, be and hereby are authorized and approved as and to the

 extent provided for in this Interim Order.

        4.      The Debtors are authorized to make payments on account of expenses and weekly

 reconciliation as set forth in paragraphs 3 and 4.E of the Consulting Agreement without further

 order of the Court.

        5.      The Debtors are authorized, but not directed to make payments under the Store

 Closing Incentive Plan, subject to any orders of this Court approving any debtor in possession

 financing for, or any use of cash collateral by, the Debtors and the budget governing such debtor

 in possession financing and use of cash collateral.

        6.      To the extent of any conflict between this Interim Order, the Store Closing

 Procedures, attached hereto as Exhibit A, and the Consulting Agreement, the terms of this

 Interim Order shall control over all other documents and the Store Closing Procedures shall

 control over the Consulting Agreement.

        7.      Notwithstanding Bankruptcy Rule 6004(h), this Interim Order shall take effect

 immediately upon its entry.

        Authority to Assume the Consulting Agreement.

        8.      The assumption of the Consulting Agreement by the Debtors pursuant to

 Bankruptcy Code section 365 is approved. The Debtors are authorized to act and perform in

 accordance with the terms of the Consulting Agreement, including making payments required by
                                                  5
Case 19-40883      Doc 119      Filed 02/20/19 Entered 02/20/19 13:49:44          Main Document
                                             Pg 6 of 57


 the Consulting Agreement to the Consultant without the need for any application of the

 Consultant or a further order of the Court.

        9.      Subject to the restrictions set forth in this Interim Order and the Store Closing

 Procedures, the Debtors and the Consultant are hereby authorized to implement the Consulting

 Agreement and the Store Closings; and each of the transactions contemplated by the Consulting

 Agreement.

        Authority to Engage in Store Closings.

        10.     The Debtors are authorized, on an interim basis pending the Final Hearing,

 pursuant to Bankruptcy Code sections 105(a) and 363(b)(1), to immediately continue and

 conduct the Store Closings in accordance with this Interim Order, the Store Closing Procedures,

 and the Consulting Agreement.

        11.     The Store Closing Procedures are approved in their entirety on an interim basis.

        12.     The Debtors are authorized to discontinue operations at the Stores in accordance

 with this Interim Order and the Store Closing Procedures.

        13.     All entities that are presently in possession of some or all of the Merchandise or

 FF&E in which the Debtors hold an interest that are or may be subject to the Consulting

 Agreement or this Interim Order hereby are directed to surrender possession of such

 Merchandise or FF&E to the Debtors or the Consultant.

        14.     Neither the Debtors nor the Consultant nor any of their officers, employees, or

 agents shall be required to obtain the approval of any third party, including (without limitation)

 any Governmental Unit (as defined in Bankruptcy Code section 101(27)) or landlord, to conduct

 the Sale and to take the related actions authorized herein.




                                                  6
Case 19-40883      Doc 119     Filed 02/20/19 Entered 02/20/19 13:49:44             Main Document
                                            Pg 7 of 57


        Conduct of the Sale.

        15.     All newspapers and other advertising media in which the Store Closings may be

 advertised and all landlords are directed to accept this Interim Order as binding authority so as to

 authorize the Debtors and the Consultant to conduct the Sale and the sale of Merchandise and

 FF&E pursuant to the Consulting Agreement, including, without limitation, to conduct and

 advertise the sale of the Merchandise and FF&E in the manner contemplated by and in

 accordance with this Interim Order, the Store Closing Procedures, and the Consulting

 Agreement.

        16.     The Debtors and Consultant are hereby authorized to implement the Consulting

 Agreement and to conduct the Store Closings without necessity of further order of this Court as

 provided in the Consulting Agreement or the Store Closing Procedures, including, but not limited

 to, advertising the sale as a “going out of business,” “store closing,” “inventory clearance,” “sale

 on everything,” “everything must go,” “liquidation sale” or similar-themed sale through the

 posting of signs (including the use of exterior banners at non-enclosed mall closing locations,

 and at enclosed mall closing locations to the extent the applicable closing location entrance does

 not require entry into the enclosed mall common area), use of sign-walkers and street signage;

 provided, however, that only Merchant approved terminology will be used at each Store in

 connection with the Store Closings.

        17.     Notwithstanding anything herein to the contrary, and in view of the importance of

 the use of sign-walkers, banners, and other advertising to the sale of the Merchandise and FF&E,

 to the extent that, prior to the Final Hearing, disputes arise during the course of such sale

 regarding laws regulating the use of sign-walkers, banners, or other advertising and the Debtors

 and the Consultant are unable to resolve the matter consensually, any party may request an

 immediate telephonic hearing with this Court pursuant to these provisions. Such hearing will, to
                                                  7
Case 19-40883      Doc 119         Filed 02/20/19 Entered 02/20/19 13:49:44          Main Document
                                                Pg 8 of 57


 the extent practicable, be scheduled initially no later than the earlier of (a) the Final Hearing, or

 (b) within two business days of such request. This scheduling shall not be deemed to preclude

 additional hearings for the presentation of evidence or arguments as necessary.

        18.     Except as expressly provided in the Consulting Agreement, the sale of the

 Merchandise and FF&E shall be conducted by the Debtors and the Consultant notwithstanding

 any restrictive provision of any lease, sublease, or other agreement relative to occupancy

 affecting or purporting to restrict the conduct of the Sale, the rejection of leases, abandonment of

 assets, or “going dark” provisions. The Consultant and landlords of the Stores are authorized,

 but not required, to enter into agreements (“Side Letters”) between themselves modifying the

 Store Closing Procedures without further order of the Court, and such Side Letters shall be

 binding as among the Consultant and/or the Debtors and any such landlords, provided that

 nothing in such Side Letters affects paragraphs 16, 17, 35(a), 35, and 38 of this Interim Order. In

 the event of any conflict between the Store Closing Procedures and any Side Letter, the terms of

 such Side Letter shall control.

        19.     Except as expressly provided for herein or in the Store Closing Procedures, no

 person or entity, including, but not limited to, any landlord, licensor, service providers, utilities,

 and creditor, shall take any action to directly or indirectly prevent, interfere with, or otherwise

 hinder consummation of the Sale, or the advertising and promotion (including the posting of

 signs and exterior banners or the use of sign-walkers) of such sales, and all such parties and

 persons of every nature and description, including, but not limited to, any landlord, licensor,

 service providers, utilities, and creditor, and all those acting for or on behalf of such parties, are

 prohibited and enjoined from (a) interfering in any way with, obstructing, or otherwise impeding,

 the conduct of the Store Closings, and/or (b) instituting any action or proceeding in any court



                                                   8
Case 19-40883      Doc 119     Filed 02/20/19 Entered 02/20/19 13:49:44             Main Document
                                            Pg 9 of 57


 (other than in the Bankruptcy Court) or administrative body seeking an order or judgment

 against, among others, the Debtors, the Consultant, or the landlords at the closing locations that

 might in any way directly or indirectly obstruct or otherwise interfere with or adversely affect the

 conduct of the Sale or other liquidation sales at the closing locations and/or seek to recover

 damages for breach(es) of covenants or provisions in any lease, sublease, license, or contract

 based upon any relief authorized herein.

        20.     In accordance with and subject to the terms and conditions of the Consulting

 Agreement, the Consultant shall have the right to use the Stores and all related Store services,

 furniture, fixtures, equipment, and other assets of the Debtors for the purpose of conducting the

 Sale, free of any interference from any entity or person, subject to compliance with the Store

 Closing Procedures and this Interim Order.

        21.     For a period of twenty-one (21) days following the Petition Date, Consultant shall

 accept the Debtors’ gift cards that were issued by the Debtors prior to the Sale Commencement

 Date in accordance with the Debtors’ gift card policies and procedures as they existed on the

 Petition Date. The Consultant shall accept returns of merchandise sold by the Debtors prior to

 the Sale Commencement Date until March 1, 2019, provided that such return is otherwise in

 compliance with the Debtors’ return policies in effect as of the date such item was purchased and

 the customer is not repurchasing the same item so as to take advantage of the sale price offered

 by the Consultant. For the avoidance of doubt, proceeds from Merchandise sold pursuant to gift

 cards shall be treated as gross proceeds for purposes of calculating Consultant’s fee under the

 Agreement.

        22.     All sales of Store Closure Assets shall be “as is” and final. However, as to the

 Stores, all state and federal laws relating to implied warranties for latent defects shall be



                                                  9
Case 19-40883        Doc 119     Filed 02/20/19 Entered 02/20/19 13:49:44           Main Document
                                              Pg 10 of 57


 complied with and are not superseded by the sale of said goods or the use of the terms “as is” or

 “final sales.”

         23.      The Consultant shall not be liable for sales taxes except as expressly provided in

 the Consulting Agreement and the payment of any and all sales taxes is the responsibility of the

 Debtors. The Debtors are directed to remit all taxes arising from the Sale to the applicable

 Governmental Units as and when due, provided that in the case of a bona fide dispute the

 Debtors are only directed to pay such taxes upon the resolution of the dispute, if and to the extent

 that the dispute is decided in favor of the applicable Governmental Unit. For the avoidance of

 doubt, sales taxes collected and held in trust by the Debtors shall not be used to pay any creditor

 or any other party, other than the applicable Governmental Unit for which the sales taxes are

 collected. The Consultant shall collect, remit to the Debtors and account for sales taxes as and to

 the extent provided in the Consulting Agreement. This Interim Order does not enjoin, suspend,

 or restrain the assessment, levy or collection of any tax under state law, and does not constitute a

 declaratory judgment with respect to any party’s liability for taxes under state law.

         24.      Pursuant to Bankruptcy Code section 363(f), the Consultant, on behalf of the

 Debtors, is authorized to sell the Store Closure Assets and all sales of Store Closure Assets

 whether by the Consultant or the Debtors, shall be free and clear of any and all of any liens,

 claims, encumbrances, and other interests as provided for herein because in each case, one or

 more of the standards set forth in section 363(f)(1)–(5) has been satisfied; provided, however,

 that any such liens, claims, encumbrances, and other interests shall attach to the proceeds of the

 sale of the Store Closure Assets with the same validity, in the amount, with the same priority as,

 and to the same extent that any such liens, claims, and encumbrances have with respect to the




                                                  10
Case 19-40883       Doc 119    Filed 02/20/19 Entered 02/20/19 13:49:44             Main Document
                                            Pg 11 of 57


 Store Closure Assets, subject to any claims and defenses that the Debtors may possess with

 respect thereto.

        25.     The Debtors are directed to deposit all proceeds of the Store Closure Sales

 (“Proceeds”) in their existing depository accounts and through the applicable Debtors’ cash

 management system, which Proceeds will be made available to the Debtors and/or applied to the

 ABL Obligations of the Debtors (as defined in the Cash Collateral Order) as and to the extent set

 forth in the Cash Collateral Order subject to payment of the Consulting Fee.

        26.     To the extent that the Debtors propose to sell or abandon FF&E which may

 contain personal and/or confidential information about the Debtors’ employees and/or customers

 (the “Confidential Information”), the Debtors shall remove the Confidential Information from

 such items of FF&E before such sale or abandonment.

        27.     The Debtors and/or the Consultant (as the case may be) are authorized and

 empowered to transfer Store Closure Assets among the Stores. The Consultant is authorized to

 sell the Debtors’ FF&E and abandon the same, in each case, as provided for and in accordance

 with the terms of the Consulting Agreement.

        28.     Notwithstanding this or any other provision of this Order, nothing shall prevent or

 be construed to prevent the Consultant (individually, as part of a joint venture, or otherwise) or

 any of its affiliates from bidding on the Debtors’ assets not subject to the Consulting Agreement

 pursuant to a Consulting Agreement or otherwise (“Additional Assets”). The Consultant is

 hereby authorized to bid on and guarantee or otherwise acquire such Additional Assets, provided

 that such guarantee, transaction or acquisition is approved by separate order of this Court.

        29.     The Debtors and the Consultant are authorized and empowered to include

 Additional Consultant Goods (as defined in the Consulting Agreement) in the Sale in accordance



                                                 11
Case 19-40883      Doc 119     Filed 02/20/19 Entered 02/20/19 13:49:44             Main Document
                                            Pg 12 of 57


 with this Interim Order and the Consulting Agreement. Sales of Additional Consultant Goods

 shall be run through the Debtors’ cash register systems; provided, however, that the Consultant

 shall mark the Additional Consultant Goods either using a “dummy” SKU or department

 number, or in such other manner so as to distinguish the sale of Additional Consultant Goods

 from the sale of Merchandise. The consultant shall provide signage in the Closing Stores

 notifying customers that Additional Consultant Goods have been included in the sale.

        30.     Subject solely to the Consultant's obligations to pay the Additional Consultant

 Goods Fee, at all times and for all purposes, the Additional Consultant Goods and their proceeds

 shall be the exclusive property of the Consultant, and no other person or entity (including,

 without limitation, the Debtors, or any third person claiming a security interest in the Debtors’

 property, including the Debtor’s secured lenders), shall have any claim against any of the

 Additional Consultant Goods or their proceeds. Subject solely to Consultant’s obligations to pay

 the Debtors the Additional Consultant Goods Fee and the security interest of the lenders in such

 Additional Consultant Goods Fee, the Additional Consultant Goods and the identifiable proceeds

 thereof are not property of the Debtors or their estates and do not constitute property of the

 Debtors’ or their estates subject to any lender's lien. The Additional Consultant Goods shall at all

 times remain subject to the exclusive control of the Consultant, and the Consultant shall insure

 the Additional Consultant Goods and, if required, promptly file any proofs of loss with regard

 thereto.

        31.     The transactions relating to the Additional Consultant Goods (as defined in the

 Consultant Agreement) shall be considered a true consignment to the Debtors under Article 9 of

 the Uniform Commercial Code (“UCC”).




                                                 12
Case 19-40883      Doc 119      Filed 02/20/19 Entered 02/20/19 13:49:44            Main Document
                                             Pg 13 of 57


        Procedures Relating to Additional Closing Stores

        32.     Although the Debtors intend the Store Closings to be comprehensive, to the extent

 the Debtors identify additional stores for closure (the “Additional Closing Stores”), the Store

 Closing Procedures and this Interim Order shall apply to such closures. Prior to conducting

 Sales at any Additional Closing Store, the Debtors will file a list including such Additional

 Closing Store with this Court (each, an “Additional Closing Store List”), and serve a notice of

 their intent to conduct the Sales at the Additional Closing Store on the applicable landlords (the

 “Additional Closing Store Landlords”) and interested parties, including the U.S. Trustee, the

 Prepetition Term Loan Agent, the Prepetition ABL Agent, the Prepetition Term Loan Lenders, the

 proposed Monitor, and counsel to any statutory committee appointed in these cases.

        33.     The Additional Closing Store Landlords and any interested parties shall have

 seven days after service of the applicable Additional Closing Store List to object to the

 application of this Order. If no timely objections are filed with respect to the application of this

 Order to an Additional Closing Store, the Debtors are authorized, pursuant to sections 105(a),

 and 363(b) and (f) of the Bankruptcy Code, to conduct the Sales at the Additional Closing Store

 in accordance with this Interim Order, as applicable, the Store Closing Procedures, and the

 Consulting Agreement. If any objections are filed with respect to the application of this Order, to

 an Additional Closing Store, and such objections are not resolved, the objections and the

 application of this Order to the Additional Closing Store will be considered by the Court at the

 next regularly scheduled omnibus hearing, subject to the rights of any party to seek relief on an

 emergency basis on shortened notice, to the extent necessary, but, in any case on not less than 5

 days’ notice, so that the Debtors can move promptly to maximize value and minimize expenses

 for the benefit of their creditors and stakeholders.



                                                  13
Case 19-40883      Doc 119      Filed 02/20/19 Entered 02/20/19 13:49:44             Main Document
                                             Pg 14 of 57


        Dispute Resolution Procedures with Governmental Units.

        34.     Nothing in this Interim Order, the Consulting Agreement or the Store Closing

 Procedures, releases, nullifies, or enjoins the enforcement of any liability to a Governmental Unit

 under environmental laws or regulations (or any associated liabilities for penalties, damages, cost

 recovery, or injunctive relief) to which any entity would be subject as the owner, lessor, lessee, or

 operator of the property after the date of entry of this Interim Order. Nothing contained in this

 Interim Order, the Consulting Agreement, or the Store Closing Procedures shall in any way

 (a) diminish the obligation of any entity to comply with environmental laws, or (b) diminish the

 obligations of the Debtors to comply with environmental laws consistent with its rights and

 obligations as debtor in possession under the Bankruptcy Code. The Store Closings shall not be

 exempt from laws of general applicability, including, without limitation, public health and safety,

 criminal, tax, labor, employment, environmental, antitrust, fair competition, traffic, and

 consumer protection laws, including consumer laws regulating deceptive practices and false

 advertising (collectively, “General Laws”).      Nothing in this Interim Order, the Consulting

 Agreement or the Store Closing Procedures, shall alter or affect obligations to comply with all

 applicable federal safety laws and regulations other than Liquidation Sale Laws (as provided

 below). Nothing in this Interim Order shall be deemed to bar any Governmental Unit (as such

 term is defined in Bankruptcy Code section 101(47)) from enforcing General Laws in the

 applicable nonbankruptcy forum, subject to the Debtors’ rights to assert in that forum or before

 this Court that any such laws are not in fact General Laws or that such enforcement is

 impermissible under the Bankruptcy Code, this Interim Order, or otherwise, pursuant to

 paragraph 26 herein. Notwithstanding any other provision in this Interim Order, no party waives

 any rights to argue any position with respect to whether the conduct complied with this Interim

 Order and/or any applicable law, or that enforcement of such applicable law is preempted by the
                                                  14
Case 19-40883       Doc 119    Filed 02/20/19 Entered 02/20/19 13:49:44             Main Document
                                            Pg 15 of 57


 Bankruptcy Code. Nothing in this Interim Order shall be deemed to have made any rulings on

 any such issues.

        35.     To the extent that the sale of Store Closure Assets is subject to any Liquidation

 Sale Laws, including any federal, state, or local statute, ordinance, rule, or licensing requirement

 directed at regulating “going out of business,” “store closing,” similar inventory liquidation

 sales, or bulk sale laws, including laws restricting safe, professional, and non-deceptive,

 customary advertising such as signs, banners, posting of signage, and use of sign-walkers solely

 in connection with the sale and including ordinances establishing license or permit requirements,

 waiting periods, time limits or bulk sale restrictions that would otherwise apply solely to the sale

 of the Store Closure Assets, the Dispute Resolution Procedures in this section shall apply:

        (a)     Provided that the Store Closings are conducted in accordance with the terms of
                this Order and the Store Closing Procedures, and in light of the provisions in the
                laws of many Governmental Units that exempt court-ordered sales from their
                provisions, the Debtors shall be presumed to be in compliance with any
                Liquidation Sale Laws and, subject to Paragraph 2 hereof, are authorized to
                conduct the Store Closings in accordance with the terms of this Order and the
                Store Closing Procedures without the necessity of further showing compliance
                with any Liquidation Sale Laws.

        (b)     Within three (3) business days after entry of this Order, the Debtors shall serve
                copies of this Order, the Consulting Agreement, and the Store Closing Procedures
                via email, facsimile, or regular mail, on the following: (i) the Attorney General’s
                office for each state where the Store Closings are being held; (ii) the county
                consumer protection agency or similar agency for each county where the Store
                Closings will be held; (iii) the division of consumer protection for each state
                where the Store Closings will be held; (iv) the chief legal counsel for the local
                jurisdiction; and (v) the landlords for the Stores.

        (c)     To the extent there is a dispute arising from or relating to the Store Closings, this
                Order, the Consulting Agreement, or the Store Closing Procedures, which dispute
                relates to any Liquidation Sale Laws (a “Reserved Dispute”), this Court shall
                retain exclusive jurisdiction to resolve the Reserved Dispute. Any time within ten
                (10) days following entry of this Order, any Governmental Unit may assert that a
                Reserved Dispute exists by serving written notice explaining the nature of the
                dispute to: proposed counsel to the Debtors (i) Akin Gump Strauss Hauer & Feld
                LLP, One Bryant Park, New York, NY 10036 (Attn: Meredith A. Lahaie, Kevin
                Zuzolo and Julie Thompson), and (ii) Armstrong Teasdale LLP, 7700 Forsyth

                                                 15
Case 19-40883   Doc 119     Filed 02/20/19 Entered 02/20/19 13:49:44             Main Document
                                         Pg 16 of 57


             Boulevard, Suite 1800, St. Louis, MO 63105 (Attn: Richard W. Engel, Jr., Erin M.
             Edelman and John G. Willard) so as to ensure delivery thereof within one
             business day thereafter. If the Debtors and the Governmental Unit are unable to
             resolve the Reserved Dispute within 15 days after service of the notice, the
             aggrieved party may file a motion with this Court requesting that this Court
             resolve the Reserved Dispute (a “Dispute Resolution Motion”).

       (d)   In the event a Dispute Resolution Motion is filed, nothing in this Order shall
             preclude the Debtors, a landlord, or other interested party from asserting (i) that
             the provisions of any Liquidation Sale Laws are preempted by the Bankruptcy
             Code, or (ii) that neither the terms of this Order nor the conduct of the Debtors
             pursuant to this Order, violates such Liquidation Sale Laws. Filing a Dispute
             Resolution Motion as set forth herein shall not be deemed to affect the finality of
             any Order or to limit or interfere with the Debtors’ or the Consultant’s ability to
             conduct or to continue to conduct the Store Closings pursuant to this Order,
             absent further order of this Court. This Court grants authority for the Debtors and
             the Consultant to conduct the Store Closings pursuant to the terms of this Order,
             the Consulting Agreement, and/or the Store Closing Procedures and to take all
             actions reasonably related thereto or arising in connection therewith. The
             Governmental Unit shall be entitled to assert any jurisdictional, procedural, or
             substantive arguments it wishes with respect to the requirements of its Liquidation
             Sale Laws or the lack of any preemption of such Liquidation Sale Laws by the
             Bankruptcy Code. Nothing in this Order shall constitute a ruling with respect to
             any issues to be raised in any Dispute Resolution Motion.

       (e)   If, at any time, a dispute arises between the Debtors and/or the Consultant and a
             Governmental Unit as to whether a particular law is a Liquidation Sale Law, and
             subject to any provisions contained in this Order related to the Liquidation Sale
             Laws, then any party to that dispute may utilize the provisions of subparagraphs
             (b) and (c) hereunder by serving a notice to the other party and proceeding
             thereunder in accordance with those paragraphs. Any determination with respect
             to whether a particular law is a Liquidation Sale Law shall be made de novo.

       (f)   Except as expressly provided for herein or in the Store Closing Procedures, and
             except with respect to any Governmental Unit (as to which paragraphs 28 and 29
             shall apply), no person or entity, including, but not limited to, any landlord,
             licensor, or creditor, shall take any action to directly or indirectly prevent,
             interfere with, or otherwise hinder consummation of the Store Closings, or the
             advertising and promotion (including the posting of signs or the use of sign
             walkers) of the Store Closings, and all such parties and persons of every nature
             and description, including landlords, licensors, creditors, and utility companies
             and all those acting for or on behalf of such parties, are prohibited and enjoined
             from (i) interfering in any way with, or otherwise impeding, the conduct of the
             Store Closings, and/or (ii) instituting any action or proceeding in any court or
             administrative body seeking an order or judgment against, among others, the
             Debtors, Consultant, or the landlords at the Stores that might in any way directly
             or indirectly obstruct or otherwise interfere with or adversely affect the conduct of

                                              16
Case 19-40883      Doc 119     Filed 02/20/19 Entered 02/20/19 13:49:44             Main Document
                                            Pg 17 of 57


                the Store Closings and/or seek to recover damages for breach(es) of covenants or
                provisions in any lease, sublease, or license based upon any relief authorized
                herein.

         (g)    Any restrictions in any lease agreement, restrictive covenant, or similar
                documents purporting to limit, condition, or impair the Debtors’ ability to conduct
                the Store Closings shall not be enforceable, nor shall any breach of such
                provisions in these chapter 11 cases constitute a default under a lease or provide a
                basis to terminate the lease; provided, that Store Closings are conducted in
                accordance with the terms of this Order and the Store Closing Procedures.

         36.    Subject to Paragraphs 34 and 35 above, each and every federal, state, or local

 agency, departmental or Governmental Unit with regulatory authority over the Store Closings

 and all newspapers and other advertising media in which the Store Closings are advertised shall

 consider this Order as binding authority that no further approval, license, or permit of any

 Governmental Unit shall be required, nor shall the Debtors be required to post any bond, to

 conduct the Store Closings.

         37.    Provided that the Sale is conducted in accordance with the terms of this Interim

 Order, the Consulting Agreement, and the Store Closing Procedures, and in light of the

 provisions in the laws that exempt court-ordered sales from their provisions, the Debtors shall be

 presumed to be in compliance with any Liquidation Sale Laws and are authorized to conduct the

 Store Closings in accordance with the terms of this Interim Order and the Store Closing

 Procedures without the necessity of further showing compliance with any such Liquidation Sale

 Laws.

         38.    Within two (2) business days of entry of this Interim Order, the Debtors shall

 serve copies of this Order, the Consulting Agreement and the Store Closing Procedures via e-

 mail, facsimile or regular mail, on: (a) the Office of the United States Trustee for the Eastern

 District of Missouri; (b) the Attorney General’s office for each state where the Sale is being held;

 (c) the county consumer protection agency or similar agency for each county where the Sale is


                                                 17
Case 19-40883         Doc 119     Filed 02/20/19 Entered 02/20/19 13:49:44          Main Document
                                               Pg 18 of 57


 being held; (d) the division of consumer protection for each state where the Sale is being held;

 (e) the chief legal counsel for the local jurisdiction; (f) all applicable federal, state, and local

 taxing authorities; and (g) the Debtors’ landlords of the Stores.

         39.        To the extent that between the Petition Date and the date of the Final Hearing

 there is a dispute arising from or relating to the Sale, this Interim Order, the Consulting

 Agreement, or the Store Closing Procedures, which dispute relates to any Liquidation Sale Laws

 (a “Reserved Dispute”), the Court shall retain exclusive jurisdiction to resolve the Reserved

 Dispute which such Reserved Dispute will be heard at the Final Hearing, absent a party obtaining

 expedited relief. Nothing in this Interim Order shall constitute a ruling with respect to any issues

 to be raised with respect to a Reserved Dispute. Any Governmental Unit may assert a Reserved

 Dispute by sending a notice (the “Dispute Notice”) explaining the nature of the dispute to:

 (a) the Debtors, 3231 SE 6th Avenue, Topeka, KS 66607; (b) proposed counsel to the Debtors (i)

 Akin Gump Strauss Hauer & Feld LLP (Attn: Meredith A. Lahaie, and Kevin Zuzolo Julie

 Thompson), and (ii) Armstrong Teasdale LLP (Attn: Richard W. Engel, Jr., Erin M. Edelman and

 John G. Willard); (c) counsel to the Consultant (i) Kirkland & Ellis LLP (Attn: Chad J. Husnick,

 P.C. and Jaimie Fedell), and (ii) Law Office of Tracy A. Brown, P.C. (Attn: Gary L. Vincent).

         Other Provisions.

         40.        The Consultant shall not be liable for any claims against the Debtors, and the

 Debtors shall not be liable for any claims against Consultant, in each case, other than as

 expressly provided for in the Consulting Agreement.

         41.        All amounts due to the Consultant under the Consultant Agreement shall be

 earmarked and paid by the Debtors from the proceeds of the Sales and shall not be reduced or

 capped by the terms or conditions of any pre- or post-petition financing facilities or orders

 related thereto.
                                                  18
Case 19-40883      Doc 119     Filed 02/20/19 Entered 02/20/19 13:49:44             Main Document
                                            Pg 19 of 57


        42.     The Consultant is a party in interest and shall have the ability to appear and be

 heard on all issues related to or otherwise connected to this Interim Order, the various procedures

 contemplated herein, any issues related to or otherwise connected to the Store Closings and the

 Consulting Agreement.

        43.     To the extent the Debtors are subject to any state Fast Pay Laws in connection

 with the Store Closings, the Debtors shall be presumed to be in compliance with such laws to the

 extent, in applicable states, such payroll payments are made by the later of (a) the Debtors’ next

 regularly scheduled payroll, and (b) seven calendar days following the termination date of the

 relevant employee, and in all such cases consistent with, and subject to, any previous orders of

 this Court regarding payment of same.

        44.     Notwithstanding the relief granted herein and any actions taken hereunder,

 nothing contained in the Motion or this Interim Order or any payment made pursuant to this

 Interim Order shall constitute, nor is it intended to constitute, an admission as to the validity or

 priority of any claim or lien against the Debtors, or a waiver of the Debtors’ rights to

 subsequently dispute such claim or lien.

        45.     The banks and financial institutions on which checks were drawn or electronic

 payment requests made in payment of the prepetition obligations approved herein are authorized,

 but not directed, to receive, process, honor, and pay all such checks and electronic payment

 requests when presented for payment, and all such banks and financial institutions are authorized

 to rely on the Debtors’ designation of any particular check or electronic payment request as

 approved by this Interim Order.

        46.     Notwithstanding anything to the contrary contained herein, any payment made or

 to be made under this Interim Order, any authorization contained in this Interim Order, or any



                                                 19
Case 19-40883      Doc 119      Filed 02/20/19 Entered 02/20/19 13:49:44             Main Document
                                             Pg 20 of 57


 claim for which payment is authorized hereunder, subject to paragraphs 25 and 41 herein, shall be

 subject to any orders of this Court approving any debtor in possession financing for, or any use

 of cash collateral by, the Debtors and the budget governing such debtor in possession financing

 and use of cash collateral.

        47.     Nothing in this Interim Order shall alter or limit any authorization or relief

 contained in, or prevent Payless ShoeSource Canada Inc., Payless ShoeSource Canada GP Inc.,

 or Payless ShoeSource Canada LP (the “Canadian Debtors”) from taking any action authorized

 pursuant to an order issued by the Ontario Superior Court of Justice (Commercial List) (the

 “Canadian Court”) in proceedings in respect of the Canadian Debtors pursuant to the Companies’

 Creditors Arrangement Act (Canada), and the Canadian Debtors shall be subject to a budget or

 similar restrictions only as established by the Canadian Court. To the extent of any inconsistency

 between this Interim Order and the terms of any order of the Canadian Court, the order of the

 Canadian Court shall govern with respect to the Canadian Debtors, provided that the conduct of

 the Sale in the Stores in Canada shall be governed solely by an Order of the Canadian Court. For

 the avoidance of doubt, the Canadian Debtors are authorized to seek relief from the Canadian

 Court in respect of the Store Closing Incentive Plan and will not be subject to the procedures set

 out herein.

        48.     The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

        49.     No later than two (2) business days after entry of this Interim Order, the Debtors

 shall serve a copy of this Interim Order on the Notice Parties and shall file a certificate of service

 no later than 24 hours after service.

                                                               KATHY A. SURRATT-STATES
                                                              Chief United States Bankruptcy Judge
 DATED: February 20, 2019
 St. Louis, Missouri
 jjh


                                                  20
Case 19-40883     Doc 119    Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                          Pg 21 of 57



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 Proposed Counsel to the Debtors and Debtors in Possession




                                              21
Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                       Pg 22 of 57


                                     Exhibit A

                              Store Closing Procedures
Case 19-40883         Doc 119        Filed 02/20/19 Entered 02/20/19 13:49:44                    Main Document
                                                  Pg 23 of 57


                                          Store Closing Procedures 1

 1.       The Store Closings will be conducted during normal business hours or such hours as
          otherwise permitted by the applicable unexpired lease.

 2.       The Store Closings will be conducted in accordance with applicable state and local “Blue
          Laws,” and thus, where such a law is applicable, no Store Closings will be conducted on
          Sunday unless the Debtors have been operating such stores on Sundays.

 3.       On “shopping center” property, neither the Debtors nor the Consultant shall distribute
          handbills, leaflets, or other written materials to customers outside of any Stores’ premises,
          unless permitted by the applicable lease or if distribution is customary in the “shopping
          center” in which such Store is located; provided that the Debtors and the Consultant
          may solicit customers in the Stores themselves. On “shopping center” property, neither
          the Debtors nor the Consultant shall use any flashing lights or amplified sound to advertise
          the Store Closings or solicit customers, except as permitted under the applicable lease or
          agreed in writing by the landlord.

 4.       The Debtors and the Consultant shall have the right to use and sell the FF&E. The
          Debtors and the Consultant may advertise the sale of the FF&E in a manner consistent
          with these Store Closing Procedures. The purchasers of any FF&E sold during the Store
          Closings shall be permitted to remove the FF&E either through the back or alternative
          shipping areas at any time, or through other areas after Store business hours; provided,
          however, that the foregoing shall not apply to de minimis FF&E sales made whereby the
          item can be carried out of the Store in a shopping bag.

 5.       The Consultant and Debtors may abandon any FF&E not sold in the Sales at the Closing
          Stores, distribution centers or corporate office at the conclusion of the Sales. Any
          abandoned FF&E left in a Closing Store, distribution center or corporate office after a lease
          is rejected shall be deemed abandoned to the landlord, with the landlord having a right to
          dispose of the same as the landlord chooses without any liability whatsoever on the part of
          the landlord to any party and without waiver of any damage claims against the Debtors.

 6.       The Debtors and the Consultant may, but are not required to, advertise all of the Store
          Closings as “going out of business,” “store closing,” “sale on everything,” “everything
          must go,” or similarly themed sales. The Debtors and the Consultant may also have a
          “countdown to closing” sign prominently displayed in a manner consistent with these Store
          Closing Procedures.

 7.       The Debtors and the Consultant shall be permitted to utilize sign walkers, display,
          hanging signs, and interior and exterior banners in connection with the Store Closings;
          provided that such sign walkers, display, hanging signs, and interior a n d ex t e r i o r
          banners shall be professionally produced and hung in a professional manner. Neither the


 1
      Capitalized terms used but not defined in these Store Closing Procedures have the meanings given to them in the
      Interim Order to which these Store Closing Procedures are attached as Exhibit A.
Case 19-40883    Doc 119      Filed 02/20/19 Entered 02/20/19 13:49:44             Main Document
                                           Pg 24 of 57


       Debtors nor the Consultant shall use neon or day-glo on its sign walkers, display, hanging
       signs, or interior and exterior banners if prohibited by the applicable lease or applicable
       law. Furthermore, with respect to enclosed mall locations, no exterior signs or signs in
       common areas of a mall shall be used unless otherwise expressly permitted in these
       Store Closing Procedures. In addition, the Debtors and the Consultant shall be permitted
       to utilize exterior banners at (a) non-enclosed mall Stores and (b) enclosed mall Stores
       to the extent the entrance to the applicable Store does not require entry into the enclosed
       mall common area; provided, however, that such banners shall be located or hung so as
       to make clear that the Store Closing is being conducted only at the affected Store, and
       shall not be wider than the storefront of the Store. In addition, the Debtors shall be
       permitted to utilize sign walkers in a safe and professional manner. Nothing contained in
       these Store Closing Procedures shall be construed to create or impose upon the Debtors
       or the Consultant any additional restrictions not contained in the applicable lease
       agreement.

 8.    Neither the Debtors nor the Consultant shall make any alterations to the storefront,
       roof, or exterior walls of any Stores or shopping centers, or to interior or exterior store
       lighting, except as authorized by the applicable lease. The hanging of in-Store signage
       shall not constitute an alteration to a Store.

 9.    Affected landlords will have the ability to negotiate with the Debtors, or at the Debtors’
       direction, the Consultant, any particular modifications to the Store Closing Procedures.
       The Consultant, at the direction of the Debtors, and the landlord of any Store are authorized
       to enter into Side Letters without further order of the Court, provided that such agreements
       do not have a material adverse effect on the Debtors or their estates.

 10.   Conspicuous signs will be posted in each of the affected stores to the effect that all sales
       are “final.”

 11.   The Debtors will keep store premises and surrounding areas clear and orderly, consistent
       with past practices.

 12.   An unexpired nonresidential real property lease will not be deemed rejected by reason of a
       Store Closing or the adoption of these Store Closing Procedures.

 13.   The rights of landlords against the Debtors for any damages to a Store shall be reserved in
       accordance with the provisions of the applicable lease.

 14.   If and to the extent that the landlord of any Store contends that the Debtors or the
       Consultant is in breach of or default under these Store Closing Procedures, such landlord
       shall provide at least five (5) days’ written notice, served by email or overnight delivery,
       on:
Case 19-40883     Doc 119     Filed 02/20/19 Entered 02/20/19 13:49:44              Main Document
                                           Pg 25 of 57
     If to the Debtors:
              with copies (which shall not constitute notice) to:

              Attention: Meredith A. Lahaie and Kevin Zuzolo
              Akin Gump Strauss Hauer & Feld LLP
              One Bryant Park
              New York, New York 10036
              (212) 872-1000

              -and-

              Attention: Richard W. Engel, Jr., Erin M. Edelman and John G. Willard
              Armstrong Teasdale LLP
              7700 Forsyth Boulevard
              Suite 1800
              St. Louis, Missouri 63105
              (314) 621-5070

              If to Consultant:

              Attention: Mark P. Naughton
              Senior General Counsel
              P: (312) 894-6081 | C: (847) 372-8794
              MNaughton@TigerGroup.com

       If the parties are unable to resolve the dispute, either the landlord or the Debtors shall have
       the right to schedule a hearing before the Court on no less than five (5) days’ written
       notice to the other party, served by email or overnight delivery.
Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                       Pg 26 of 57


                                     Exhibit B

                                 Store Closing List
                                                                                            Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                                                                                                                   Pg 27 of 57
                                                                                                                              Store Closing List




Store Number   Count   CO   JV District   PL Zone Store Number Type                     Name            Address 1                                                     Address 2                         Address 3             City     ST   Zip          Country   SQ FT
    2575        398    TG       10           A        2575      CB              112 W CHELTEN AVE       112 W CHELTEN AVE                                                                                           PHILADELPHIA       PA   19144-3302   US         3,275
    5192       1632    TG       41           B        5192      CB               16TH STREET MALL       16TH STREET MALL                             821 16TH ST                                                    DENVER             CO   80202-3205   US         2,716
    6576         1     GA       1            A        6576      SC            CONSUMER SQUARE SC        CONSUMER SQUARE SC                           830 COUNTY ROAD 64                   SUITE 18                  ELMIRA             NY   14903-9719   US         3,150
    6376         2     GA       1            A        6376      SC                GENEVA CENTRE         GENEVA CENTRE                                311 HAMILTON STREET                                            GENEVA             NY   14456-2951   US         3,300
    3581         3     GA       1            A        3581      M         THE MALL AT GREECE RIDGE      THE MALL AT GREECE RIDGE                     316 GREECE RIDGE CENTER DR                                     GREECE             NY   14626-2819   US         3,306
    3233         4     GA       1            A        3233      M                    ARNOT MALL         ARNOT MALL                                   3300 CHAMBERS RD SUITE M4            PO BOX 5210               HORSEHEADS         NY   14845-5210   US         3,270
    6306         5     GA       1            A        6306      SC             CULVER RIDGE PLAZA       CULVER RIDGE PLAZA                           2255 RIDGE RD EAST STE 15A                                     IRONDEQUOIT        NY   14622-0000   US         4,200
    4754         6     GA       1            A        4754      SC              SOUTH TOWN PLAZA        SOUTH TOWN PLAZA                             3333 W HENRIETTA RD                                            ROCHESTER          NY   14623-3543   US         3,150
    5518         7     GA       1            A        5518      M               MARKETPLACE MALL        MARKETPLACE MALL                             771 MIRACLE MILE DR                                            ROCHESTER          NY   14623-5856   US         3,674
    6573         8     GA       1            A        6573      SC                ELM RIDGE PLAZA       ELM RIDGE PLAZA                              270 ELM RIDGE CENTER DRIVE                                     ROCHESTER          NY   14626-3460   US         3,503
    3916         9     GA       1            A        3916      M                  EASTVIEW MALL        EASTVIEW MALL                                503 EASTVIEW MALL                                              VICTOR             NY   14564-1039   US         2,850
    6570        10     GA       1            A        6570      SC               BAYTOWNE PLAZA         BAYTOWNE PLAZA                               1900 EMPIRE BLVD                                               WEBSTER            NY   14580-1934   US         3,000
    6374        11     GA       1            A        6374      SC                 AUBURN PLAZA         AUBURN PLAZA                                 217 GRANT AVENUE                     STE 9                     AUBURN             NY   13021-1443   US         3,734
    6446        12     GA       1            A        6446      FS         1333 UPPER FRONT STREET      1333 UPPER FRONT STREET                      ROUTE 12                                                       BINGHAMTON         NY   13901-1149   US         5,500
    4434        13     GA       1            A        4434      SC         CORTLANDVILLE CROSSING       CORTLANDVILLE CROSSING                       854 STATE ROUTE 13                   STE 3                     CORTLAND           NY   13045-3556   US         2,648
    3823        14     GA       1            A        3823      M                  OAKDALE MALL         OAKDALE MALL                                 2A OAKDALE MALL                                                JOHNSON CITY       NY   13790-2280   US         2,500
    3067        15     GA       1            A        3067      M        1 SANGERTOWN SQUARE MALL       1 SANGERTOWN SQUARE MALL                     8555 SENECA TURNPIKE                 SUITE A04                 NEW HARTFORD       NY   13413-1518   US         3,846
    6342        16     GA       1            A        6342      SC               GLENWOOD PLAZA         GLENWOOD PLAZA                               2090 GLENWOOD SHOPPING PLAZA                                   ONEIDA             NY   13421-2717   US         3,000
    4388        17     GA       1            A        4388      SC                MOHAWK ACRES          MOHAWK ACRES                                 1762 BLACK RIVER BLVD N # 8                                    ROME               NY   13440-2454   US         3,125
    3463        18     GA       1            A        3463      M                   DESTINY USA         DESTINY USA                                  9538 CAROUSEL CTR                                              SYRACUSE           NY   13290-9501   US         3,126
    4695        19     GA       1            A        4695      SC            VESTAL TOWN SQUARE        VESTAL TOWN SQUARE                           2409 VESTAL PARKWAY E                SUITE A                   VESTAL             NY   13850-2018   US         4,100
    1079        20     GA       1            A        1079      M             CLIFTON PARK CENTER       CLIFTON PARK CENTER                          22 CLIFTON COUNTRY RD                SUITE 94                  CLIFTON PARK       NY   12065-3908   US         2,521
    4756        21     GA       1            A        4756      M                  AVIATION MALL        AVIATION MALL                                578 AVIATION MALL RD                 SUITE 59                  GLENS FALLS        NY   12804-1882   US         4,000
    6337        22     GA       1            A        6337      SC         213 NORTH COMRIE AVENUE      213 NORTH COMRIE AVENUE                                                                                     JOHNSTOWN          NY   12095-1501   US         4,200
    3554        24     GA       1            A        3554      M                   WILTON MALL         WILTON MALL                                  3065 ROUTE 50                                                  SARATOGA SPRINGS   NY   12866-2960   US         3,850
    3984        25     GA       1            A        3984      M          ROTTERDAM SQUARE MALL        ROTTERDAM SQUARE MALL                        93 WEST CAMPBELL RD                  PO BOX 6036               SCHENECTADY        NY   12306-0000   US         3,577
    3050        26     GA       1            A        3050      M                SALMON RUN MALL        SALMON RUN MALL                              21182 SALMON RUN MALL LOOP WEST      SPACE A106                WATERTOWN          NY   13601-2244   US         2,564
    6422        27     GA       1            A        6422      SC     TOWNE CENTER AT WATERTOWN        TOWNE CENTER AT WATERTOWN                    21868 TOWN CENTER DRIVE                                        WATERTOWN          NY   13601-5898   US         2,800
    1556        28     GA       1            A        1556      M                 UNIVERSITY MALL       UNIVERSITY MALL                              155 DORSET STREET                                              SOUTH BURLINGTON   VT   05403-6346   US         3,500
    3332        29     GA       1            A        3332      M                 COLONIE CENTER        COLONIE CENTER                               131 COLONIE CTR                      SPACE 102                 ALBANY             NY   12205-2751   US         4,369
    5179        30     GA       1            A        5179      M                CROSSGATES MALL        CROSSGATES MALL                              1 CROSSGATES MALL RD                                           ALBANY             NY   12203-5385   US         3,780
    5784        31     GA       1            A        5784      SC                WESTGATE PLAZA        WESTGATE PLAZA                               911 CENTRAL AVENUE                                             ALBANY             NY   12206-1304   US         3,375
    3951        32     GA       1            A        3951      SC        FAIRVIEW SHOPPING CENTER      FAIRVIEW SHOPPING CENTER                     160 FAIRVIEW AVE                     SUITE 85                  HUDSON             NY   12534-1267   US         2,500
    3086        33     GA       1            A        3086      M              HUDSON VALLEY MALL       HUDSON VALLEY MALL                           1300 ULSTER AVE                      SUITE 314                 KINGSTON           NY   12401-1501   US         3,308
    6559        34     GA       1            A        6559      SC                KINGSTON PLAZA        KINGSTON PLAZA                               304 PLAZA RD                                                   KINGSTON           NY   12401-2975   US         3,000
    4136        35     GA       1            A        4136      M                 SOUTHSIDE MALL        SOUTHSIDE MALL                               5006 HWY 23                          SUITE 2                   ONEONTA            NY   13820-4529   US         2,580
    3153        36     GA       1            A        3153      SC          SHOPPES AT GREENBUSH        SHOPPES AT GREENBUSH                         600 N GREENBUSH RD                                             RENSSELAER         NY   12144-8412   US         2,579
    5104        37     GA       1            A        5104      SC          BENNINGTON SQUARE S/C       BENNINGTON SQUARE S/C                        101 BENNINGTION SQUARE                                         BENNINGTON         VT   05201-1941   US         3,000
    5356        38     GA       1            A        5356      SC                 RUTLAND PLAZA        RUTLAND PLAZA                                36 RUTLAND SHOPPING PLAZA                                      RUTLAND            VT   05701-5201   US         3,000
    4555        39     TG       2            A        4555      CB              367 WASHINGTON ST       367 WASHINGTON ST                                                                                           BOSTON             MA   02108-5110   US         5,582
    3925        40     TG       2            A        3925      M                BURLINGTON MALL        BURLINGTON MALL                              75 MIDDLESEX TURNPIKE                SUITE 2066                BURLINGTON         MA   01803-5310   US         3,358
    3665        41     TG       2            A        3665      M           CAMBRIDGESIDE GALLERIA      CAMBRIDGESIDE GALLERIA                       100 CAMBRIDGESIDE PLACE              SPACE W222                CAMBRIDGE          MA   02141-2218   US         2,875
    5053        42     TG       2            A        5053      CB             BELLINGHAM SQUARE        BELLINGHAM SQUARE                            464 BROADWAY                                                   CHELSEA            MA   02150-2855   US         3,000
    3942        43     TG       2            A        3942      M               LIBERTY TREE MALL       LIBERTY TREE MALL                            100 INDEPENDENCE WAY                 SUITE # W 115             DANVERS            MA   01923-3655   US         3,205
    4763        44     TG       2            A        4763      SC    FIELDS CORNER SHOPPING CENTER     FIELDS CORNER SHOPPING CENTER                512 GENEVA AVENUE                                              DORCHESTER         MA   02122-1321   US         3,760
    6450        45     TG       2            A        6450      CB            31-32 CENTRAL SQUARE      31-32 CENTRAL SQUARE                                                                                        EAST BOSTON        MA   02128-1911   US         4,177
    3674        46     TG       2            A        3674      SC       WESTGATE SHOPPING CENTER       WESTGATE SHOPPING CENTER                     400 LOWELL AVE SUITE 4                                         HAVERHILL          MA   01832-3661   US         2,852
    4765        47     TG       2            A        4765      SC                  ESSEX PLAZA         ESSEX PLAZA                                  700 ESSEX ST                                                   LAWRENCE           MA   01841-4335   US         4,000
    4146        48     TG       2            A        4146      SC           LYNN SHOPPING CENTER       LYNN SHOPPING CENTER                         17 STATE ST                                                    LYNN               MA   01901-1504   US         2,267
    4457        49     TG       2            A        4457      SC            NORTH ANDOVER MALL        NORTH ANDOVER MALL                           350 WINTHROP AVE                                               NORTH ANDOVER      MA   01845-4289   US         3,000
    5196        50     TG       2            A        5196      M               NORTHSHORE MALL         NORTHSHORE MALL                              210 ANDOVER ST                       SUITE N109A               PEABODY            MA   01960-1647   US         2,804
    5441        51     TG       2            A        5441      SC               NORTHGATE PLAZA        NORTHGATE PLAZA                              339 SQUIRE RD                        UNIT 148                  REVERE             MA   02151-4309   US         2,500
    5019        52     TG       2            A        5019      CB                DUDLEY SQUARE         DUDLEY SQUARE                                2189 WASHINGTON STREET                                         ROXBURY            MA   02119-2023   US         2,529
    4773        53     TG       2            A        4773      M                SQUARE ONE MALL        SQUARE ONE MALL                              1201 BROADWAY                        SPACE W135                SAUGUS             MA   01906-4182   US         3,812
    5503        54     TG       2            A        5503      SC                 STADIUM PLAZA        STADIUM PLAZA                                10 MAIN STREET                                                 TEWKSBURY          MA   01876-1660   US         2,400
    4628        55     TG       2            A        4628      M                   AUBURN MALL         AUBURN MALL                                  550 CENTER ST                        SUITE 9051                AUBURN             ME   04210-6314   US         3,623
    5222        56     TG       2            A        5222      SC      THE MARKETPLACE AT AUGUSTA      THE MARKETPLACE AT AUGUSTA                   15 STEPHEN KING DR                   SUITE 3                   AUGUSTA            ME   04330-0000   US         3,000
    4546        57     TG       2            A        4546      M                   BANGOR MALL         BANGOR MALL                                  663 STILLWATER AVE SPACE F-2                                   BANGOR             ME   04401-3642   US         2,824
    5120        58     TG       2            A        5120      M                    MAINE MALL         MAINE MALL                                   379 MAINE MALL                                                 SOUTH PORTLAND     ME   04106-3237   US         3,129
    4626        59     TG       2            A        4626      SC              WESTBROOK PLAZA         WESTBROOK PLAZA                              11 MAIN ST                           UNIT A250                 WESTBROOK          ME   04092-4736   US         2,840
    1032        60     TG       2            A        1032      SC                HOOD COMMONS          HOOD COMMONS                                 55 CRYSTAL AVE                       SPACE 10                  DERRY              NH   03038-1702   US         2,910
    5020        61     TG       2            A        5020      SC               EPPING CROSSING        EPPING CROSSING                              29 FRESH RIVER ROAD                                            EPPING             NH   03042-2222   US         3,000
    5712        62     TG       2            A        5712      M           MALL OF NEW HAMPSHIRE       MALL OF NEW HAMPSHIRE                        1500 S WILLOW ST                     SPACE S103                MANCHESTER         NH   03103-3220   US         3,852
    4664        63     TG       2            A        4664      SC                SOMERSET PLAZA        SOMERSET PLAZA                               375 AMHERST ST                                                 NASHUA             NH   03063-1216   US         4,810
    5655        64     TG       2            A        5655      M              PHEASANT LANE MALL       PHEASANT LANE MALL                           310 DANIEL WEBSTER HWY               SPACE W-101               NASHUA             NH   03060-5730   US         3,215
    4849        65     TG       2            A        4849      M                  FOX RUN MALL         FOX RUN MALL                                 50 FOX RUN ROAD                      SUITE 60                  NEWINGTON          NH   03801-2851   US         5,021
    4009        66     TG       2            A        4009      M      THE MALL AT ROCKINGHAM PARK      THE MALL AT ROCKINGHAM PARK                  99 ROCKINGHAM PARK BLVD SPACE W175                             SALEM              NH   03079-2900   US         3,137
    4477        67     TG       2            A        4477      SC                 TRI-CITY PLAZA       TRI-CITY PLAZA                               174 TRI-CITY PLAZA                                             SOMERSWORTH        NH   03878-1801   US         2,945
    5686        68     TG       2            A        5686      M                   AUBURN MALL         AUBURN MALL                                  385 SOUTHBRIDGE ST                   SPACE S200                AUBURN             MA   01501-2498   US         2,691
    5714        69     TG       2            A        5714      SC                 DEDHAM PLAZA         DEDHAM PLAZA                                 703 PROVIDENCE HWY                   SPACE 18                  DEDHAM             MA   02026-6832   US         3,300
    5051        70     TG       2            A        5051      M                  HOLYOKE MALL         HOLYOKE MALL                                 50 HOLYOKE ST                        SUITE G308                HOLYOKE            MA   01040-0000   US         3,477
    5093        72     TG       2            A        5093      M         THE MALL AT WHITNEY FIELD     THE MALL AT WHITNEY FIELD                    100 COMMERCIAL ROAD                  UNIT 175                  LEOMINSTER         MA   01453-3342   US         3,084
    5482        73     TG       2            A        5482      M              SOLOMON POND MALL        SOLOMON POND MALL                            601 DONALD LYNCH BLVD                                          MARLBOROUGH        MA   01752-4730   US         3,782
    5116        74     TG       2            A        5116      M                    NATICK MALL        NATICK MALL                                  1245 WORCESTER ST                    SUITE 1212                NATICK             MA   01760-1553   US         3,179
    3587        75     TG       2            A        3587      SC       RIVER CITY SHOPPING CENTER     RIVER CITY SHOPPING CENTER                   104 RIVER ST                                                   WALTHAM            MA   02453-8306   US         2,800
    5391        76     TG       2            A        5391      SC               WEBSTER SQUARE         WEBSTER SQUARE                               68 STAFFORD STREET                                             WORCESTER          MA   01603-1450   US         4,792
    5166        77     TG       2            A        5166      SC        CLAREMONT MARKET PLACE        CLAREMONT MARKET PLACE                       345 WASHINGTON ST                                              CLAREMONT          NH   03743-2774   US         2,500
    4697        78     TG       2            A        4697      SC         CAPITAL SHOPPING CENTER      CAPITAL SHOPPING CENTER                      80 STORRS ST                         SUITE 8                   CONCORD            NH   03301-4840   US         3,000
                                                            Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                                                                                   Pg 28 of 57
                                                                                              Store Closing List




5287    79   TG   2   A   5287   SC              462 WEST STREET        462 WEST STREET                                                                                KEENE              NH   03431-2453   US   2,910
3426    80   TG   2   A   3426   M               ENFIELD SQUARE         ENFIELD SQUARE                               90 ELM ST                           SPACE 61      ENFIELD            CT   06082-3770   US   2,854
3440    81   TG   2   A   3440   M     THE SHOPPES AT BUCKLAND HILLS    THE SHOPPES AT BUCKLAND HILLS                194 BUCKLAND HILLS DR               SUITE 2126    MANCHESTER         CT   06042-8751   US   2,823
5208    82   TG   2   A   5208   SC          MANCHESTER PARKADE         MANCHESTER PARKADE                           372 W MIDDLE TURNPIKE                             MANCHESTER         CT   06040-3824   US   3,000
4414    83   TG   2   A   4414   SC         CHICOPEE MARKETPLACE        CHICOPEE MARKETPLACE                         591 MEMORIAL DR                     SUITE M       CHICOPEE           MA   01020-5050   US   2,800
3789    84   TG   2   A   3789   SC             SPRINGFIELD PLAZA       SPRINGFIELD PLAZA                            1327 LIBERTY ST                                   SPRINGFIELD        MA   01104-1170   US   3,725
4788    85   TG   2   A   4788   SC          SPRINGFIELD COMMONS        SPRINGFIELD COMMONS                          1059 BOSTON ROAD                                  SPRINGFIELD        MA   01119-0000   US   3,312
5107    86   TG   2   A   5107   SC              CENTURY CENTER         CENTURY CENTER                               377 MEMORIAL AVENUE                               WEST SPRINGFIELD   MA   01089-4007   US   2,922
4870    87   TG   2   A   4870   SC              WESTFIELD SHOPS        WESTFIELD SHOPS                              451 E MAIN STREET                                 WESTFIELD          MA   01085-3312   US   3,400
5574    88   GA   3   A   5574   M             SOUTH SHORE PLAZA        SOUTH SHORE PLAZA                            250 GRANITE                         SPACE 2025    BRAINTREE          MA   02184-2804   US   2,774
3926    89   GA   3   A   3926   M                WESTGATE MALL         WESTGATE MALL                                200 WESTGATE DR                     SUITE N 111   BROCKTON           MA   02301-0000   US   3,622
4761    90   GA   3   A   4761   M                 HANOVER MALL         HANOVER MALL                                 1775 WASHINGTON ST                                HANOVER            MA   02339-1701   US   3,699
5713    91   GA   3   A   5713   M                CAPE COD MALL         CAPE COD MALL                                793 IYANNOUGH RD                    SUITE W131A   HYANNIS            MA   02601-5027   US   3,223
4567    92   GA   3   A   4567   SC           MANSFIELD CROSSING        MANSFIELD CROSSING                           280 SCHOOL ST                       SUITE J140    MANSFIELD          MA   02048-1810   US   2,850
3480    93   GA   3   A   3480   SC                MILFORD PLAZA        MILFORD PLAZA                                91 MEDWAY RD                        UNIT 7        MILFORD            MA   01757-2915   US   2,520
6458    94   GA   3   A   6458   SC        FIELDSTONE MARKET PLACE      FIELDSTONE MARKET PLACE                      950 KINGS HWY SPACE S                             NEW BEDFORD        MA   02745-4957   US   2,991
3393    95   GA   3   A   3393   M           EMERALD SQUARE MALL        EMERALD SQUARE MALL                          300 EMERALD SQUARE                  PO BOX 300    NORTH ATTLEBORO    MA   02760-3645   US   2,770
4011    96   GA   3   A   4011   M               DARTMOUTH MALL         DARTMOUTH MALL                               102 N DARTMOUTH MALL                              NORTH DARTMOUTH    MA   02747-4204   US   3,000
3474    97   GA   3   A   3474   SC     ROSLINDALE SHOPPING CENTER      ROSLINDALE SHOPPING CENTER                   960 AMERICAN LEGION HIGHWAY                       ROSLINDALE         MA   02131-4701   US   5,250
4348    98   GA   3   A   4348   M            SILVER CITY GALLERIA      SILVER CITY GALLERIA                         2 GALLERIA DRIVE                    SUITE 215     TAUNTON            MA   02780-6989   US   4,032
5256    99   GA   3   A   5256   SC             WALNUT HILL PLAZA       WALNUT HILL PLAZA                            1500 DIAMOND HILL RD                              WOONSOCKET         RI   02895-1547   US   3,207
4501   100   GA   3   A   4501   SC              MARSHALLS PLAZA        MARSHALLS PLAZA                              1400 OAKLAWN AVE                                  CRANSTON           RI   02920-2643   US   2,767
4500   101   GA   3   A   4500   SC             WAMPANOAG PLAZA         WAMPANOAG PLAZA                              1925 PAWTUCKET AVE                                EAST PROVIDENCE    RI   02914-1642   US   3,240
6700   102   GA   3   A   6700   SC              JOHNSTON PLAZA         JOHNSTON PLAZA                               11 COMMERCE WAY                                   JOHNSTON           RI   02919-4613   US   3,000
2419   103   GA   3   A   2419   SC                LINCOLN MALL         LINCOLN MALL                                 622 GEORGE WASHINGTON HWY           SUITE A03     LINCOLN            RI   02865-0000   US   6,000
5406   104   GA   3   A   5406   JC            DOUGLAS CROSSING         DOUGLAS CROSSING                             1664 MINERAL SPRING AVENUE                        NORTH PROVIDENCE   RI   02904-4002   US   2,725
5724   105   GA   3   A   5724   M          PROVIDENCE PLACE MALL       PROVIDENCE PLACE MALL                        146 PROVIDENCE PLACE                              PROVIDENCE         RI   02903-1754   US   2,946
5527   106   GA   3   A   5527   M               WAKEFIELD MALL         WAKEFIELD MALL                               160 OLD TOWER ROAD                  SUITE 10      WAKEFIELD          RI   02879-3731   US   3,750
4407   107   GA   3   A   4407   JC            CROSSROADS PLAZA         CROSSROADS PLAZA                             2505 WARWICK AVE                                  WARWICK            RI   02889-4262   US   2,400
4691   108   GA   3   A   4691   M                 WARWICK MALL         WARWICK MALL                                 400 BALD HILL RD STE 402                          WARWICK            RI   02886-1690   US   3,418
5483   109   GA   3   A   5483   SC        FRANKLIN SHOPPING PLAZA      FRANKLIN SHOPPING PLAZA                      100 FRANKLIN STREET UNIT D                        WESTERLY           RI   02891-3152   US   2,800
3182   110   GA   3   A   3182   SC             BRANHAVEN PLAZA         BRANHAVEN PLAZA                              1075 W MAIN ST                                    BRANFORD           CT   06405-3430   US   3,750
4433   111   GA   3   A   4433   SC             CROMWELL SQUARE         CROMWELL SQUARE                              51 SHUNPIKE RD # 02                               CROMWELL           CT   06416-2497   US   2,304
6327   112   GA   3   A   6327   SC            GROTON SQUARE SC         GROTON SQUARE SC                             220 RTE 12 UNIT 4                                 GROTON             CT   06340-0000   US   3,340
1893   113   GA   3   A   1893   SC                HAMDEN PLAZA         HAMDEN PLAZA                                 2100 DIXWELL AVENUE                 SPACE 222     HAMDEN             CT   06514-0000   US   3,250
4613   114   GA   3   A   4613   SC                 AMITY PLAZA         AMITY PLAZA                                  154 AMITY RD                                      NEW HAVEN          CT   06515-1405   US   2,888
5203   115   GA   3   A   5203   SC              NORTH HAVEN SC         NORTH HAVEN SC                               210 UNIVERSAL DRIVE N                             NORTH HAVEN        CT   06473-3143   US   6,401
4384   116   GA   3   A   4384   SC                MARCUS PLAZA         MARCUS PLAZA                                 624 W MAIN ST                                     NORWICH            CT   06360-6043   US   3,000
5028   117   GA   3   A   5028   FS                 KOHL'S PLAZA        KOHL'S PLAZA                                 1248 S BROAD STREET                               WALLINGFORD        CT   06492-1715   US   2,710
4876   118   GA   3   A   4876   M                 CRYSTAL MALL         CRYSTAL MALL                                 850 HARTFORD TURNPIKE                             WATERFORD          CT   06385-4201   US   3,555
3788   119   GA   3   A   3788   M               EAST BROOK MALL        EAST BROOK MALL                              95 STORRS ROAD SPACE #13                          WILLIMANTIC        CT   06226-4012   US   3,653
5419   120   GA   3   A   5419   SC        283 COTTAGE GROVE ROAD       283 COTTAGE GROVE ROAD                                                                         BLOOMFIELD         CT   06002-3117   US   3,000
4898   121   GA   3   A   4898   SC                BRISTOL PLAZA        BRISTOL PLAZA                                615 FARMINGTON AVE                  SUITE 2A      BRISTOL            CT   06010-3934   US   7,489
4900   122   GA   3   A   4900   SC      CHARTER OAK MARKET PLACE       CHARTER OAK MARKET PLACE                     71 WILLIAM SHORTY CAMPBELL STREET   SPACE F       HARTFORD           CT   06106-0000   US   3,000
3499   123   GA   3   A   3499   M             WESTFIELD MERIDEN        WESTFIELD MERIDEN                            470 LEWIS AVENUE                    SUITE 1010    MERIDEN            CT   06451-0000   US   3,352
6322   124   GA   3   A   6322   SC                NEW BRITE S/C        NEW BRITE S/C                                220 E MAIN ST                                     NEW BRITAIN        CT   06051-1948   US   3,000
3744   125   GA   3   A   3744   SC                QUEENS PLAZA         QUEENS PLAZA                                 837 QUEEN ST                                      SOUTHINGTON        CT   06489-1507   US   3,000
3690   126   GA   3   A   3690   SC       TORRINGTON DOWNTOWN SC        TORRINGTON DOWNTOWN SC                       47 S MAIN ST # 48                                 TORRINGTON         CT   06790-6430   US   2,760
5588   127   GA   3   A   5588   M              BRASS MILL CENTER       BRASS MILL CENTER                            495 UNION ST                        SUITE 1160    WATERBURY          CT   06706-3200   US   2,912
6324   128   GA   3   A   6324   JC               950 WOLCOTT ST        950 WOLCOTT ST                                                                                 WATERBURY          CT   06705-1300   US   4,500
1514   129   GA   3   A   1514   SC    WETHERSFIELD SHOPPING CENTER     WETHERSFIELD SHOPPING CENTER                 1063 SILAS DEANE HIGHWAY                          WETHERSFIELD       CT   06109-4229   US   3,515
3529   130   TG   4   A   3529   SC           78 BROOKSIDE AVENUE       78 BROOKSIDE AVENUE                          SPACE 7                             SPACE 7       CHESTER            NY   10918-1429   US   3,000
4030   131   TG   4   A   4030   M         GALLERIA AT CRYSTAL RUN      GALLERIA AT CRYSTAL RUN                      1 N GALLERIA DRIVE                  SPACE C 103   MIDDLETOWN         NY   10941-3032   US   4,107
5026   132   TG   4   A   5026   SC        CORTLANDT TOWN CENTER        CORTLANDT TOWN CENTER                        3137 MAIN ST                                      MOHEGAN LAKE       NY   10547-1521   US   3,597
1236   133   TG   4   A   1236   SC          CROSSROADS PLAZA SC        CROSSROADS PLAZA SC                          50 ROUTE 17K                        SUITE 119     NEWBURGH           NY   12550-0000   US   5,600
4472   134   TG   4   A   4472   M               NEWBURGH MALL          NEWBURGH MALL                                1401 ROUTE 300                      SUITE 32      NEWBURGH           NY   12550-2991   US   3,672
3026   135   TG   4   A   3026   M          POUGHKEEPSIE GALLERIA       POUGHKEEPSIE GALLERIA                        2001 SOUTH RD                       SUITE A104    POUGHKEEPSIE       NY   12601-0000   US   4,000
4868   136   TG   4   A   4868   SC             DUTCHESS CENTER         DUTCHESS CENTER                              645 DUTCHESS TURNPIKE                             POUGHKEEPSIE       NY   12603-1907   US   3,310
4554   137   TG   4   A   4554   M          JEFFERSON VALLEY MALL       JEFFERSON VALLEY MALL                        650 LEE BLVD SPACE F-22                           YORKTOWN HEIGHTS   NY   10598-1100   US   3,244
6595   138   TG   4   A   6595   SC        WESTFALL TOWNE CENTER        WESTFALL TOWNE CENTER                        111 HULST DR                        SUITE 716     MATAMORAS          PA   18336-2115   US   3,199
4786   139   TG   4   A   4786   CB            1 S WASHINGTON AVE       1 S WASHINGTON AVE                                                                             BERGENFIELD        NJ   07621-2324   US   2,610
 318   140   TG   4   A    318   SC             PALLISADES COURT        PALLISADES COURT                             51 NATHANIEL PLACE                                ENGLEWOOD          NJ   07631-2736   US   2,950
5757   141   TG   4   A   5757   M             PARAMUS PARK MALL        PARAMUS PARK MALL                            1355 PARAMUS PARK                   SPACE 1375    PARAMUS            NJ   07652-3532   US   3,035
4119   142   TG   4   A   4119   M             WILLOWBROOK MALL         WILLOWBROOK MALL                             1370 WILLOWBROOK MALL                             WAYNE              NJ   07470-0000   US   3,514
 317   143   TG   4   A    317   SC                  1610 US 46         1610 US 46                                                                                     WEST PATERSON      NJ   07424-0000   US   3,000
5515   144   TG   4   A   5515   SC   WESTWOOD PLAZA SHOPPING CENTER    WESTWOOD PLAZA SHOPPING CENTER               700-79 BROADWAY                                   WESTWOOD           NJ   07675-1674   US   2,400
4313   145   TG   4   A   4313   SC      ROCKLAND CONSUMER PLAZA        ROCKLAND CONSUMER PLAZA                      42 ROCKLAND CONSUMER PLAZA          ROUTE 59      NANUET             NY   10954-2208   US   4,124
5603   146   TG   4   A   5603   M              PALISADES CENTER        PALISADES CENTER                             3322 PALISADES CENTER DRIVE                       WEST NYACK         NY   10994-6603   US   3,124
4098   147   TG   4   A   4098   CB            32 WESTCHESTER SQ        32 WESTCHESTER SQ                                                                              BRONX              NY   10461-3514   US   3,250
5042   148   TG   4   A   5042   CB           744 ALLERTON AVENUE       744 ALLERTON AVENUE                                                                            BRONX              NY   10467-8702   US   2,900
5760   149   TG   4   A   5760   SC                  BAY PLAZA          BAY PLAZA                                    2260 BARTOW AVE                                   BRONX              NY   10475-4618   US   3,600
3121   150   TG   4   A   3121   CB                 54 S 4TH AVE        54 S 4TH AVE                                                                                   MOUNT VERNON       NY   10550-3105   US   3,208
5514   151   TG   4   A   5514   CB               479 MAIN STREET       479 MAIN STREET                                                                                NEW ROCHELLE       NY   10801-6303   US   3,300
2395   152   TG   4   A   2395   M      THE GALLERIA AT WHITE PLAINS    THE GALLERIA AT WHITE PLAINS                 100 MAIN ST                         SUITE 306     WHITE PLAINS       NY   10601-0000   US   3,428
5392   153   TG   4   A   5392   SC     CROSSROADS SHOPPING PLAZA       CROSSROADS SHOPPING PLAZA                    387 TARRYTOWN ROAD                                WHITE PLAINS       NY   10607-1423   US   3,090
4596   154   TG   4   A   4596   CB              424 S BROADWAY         424 S BROADWAY                                                                                 YONKERS            NY   10705-2301   US   3,250
5439   155   TG   4   A   5439   SC     BURLINGTON SHOPPING CENTER      BURLINGTON SHOPPING CENTER                   2500 CENTRAL PARK AVE                             YONKERS            NY   10710-1133   US   4,302
5021   156   TG   4   A   5021   FS           51-57 BOSTON AVENUE       51-57 BOSTON AVENUE                                                                            BRIDGEPORT         CT   06610-1601   US   5,279
5147   157   TG   4   A   5147   SC      BERKSHIRE SHOPPING CENTER      BERKSHIRE SHOPPING CENTER                    67 NEWTOWN RD                                     DANBURY            CT   06810-0000   US   3,136
                                                              Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                                                                                     Pg 29 of 57
                                                                                                Store Closing List




4183   158   TG   4   A   4183   M          CONNECTICUT POST MALL         CONNECTICUT POST MALL                        1201 BOSTON POST RD # 1081                          MILFORD            CT   06460-9010   US   4,422
5546   159   TG   4   A   5546   SC                 DARINOR PLAZA         DARINOR PLAZA                                500 CONNECTICUT AVENUE                              NORWALK            CT   06854-1721   US   3,300
 262   160   TG   4   A    262   M          STAMFORD TOWN CENTER          STAMFORD TOWN CENTER                         100 GREYROCK PLACE           SPACE F227             STAMFORD           CT   06901-0000   US   2,506
5317   161   TG   4   A   5317   CB             55 BEDFORD STREET         55 BEDFORD STREET                                                                                STAMFORD           CT   06901-1908   US   3,155
3465   162   TG   4   A   3465   SC             STRATFORD SQUARE          STRATFORD SQUARE                             411 BARNUM AVENUE CUTOFF                            STRATFORD          CT   06614-5100   US   2,563
4405   163   TG   4   A   4405   M             WESTFIELD TRUMBULL         WESTFIELD TRUMBULL                           5065 MAIN ST                 SPACE 190              TRUMBULL           CT   06611-4204   US   3,200
4514   164   TG   4   A   4514   M               HAWLEY LANE MALL         HAWLEY LANE MALL                             100 HAWLEY LN                SPACE 3 4 5            TRUMBULL           CT   06611-5330   US   2,554
4347   165   GA   5   A   4347   CB                   3723 82ND ST        3723 82ND ST                                                                                     FLUSHING           NY   11372-7031   US   7,904
4810   166   GA   5   A   4810   SC           GARDEN CITY PARK S/C        GARDEN CITY PARK S/C                         2405A JERICHO TPKE                                  GARDEN CITY PARK   NY   11040-4710   US   3,482
5565   167   GA   5   A   5565   SC                   FRAN HILL S/C       FRAN HILL S/C                                204-13 HILLSIDE                                     HOLLIS             NY   11423-2213   US   3,420
3642   168   GA   5   A   3642   CB               16211 JAMAICA AVE       16211 JAMAICA AVE                                                                                JAMAICA            NY   11432-4909   US   6,740
4595   169   GA   5   A   4595   CB               117-08 LIBERTY AVE      117-08 LIBERTY AVE                                                                               JAMAICA            NY   11419-1922   US   4,720
5057   170   GA   5   A   5057   CB         147-05-07 JAMAICA AVENUE      147-05-07 JAMAICA AVENUE                                                                         JAMAICA            NY   11435-3629   US   3,270
4375   171   GA   5   A   4375   CB               3070 STEINWAY ST        3070 STEINWAY ST                                                                                 LONG ISLAND CITY   NY   11103-3802   US   3,130
4058   172   GA   5   A   4058   SC        EDWARDS BRADLEY CENTER         EDWARDS BRADLEY CENTER                       677-681 HILLSIDE AVE                                NEW HYDE PARK      NY   11040-2512   US   3,637
5479   173   GA   5   A   5479   SC        SOUNDVIEW MARKETPLACE          SOUNDVIEW MARKETPLACE                        23 SOUNDVIEW MARKETPLACE                            PORT WASHINGTON    NY   11050-2221   US   3,351
3726   174   GA   5   A   3726   SC     FIVE TOWNS SHOPPING CENTER        FIVE TOWNS SHOPPING CENTER                   25301 ROCKAWAY BLVD          SUITE 13               ROSEDALE           NY   11422-3132   US   4,068
4556   175   GA   5   A   4556   M               GREEN ACRES MALL         GREEN ACRES MALL                             1142 GREEN ACRES MALL                               VALLEY STREAM      NY   11581-1538   US   4,111
3819   176   GA   5   A   3819   SC             456 HEMPSTEAD TPKE        456 HEMPSTEAD TPKE                                                                               WEST HEMPSTEAD     NY   11552-1305   US   2,720
3754   177   GA   5   A   3754   CB              793 MANHATTAN AVE        793 MANHATTAN AVE                                                                                BROOKLYN           NY   11222-2710   US   3,125
4115   178   GA   5   A   4115   SC    STARRETT CITY SHOPPING CENTER      STARRETT CITY SHOPPING CENTER                1360 PENNSYLVANIA AVE # 9                           BROOKLYN           NY   11239-2103   US   3,090
4326   179   GA   5   A   4326   SC    GEORGETOWN SHOPPING CENTER         GEORGETOWN SHOPPING CENTER                   2135 RALPH AVE # 19                                 BROOKLYN           NY   11234-5405   US   4,600
4371   180   GA   5   A   4371   CB                 1574 PITKIN AVE       1574 PITKIN AVE                                                                                  BROOKLYN           NY   11212-4639   US   4,760
4459   181   GA   5   A   4459   CB             1432 ROCKAWAY PKY         1432 ROCKAWAY PKY                                                                                BROOKLYN           NY   11236-2602   US   4,207
4580   182   GA   5   A   4580   CB               1285-A BROADWAY         1285-A BROADWAY                                                                                  BROOKLYN           NY   11221-2908   US   3,100
4650   183   GA   5   A   4650   CB             1137 LIBERTY AVENUE       1137 LIBERTY AVENUE                                                                              BROOKLYN           NY   11208-3310   US   2,670
5169   184   GA   5   A   5169   SC          2201 NOSTRAND AVENUE         2201 NOSTRAND AVENUE                                                                             BROOKLYN           NY   11210-3030   US   3,326
5046   185   GA   5   A   5046   CB            89-22 JAMAICA AVENUE       89-22 JAMAICA AVENUE                                                                             JAMAICA            NY   11421-2040   US   2,680
5696   186   GA   5   A   5696   SC                PATHMARK PLAZA         PATHMARK PLAZA                               13440 SPRINGFIELD BLVD                              JAMAICA            NY   11413-1459   US   2,500
5056   187   GA   5   A   5056   CB             9400 LIBERTY AVENUE       9400 LIBERTY AVENUE                                                                              OZONE PARK         NY   11417-1550   US   3,300
3812   188   GA   5   A   3812   CB              5707-09 MYRTLE AVE       5707-09 MYRTLE AVE                                                                               RIDGEWOOD          NY   11385-4933   US   3,510
4671   189   GA   5   A   4671   M          WESTFIELD SOUTH SHORE         WESTFIELD SOUTH SHORE                        1701 SUNRISE HWY                                    BAY SHORE          NY   11706-6091   US   3,605
3735   190   GA   5   A   3735   JC       CENTEREACH MALL SPACE 45A       CENTEREACH MALL SPACE 45A                    15 CENTEREACH MALL           SPACE 45-A             CENTEREACH         NY   11720-2712   US   3,350
5121   191   GA   5   A   5121   FS           6079 JERICHO TURNPIKE       6079 JERICHO TURNPIKE                                                                            COMMACK            NY   11725-2803   US   5,246
3443   192   GA   5   A   3443   SC          HUNTINGTON COMMONS           HUNTINGTON COMMONS                           823 NE YORK AVENUE           SUITE 50               HUNTINGTON         NY   11743-4412   US   3,064
2076   193   GA   5   A   2076   SC     KOHLS PLAZA SHOPPING CENTER       KOHLS PLAZA SHOPPING CENTER                  131 RONKONKOMA AVE                                  LAKE RONKONKOMA    NY   11779-0000   US   3,171
3734   194   GA   5   A   3734   SC      LEVITTOWN SHOPPING CENTER        LEVITTOWN SHOPPING CENTER                    2997 HEMPSTEAD TPKE                                 LEVITTOWN          NY   11756-1330   US   3,300
3710   195   GA   5   A   3710   M              WESTFIELD SUNRISE         WESTFIELD SUNRISE                            2170 SUNRISE MALL                                   MASSAPEQUA         NY   11758-4327   US   3,362
4462   196   GA   5   A   4462   JC          NORTH MASSAPEQUA SC          NORTH MASSAPEQUA SC                          4250 JERUSALEM AVE           SUITE G                MASSAPEQUA         NY   11758-3315   US   3,967
4601   197   GA   5   A   4601   SC   CARMAN'S PLAZA SHOPPING CENTER      CARMAN'S PLAZA SHOPPING CENTER               930 CARMANS ROAD                                    MASSAPEQUA         NY   11758-3505   US   2,899
4974   198   GA   5   A   4974   FS          1273 DEER PARK AVENUE        1273 DEER PARK AVENUE                                                                            NORTH BABYLON      NY   11703-3104   US   3,050
1787   199   GA   5   A   1787   SC                 GATEWAY PLAZA         GATEWAY PLAZA                                499 SUNRISE HWY W 21                                PATCHOGUE          NY   11772-2200   US   2,500
4377   200   GA   5   A   4377   SC                 SOUTHPORT SC          SOUTHPORT SC                                 999 MONTAUK HWY              UNIT 30                SHIRLEY            NY   11967-2113   US   5,096
4013   201   GA   5   A   4013   SC   GRAND BALDWIN SHOPPING CENTER       GRAND BALDWIN SHOPPING CENTER                1775 GRAND AVE                                      BALDWIN            NY   11510-2429   US   3,442
5296   202   GA   5   A   5296   JC                2410 MERRICK RD        2410 MERRICK RD                                                                                  BELLMORE           NY   11710-5701   US   3,393
4454   203   GA   5   A   4454   SC             EAST MEADOW PLAZA         EAST MEADOW PLAZA                            1950 HEMPSTEAD TPKE                                 EAST MEADOW        NY   11554-1712   US   3,025
4666   204   GA   5   A   4666   SC              EXPRESSWAY PLAZA         EXPRESSWAY PLAZA                             2314 N OCEAN AVE             SUITE A                FARMINGVILLE       NY   11738-2909   US   3,200
5276   205   GA   5   A   5276   FS                  107 MILL ROAD        107 MILL ROAD                                                                                    FREEPORT           NY   11520-4630   US   3,060
4874   206   GA   5   A   4874   M                 BROADWAY MALL          BROADWAY MALL                                204 BROADWAY MALL                                   HICKSVILLE         NY   11801-2709   US   3,750
4482   207   GA   5   A   4482   M                    SUNVET MALL         SUNVET MALL                                  5801 SUNRISE HWY                                    HOLBROOK           NY   11741-4805   US   2,538
5137   208   GA   5   A   5137   M                SMITH HAVEN MALL        SMITH HAVEN MALL                             502 SMITH HAVEN MALL                                LAKE GROVE         NY   11755-0000   US   4,201
5108   209   GA   5   A   5108   JC           3170 LONG BEACH ROAD        3170 LONG BEACH ROAD                                                                             OCEANSIDE          NY   11572-4109   US   4,195
4525   210   GA   5   A   4525   SC            1085 OLD COUNTRY RD        1085 OLD COUNTRY RD                                                                              RIVERHEAD          NY   11901-2019   US   4,380
3866   211   GA   5   A   3866   SC                  SELDEN PLAZA         SELDEN PLAZA                                 269 MIDDLE COUNTRY RD                               SELDEN             NY   11784-2565   US   2,564
4550   212   GA   5   A   4550   SC              PORT HAVEN PLAZA         PORT HAVEN PLAZA                             5020 NESCONSET HWY                                  SETAUKET           NY   11733-3457   US   3,121
5443   213   TG   6   A   5443   SC              762 ROOSEVELT AVE        762 ROOSEVELT AVE                                                                                CARTERET           NJ   07008-2308   US   3,516
4800   214   TG   6   A   4800   M                    MENLO PARK          MENLO PARK                                   55 PARSONAGE RD              SPACE 2920 SUITE 381   EDISON             NJ   08837-0000   US   3,553
2815   215   TG   6   A   2815   CB                   80 BROAD ST         80 BROAD ST                                                                                      ELIZABETH          NJ   07201-2208   US   4,768
5789   216   TG   6   A   5789   M       THE MILLS AT JERSEY GARDENS      THE MILLS AT JERSEY GARDENS                  651 KAPKOWSKI RD             SPACE 1106             ELIZABETH          NJ   07201-4901   US   3,055
 695   217   TG   6   A    695   M                NEWPORT CENTRE          NEWPORT CENTRE                               30 MALL DR W                                        JERSEY CITY        NJ   07310-1603   US   3,334
1107   218   TG   6   A   1107   M                   HUDSON MALL          HUDSON MALL                                  701 STATE RT 440 RR440       SPACE 63               JERSEY CITY        NJ   07304-1069   US   3,138
1134   219   TG   6   A   1134   CB                JOURNAL SQUARE         JOURNAL SQUARE                               2843 JOHN F KENNEDY BLVD                            JERSEY CITY        NJ   07306-3901   US   3,026
4966   220   TG   6   A   4966   CB                317 CENTRAL AVE        317 CENTRAL AVE                                                                                  JERSEY CITY        NJ   07307-2915   US   4,018
4789   221   TG   6   A   4789   SC         LINDEN SHOPPING CENTER        LINDEN SHOPPING CENTER                       1601 W EDGAR ROAD                                   LINDEN             NJ   07036-6421   US   3,416
1926   222   TG   6   A   1926   SC             TONNELLE COMMONS          TONNELLE COMMONS                             8800 TONNELLE AVE            UNIT G 2               NORTH BERGEN       NJ   07047-4709   US   4,000
3039   223   TG   6   A   3039   SC    WEST BRANCH SHOPPING CENTER        WEST BRANCH SHOPPING CENTER                  1745 MORRIS AVE              SUITE D                UNION              NJ   07083-3516   US   3,006
1194   224   TG   6   A   1194   CB        3518 BERGENLINE AVE # 3520     3518 BERGENLINE AVE # 3520                                                                       UNION CITY         NJ   07087-4751   US   4,552
2464   225   TG   6   A   2464   CB            5808 BERGENLINE AVE        5808 BERGENLINE AVE                                                                              WEST NEW YORK      NJ   07093-1231   US   6,000
2183   226   TG   6   A   2183   JC          WOODBRIDGE COMMONS           WOODBRIDGE COMMONS                           306 ROUTE 9 NORTH                                   WOODBRIDGE         NJ   07095-1004   US   4,004
3797   227   TG   6   A   3797   M         WOODBRIDGE CENTER MALL         WOODBRIDGE CENTER MALL                       102 WOODBRIDGE CENTER DR                            WOODBRIDGE         NJ   07095-1124   US   3,000
3637   228   TG   6   A   3637   CB               209 E FORDHAM RD        209 E FORDHAM RD                                                                                 BRONX              NY   10458-5014   US   8,163
3646   229   TG   6   A   3646   CB            2184 WHITE PLAINS RD       2184 WHITE PLAINS RD                                                                             BRONX              NY   10462-0000   US   3,705
4339   230   TG   6   A   4339   CB                3457 JEROME AVE        3457 JEROME AVE                                                                                  BRONX              NY   10467-1049   US   2,890
5123   231   TG   6   A   5123   CB            7 EAST BURNSIDE AVE        7 EAST BURNSIDE AVE                                                                              BRONX              NY   10453-4103   US   3,000
1141   232   TG   6   A   1141   CB                 GOTHAM PLAZA          GOTHAM PLAZA                                 149 E 125TH ST                                      NEW YORK           NY   10035-1748   US   3,308
2782   233   TG   6   A   2782   CB                    556 W 181ST        556 W 181ST                                                                                      NEW YORK           NY   10033-5005   US   3,256
3601   234   TG   6   A   3601   CB                  208 W 125TH ST       208 W 125TH ST                                                                                   NEW YORK           NY   10027-4410   US   3,700
4035   235   TG   6   A   4035   CB                   2143 3RD AVE        2143 3RD AVE                                                                                     NEW YORK           NY   10035-4707   US   3,080
4290   236   TG   6   A   4290   CB                 3805 BROADWAY         3805 BROADWAY                                                                                    NEW YORK           NY   10032-1502   US   3,200
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                                                                                                    Pg 30 of 57
                                                                                               Store Closing List




4327   237   TG   6   A   4327   CB                 1897 3RD AVE         1897 3RD AVE                                                                              NEW YORK           NY   10029-4906   US   3,025
4358   238   TG   6   A   4358   CB            110 W 34TH STREET         110 W 34TH STREET                                                                         NEW YORK           NY   10001-2910   US   5,629
 921   239   TG   6   A    921   CB         144 B EAST 98TH STREET       144 B EAST 98TH STREET                                                                    BROOKLYN           NY   11212-3827   US   3,276
3569   240   TG   6   A   3569   CB               21 GRAHAM AVE          21 GRAHAM AVE                                                                             BROOKLYN           NY   11206-4008   US   4,000
3627   241   TG   6   A   3627   CB        379 KNICKERBOCKER AVE         379 KNICKERBOCKER AVE                                                                     BROOKLYN           NY   11237-3701   US   5,000
3667   242   TG   6   A   3667   CB               1231 FULTON ST         1231 FULTON ST                                                                            BROOKLYN           NY   11216-2004   US   3,600
4332   243   TG   6   A   4332   CB            1017 FLATBUSH AVE         1017 FLATBUSH AVE                                                                         BROOKLYN           NY   11226-5429   US   4,238
4350   244   TG   6   A   4350   CB                 5320 5TH AVE         5320 5TH AVE                                                                              BROOKLYN           NY   11220-3111   US   2,962
4370   245   TG   6   A   4370   CB                6715 18TH AVE         6715 18TH AVE                                                                             BROOKLYN           NY   11204-4302   US   2,314
4622   246   TG   6   A   4622   CB             2826 CHURCH AVE          2826 CHURCH AVE                                                                           BROOKLYN           NY   11226-4106   US   2,735
4645   247   TG   6   A   4645   CB                875 UTICA AVE         875 UTICA AVE                                                                             BROOKLYN           NY   11203-4313   US   2,794
4805   248   TG   6   A   4805   CB           3773 NOSTRAND AVE          3773 NOSTRAND AVE                                                                         BROOKLYN           NY   11235-2012   US   2,660
5071   249   TG   6   A   5071   CB             428 UTICA AVENUE         428 UTICA AVENUE                                                                          BROOKLYN           NY   11213-5903   US   2,785
1169   250   TG   6   A   1169   M             ATLANTIC TERMINAL         ATLANTIC TERMINAL                            139 FLATBUSH AVE                             BROOKLYN           NY   11217-1403   US   3,500
3432   251   TG   6   A   3432   CB                 2155 86TH ST         2155 86TH ST                                                                              BROOKLYN           NY   11214-3205   US   3,300
3991   252   TG   6   A   3991   CB                1112 AVENUE J         1112 AVENUE J                                                                             BROOKLYN           NY   11230-0000   US   3,100
4023   253   TG   6   A   4023   CB            459 FULTON ST # 461       459 FULTON ST # 461                                                                       BROOKLYN           NY   11201-5207   US   7,001
4475   254   TG   6   A   4475   CB           1406 KINGS HWY # 10        1406 KINGS HWY # 10                                                                       BROOKLYN           NY   11229-2004   US   2,538
4770   255   TG   6   A   4770   CB                  439 86TH ST         439 86TH ST                                                                               BROOKLYN           NY   11209-4707   US   3,000
4995   256   TG   6   A   4995   M                  KINGS PLAZA          KINGS PLAZA                                  5402 KINGS PLAZA SPC 126                     BROOKLYN           NY   11234-5217   US   3,459
5081   257   TG   6   A   5081   CB               1624 AVENUE U          1624 AVENUE U                                                                             BROOKLYN           NY   11229-3810   US   3,179
4813   258   TG   6   A   4813   SC      SHOP RITE SHOPPING CENTER       SHOP RITE SHOPPING CENTER                    965 RICHMOND AVENUE                          STATEN ISLAND      NY   10314-1568   US   2,600
4833   259   TG   6   A   4833   M            STATEN ISLAND MALL         STATEN ISLAND MALL                           2655 RICHMOND AVENUE                         STATEN ISLAND      NY   10314-5821   US   3,847
3897   260   GA   7   A   3897   M         BRIDGEWATER COMMONS           BRIDGEWATER COMMONS                          400 COMMONS WAY              SUITE 189       BRIDGEWATER        NJ   08807-2819   US   3,300
4069   261   GA   7   A   4069   M        BRUNSWICK SQUARE MALL          BRUNSWICK SQUARE MALL                        755 HIGHWAY 18               SPACE 550       EAST BRUNSWICK     NJ   08816-4917   US   2,845
1237   262   GA   7   A   1237   SC        KMART SHOPPING CENTER         KMART SHOPPING CENTER                        3062 STATE ROUTE 35          SPACE 19        HAZLET             NJ   07730-1505   US   2,792
4294   263   GA   7   A   4294   SC      HILLSBOROUGH PROMENADE          HILLSBOROUGH PROMENADE                       315 ROUTE 206                SUITE 900       HILLSBOROUGH       NJ   08844-0000   US   2,800
5022   264   GA   7   A   5022   SC        HOLMDEL TOWNE CENTER          HOLMDEL TOWNE CENTER                         2107 HWY 35                                  HOLMDEL            NJ   07733-2743   US   2,520
3041   265   GA   7   A   3041   FS       507 W SAINT GEORGES AVE        507 W SAINT GEORGES AVE                                                                   LINDEN             NJ   07036-5643   US   3,240
3799   266   GA   7   A   3799   CB               349 GEORGE ST          349 GEORGE ST                                                                             NEW BRUNSWICK      NJ   08901-2012   US   2,525
 487   267   GA   7   A    487   SC        OLD BRIDGE GATEWAY SC         OLD BRIDGE GATEWAY SC                        1008 US HIGHWAY 9            SPACE 5 AND 6   PARLIN             NJ   08859-1401   US   2,700
4431   268   GA   7   A   4431   CB                 146 SMITH ST         146 SMITH ST                                                                              PERTH AMBOY        NJ   08861-4312   US   2,442
5098   269   GA   7   A   5098   CB         201 EAST FRONT STREET        201 EAST FRONT STREET                                                                     PLAINFIELD         NJ   07060-1316   US   3,819
5387   270   GA   7   A   5387   FS              MIDDLESEX MALL          MIDDLESEX MALL                               6851 HADLEY ROAD                             SOUTH PLAINFIELD   NJ   07080-1121   US   2,880
2493   271   GA   7   A   2493   FS                  361 MAIN ST         361 MAIN ST                                                                               BELLEVILLE         NJ   07109-3235   US   3,028
3251   272   GA   7   A   3251   SC            BLOOMFIELD PLAZA          BLOOMFIELD PLAZA                             135 BLOOMFIELD AVE SPACE 3   SPACE 3         BLOOMFIELD         NJ   07003-5902   US   4,400
4848   273   GA   7   A   4848   CB          540 CENTRAL AVENUE          540 CENTRAL AVENUE                                                                        EAST ORANGE        NJ   07018-1923   US   3,000
4795   274   GA   7   A   4795   CB          1022 SPRINGFIELD AVE        1022 SPRINGFIELD AVE                                                                      IRVINGTON          NJ   07111-2025   US   3,815
4126   275   GA   7   A   4126   SC              200 PASSAIC AVE         200 PASSAIC AVE                              UNIT 6                                       KEARNY             NJ   07032-1129   US   4,025
 460   276   GA   7   A    460   CB                733 BROAD ST          733 BROAD ST                                                                              NEWARK             NJ   07102-4104   US   3,264
2470   277   GA   7   A   2470   CB                805 BROAD ST          805 BROAD ST                                                                              NEWARK             NJ   07102-2803   US   2,552
3326   278   GA   7   A   3326   CB                 212 FERRY ST         212 FERRY ST                                                                              NEWARK             NJ   07105-2773   US   3,006
4108   279   GA   7   A   4108   CB                  301 MAIN ST         301 MAIN ST                                  SUITE 1                                      ORANGE             NJ   07050-3629   US   4,710
3689   280   GA   7   A   3689   SC     UNION PLAZA SHOPPING CENTER      UNION PLAZA SHOPPING CENTER                  2401 RT 22                                   UNION              NJ   07083-8514   US   4,996
3849   281   GA   7   A   3849   SC   ELMWOOD PARK SHOPPING CENTER       ELMWOOD PARK SHOPPING CENTER                 100 BROADWAY                                 ELMWOOD PARK       NJ   07407-3043   US   4,434
4782   282   GA   7   A   4782   SC                SUMMIT PLAZA          SUMMIT PLAZA                                 370 W PLEASANTVIEW AVE                       HACKENSACK         NJ   07601-1067   US   2,749
5492   283   GA   7   A   5492   SC      RAG SHOP DISCOUNT CENTER        RAG SHOP DISCOUNT CENTER                     111 WAGARAW ROAD                             HAWTHORNE          NJ   07506-2720   US   5,745
5545   284   GA   7   A   5545   M              LIVINGSTON MALL          LIVINGSTON MALL                              112 EISENHOWER PARKWAY       SPACE 1002      LIVINGSTON         NJ   07039-4995   US   3,621
5478   285   GA   7   A   5478   SC     COPPER TREE SHOPPING PLAZA       COPPER TREE SHOPPING PLAZA                   350 RAMAPO VALLEY ROAD                       OAKLAND            NJ   07436-2712   US   2,447
 781   286   GA   7   A    781   SC    MORRIS HILLS SHOPPING CENTER      MORRIS HILLS SHOPPING CENTER                 3085 ROUTE 46                                PARSIPPANY         NJ   07054-1233   US   3,540
3213   287   GA   7   A   3213   CB              630 MAIN AVENUE         630 MAIN AVENUE                                                                           PASSAIC            NJ   07055-4916   US   3,835
3025   288   GA   7   A   3025   CB              183 MAIN STREET         183 MAIN STREET                              SPACE 9                                      PATERSON           NJ   07505-1201   US   4,019
3652   289   GA   7   A   3652   CB       1552-54 WESTCHESTER AVE        1552-54 WESTCHESTER AVE                                                                   BRONX              NY   10472-2919   US   4,700
3835   290   GA   7   A   3835   CB          1047 SOUTHERN BLVD          1047 SOUTHERN BLVD                                                                        BRONX              NY   10459-3427   US   3,439
3842   291   GA   7   A   3842   CB            817 E TREMONT AVE         817 E TREMONT AVE                                                                         BRONX              NY   10460-4108   US   2,646
4024   292   GA   7   A   4024   SC            CONCOURSE PLAZA           CONCOURSE PLAZA                              216 E 161ST STREET                           BRONX              NY   10451-3541   US   2,764
4105   293   GA   7   A   4105   CB             50 E 170TH ST # 52       50 E 170TH ST # 52                                                                        BRONX              NY   10452-0000   US   5,200
4866   294   GA   7   A   4866   CB          2902-2906 3RD AVENUE        2902-2906 3RD AVENUE                                                                      BRONX              NY   10455-2601   US   4,471
4769   295   GA   7   A   4769   CB           6679 FRESH POND RD         6679 FRESH POND RD                                                                        FLUSHING           NY   11385-3948   US   2,650
5171   296   GA   7   A   5171   CB       102-18 ROOSEVELT AVENUE        102-18 ROOSEVELT AVENUE                                                                   FLUSHING           NY   11368-2332   US   2,346
4787   297   GA   7   A   4787   CB             37-40 74TH STREET        37-40 74TH STREET                                                                         JACKSON HEIGHTS    NY   11372-6338   US   3,339
5125   298   GA   7   A   5125   SC                REGO CENTER           REGO CENTER                                  61-35 JUNCTION BOULEVARD     SUITE B100      REGO PARK          NY   11374-0000   US   2,961
5454   299   TG   8   A   5454   SC          635 S CLINTON ST #210       635 S CLINTON ST #210                                                                     TRENTON            NJ   08611-1831   US   2,514
4545   300   TG   8   A   4545   M               NESHAMINY MALL          NESHAMINY MALL                               801 NESHAMINY MALL                           BENSALEM           PA   19020-1614   US   4,876
1570   301   TG   8   A   1570   SC       MAYFAIR SHOPPING CENTER        MAYFAIR SHOPPING CENTER                      6434 SACKETT ST              SPACE A-15      PHILADELPHIA       PA   19149-3140   US   3,133
2224   302   TG   8   A   2224   SC           NORTHEAST TOWERS           NORTHEAST TOWERS                             4640 ROOSEVELT BLVD          SUITE B         PHILADELPHIA       PA   19124-2300   US   3,044
3641   303   TG   8   A   3641   M         PHILADELPHIA MILLS MALL       PHILADELPHIA MILLS MALL                      1289 FRANKLIN MILL CIRCLE                    PHILADELPHIA       PA   19154-3129   US   3,108
3714   304   TG   8   A   3714   SC        GREAT NORTHEAST PLAZA         GREAT NORTHEAST PLAZA                        7300 BUSTLETON AVE           SPACE 211       PHILADELPHIA       PA   19152-4311   US   2,850
3813   305   TG   8   A   3813   SC          BOULEVARD PLAZA SC          BOULEVARD PLAZA SC                           11000 ROOSEVELT BLVD         SUITE C11       PHILADELPHIA       PA   19116-0000   US   3,000
4527   306   TG   8   A   4527   SC   ROOSEVELT MALL SHOPPING CENTER     ROOSEVELT MALL SHOPPING CENTER               2327 COTTMAN AVE                             PHILADELPHIA       PA   19149-1008   US   2,850
4660   307   TG   8   A   4660   FS            3401 ARAMINGO AVE         3401 ARAMINGO AVE                                                                         PHILADELPHIA       PA   19134-4507   US   3,790
4591   308   TG   8   A   4591   M              CHERRY HILL MALL         CHERRY HILL MALL                             2000 ROUTE 38 UNIT 1013                      CHERRY HILL        NJ   08002-2171   US   3,934
4692   309   TG   8   A   4692   SC         CINNAMINSON PLAZA SC         CINNAMINSON PLAZA SC                         2501 RT 130                  SUITE 7         CINNAMINSON        NJ   08077-3018   US   2,500
3743   310   TG   8   A   3743   M               DEPTFORD MALL           DEPTFORD MALL                                1750 DEPTFORD CENTER RD      SUITE 1163      DEPTFORD           NJ   08096-0000   US   3,197
6417   311   TG   8   A   6417   FS       1790 CLEMENTS BRIDGE RD        1790 CLEMENTS BRIDGE RD                                                                   DEPTFORD           NJ   08096-2010   US   4,000
5596   312   TG   8   A   5596   SC            LUMBERTON PLAZA           LUMBERTON PLAZA                              1636 ROUTE 38                SUITE 14        LUMBERTON          NJ   08048-2987   US   2,500
2678   313   TG   8   A   2678   M            MOORESTOWN MALL            MOORESTOWN MALL                              400 W ROUTE 38               UNIT 1750       MOORESTOWN         NJ   08057-3236   US   2,919
1025   314   TG   8   A   1025   CB             1604 CHESTNUT ST         1604 CHESTNUT ST                                                                          PHILADELPHIA       PA   19103-5119   US   2,880
2679   315   TG   8   A   2679   CB        6233 WOODLAND AVE # 35        6233 WOODLAND AVE # 35                                                                    PHILADELPHIA       PA   19142-2005   US   3,264
                                                              Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                                                                                     Pg 31 of 57
                                                                                                Store Closing List




6415   316   TG    8   A   6415   SC                 230 S 69TH ST        230 S 69TH ST                                                                           UPPER DARBY         PA   19082-4101   US   3,965
1161   317   TG    8   A   1161   M       TOWNMALL OF WESTMINSTER         TOWNMALL OF WESTMINSTER                      400 N CENTER ST               SPACE 169    WESTMINSTER         MD   21157-5193   US   2,909
3678   318   TG    8   A   3678   SC                ITC CROSSING          ITC CROSSING                                 30 INTERNATIONAL DRIVE        SPACE E3     FLANDERS            NJ   07836-4107   US   2,600
1898   319   TG    8   A   1898   SC             HAMILTON MARKET          HAMILTON MARKET                              406 MARKETPLACE BLVD                       HAMILTON            NJ   08691-0000   US   2,800
5710   320   TG    8   A   5710   M            QUAKER BRIDGE MALL         QUAKER BRIDGE MALL                           150 QUAKER BRIDGE MALL        SPACE B21    LAWRENCEVILLE       NJ   08648-1902   US   2,683
3928   321   TG    8   A   3928   M         ROCKAWAY TOWN SQUARE          ROCKAWAY TOWN SQUARE                         301 MOUNT HOPE AVE                         ROCKAWAY            NJ   07866-2104   US   3,687
3547   322   TG    8   A   3547   SC                 OLDEN PLAZA          OLDEN PLAZA                                  1632 N OLDEN AVE              SUITE I      TRENTON             NJ   08638-3211   US   3,894
6367   323   TG    8   A   6367   SC     BROOKHAVEN SHOPPING PLAZA        BROOKHAVEN SHOPPING PLAZA                    3508 EDGMONT AVENUE                        BROOKHAVEN          PA   19015-2806   US   4,620
5285   324   TG    8   A   5285   JC          301 W BALTIMORE PIKE        301 W BALTIMORE PIKE                                                                    CLIFTON HEIGHTS     PA   19018-1806   US   3,240
6420   325   TG    8   A   6420   SC               HILLSIDE PLAZA         HILLSIDE PLAZA                               711 SCRANTON CARBONDALE HWY                EYNON               PA   18403-1021   US   4,000
3185   326   TG    8   A   3185   M           NORTH HANOVER MALL          NORTH HANOVER MALL                           1155 CARLISLE STREET          SPACE 804    HANOVER             PA   17331-1200   US   4,853
3498   327   TG    8   A   3498   M              HARRISBURG MALL          HARRISBURG MALL                              3421 HARRISBURG MALL                       HARRISBURG          PA   17111-1208   US   3,180
6418   328   TG    8   A   6418   SC      4628 HIGH POINTE BOULEVARD      4628 HIGH POINTE BOULEVARD                                                              HARRISBURG          PA   17111-2447   US   3,000
2409   329   TG    8   A   2409   SC               MACDADE MALL           MACDADE MALL                                 2600 MACDADE BLVD             SUITE 535    HOLMES              PA   19043-1326   US   3,160
3959   330   TG    8   A   3959   SC        1199 TEXAS PALMYRA HWY        1199 TEXAS PALMYRA HWY                       STE M                                      HONESDALE           PA   18431-9808   US   2,500
3281   331   TG    8   A   3281   M              PARK CITY CENTER         PARK CITY CENTER                             840 PARK CITY CENTER                       LANCASTER           PA   17601-2720   US   2,817
4317   332   TG    8   A   4317   M              PARK CITY CENTER         PARK CITY CENTER                             1234 PARK CITY CTR                         LANCASTER           PA   17601-2724   US   3,000
1380   333   TG    8   A   1380   SC       QUARTERMASTER PLAZA SC         QUARTERMASTER PLAZA SC                       2240 OREGON AVE H3                         PHILADELPHIA        PA   19145-4121   US   3,000
1867   334   TG    8   A   1867   SC              PROGRESS PLAZA          PROGRESS PLAZA                               1501 N BROAD ST               SUITE 2      PHILADELPHIA        PA   19122-3319   US   2,990
5018   335   TG    8   A   5018   CB                 34 S 52ND ST         34 S 52ND ST                                                                            PHILADELPHIA        PA   19139-3403   US   4,415
5496   336   TG    8   A   5496   SC          330-U OREGON AVENUE         330-U OREGON AVENUE                                                                     PHILADELPHIA        PA   19148-4723   US   2,950
1197   337   TG    8   A   1197   SC            GREENRIDGE PLAZA          GREENRIDGE PLAZA                             1618 NAY AUG AVE                           SCRANTON            PA   18509-1868   US   3,500
1775   338   TG    8   A   1775   M                VIEWMONT MALL          VIEWMONT MALL                                800 VIEWMONT MALL                          SCRANTON            PA   18519-0000   US   2,920
4844   339   TG    8   A   4844   M         THE MALL AT STEAMTOWN         THE MALL AT STEAMTOWN                        116 THE MALL AT STEAMTOWN                  SCRANTON            PA   18503-2035   US   3,898
3977   340   TG    8   A   3977   SC              WHITEHALL MALL          WHITEHALL MALL                               1213 WHITEHALL MALL                        WHITEHALL           PA   18052-5115   US   4,538
4771   341   TG    8   A   4771   M            LEHIGH VALLEY MALL         LEHIGH VALLEY MALL                           257 LEHIGH VALLEY MALL                     WHITEHALL           PA   18052-5719   US   4,043
2852   342   GA    9   A   2852   M              OHIO VALLEY MALL         OHIO VALLEY MALL                             67800 MALL RING RD            SUITE 730    SAINT CLAIRSVILLE   OH   43950-1760   US   3,288
2853   343   GA    9   a   2853   M               FT STEUBEN MALL         FT STEUBEN MALL                              100 MALL DR                   SPACE A-27   STEUBENVILLE        OH   43952-3092   US   2,800
6429   344   GA    9   A   6429   FS            850 ROSTRAVER RD          850 ROSTRAVER RD                                                                        BELLE VERNON        PA   15012-1945   US   3,000
2856   345   GA    9   A   2856   M           WESTMORELAND MALL           WESTMORELAND MALL                            5256 ROUTE 30                 SPACE 188    GREENSBURG          PA   15601-3517   US   3,085
6569   346   GA    9   A   6569   JC            WILDCAT COMMONS           WILDCAT COMMONS                              201 COLONY LANE               SUITE 100    LATROBE             PA   15650-0000   US   3,000
6399   347   GA    9   A   6399   SC       OLYMPIA SHOPPING CENTER        OLYMPIA SHOPPING CENTER                      4313 WALNUT STREET                         MCKEESPORT          PA   15132-6115   US   4,000
3623   348   GA    9   A   3623   M             MONROEVILLE MALL          MONROEVILLE MALL                             104 MONROEVILLE MALL RD       SUITE A      MONROEVILLE         PA   15146-2224   US   2,800
1110   349   GA    9   A   1110   M     THE MALL AT ROBINSON TOWNSHIP     THE MALL AT ROBINSON TOWNSHIP                100 ROBINSON CENTER DR        SUITE 1370   PITTSBURGH          PA   15205-0000   US   2,999
1443   350   GA    9   A   1443   SC             WHARTON SQUARE           WHARTON SQUARE                               2001 WHARTON ST                            PITTSBURGH          PA   15203-1915   US   2,736
6382   351   GA    9   A   6382   SC   DORMONT VILLAGE SHOPPING CENTER    DORMONT VILLAGE SHOPPING CENTER              2961 W LIBERTY AVENUE                      PITTSBURGH          PA   15216-2546   US   3,692
6407   352   GA    9   A   6407   SC                  PENN HILLS          PENN HILLS                                   56 FEDERAL DR                              PITTSBURGH          PA   15235-3314   US   3,200
3180   354   GA    9   A   3180   SC              TRINITY POINT SC        TRINITY POINT SC                             54 TRINITY POINT DRIVE        SPACE 45     WASHINGTON          PA   15301-2974   US   2,600
6359   355   GA    9   A   6359   JC        2033 LEBANON CHURCH RD        2033 LEBANON CHURCH RD                                                                  WEST MIFFLIN        PA   15122-2461   US   3,500
3965   356   GA    9   A   3965   M             LOGAN VALLEY MALL         LOGAN VALLEY MALL                            740 LOGAN VALLEY MALL                      ALTOONA             PA   16602-2811   US   2,977
3126   357   GA    9   A   3126   M                COLUMBIA MALL          COLUMBIA MALL                                225 COLUMBIA MALL DR          SPACE 625    BLOOMSBURG          PA   17815-8368   US   3,204
4321   358   GA    9   A   4321   M                  LAUREL MALL          LAUREL MALL                                  95 LAUREL MALL                             HAZLETON            PA   18202-1201   US   3,200
2039   359   GA    9   A   2039   JC             2200 OAKLAND AVE         2200 OAKLAND AVE                                                                        INDIANA             PA   15701-3385   US   2,920
6563   360   GA    9   A   6563   SC           SUPERCENTER PLAZA          SUPERCENTER PLAZA                            46 SUPERCENTER PLAZA DR       SUITE 101    LEWISTOWN           PA   17044-0000   US   2,400
1521   361   GA    9   A   1521   M                LYCOMING MALL          LYCOMING MALL                                300 LYCOMING MALL CIRCLE      SUITE 2057   MUNCY               PA   17756-8079   US   3,763
3138   362   GA    9   A   3138   M        SUSQUAHANNA VALLEY MALL        SUSQUAHANNA VALLEY MALL                      1 SUSQUAHANNA VALLEY MALL     SUITE A7     SELINSGROVE         PA   17870-1245   US   3,843
1518   363   GA    9   A   1518   M                 NITTANY MALL          NITTANY MALL                                 2901 E COLLEGE AVE            SUITE 731    STATE COLLEGE       PA   16801-7529   US   3,333
4054   364   GA    9   A   4054   SC                 LOYAL PLAZA          LOYAL PLAZA                                  1871 E 3RD ST                 SUITE 1      WILLIAMSPORT        PA   17701-3924   US   3,000
3921   365   GA    9   A   3921   M              CAPITAL CITY MALL        CAPITAL CITY MALL                            3517 CAPITAL CITY MALL DR     SPACE 614    CAMP HILL           PA   17011-7002   US   3,440
6353   366   GA    9   A   6353   SC         3445 SIMPSON-FERRY RD        3445 SIMPSON-FERRY RD                                                                   CAMP HILL           PA   17011-6404   US   3,120
6575   367   GA    9   A   6575   SC           BEDFORD SQUARE SC          BEDFORD SQUARE SC                            40 BEDFORD SQUARE SC                       EVERETT             PA   15537-0040   US   3,200
3181   368   GA    9   A   3181   M            COLONIAL PARK MALL         COLONIAL PARK MALL                           4600 JONESTOWN ROAD           SUITE 39B    HARRISBURG          PA   17109-6214   US   3,864
4529   369   GA    9   A   4529   M                 THE GALLERIA          THE GALLERIA                                 500 GALLERIA DR STE 128                    JOHNSTOWN           PA   15904-8911   US   4,033
6368   370   GA    9   A   6368   SC         RICHLAND TOWN CENTER         RICHLAND TOWN CENTER                         310 TOWN CENTER DRIVE                      JOHNSTOWN           PA   15904-2848   US   3,003
4412   371   GA    9   A   4412   M           LEBANON VALLEY MALL         LEBANON VALLEY MALL                          2239 LEBANON VALLEY MALL                   LEBANON             PA   17042-2567   US   2,500
1554   372   GA    9   A   1554   SC           YORK MARKETPLACE           YORK MARKETPLACE                             2539 E MARKET ST                           YORK                PA   17402-2403   US   3,573
3362   373   GA    9   A   3362   M                YORK GALLERIA          YORK GALLERIA                                2899 WHITEFORD RD             SUITE 190    YORK                PA   17402-8976   US   3,305
1053   374   GA    9   A   1053   M                  SOUTH MALL           SOUTH MALL                                   3300 LEHIGH ST                             ALLENTOWN           PA   18103-7041   US   2,458
3927   375   GA    9   A   3927   SC     WEST GATE SHOPPING CENTER        WEST GATE SHOPPING CENTER                    2373 SCHOENERSVILLE RD                     BETHLEHEM           PA   18017-7416   US   3,276
3782   376   GA    9   A   3782   M             PALMER PARK MALL          PALMER PARK MALL                             149 PALMER PARK MALL          SPACE 4C     EASTON              PA   18045-0000   US   2,767
5197   377   GA    9   A   5197   SC             CARBON PLAZA S/C         CARBON PLAZA S/C                             1205 BLAKESLEE BLVD DR E                   LEHIGHTON           PA   18235-2404   US   3,574
6589   378   GA    9   A   6589   SC          MT POCONO PLAZA S/C         MT POCONO PLAZA S/C                          3236 RT 940                   SUITE 104    MOUNT POCONO        PA   18344-1325   US   2,400
4125   379   GA    9   A   4125   M                 STROUD MALL           STROUD MALL                                  448 STROUD MALL                            STROUDSBURG         PA   18360-1147   US   2,949
3943   381   GA    9   A   3943   M           WYOMING VALLEY MALL         WYOMING VALLEY MALL                          9 WYOMING VALLEY MALL                      WILKES BARRE        PA   18702-6809   US   3,754
6343   382   GA    9   A   6343   SC       MIDWAY SHOPPING CENTER         MIDWAY SHOPPING CENTER                       1062 WYOMING AVENUE                        WYOMING             PA   18644-1331   US   3,200
3057   383   TG   10   A   3057   SC       WHITELAND TOWNE CENTER         WHITELAND TOWNE CENTER                       179 W LINCOLN HWY             SPACE 840    EXTON               PA   19341-2664   US   2,800
4356   384   TG   10   A   4356   M            EXTON SQUARE MALL          EXTON SQUARE MALL                            182 EXTON SQUARE MALL                      EXTON               PA   19341-2440   US   2,830
4836   385   TG   10   A   4836   M         PLAZA AT KING OF PRUSSIA      PLAZA AT KING OF PRUSSIA                     160 N GULPH ROAD              SUITE 2021   KING OF PRUSSIA     PA   19406-0000   US   3,370
3373   386   TG   10   A   3373   SC           NORTHTOWNE PLAZA           NORTHTOWNE PLAZA                             2842 DEKALB PIKE                           NORRISTOWN          PA   19401-1823   US   3,750
3500   387   TG   10   A   3500   M             MONTGOMERY MALL           MONTGOMERY MALL                              804 BETHLEHEM PIKE            SUITE 163    NORTH WALES         PA   19454-3910   US   6,871
4473   388   TG   10   A   4473   M         PLYMOUTH MEETING MALL         PLYMOUTH MEETING MALL                        500 W GERMAN TOWN PIKE        SUITE 1385   PLYMOUTH MEETING    PA   19462-1327   US   4,197
2816   389   TG   10   A   2816   M                COVENTRY MALL          COVENTRY MALL                                351 W SCHUYLKILL RD           SUITE 56     POTTSTOWN           PA   19464-7438   US   3,834
1383   390   TG   10   A   1383   M               BERKSHIRE MALL          BERKSHIRE MALL                               1665 STATE HILL ROAD          SPACE B-4    READING             PA   19610-1900   US   3,125
4949   391   TG   10   A   4949   SC       BROADCASTING SQUARE SC         BROADCASTING SQUARE SC                       2779 PAPER MILL RD            SPACE C1     READING             PA   19610-3329   US   2,500
5150   392   TG   10   A   5150   SC               THORNDALE S/C          THORNDALE S/C                                3451 E LINCOLN HWY                         THORNDALE           PA   19372-1014   US   4,000
1189   393   TG   10   A   1189   SC           CENTER POINT PLAZA         CENTER POINT PLAZA                           804 W STREET RD                            WARMINSTER          PA   18974-3125   US   3,000
4753   395   TG   10   A   4753   SC             FAIRLESS HILLS S/C       FAIRLESS HILLS S/C                           485 OXFORD VALLEY ROAD                     FAIRLESS HILLS      PA   19030-4202   US   3,000
3191   396   TG   10   A   3191   SC        MANOA SHOPPING CENTER         MANOA SHOPPING CENTER                        1331 W CHESTER PIKE           SPACE 19     HAVERTOWN           PA   19083-2925   US   2,788
3491   397   TG   10   A   3491   M            OXFORD VALLEY MALL         OXFORD VALLEY MALL                           2300 E LINCOLN HWY                         LANGHORNE           PA   19047-1824   US   3,568
                                                              Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                                                                                     Pg 32 of 57
                                                                                                Store Closing List




3368   399   TG   10   A   3368   SC         CITY LINE SHOPPING CTR       CITY LINE SHOPPING CTR                       7628 CITY LINE AVE                              PHILADELPHIA          PA   19151-2007   US   2,400
4840   400   TG   10   A   4840   SC            ONE AND OLNEY S/C         ONE AND OLNEY S/C                            101 EAST OLNEY AVENUE                           PHILADELPHIA          PA   19120-2421   US   2,500
6568   401   TG   10   A   6568   SC       SHOPPES AT VALLEY FORGE        SHOPPES AT VALLEY FORGE                      242 SCHUYLKILL RD                  UNIT K4      PHOENIXVILLE          PA   19460-5203   US   2,880
6586   402   TG   10   A   6586   SC         RICHLAND MARKETPLACE         RICHLAND MARKETPLACE                         644 NORTH WEST END BOULEVARD                    QUAKERTOWN            PA   18951-0000   US   3,396
 498   403   TG   10   A    498   JC        EAST CEDARBROOK PLAZA         EAST CEDARBROOK PLAZA                        3001 CHELTENHAM AVE                SPACE 3000   WYNCOTE               PA   19095-0000   US   2,729
3631   404   TG   10   A   3631   SC              BRICK COMMONS           BRICK COMMONS                                660 ROUTE 70 SUITE 4                            BRICK                 NJ   08723-4026   US   6,591
5027   405   TG   10   A   5027   SC             BAY HARBOR PLAZA         BAY HARBOR PLAZA                             55 BRICK BLVD                      SUITE 105    BRICK                 NJ   08723-7922   US   2,500
4335   406   TG   10   A   4335   M               MONMOUTH MALL           MONMOUTH MALL                                180 STATE ROUTE 35 SOUTH           SUITE 1109   EATONTOWN             NJ   07724-2024   US   5,894
3431   407   TG   10   A   3431   M         FREEHOLD RACEWAY MALL         FREEHOLD RACEWAY MALL                        3710 US HWY 9                      BOX 2812     FREEHOLD              NJ   07728-4801   US   2,986
4194   408   TG   10   A   4194   SC   FREEHOLD MALL SHOPPING CENTER      FREEHOLD MALL SHOPPING CENTER                3681 RTE 9                         SUITE 11     FREEHOLD              NJ   07728-2674   US   3,000
 907   409   TG   10   A    907   SC        LANES MILL MARKETPLACE        LANES MILL MARKETPLACE                       4819 HWY 9                         SPACE B4B    HOWELL                NJ   07731-3749   US   2,750
4394   410   TG   10   A   4394   SC                  LACEY MALL          LACEY MALL                                   344 MAIN ST                        ROUTE 9      LANOKA HARBOR         NJ   08734-2830   US   3,200
1877   411   TG   10   A   1877   SC    NEPTUNE CITY SHOPPING CENTER      NEPTUNE CITY SHOPPING CENTER                 116 3RD AVE                                     NEPTUNE CITY          NJ   07753-6400   US   3,175
4646   412   TG   10   A   4646   M            OCEAN COUNTY MALL          OCEAN COUNTY MALL                            1201 HOOPER AVE                    SUITE 99     TOMS RIVER            NJ   08753-3387   US   3,775
5216   413   TG   10   A   5216   SC                   PLAZA 35           PLAZA 35                                     1825 HWY 35 #3                                  WALL TOWNSHIP         NJ   07719-3541   US   2,500
3944   414   TG   10   A   3944   M        TANGER OUTLETS-THE WALK        TANGER OUTLETS-THE WALK                      2022 BALTIC AVE                                 ATLANTIC CITY         NJ   08401-4110   US   5,017
 554   415   TG   10   A    554   SC            AUDUBON CROSSING          AUDUBON CROSSING                             130 BLACKHORSE PIKE                SUITE 300    AUDUBON               NJ   08106-1900   US   2,700
1624   416   TG   10   A   1624   SC                 CIRCLE PLAZA         CIRCLE PLAZA                                 6716 BLACK HORSE PIKE                           EGG HARBOR TOWNSHIP   NJ   08234-3910   US   3,040
5442   417   TG   10   A   5442   SC           85 WHITEHORSE PIKE         85 WHITEHORSE PIKE                                                                           HAMMONTON             NJ   08037-1872   US   2,992
1127   418   TG   10   A   1127   M                HAMILTON MALL          HAMILTON MALL                                4403 BLACK HORSE PIKE              SUITE 130    MAYS LANDING          NJ   08330-0000   US   3,100
3447   419   TG   10   A   3447   SC              SOMERS POINT SC         SOMERS POINT SC                              276 NEW ROAD                       SPACE 21     SOMERS POINT          NJ   08244-2177   US   3,000
3488   420   TG   10   A   3488   SC          CROSS KEYS COMMONS          CROSS KEYS COMMONS                           3501 ROUTE 42                      SUITE 330    TURNERSVILLE          NJ   08012-1755   US   3,000
3952   421   TG   10   A   3952   M              CUMBERLAND MALL          CUMBERLAND MALL                              3849 S DELSEA DR                                VINELAND              NJ   08360-7408   US   3,322
6581   422   TG   10   A   6581   SC               KINGDALE PLAZA         KINGDALE PLAZA                               20 W PARK AVE                                   VINELAND              NJ   08360-3509   US   2,955
3002   423   GA   11   A   3002   M                  DOVER MALL           DOVER MALL                                   1004 DOVER MALL                                 DOVER                 DE   19901-2279   US   2,940
6318   424   GA   11   A   6318   SC           CROSS ROADS PLAZA          CROSS ROADS PLAZA                            2088 NEW CASTLE AVE                             NEW CASTLE            DE   19720-2777   US   3,150
5437   425   GA   11   A   5437   SC             UNIVERSITY PLAZA         UNIVERSITY PLAZA                             11 UNIVERSITY PLAZA                             NEWARK                DE   19702-1549   US   3,135
6410   426   GA   11   A   6410   SC         521 COLLEGE SQUARE S/C       521 COLLEGE SQUARE S/C                       521 COLLEGE SQUARE                              NEWARK                DE   19711-8603   US   3,200
4192   427   GA   11   A   4192   SC       FAIRFAX SHOPPING CENTER        FAIRFAX SHOPPING CENTER                      2105 CONCORD PIKE                               WILMINGTON            DE   19803-2906   US   2,325
4642   428   GA   11   A   4642   SC   PRICES CORNER SHOPPING CENTER      PRICES CORNER SHOPPING CENTER                3208 KIRKWOOD HWY                               WILMINGTON            DE   19808-6130   US   3,500
4661   429   GA   11   A   4661   M                CONCORD MALL           CONCORD MALL                                 4737 CONCORD PIKE # SP400                       WILMINGTON            DE   19803-1442   US   2,350
5409   430   GA   11   A   5409   SC                 BIG ELK MALL         BIG ELK MALL                                 131 BIG ELK MALL                                ELKTON                MD   21921-5912   US   4,000
3555   431   GA   11   A   3555   M                SALISBURY MALL         SALISBURY MALL                               2300 N SALISBURY BLVD              SPACE B103   SALISBURY             MD   21801-7810   US   2,999
5167   432   GA   11   A   5167   SC               PENNSVILLE S/C         PENNSVILLE S/C                               251 N BROADWAY AVE #48                          PENNSVILLE            NJ   08070-1200   US   2,700
 165   433   GA   11   A    165   SC                MARTIN PLAZA          MARTIN PLAZA                                 1370 MARTIN BLVD                                BALTIMORE             MD   21220-0000   US   3,000
1304   434   GA   11   A   1304   M              MONDAWMIN MALL           MONDAWMIN MALL                               2401 LIBERTY HEIGHTS AVE SP 2205                BALTIMORE             MD   21215-8026   US   3,232
1369   435   GA   11   A   1369   JC             1417 MERRITT BLVD        1417 MERRITT BLVD                                                                            BALTIMORE             MD   21222-2111   US   3,179
1576   436   GA   11   A   1576   M                EASTPOINT MALL         EASTPOINT MALL                               7826 EASTPOINT MALL                             BALTIMORE             MD   21224-2119   US   4,130
3247   437   GA   11   A   3247   M              SECURITY SQUARE          SECURITY SQUARE                              6901 SECURITY BLVD                 SPACE 311    BALTIMORE             MD   21244-2412   US   3,469
3778   438   GA   11   A   3778   M             WHITE MARSH MALL          WHITE MARSH MALL                             8200 PERRY HALL BLVD               SUITE 1470   BALTIMORE             MD   21236-4055   US   3,792
5456   439   GA   11   A   5456   SC          2425 CLEANLEIGH DRIVE       2425 CLEANLEIGH DRIVE                                                                        BALTIMORE             MD   21234-6808   US   2,400
4542   440   GA   11   A   4542   M                 HARFORD MALL          HARFORD MALL                                 680 BEL AIR RD                                  BEL AIR               MD   21014-4223   US   3,159
4182   441   GA   11   A   4182   SC               VALLEY CENTRE          VALLEY CENTRE                                9616 REISTERSTOWN RD # 19                       OWINGS MILLS          MD   21117-4139   US   2,509
6022   442   GA   11   A   6022   SC             LIBERTY COURT S/C        LIBERTY COURT S/C                            8624 LIBERTY ROAD                               RANDALLSTOWN          MD   21133-4707   US   2,500
2207   444   GA   11   A   2207   CB               3100 14TH ST NW        3100 14TH ST NW                              SUITE 104A                                      WASHINGTON            DC   20010-2415   US   4,080
4775   445   GA   11   A   4775   SC            HECHINGER MALL SC         HECHINGER MALL SC                            1548B BENNING RD NE                             WASHINGTON            DC   20002-4516   US   8,893
3216   446   GA   11   A   3216   M           WESTFIELD ANNAPOLIS         WESTFIELD ANNAPOLIS                          1630 ANNAPOLIS MALL                             ANNAPOLIS             MD   21401-3040   US   3,000
1832   447   GA   11   A   1832   M            BOWIE TOWN CENTER          BOWIE TOWN CENTER                            15608 EMERALD WAY                  SPACE A09    BOWIE                 MD   20716-0000   US   2,474
4814   448   GA   11   A   4814   SC       VILLAGE AT WAUGH CHAPEL        VILLAGE AT WAUGH CHAPEL                      2616B CHAPEL LAKE DRIVE                         GAMBRILLS             MD   21054-1637   US   2,506
2899   449   GA   11   A   2899   SC            GREENWAY CENTER           GREENWAY CENTER                              7567 GREENBELT RD                               GREENBELT             MD   20770-0000   US   3,253
5180   450   GA   11   A   5180   M            BELTWAY PLAZA MALL         BELTWAY PLAZA MALL                           6000 GREENBELT ROAD                SUITE 21     GREENBELT             MD   20770-1018   US   3,800
1733   451   GA   11   A   1733   M         MALL AT PRINCE GEORGES        MALL AT PRINCE GEORGES                       3500 EAST-WEST HWY                              HYATTSVILLE           MD   20782-1916   US   3,562
1542   453   GA   11   A   1542   SC               WESTVIEW MALL          WESTVIEW MALL                                5814 BALTIMORE NATIONAL PIKE       SPACE A-7    BALTIMORE             MD   21228-1335   US   2,553
1683   454   GA   11   A   1683   M        GALLERY AT HARBORPLACE         GALLERY AT HARBORPLACE                       200 E PRATT ST                     SUITE 3016   BALTIMORE             MD   21202-6111   US   3,000
5526   455   GA   11   A   5526   SC            LONG GATE CENTER          LONG GATE CENTER                             4350 MONTGOMERY ROAD                            ELLICOTT CITY         MD   21043-6099   US   2,467
1689   456   GA   11   A   1689   SC               SOUTHDALE S/C          SOUTHDALE S/C                                10 MOUNTAIN RD                                  GLEN BURNIE           MD   21060-7974   US   3,842
5066   457   GA   11   A   5066   M          CENTRE AT GLEN BURNIE        CENTRE AT GLEN BURNIE                        6711 GOV RITCHIE HWY SPC 603                    GLEN BURNIE           MD   21061-2362   US   2,820
4287   458   GA   11   A   4287   M            ARUNDEL MILLS MALL         ARUNDEL MILLS MALL                           7000 ARUNDEL MILLS CIRCLE          SP 137       HANOVER               MD   21076-1282   US   2,680
4402   459   GA   11   A   4402   SC     ENTERPRISE SHOPPING CENTER       ENTERPRISE SHOPPING CENTER                   9433 1/2 ANNAPOLIS RD                           LANHAM                MD   20706-3020   US   4,451
4397   460   GA   11   A   4397   SC        CORRIDOR MARKET PLACE         CORRIDOR MARKET PLACE                        3337 CORRIDOR MARKET PLACE         SPACE J-1    LAUREL                MD   20724-2378   US   2,500
1737   461   GA   11   A   1737   SC                 LARGO PLAZA          LARGO PLAZA                                  10498 CAMPUS WAY SOUTH                          UPPER MARLBORO        MD   20774-1387   US   3,200
5570   462   TG   12   A   5570   M         WESTFIELD MONTGOMERY          WESTFIELD MONTGOMERY                         7101 DEMOCRACY BLVD                SPACE 2226   BETHESDA              MD   20817-1052   US   3,639
4589   463   TG   12   A   4589   M              MALL IN COLUMBIA         MALL IN COLUMBIA                             10300 LITTLE PATUXENT PARKWAY                   COLUMBIA              MD   21044-7006   US   3,640
3702   464   TG   12   A   3702   SC    MONTGOMERY VILLAGE CROSSING       MONTGOMERY VILLAGE CROSSING                  9659 LOST KNIFE RD                              GAITHERSBURG          MD   20877-2620   US   3,690
5675   465   TG   12   A   5675   M              LAKEFOREST MALL          LAKEFOREST MALL                              701 RUSSELL AVE                    SPACE F221   GAITHERSBURG          MD   20877-2631   US   3,506
1713   466   TG   12   A   1713   SC           LANGLEY PARK PLAZA         LANGLEY PARK PLAZA                           7943 NEW HAMPSHIRE AVE                          HYATTSVILLE           MD   20783-4609   US   5,400
2698   467   TG   12   A   2698   SC           QUEENS-CHILLUM S/C         QUEENS-CHILLUM S/C                           3116 QUEENS CHAPEL RD                           HYATTSVILLE           MD   20782-3665   US   2,684
4911   468   TG   12   A   4911   M          ELLSWORTH PLACE MALL         ELLSWORTH PLACE MALL                         8661 COLESVILLE RD                 SUITE B133   SILVER SPRING         MD   20910-3942   US   3,574
5323   469   TG   12   A   5323   SC                WHITE OAK S/C         WHITE OAK S/C                                11281 NEW HAMPSHIRE AVE                         SILVER SPRING         MD   20904-2631   US   3,426
1884   470   TG   12   A   1884   M            WESTFIELD WHEATON          WESTFIELD WHEATON                            11160 VEIRS MILL RD                SPACE 109    WHEATON               MD   20902-5915   US   3,715
3145   471   TG   12   A   3145   M            COUNTRY CLUB MALL          COUNTRY CLUB MALL                            1262 VOCKE ROAD                    SPACE 174    CUMBERLAND            MD   21502-7822   US   9,375
1078   472   TG   12   A   1078   SC          WESTRIDGE SQUARE SC         WESTRIDGE SQUARE SC                          1029 W PATRICK ST                  SPACE C3-4   FREDERICK             MD   21702-3903   US   2,814
1155   473   TG   12   A   1155   M         FRANCIS SCOTT KEY MALL        FRANCIS SCOTT KEY MALL                       5500 BUCKEYSTOWN PIKE              SPACE 479    FREDERICK             MD   21703-8331   US   4,000
1747   474   TG   12   A   1747   M                  VALLEY MALL          VALLEY MALL                                  17301 VALLEY MALL RD                            HAGERSTOWN            MD   21740-6966   US   5,200
4295   475   TG   12   A   4295   SC      THE CENTER AT HAGERSTOWN        THE CENTER AT HAGERSTOWN                     17708 GARLAND GROH BLVD            SPACE C3     HAGERSTOWN            MD   21740-2016   US   3,998
1764   476   TG   12   A   1764   M            CHAMBERSBURG MALL          CHAMBERSBURG MALL                            3055 BLACK GAP RD                  SPACE 925    CHAMBERSBURG          PA   17201-9734   US   2,762
 797   477   TG   12   A    797   M    CHARLOTTESVILLE FASHION SQUARE     CHARLOTTESVILLE FASHION SQUARE               1600 E RIO RD                      SUITE 1314   CHARLOTTESVILLE       VA   22901-1405   US   2,692
4901   478   TG   12   A   4901   SC             VIRGINIA GATEWAY         VIRGINIA GATEWAY                             13289 GATEWAY CENTER DR            SPACE P105   GAINESVILLE           VA   20155-2989   US   5,692
                                                                Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                                                                                       Pg 33 of 57
                                                                                                  Store Closing List




3242   479   TG   12   A   3242   SC           HARRISONBURG CROSSING         HARRISONBURG CROSSING                       151 BURGESS RD                        SUITE 102           HARRISONBURG       VA   22801-0000   US   2,800
5381   480   TG   12   A   5381   JC              JEFFERSON CROSSING         JEFFERSON CROSSING                          114 FLOWING SPRINGS RD                                    CHARLES TOWN       WV   25414-3908   US   3,010
5797   481   TG   12   A   5797   SC       FIRST COLONY SHOPPING CENTER      FIRST COLONY SHOPPING CENTER                45135 FIRST COLONY WAY                SPACE 300           CALIFORNIA         MD   20619-2416   US   3,000
5025   482   TG   12   A   5025   SC             CLINTON CROSSING S C        CLINTON CROSSING S C                        8765 BRANCH AVE                                           CLINTON            MD   20735-2630   US   2,800
1691   483   TG   12   A   1691   SC             RIVERTOWNE COMMONS          RIVERTOWNE COMMONS                          6153 OXON HILL RD                     SPACE 28            OXON HILL          MD   20745-3108   US   3,700
3436   484   TG   12   A   3436   SC          FOX RUN SHOPPING CENTER        FOX RUN SHOPPING CENTER                     829 SOLOMONS ISLAND ROAD                                  PRINCE FREDERICK   MD   20678-3912   US   3,000
3220   485   TG   12   A   3220   M                    IVERSON MALL          IVERSON MALL                                3863 BRANCH AVE SUITE A                                   TEMPLE HILLS       MD   20748-1403   US   3,000
  96   486   TG   12   A     96   SC          WALDORF SHOPPERS WORLD         WALDORF SHOPPERS WORLD                      3280 CRAIN HWY                                            WALDORF            MD   20603-0000   US   2,800
3433   487   TG   12   A   3433   M           ST CHARLES TOWNE CENTER        ST CHARLES TOWNE CENTER                     11110 MALL CIRCLE SUITE 2003          PO BOX 6191         WALDORF            MD   20603-4803   US   3,981
1507   488   TG   12   A   1507   SC              MOUNT VERNON PLAZA         MOUNT VERNON PLAZA                          7716 RICHMOND HWY                     SPACE 9             ALEXANDRIA         VA   22306-2843   US   3,518
2850   489   TG   12   A   2850   SC              KINGSTOWNE CENTER          KINGSTOWNE CENTER                           5942 KINGSTOWNE BLVD                                      ALEXANDRIA         VA   22315-0000   US   2,081
2044   490   TG   12   A   2044   M       SPRINGFIELD TOWN CENTER MALL       SPRINGFIELD TOWN CENTER MALL                6829 SPRINGFIELD MALL                                     SPRINGFIELD        VA   22150-0000   US   2,800
5685   491   TG   12   A   5685   M               DULLES TOWN CENTER         DULLES TOWN CENTER                          21100 DULLES TOWN CIRCLE              SUITE 102           DULLES             VA   20166-2438   US   2,900
4837   492   TG   12   A   4837   SC                FAIR LAKES CENTER        FAIR LAKES CENTER                           12999 FAIRLAKES CENTER                                    FAIRFAX            VA   22033-4402   US   3,750
5676   493   TG   12   A   5676   M                   FAIR OAKS MALL         FAIR OAKS MALL                              11796 LEE JACKSON MEMORIAL HWY        SPACE 101 AND 102   FAIRFAX            VA   22033-3311   US   2,645
5178   494   TG   12   A   5178   SC            SEVEN CORNERS CENTER         SEVEN CORNERS CENTER                        6310 SEVEN CORNERS CENTER                                 FALLS CHURCH       VA   22044-2409   US   3,085
6044   495   TG   12   A   6044   SC              LEESBURG PIKE PLAZA        LEESBURG PIKE PLAZA                         3501-D S JEFFERSON STREET                                 FALLS CHURCH       VA   22041-3106   US   2,821
1563   496   TG   12   A   1563   M                   MANASSAS MALL          MANASSAS MALL                               8300 SUDLEY RD                        SPACE 50            MANASSAS           VA   20109-3458   US   2,487
6043   497   TG   12   A   6043   SC                 MANAPORT PLAZA          MANAPORT PLAZA                              8393 SUDLEY ROAD                                          MANASSAS           VA   20109-3508   US   2,500
5361   498   TG   12   A   5361   SC               WARRENTON CENTER          WARRENTON CENTER                            251 W LEE HWY                         SUITE 210           WARRENTON          VA   20186-2078   US   3,375
4610   499   TG   12   A   4610   M               APPLE BLOSSOM MALL         APPLE BLOSSOM MALL                          1850 APPLE BLOSSOM MALL               SPACE N179          WINCHESTER         VA   22601-0000   US   2,639
6402   500   TG   12   A   6402   SC               2229 VALLEY AVENUE        2229 VALLEY AVENUE                                                                                    WINCHESTER         VA   22601-2755   US   4,000
4896   501   TG   12   A   4896   M                   POTOMAC MILLS          POTOMAC MILLS                               2700 POTOMAC MILLS CIRCLE             SUITE 300           WOODBRIDGE         VA   22192-4625   US   4,941
5151   502   TG   12   A   5151   SC                 MARUMSCO PLAZA          MARUMSCO PLAZA                              13961 JEFFERSON DAVIS PKWY                                WOODBRIDGE         VA   22191-2010   US   2,500
6423   503   GA   13   A   6423   SC                   JORDAN PLAZA          JORDAN PLAZA                                119 JORDAN PLAZA                                          ELIZABETH CITY     NC   27909-4568   US   4,539
1344   504   GA   13   A   1344   M                  GREENBRIER MALL         GREENBRIER MALL                             1401 GREENBRIER PKY                   SPACE 2000          CHESAPEAKE         VA   23320-2830   US   3,500
2676   505   GA   13   A   2676   SC         GREENBRIER MARKET CENTER        GREENBRIER MARKET CENTER                    1328 GREENBRIER PARKWAY               SUITE 420           CHESAPEAKE         VA   23320-0000   US   2,400
1334   506   GA   13   A   1334   SC                   SOUTHERN SC           SOUTHERN SC                                 7525 TIDEWATER DR                     SPACE 11            NORFOLK            VA   23505-3700   US   3,094
1465   507   GA   13   A   1465   SC            JANAF SHOPPING CENTER        JANAF SHOPPING CENTER                       5900 E VIRGINIA BEACH BLVD UNIT 26                        NORFOLK            VA   23502-2518   US   6,820
5118   508   GA   13   A   5118   M            MACARTHUR CENTER MALL         MACARTHUR CENTER MALL                       300 MONTICELLO AVE                    SPACE 261           NORFOLK            VA   23510-0000   US   2,800
1565   509   GA   13   A   1565   SC                VICTORY CROSSING         VICTORY CROSSING                            4010 VICTORY BLVD                     SUNIT C             PORTSMOUTH         VA   23701-2820   US   3,150
1574   510   GA   13   A   1574   SC          SUFFOLK SHOPPING CENTER        SUFFOLK SHOPPING CENTER                     1407 N MAIN ST                                            SUFFOLK            VA   23434-4352   US   3,000
1656   511   GA   13   A   1656   SC              HARBOR VIEW STATION        HARBOR VIEW STATION                         6255 COLLEGE DR                       SUITE B             SUFFOLK            VA   23435-3309   US   2,400
3142   512   GA   13   A   3142   M                   PEMBROKE MALL          PEMBROKE MALL                               4554 VIRGINIA BEACH BLVD              SUITE 120           VIRGINIA BEACH     VA   23462-0000   US   2,900
4063   513   GA   13   A   4063   M                  LYNNHAVEN MALL          LYNNHAVEN MALL                              701 LYNNHAVEN PKY UNIT E18A           SPACE # H-9         VIRGINIA BEACH     VA   23452-0000   US   2,878
4148   514   GA   13   A   4148   SC             KEMPS RIVER CROSSING        KEMPS RIVER CROSSING                        1255 FORDHAM DRIVE                    SUITE 117           VIRGINIA BEACH     VA   23464-4212   US   3,200
5582   515   GA   13   A   5582   JC        PRINCESS ANNE MARKETPLACE        PRINCESS ANNE MARKETPLACE                   2052 S INDEPENDENCE BLVD STE 8                            VIRGINIA BEACH     VA   23453-4775   US   3,040
5634   516   GA   13   A   5634   FS      BRECKENRIDGE SHOPPING CENTER       BRECKENRIDGE SHOPPING CENTER                12550 JEFFERSON DAVIS HWY                                 CHESTER            VA   23831-5317   US   2,998
4338   517   GA   13   A   4338   M                  SOUTHPARK MALL          SOUTHPARK MALL                              144 S PARK CIRCLE                                         COLONIAL HEIGHTS   VA   23834-2963   US   2,974
1757   518   GA   13   A   1757   M                SPOTSYLVANIA MALL         SPOTSYLVANIA MALL                           840 SPOTSYLVANIA MALL                                     FREDERICKSBURG     VA   22407-1123   US   2,624
3143   519   GA   13   A   3143   SC                COSNER'S CORNER          COSNER'S CORNER                             9837 JEFFERSON DAVIS HWY                                  FREDERICKSBURG     VA   22407-9422   US   3,118
5706   520   GA   13   A   5706   SC               COLISEUM CROSSING         COLISEUM CROSSING                           57 COLISEUM CROSSING                                      HAMPTON            VA   23666-5970   US   6,744
5160   521   GA   13   A   5160   SC   YORK RIVER CROSSING SHOPPING CENTER   YORK RIVER CROSSING SHOPPING CENTER         2365 YORK CROSSING DRIVE                                  HAYES              VA   23072-3643   US   2,800
3660   522   GA   13   A   3660   SC                 HANOVER SQUARE          HANOVER SQUARE                              7378 BELL CREEK RD                    SPACE B5-B6         MECHANICSVILLE     VA   23111-3545   US   3,551
4279   523   GA   13   A   4279   JC          CHESTERFIELD CROSSING SC       CHESTERFIELD CROSSING SC                    12221 CHATTANOOGA PLAZA                                   MIDLOTHIAN         VA   23112-4865   US   2,800
2968   524   GA   13   A   2968   M                PATRICK HENRY MALL        PATRICK HENRY MALL                          12300 JEFFERSON AVE                   SPACE 934           NEWPORT NEWS       VA   23602-6900   US   2,879
3721   525   GA   13   A   3721   SC                 DEMBIGH VILLAGE         DEMBIGH VILLAGE                             14346 WARWICK BLVD                    SPACE 430           NEWPORT NEWS       VA   23602-3814   US   3,000
2192   526   GA   13   A   2192   SC      THE SHOPS AT WHITE OAK VILLAGE     THE SHOPS AT WHITE OAK VILLAGE              4501 S LABURNUM AVE                   SUITE 105           RICHMOND           VA   23231-2421   US   3,000
3578   527   GA   13   A   3578   M         CHESTERFIELD TOWNE CENTER        CHESTERFIELD TOWNE CENTER                   11500 MIDLOTHIAN TPKE                 SPACE 200           RICHMOND           VA   23235-4768   US   2,998
4408   528   GA   13   A   4408   M              REGENCY SQUARE MALL         REGENCY SQUARE MALL                         1420 PARHAM RD                        SPACE K236          RICHMOND           VA   23229-0000   US   2,800
3863   529   GA   13   A   3863   M               CARY TOWNE CENTER          CARY TOWNE CENTER                           1105 WALNUT ST                                            CARY               NC   27511-4762   US   2,811
3939   530   GA   13   A   3939   M             STREETS AT SOUTHPOINT        STREETS AT SOUTHPOINT                       6910 FAYETTEVILLE ROAD                SUITE 299           DURHAM             NC   27713-0000   US   2,900
4077   531   GA   13   A   4077   M                  NORTHGATE MALL          NORTHGATE MALL                              1058 W CLUB BLVD                      SUITE 225           DURHAM             NC   27701-1115   US   3,075
 550   532   GA   13   A    550   JC               SPRADLIN FARMS SC         SPRADLIN FARMS SC                           175 CONSTON AVENUE                    SPACE C6            CHRISTIANSBURG     VA   24073-1151   US   2,800
3457   533   GA   13   A   3457   M                   PIEDMONT MALL          PIEDMONT MALL                               325 PIEDMONT DR                                           DANVILLE           VA   24540-4028   US   2,517
6366   534   GA   13   A   6366   SC              2846 RIVERSIDE DRIVE       2846 RIVERSIDE DRIVE                                                                                  DANVILLE           VA   24540-4118   US   4,620
4109   535   GA   13   A   4109   M                  RIVER RIDGE MALL        RIVER RIDGE MALL                            3405 CANDLERS MOUNTAIN RD                                 LYNCHBURG          VA   24502-2241   US   2,285
6381   536   GA   13   A   6381   JC                 WARDS CROSSING          WARDS CROSSING                              4026 WARDS RD                         SUITE A             LYNCHBURG          VA   24502-2977   US   2,977
4007   537   GA   13   A   4007   M                  VALLEY VIEW MALL        VALLEY VIEW MALL                            4802 VALLEY VIEW BLVD NW              SPACE LF246         ROANOKE            VA   24012-2019   US   3,153
4090   538   GA   13   A   4090   SC              UNIVERSITY COMMONS         UNIVERSITY COMMONS                          1469 UNIVERSITY DR                    SUITE C             BURLINGTON         NC   27215-8772   US   3,200
3223   539   GA   13   A   3223   SC               CROSSCREEK PLAZA          CROSSCREEK PLAZA                            1800 SKIBO RD STE 128                                     FAYETTEVILLE       NC   28303-3280   US   4,000
4799   540   GA   13   A   4799   M                 CROSS CREEK MALL         CROSS CREEK MALL                            106 CROSS CREEK MALL                                      FAYETTEVILLE       NC   28303-7238   US   3,049
5094   541   GA   13   A   5094   FS             PINEWOOD SQUARE S C         PINEWOOD SQUARE S C                         906 NORTH SPENCE                                          GOLDSBORO          NC   27534-4200   US   3,800
5508   542   GA   13   A   5508   M          FOUR SEASONS TOWN CENTRE        FOUR SEASONS TOWN CENTRE                    328 FOUR SEASONS TOWN CENTRE                              GREENSBORO         NC   27407-4758   US   2,541
3815   543   GA   13   A   3815   SC               PREMIER LANDING SC        PREMIER LANDING SC                          255 PREMIER BLVD                                          ROANOKE RAPIDS     NC   27870-0000   US   2,400
3983   544   GA   13   A   3983   M             GOLDEN EAST CROSSING         GOLDEN EAST CROSSING                        1100 N WESLEYAN BLVD                  SPACE 2010          ROCKY MOUNT        NC   27804-1877   US   2,487
  71   545   GA   13   A     71   M                     HANES MALL           HANES MALL                                  3320 SILAS CREEK PARKWAY SUITE 8840                       WINSTON SALEM      NC   27103-0000   US   3,200
1839   546   GA   13   A   1839   SC                    OAK SUMMIT           OAK SUMMIT                                  374 EAST HANES MILL RD                SUITE 22            WINSTON SALEM      NC   27105-0000   US   2,800
6251   547   TG   14   A   6251   SC       ARLINGTON RIDGE MARKETPLACE       ARLINGTON RIDGE MARKETPLACE                 790 ARLINGTON RIDGE                   UNIT 217            AKRON              OH   44312-5862   US   3,000
1303   548   TG   14   A   1303   SC             MAGIC CITY SHPG CNTR        MAGIC CITY SHPG CNTR                        189 WOOSTER RD N                                          BARBERTON          OH   44203-2558   US   3,625
2835   549   TG   14   A   2835   M               BELDEN VILLAGE MALL        BELDEN VILLAGE MALL                         4115 BELDEN VILLAGE MALL              SPACE B-44          CANTON             OH   44718-2501   US   3,192
6242   550   TG   14   A   6242   JC           4515 W TUSCARAWAS BLVD        4515 W TUSCARAWAS BLVD                                                                                CANTON             OH   44708-5336   US   4,200
6236   551   TG   14   A   6236   FS                   1963 STATE RD         1963 STATE RD                                                                                         CUYAHOGA FALLS     OH   44223-1423   US   3,840
2832   552   TG   14   A   2832   M                     SUMMIT MALL          SUMMIT MALL                                 3265 W MARKET ST                      SUITE 118 B         FAIRLAWN           OH   44333-3342   US   3,000
3756   553   TG   14   A   3756   SC            MEDWICK MARKETPLACE          MEDWICK MARKETPLACE                         1097 N COURT ST                                           MEDINA             OH   44256-1566   US   3,200
3221   554   TG   14   A   3221   M                  NEW TOWNE MALL          NEW TOWNE MALL                              400 MILL AVE SE                       SUITE 801           NEW PHILADELPHIA   OH   44663-0000   US   3,008
5429   555   TG   14   A   5429   M                SOUTHPARK CENTER          SOUTHPARK CENTER                            700 SOUTHPARK CENTER                                      STRONGSVILLE       OH   44136-9322   US   3,218
4516   556   TG   14   A   4516   FS                 3953 BURBANK RD         3953 BURBANK RD                                                                                       WOOSTER            OH   44691-8520   US   3,062
3949   557   TG   14   A   3949   M                 CHAUTAUQUA MALL          CHAUTAUQUA MALL                             318 E FAIRMOUNT AVE RM 220                                LAKEWOOD           NY   14750-2007   US   3,509
                                                               Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                                                                                      Pg 34 of 57
                                                                                                 Store Closing List




1718   558   TG   14   A   1718   SC               WAL MART PLAZA          WAL MART PLAZA                               1857 PLAZA DRIVE                                       OLEAN              NY   14760-1835   US   3,080
6257   559   TG   14   A   6257   SC           22388 LAKESHORE BLVD        22388 LAKESHORE BLVD                                                                                EUCLID             OH   44123-1717   US   2,675
 480   560   TG   14   A    480   FS                7880 PLAZA BLVD        7880 PLAZA BLVD                                                                                     MENTOR             OH   44060-5515   US   3,089
2842   561   TG   14   A   2842   M               GREAT LAKES MALL         GREAT LAKES MALL                             7850 MENTOR AVE                          SUITE 744     MENTOR             OH   44060-5520   US   4,603
2545   562   TG   14   A   2545   SC            OAKWOOD COMMONS            OAKWOOD COMMONS                              1940 WARRENSVILLE CENTER ROAD            UNIT B1       SOUTH EUCLID       OH   44121-0000   US   3,300
3258   563   TG   14   A   3258   M                MILLCREEK MALL          MILLCREEK MALL                               404 MILLCREEK MALL                       SPACE 404     ERIE               PA   16565-0401   US   3,055
3688   564   TG   14   A   3688   SC             ERIE MARKET PLACE         ERIE MARKET PLACE                            6714 PEACH ST                                          ERIE               PA   16509-7712   US   3,200
4812   565   TG   14   A   4812   SC    LIBERTY CENTER SHOPPING CENTER     LIBERTY CENTER SHOPPING CENTER               3702 LIBERTY AVENUE                                    ERIE               PA   16508-2537   US   3,544
4831   566   TG   14   A   4831   SC            K MART CENTER EAST         K MART CENTER EAST                           4415 BUFFALO RD                                        ERIE               PA   16510-2202   US   3,000
1690   567   TG   14   A   1690   SC         1593 NIAGARA FALLS BLVD       1593 NIAGARA FALLS BLVD                      SUITE 350                                              AMHERST            NY   14228-2705   US   2,268
4138   568   TG   14   A   4138   M                BOULEVARD MALL          BOULEVARD MALL                               1259 C NIAGARA FALLS BLVD                SPACE 201     AMHERST            NY   14226-1105   US   2,919
1065   569   TG   14   A   1065   M                  MCKINLEY MALL         MCKINLEY MALL                                3701 MCKINLEY PKY                        SPACE 702     BLASDELL           NY   14219-2695   US   3,059
5176   570   TG   14   A   5176   M                MAIN PLACE MALL         MAIN PLACE MALL                              390 MAIN STREET                                        BUFFALO            NY   14202-3702   US   2,866
6284   571   TG   14   A   6284   SC      DELAWARE CONSUMER SQUARE         DELAWARE CONSUMER SQUARE                     2638 DELAWARE AVE                                      BUFFALO            NY   14216-1737   US   3,460
3263   572   TG   14   A   3263   M               WALDEN GALLERIA          WALDEN GALLERIA                              C202 WALDEN GALLERIA                                   CHEEKTOWAGA        NY   14225-5410   US   4,110
6596   573   TG   14   A   6596   SC               1746 WALDEN AVE         1746 WALDEN AVE                              SUITE 100                                              CHEEKTOWAGA        NY   14225-4925   US   2,874
1385   574   TG   14   A   1385   SC                VINEYARD PLAZA         VINEYARD PLAZA                               3964 VINEYARD DR                                       DUNKIRK            NY   14048-3522   US   2,800
3810   575   TG   14   A   3810   M    FASHION OUTLETS OF NIAGARA FALLS    FASHION OUTLETS OF NIAGARA FALLS             1648 MILITARY RD                         SPACE 14      NIAGARA FALLS      NY   14304-1734   US   3,504
6285   576   TG   14   A   6285   SC             2430 MILITARY ROAD        2430 MILITARY ROAD                                                                                  NIAGARA FALLS      NY   14304-1558   US   4,408
1089   577   TG   14   A   1089   SC              SOUTHGATE PLAZA          SOUTHGATE PLAZA                              1052 UNION RD                                          WEST SENECA        NY   14224-3449   US   3,000
6157   578   TG   14   A   6157   JC              22019 ST ROUTE 62        22019 ST ROUTE 62                                                                                   ALLIANCE           OH   44601-9101   US   4,562
 726   579   TG   14   A    726   JC         48 BOARDMAN POLAND RD         48 BOARDMAN POLAND RD                                                                               BOARDMAN           OH   44512-4601   US   2,880
2822   580   TG   14   A   2822   M            SOUTHERN PARK MALL          SOUTHERN PARK MALL                           7401 MARKET ST                           SPACE 787     BOARDMAN           OH   44512-5639   US   2,600
2829   581   TG   14   A   2829   M                EASTWOOD MALL           EASTWOOD MALL                                5555 YOUNGSTOWN WARREN RD                UNIT 667      NILES              OH   44446-4804   US   4,515
6375   582   TG   14   A   6375   SC          4301 MAHONING AVENUE         4301 MAHONING AVENUE                                                                                WARREN             OH   44483-1930   US   3,200
 627   583   TG   14   A    627   SC             AUSTINTOWN PLAZA          AUSTINTOWN PLAZA                             6000 MAHONING AVE                                      YOUNGSTOWN         OH   44515-2240   US   3,278
1741   584   TG   14   A   1741   M                CLEARVIEW MALL          CLEARVIEW MALL                               101 CLEARVIEW CIRCLE                     SPACE 215     BUTLER             PA   16001-1576   US   2,300
1549   585   TG   14   A   1549   M        GROVE CITY PREMIUM OUTLETS      GROVE CITY PREMIUM OUTLETS                   1911 LEESBURG GROVE CITY RD              SPACE 225     GROVE CITY         PA   16127-0000   US   2,696
2828   586   TG   14   A   2828   M           SHENANGO VALLEY MALL         SHENANGO VALLEY MALL                         3255 E STATE ST                          SPACE 610     HERMITAGE          PA   16148-3324   US   2,777
2851   587   TG   14   A   2851   M             BEAVER VALLEY MALL         BEAVER VALLEY MALL                           210 RTE 18                                             MONACA             PA   15061-2305   US   5,400
5433   588   TG   14   A   5433   SC              UNION SQUARE SC          UNION SQUARE SC                              2511 W STATE STREET                                    NEW CASTLE         PA   16101-1036   US   2,400
1697   589   TG   14   A   1697   M                ROSS PARK MALL          ROSS PARK MALL                               1000 ROSS PARK MALL DR                   SUITE 0G2B    PITTSBURGH         PA   15237-0000   US   3,000
2857   590   TG   14   A   2857   M             SOUTH HILLS VILLAGE        SOUTH HILLS VILLAGE                          301 SOUTH HILLS VILLAGE                  SPACE 2100    PITTSBURGH         PA   15241-1400   US   3,281
6214   591   TG   15   A   6214   SC   NORTHERN LIGHTS SHOPPING CENTER     NORTHERN LIGHTS SHOPPING CENTER              3451 CLEVELAND AVENUE                    SPACE 43      COLUMBUS           OH   43224-2906   US   4,500
6556   592   TG   15   A   6556   SC                    KOHLS S/C          KOHLS S/C                                    1708 MORSE RD                                          COLUMBUS           OH   43229-9513   US   3,219
6600   593   TG   15   A   6600   SC             5620 CLEVELAND AVE        5620 CLEVELAND AVE                                                                                  COLUMBUS           OH   43231-4059   US   3,816
3397   594   TG   15   A   3397   M              INDIAN MOUND MALL         INDIAN MOUND MALL                            771 S 30TH ST SPACE #521                               HEATH              OH   43056-4204   US   2,604
6182   595   TG   15   A   6182   FS              634 HEBRON ROAD          634 HEBRON ROAD                                                                                     HEATH              OH   43056-1403   US   3,200
5785   596   TG   15   A   5785   SC                TAYLOR SQUARE          TAYLOR SQUARE                                2845 SW TAYLOR RD                                      REYNOLDSBURG       OH   43068-9550   US   2,600
6549   597   TG   15   A   6549   FS                  2640 BRICE RD        2640 BRICE RD                                                                                       REYNOLDSBURG       OH   43068-3419   US   4,500
6150   598   TG   15   A   6150   FS              4214 EAST MAIN ST        4214 EAST MAIN ST                                                                                   WHITEHALL          OH   43213-3028   US   4,500
5270   599   TG   15   A   5270   FS                   SUN CENTER          SUN CENTER                                   3590 W DUBLIN/GRANVILLE RD                             COLUMBUS           OH   43235-4901   US   3,200
6451   600   TG   15   A   6451   SC           4089 W BROAD STREET         4089 W BROAD STREET                                                                                 COLUMBUS           OH   43228-1614   US   3,000
6567   601   TG   15   A   6567   M        THE MALL AT TUTTLE CROSSING     THE MALL AT TUTTLE CROSSING                  5043 TUTTLE CROSSING BLVD                SUITE 257     DUBLIN             OH   43016-0000   US   2,800
6297   602   TG   15   A   6297   SC          PARKWAY CENTRE EAST          PARKWAY CENTRE EAST                          4154 BUCKEYE PKWY                                      GROVE CITY         OH   43123-8175   US   3,200
6339   603   TG   15   A   6339   SC          THE MARKET AT HILLIARD       THE MARKET AT HILLIARD                       1918 HILLIARD ROME RD                                  HILLIARD           OH   43026-7566   US   3,000
3029   604   TG   15   A   3029   M               RIVER VALLEY MALL        RIVER VALLEY MALL                            1635 RIVER VALLEY CIR                    SUITE 781     LANCASTER          OH   43130-1465   US   2,697
6685   605   TG   15   A   6685   SC            NORTH POINTE PLAZA         NORTH POINTE PLAZA                           94 MEADOW PARK AVE                                     LEWIS CENTER       OH   43035-9477   US   3,000
2022   606   TG   15   A   2022   JC          TOWN AND COUNTRY SC          TOWN AND COUNTRY SC                          701 N LEXINGTON SPRINGMILL RD                          MANSFIELD          OH   44906-1224   US   3,060
6201   607   TG   15   A   6201   FS            1230 MT VERNON AVE         1230 MT VERNON AVE                                                                                  MARION             OH   43302-5625   US   3,240
3513   608   TG   15   A   3513   SC    FAIRLANE GREEN SHOPPING CENTER     FAIRLANE GREEN SHOPPING CENTER               3280 FAIRLANE DR                                       ALLEN PARK         MI   48101-2871   US   3,600
5684   609   TG   15   A   5684   M           GREAT LAKES CROSSING         GREAT LAKES CROSSING                         4138 BALDWIN RD                          SPACE 413     AUBURN HILLS       MI   48326-1223   US   3,058
5467   610   TG   15   A   5467   SC             WEST RIVER CENTER         WEST RIVER CENTER                            30052 GRAND RIVER AVE GRAND RIVER TUCK                 FARMINGTON HILLS   MI   48336-4722   US   2,365
6230   611   TG   15   A   6230   JC           WONDERLAND VILLAGE          WONDERLAND VILLAGE                           11019 MIDDLEBELT RD                                    LIVONIA            MI   48150-0000   US   2,809
2382   612   TG   15   A   2382   SC              TEL-HURON PLAZA          TEL-HURON PLAZA                              41 S TELEGRAPH RD                                      PONTIAC            MI   48341-1580   US   3,000
6459   613   TG   15   A   6459   SC              SHELBY CREEK SC          SHELBY CREEK SC                              8630 26 MILE RD                                        SHELBY TOWNSHIP    MI   48316-0000   US   3,141
5613   614   TG   15   A   5613   M                  LAKESIDE MALL         LAKESIDE MALL                                14600 LAKESIDE CIRCLE                    SPACE H101    STERLING HEIGHTS   MI   48313-1356   US   3,675
6169   615   TG   15   A   6169   JC             7755 TELEGRAPH RD         7755 TELEGRAPH RD                                                                                   TAYLOR             MI   48180-2238   US   2,760
6014   616   TG   15   A   6014   M                  OAKLAND MALL          OAKLAND MALL                                 668 WEST 14 MILE RD                                    TROY               MI   48083-4236   US   3,592
6254   617   TG   15   A   6254   FS             1603 ROCHESTER RD         1603 ROCHESTER RD                                                                                   TROY               MI   48083-1829   US   4,000
4534   618   TG   15   A   4534   FS             5130 DIXIE HIGHWAY        5130 DIXIE HIGHWAY                                                                                  WATERFORD          MI   48329-1713   US   2,391
5796   619   TG   15   A   5796   SC         WHITE LAKE MARKETPLACE        WHITE LAKE MARKETPLACE                       9066 HIGHLAND RD                         SPACE 102     WHITE LAKE         MI   48386-2030   US   2,500
3416   620   TG   15   A   3416   M           ASHLAND TOWN CENTER          ASHLAND TOWN CENTER                          500 WINCHESTER AVE STE 660                             ASHLAND            KY   41101-7368   US   2,721
6164   621   TG   15   A   6164   FS              531 E MAIN STREET        531 E MAIN STREET                                                                                   CHILLICOTHE        OH   45601-3502   US   4,400
2209   622   TG   15   A   2209   SC           NORTHPOINTE CENTER          NORTHPOINTE CENTER                           3871 GORSKY DRIVE                        SUITE 43      ZANESVILLE         OH   43701-6429   US   3,018
2561   623   TG   15   A   2561   M               HUNTINGTON MALL          HUNTINGTON MALL                              EXIT 20B INTERSTATE 64 UNIT 217          PO BOX 4024   BARBOURSVILLE      WV   25504-4024   US   4,232
2560   624   TG   15   A   2560   M             MEADOWBROOK MALL           MEADOWBROOK MALL                             2490 MEADOWBROOK MALL                    SPACE 490     BRIDGEPORT         WV   26330-9791   US   2,728
4768   625   TG   15   A   4768   SC            DUDLEY FARMS PLAZA         DUDLEY FARMS PLAZA                           220 RHL BLVD                                           CHARLESTON         WV   25309-8262   US   3,600
6153   626   TG   15   A   6153   SC                1411 ROUTE 60E         1411 ROUTE 60E                                                                                      HUNTINGTON         WV   25705-1601   US   4,450
2674   627   TG   15   A   2674   M             GRAND CENTRAL MALL         GRAND CENTRAL MALL                           285 GRAND CENTRAL MALL                                 VIENNA             WV   26105-0000   US   3,778
6224   628   TG   16   A   6224   FS             14336 EUREKA ROAD         14336 EUREKA ROAD                                                                                   SOUTHGATE          MI   48195-2057   US   4,239
2084   629   TG   16   A   2084   JC      SOUTH PLAZA SHOPPING CENTER      SOUTH PLAZA SHOPPING CENTER                  23111 EUREKA RD                                        TAYLOR             MI   48180-5262   US   3,000
3215   630   TG   16   A   3215   M              SOUTHLAND CENTER          SOUTHLAND CENTER                             23000 EUREKA RD                          SUITE 1055    TAYLOR             MI   48180-6039   US   3,561
6249   631   TG   16   A   6249   FS                 22710 ALLEN RD        22710 ALLEN RD                                                                                      WOODHAVEN          MI   48183-2246   US   3,780
3969   632   TG   16   A   3969   M            FINDLAY VILLAGE MALL        FINDLAY VILLAGE MALL                         1800 TIFFIN AVE                          SPACE 555     FINDLAY            OH   45840-6789   US   2,702
 423   633   TG   16   A    423   FS                  2301 ELIDA RD        2301 ELIDA RD                                                                                       LIMA               OH   45805-1201   US   3,096
1885   634   TG   16   A   1885   M             MIAMI VALLEY CENTRE        MIAMI VALLEY CENTRE                          987 E ASH ST SPACE D-4                                 PIQUA              OH   45356-4133   US   2,366
2521   635   TG   16   A   2521   SC           CROSSROADS CENTRE           CROSSROADS CENTRE                            9870 OLDE US 20 A104                                   ROSSFORD           OH   43460-0000   US   3,054
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                                                                                                      Pg 35 of 57
                                                                                                 Store Closing List




2503   636   TG   16   A   2503   M              FRANKLIN PARK MALL        FRANKLIN PARK MALL                           5001 MONROE ST                     SPACE 1380                     TOLEDO               OH   43623-3627   US   3,000
3024   637   TG   16   A   3024   JC               1705 W LASKEY RD        1705 W LASKEY RD                                                                                               TOLEDO               OH   43613-3523   US   2,960
6186   638   TG   16   A   6186   SC      TOLEDO COMMONS / SMALL SHOPS     TOLEDO COMMONS / SMALL SHOPS                 3015 GLENDALE AVE                  SUITE 350                      TOLEDO               OH   43614-2685   US   2,800
2620   639   TG   16   A   2620   SC   WESTOWN SQUARE SHOPPING CENTER      WESTOWN SQUARE SHOPPING CENTER               10730 LORAIN AVE                                                  CLEVELAND            OH   44111-5413   US   3,500
5601   640   TG   16   A   5601   SC            STEELYARD COMMONS          STEELYARD COMMONS                            3497 STEELYARD DRIVE                                              CLEVELAND            OH   44109-0000   US   4,000
6711   641   TG   16   A   6711   M              TOWER CITY CENTER         TOWER CITY CENTER                            230 W HURON ROAD                   SPACE 7210                     CLEVELAND            OH   44113-1418   US   2,979
6264   642   TG   16   A   6264   FS                EVERGREEN S/C          EVERGREEN S/C                                12813 ROCKSIDE RD                                                 GARFIELD HEIGHTS     OH   44125-5157   US   4,000
6152   643   TG   16   A   6152   SC         LIGHTHOUSE VILLAGE PLAZA      LIGHTHOUSE VILLAGE PLAZA                     4340 LEAVITT RD STE B                                             LORAIN               OH   44053-2386   US   3,000
2158   644   TG   16   A   2158   SC             SOUTHGATE CENTER          SOUTHGATE CENTER                             20980 LIBBY RD                                                    MAPLE HEIGHTS        OH   44137-2931   US   2,955
6261   645   TG   16   A   6261   FS                 13179 SMITH RD        13179 SMITH RD                                                                                                 MIDDLEBURG HEIGHTS   OH   44130-3606   US   3,904
2844   646   TG   16   A   2844   M            GREAT NORTHERN MALL         GREAT NORTHERN MALL                          104 GREAT NORTHERN MALL            SPACE A-100                    NORTH OLMSTED        OH   44070-3301   US   4,161
6338   647   TG   16   A   6338   SC                  201 MILAN AVE        201 MILAN AVE                                SUITE N                                                           NORWALK              OH   44857-1135   US   3,000
6259   648   TG   16   A   6259   FS             5211 BROOKPARK RD         5211 BROOKPARK RD                                                                                              PARMA                OH   44134-1045   US   4,030
4084   649   TG   16   A   4084   M           RICHMOND TOWN SQUARE         RICHMOND TOWN SQUARE                         691 RICHMOND RD                    SPACE C27                      RICHMOND HEIGHTS     OH   44143-2989   US   2,900
2847   650   TG   16   A   2847   M                 SANDUSKY MALL          SANDUSKY MALL                                4314 MILAN RD STE 110                                             SANDUSKY             OH   44870-7104   US   3,535
 400   651   TG   16   A    400   SC       CHESTERFIELD VILLAGE SQUARE     CHESTERFIELD VILLAGE SQUARE                  51364 GRATIOT AVENUE                                              CHESTERFIELD         MI   48051-2008   US   8,447
3398   652   TG   16   A   3398   M                BIRCHWOOD MALL          BIRCHWOOD MALL                               4350 24TH AVE STE 116                                             FORT GRATIOT         MI   48059-3851   US   3,248
4396   653   TG   16   A   4396   SC          THE GATEWAY AT DETROIT       THE GATEWAY AT DETROIT                       1371 WEST 8 MILE RD                                               HIGHLAND PARK        MI   48203-0000   US   7,500
6174   654   TG   16   A   6174   FS             27771 DEQUINDRE RD        27771 DEQUINDRE RD                                                                                             MADISON HEIGHTS      MI   48071-3477   US   4,500
4815   655   TG   16   A   4815   SC                LINCOLN CENTRE         LINCOLN CENTRE                               26142 GREENFIELD                                                  OAK PARK             MI   48237-1050   US   3,600
3834   656   TG   16   A   3834   SC        COLONIAL SHOPPING CENTER       COLONIAL SHOPPING CENTER                     2836 PINE GROVE AVE                                               PORT HURON           MI   48060-1971   US   2,800
2480   657   TG   16   A   2480   SC        EASTGATE SHOPPING CENTER       EASTGATE SHOPPING CENTER                     26350 GRATIOT AVENUE                                              ROSEVILLE            MI   48066-5106   US   3,000
5517   658   TG   16   A   5517   M                  MACOMB MALL           MACOMB MALL                                  32411 GRATIOT AVE                  SPACE 380                      ROSEVILLE            MI   48066-1156   US   6,000
 186   659   TG   16   A    186   FS              22701 HARPER AVE         22701 HARPER AVE                                                                                               SAINT CLAIR SHORES   MI   48080-2943   US   3,096
6019   660   TG   16   A   6019   SC             HOOVER ELEVEN S/C         HOOVER ELEVEN S/C                            26293-95 HOOVER RD                                                WARREN               MI   48089-1133   US   3,615
1699   661   TG   16   A   1699   SC   FAIRLANE MEADOWS SHOPPING CENTER    FAIRLANE MEADOWS SHOPPING CENTER             16201 FORD RD                      SPACE 118                      DEARBORN             MI   48126-2945   US   3,126
4188   662   TG   16   A   4188   M            FAIRLANE TOWN CENTER        FAIRLANE TOWN CENTER                         18900 MICHIGAN AVE                                                DEARBORN             MI   48126-3929   US   3,090
6018   663   TG   16   A   6018   M                  WESTBORN S/C          WESTBORN S/C                                 23189 MICHIGAN AVE                                                DEARBORN             MI   48124-2020   US   3,718
2404   664   TG   16   A   2404   FS              11330 GRATIOT AVE        11330 GRATIOT AVE                                                                                              DETROIT              MI   48213-1336   US   3,096
2557   665   TG   16   A   2557   CB           15320 GRAND RIVER AVE       15320 GRAND RIVER AVE                                                                                          DETROIT              MI   48227-2215   US   3,250
 920   666   TG   16   A    920   FS                1100 W 9 MILE RD       1100 W 9 MILE RD                                                                                               FERNDALE             MI   48220-1220   US   3,600
2520   667   TG   16   A   2520   SC         HAMTRAMCK TOWN CENTER         HAMTRAMCK TOWN CENTER                        9149 JOSEPH CAMPAU ST                                             HAMTRAMCK            MI   48212-3728   US   2,632
4099   668   TG   16   A   4099   M               EASTLAND CENTER          EASTLAND CENTER                              18000 VERNIER RD                   SPACE 761                      HARPER WOODS         MI   48225-1046   US   2,562
1085   669   TG   16   A   1085   SC                 MODEL T PLAZA         MODEL T PLAZA                                14132 WOODWARD AVE                                                HIGHLAND PARK        MI   48203-2995   US   3,600
6248   670   TG   16   A   6248   FS               2165 FORT STREET        2165 FORT STREET                                                                                               LINCOLN PARK         MI   48146-2451   US   3,792
 707   671   TG   16   A    707   SC                BASELINE PLAZA         BASELINE PLAZA                               20164 WEST 8 MILE RD                                              SOUTHFIELD           MI   48075-5659   US   2,800
6223   672   GA   17   A   6223   FS           168 E COLUMBIA AVENUE       168 E COLUMBIA AVENUE                                                                                          BATTLE CREEK         MI   49015-3735   US   4,480
4522   673   GA   17   A   4522   FS              1660 PACKARD HWY         1660 PACKARD HWY                                                                                               CHARLOTTE            MI   48813-9717   US   2,391
3872   674   GA   17   A   3872   SC             PINE RIDGE SQUARE         PINE RIDGE SQUARE                            1405 W MAIN ST # 2                                                GAYLORD              MI   49735-8946   US   3,200
1859   675   GA   17   A   1859   M                WOODLAND MALL           WOODLAND MALL                                3135 28TH ST SE SPACE F102                                        GRAND RAPIDS         MI   49512-0000   US   2,900
6219   676   GA   17   A   6219   JC           2611 ALPINE AVENUE NW       2611 ALPINE AVENUE NW                                                                                          GRAND RAPIDS         MI   49544-1958   US   4,200
6552   677   GA   17   A   6552   FS            NORTH TOWN CENTER          NORTH TOWN CENTER                            3508 PLAINFIELD AVE                                               GRAND RAPIDS         MI   49525-2719   US   4,000
5735   678   GA   17   A   5735   M            RIVERTOWN CROSSINGS         RIVERTOWN CROSSINGS                          3700 RIVERTOWN PARKWAY             SPACE 1114                     GRANDVILLE           MI   49418-3085   US   2,962
6585   679   GA   17   A   6585   SC              NORTH PARK PLAZA         NORTH PARK PLAZA                             2279 NORTH PARK DRIVE                                             HOLLAND              MI   49424-8547   US   3,200
3772   680   GA   17   A   3772   M              JACKSON CROSSING          JACKSON CROSSING                             1216 JACKSON CROSSING SPACE D-47                                  JACKSON              MI   49202-2042   US   2,775
3336   681   GA   17   A   3336   FS                294 CHICAGO DR         294 CHICAGO DR                                                                                                 JENISON              MI   49428-9354   US   3,010
 620   682   GA   17   A    620   JC             3031 28TH STREET SE       3031 28TH STREET SE                          SUITE B                                                           KENTWOOD             MI   49512-1626   US   3,216
 434   683   GA   17   A    434   JC         5405 W SAGINAW HWY STE A      5405 W SAGINAW HWY STE A                                                                                       LANSING              MI   48917-1918   US   3,360
 965   684   GA   17   A    965   FS                6046 S CEDAR ST        6046 S CEDAR ST                                                                                                LANSING              MI   48911-5153   US   3,600
1551   685   GA   17   A   1551   M                 THE LAKES MALL         THE LAKES MALL                               5600 HARVEY                        STE 1004                       MUSKEGON             MI   49444-0000   US   2,686
5201   686   GA   17   A   5201   SC              WESTSHORE PLAZA          WESTSHORE PLAZA                              1823 E SHERMAN BLVD                                               MUSKEGON             MI   49444-1856   US   3,200
2059   687   GA   17   A   2059   JC          2090 W GRAND RIVER AVE       2090 W GRAND RIVER AVE                                                                                         OKEMOS               MI   48864-1707   US   2,880
 688   688   GA   17   A    688   SC      GLENS SHOPPING CENTER NORTH      GLENS SHOPPING CENTER NORTH                  1131 US 31 NORTH                                                  PETOSKEY             MI   49770-9305   US   3,500
4456   689   GA   17   A   4456   SC                 OTSEGO PLAZA          OTSEGO PLAZA                                 1221 M 89 STE 200                                                 PLAINWELL            MI   49080-1135   US   2,600
1043   690   GA   17   A   1043   M               CROSSROADS MALL          CROSSROADS MALL                              6650 S WESTNEDGE AVE               SUITE 132                      PORTAGE              MI   49024-3590   US   3,481
6200   691   GA   17   A   6200   JC         5138 S WESTNEDGE AVENUE       5138 S WESTNEDGE AVENUE                                                                                        PORTAGE              MI   49002-0403   US   4,510
4422   692   GA   17   A   4422   FS           4312 I 75 BUSINESS SPUR     4312 I 75 BUSINESS SPUR                                                                                        SAULT SAINTE MARIE   MI   49783-3620   US   3,062
 645   693   GA   17   A    645   SC            CHERRYLAND CENTER          CHERRYLAND CENTER                            1708 S GARFIELD                    SPACE C106                     TRAVERSE CITY        MI   49686-4338   US   2,592
4336   694   GA   17   A   4336   M            GRAND TRAVERSE MALL         GRAND TRAVERSE MALL                          3200 S AIRPORT RD WEST             SUITE 228                      TRAVERSE CITY        MI   49684-0000   US   3,088
 968   695   GA   17   A    968   SC              WYOMING VILLAGE          WYOMING VILLAGE                              1218 28TH ST SW                                                   WYOMING              MI   49509-2702   US   3,450
3108   696   GA   17   A   3108   SC                4830 WILSON AVE        4830 WILSON AVE                              SUITE 620                          SPACE 438                      WYOMING              MI   49418-3137   US   3,264
4401   697   GA   17   A   4401   M                BRIARWOOD MALL          BRIARWOOD MALL                               488 BRIARWOOD CIRCLE               SPACE F103                     ANN ARBOR            MI   48108-1608   US   3,596
 439   698   GA   17   A    439   FS            2153 RAWSONVILLE RD        2153 RAWSONVILLE RD                                                                                            BELLEVILLE           MI   48111-2283   US   3,096
5730   699   GA   17   A   5730   M          GREEN OAKS VILLAGE PLACE      GREEN OAKS VILLAGE PLACE                     9770 VILLAGE PLACE BOULEVARD       INTERSTATE 23 AND LEE ROAD S   BRIGHTON             MI   48116-2087   US   3,020
3988   700   GA   17   A   3988   M              COURTLAND CENTER          COURTLAND CENTER                             4190 E COURT ST                    UNIT 707                       BURTON               MI   48509-1718   US   4,173
3987   701   GA   17   A   3987   JC            GRAND CENTRAL PLAZA        GRAND CENTRAL PLAZA                          43715 FORD ROAD                                                   CANTON               MI   48187-3185   US   4,492
 728   702   GA   17   A    728   FS                 29821 FORD RD         29821 FORD RD                                                                                                  GARDEN CITY          MI   48135-2366   US   4,000
5260   703   GA   17   A   5260   FS           3625 E GRAND RIVER AVE      3625 E GRAND RIVER AVE                                                                                         HOWELL               MI   48843-8516   US   3,062
4050   704   GA   17   A   4050   M               TWELVE OAKS MALL         TWELVE OAKS MALL                             27390A NOVI RD                     SPACE A201                     NOVI                 MI   48377-3418   US   3,400
2536   705   GA   17   A   2536   SC             REDFORD PLAZA S/C         REDFORD PLAZA S/C                            9311 TELEGRAPH RD                                                 REDFORD              MI   48239-1260   US   2,601
 448   706   GA   17   A    448   SC               WESTLAND PLAZA          WESTLAND PLAZA                               6629 N WAYNE RD                                                   WESTLAND             MI   48185-7007   US   2,880
3492   707   GA   17   A   3492   M         WESTLAND SHOPPING CENTER       WESTLAND SHOPPING CENTER                     35000 WARREN RD                    SPACE B2                       WESTLAND             MI   48185-6223   US   3,960
5677   708   GA   17   A   5677   SC              ROUNDTREE PLACE          ROUNDTREE PLACE                              2539 ELLSWORTH RD                                                 YPSILANTI            MI   48197-5619   US   2,750
6190   709   GA   17   A   6190   JC        803-1 NORTH EUCLID AVENUE      803-1 NORTH EUCLID AVENUE                                                                                      BAY CITY             MI   48706-2402   US   4,400
 646   710   GA   17   A    646   JC            1053 N SHIAWASSEE ST       1053 N SHIAWASSEE ST                                                                                           CORUNNA              MI   48817-1151   US   3,520
2024   711   GA   17   A   2024   JC               3760 S DORT HWY         3760 S DORT HWY                                                                                                FLINT                MI   48507-2051   US   3,188
3072   712   GA   17   A   3072   SC             GENESEE CROSSING          GENESEE CROSSING                             G-3531 MILLER RD                                                  FLINT                MI   48507-4687   US   2,729
                                                                Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                                                                                       Pg 36 of 57
                                                                                                  Store Closing List




4835   713   GA   17   A   4835   M            GENESEE VALLEY CENTER        GENESEE VALLEY CENTER                        3321 S LINDEN ROAD SP327                                       FLINT               MI   48507-3007   US   4,886
5719   714   GA   17   A   5719   JC                  1111 SUMMIT ST        1111 SUMMIT ST                                                                                              LAPEER              MI   48446-3904   US   2,600
2017   716   GA   17   A   2017   JC                2003 S MISSION ST       2003 S MISSION ST                                                                                           MOUNT PLEASANT      MI   48858-4424   US   2,940
 628   717   GA   17   A    628   JC                  1790 LAWNDALE         1790 LAWNDALE                                                                                               SAGINAW             MI   48638-5498   US   3,450
6548   718   GA   17   A   6548   FS                    5020 BAY RD         5020 BAY RD                                                                                                 SAGINAW             MI   48604-2522   US   3,920
1938   720   TG   18   A   1938   SC              VILLAGE PARK PLAZA        VILLAGE PARK PLAZA                           2009 3 EAST GREYHOUND PASS SPACE D8                            CARMEL              IN   46032-0000   US   3,541
 677   721   TG   18   A    677   SC           WASHINGTON CORNER S/C        WASHINGTON CORNER S/C                        9910 E WASHINGTON ST # 9912                                    INDIANAPOLIS        IN   46229-3040   US   3,500
2249   722   TG   18   A   2249   SC              SUNNY SIDE SHOPPES        SUNNY SIDE SHOPPES                           5845 SUNNY SIDE RD                    SUITE 100/200            INDIANAPOLIS        IN   46235-8400   US   3,200
3413   723   TG   18   A   3413   M                CASTLETON SQUARE         CASTLETON SQUARE                             6020 E 82ND ST                        SPACE 710                INDIANAPOLIS        IN   46250-4746   US   2,616
4521   724   TG   18   A   4521   JC   COLLEGE PARK PLAZA SHOPPING CENTER   COLLEGE PARK PLAZA SHOPPING CENTER           3269 W 86TH ST STE D                                           INDIANAPOLIS        IN   46268-3606   US   2,800
6601   725   TG   18   A   6601   SC                  SPEEDWAY S/C          SPEEDWAY S/C                                 5840 CRAWFORDSVILLE RD                SUITE B                  INDIANAPOLIS        IN   46224-3706   US   4,480
6686   726   TG   18   A   6686   M               CIRCLE CENTRE MALL        CIRCLE CENTRE MALL                           49 W MARYLAND ST                      SUITE D01A MAILBOX 192   INDIANAPOLIS        IN   46204-0000   US   3,000
1639   727   TG   18   A   1639   SC           HAMILTON TOWN CENTER         HAMILTON TOWN CENTER                         14002 HOARD DR                        SUITE 1100               NOBLESVILLE         IN   46060-0000   US   3,000
 843   728   TG   18   A    843   SC                 AVON COMMONS           AVON COMMONS                                 10423 US E HIGHWAY 36                 SPACE 12                 AVON                IN   46123-0000   US   3,000
1760   729   TG   18   A   1760   M                   COLLEGE MALL          COLLEGE MALL                                 3066 E 3RD ST                         SUITE J07B               BLOOMINGTON         IN   47401-0000   US   3,434
4494   730   TG   18   A   4494   M                   FAIR OAKS MALL        FAIR OAKS MALL                               2296 25TH ST SPACE E118                                        COLUMBUS            IN   47201-3200   US   2,855
1769   731   TG   18   A   1769   M             GREENWOOD PARK MALL         GREENWOOD PARK MALL                          1251 US HIGHWAY 31 N                  SUITE F16                GREENWOOD           IN   46142-4503   US   3,672
1842   732   TG   18   A   1842   SC             SOUTHPORT COMMONS          SOUTHPORT COMMONS                            4850 E SOUTHPORT RD                   SPACE C                  INDIANAPOLIS        IN   46237-3318   US   3,000
6349   733   TG   18   A   6349   SC                   3772 S EAST ST       3772 S EAST ST                                                                                              INDIANAPOLIS        IN   46227-1241   US   3,600
3989   734   TG   18   A   3989   M                HONEY CREEK MALL         HONEY CREEK MALL                             3401 HWY 41 S                                                  TERRE HAUTE         IN   47802-4154   US   2,750
 881   735   TG   18   A    881   SC                VINCENNES PLAZA         VINCENNES PLAZA                              628 NIBLACK BLVD                                               VINCENNES           IN   47591-3630   US   4,000
4857   736   TG   18   A   4857   M          MALL AT FAIRFIELD COMMONS      MALL AT FAIRFIELD COMMONS                    2727 FAIRFIELD COMMONS                SPACE 103                BEAVERCREEK         OH   45431-3778   US   2,749
3579   737   TG   18   A   3579   SC        STONE CREEK TOWNE CENTER        STONE CREEK TOWNE CENTER                     3657 STONE CREEK BLVD                 SUITE A                  CINCINNATI          OH   45251-0000   US   3,000
3589   738   TG   18   A   3589   SC    GOVERNERS PLAZA SHOPPING CENTER     GOVERNERS PLAZA SHOPPING CENTER              9110 UNION CEMETERY RD                                         CINCINNATI          OH   45249-2006   US   2,800
5516   739   TG   18   A   5516   SC                  DILLONVALE S/C        DILLONVALE S/C                               4066 EAST GALBRAITH                                            CINCINNATI          OH   45236-2324   US   3,162
4574   740   TG   18   A   4574   SC             SUGAR CREEK PLAZA II       SUGAR CREEK PLAZA II                         6220 A WILMINGTON PIKE                SP 11A AND 11 B          DAYTON              OH   45459-0000   US   3,146
6187   742   TG   18   A   6187   FS               4644 SALEM AVENUE        4644 SALEM AVENUE                                                                                           DAYTON              OH   45416-1712   US   5,000
6208   743   TG   18   A   6208   SC            BRIDGEWATER FALLS SC        BRIDGEWATER FALLS SC                         3417 PRINCETON RD                     SUITE 117                HAMILTON            OH   45011-0000   US   3,000
4544   744   TG   18   A   4544   JC               MIDPOINTE CENTER         MIDPOINTE CENTER                             2910 TOWNE BLVD                                                MIDDLETOWN          OH   45044-6200   US   2,707
6177   745   TG   18   A   6177   SC               BECHTLE CROSSING         BECHTLE CROSSING                             1650 N BECHTLE AVE                    SPACE 80                 SPRINGFIELD         OH   45504-1572   US   3,000
3898   746   TG   18   A   3898   SC         7692 VOICE OF AMERICA DRIVE    7692 VOICE OF AMERICA DRIVE                                                                                 WEST CHESTER        OH   45069-2794   US   2,800
6454   747   TG   18   A   6454   SC                 910 GREEN BLVD         910 GREEN BLVD                                                                                              AURORA              IN   47001-1575   US   2,990
3886   748   TG   18   A   3886   SC      VILLAGE GREEN SHOPPING CENTER     VILLAGE GREEN SHOPPING CENTER                6805 ALEXANDRIA PIKE                                           ALEXANDRIA          KY   41001-1027   US   2,800
 876   749   TG   18   A    876   SC                TURFWAY CENTER          TURFWAY CENTER                               4989 HOUSTON RD                                                FLORENCE            KY   41042-1365   US   2,800
1158   750   TG   18   A   1158   M                  FLORENCE MALL          FLORENCE MALL                                1174 FLORENCE MALL                                             FLORENCE            KY   41042-1445   US   3,705
1936   751   TG   18   A   1936   JC         3453 VALLEY PLAZA PARKWAY      3453 VALLEY PLAZA PARKWAY                    SPACE E                                                        FORT WRIGHT         KY   41011-0000   US   2,910
1072   752   TG   18   A   1072   SC             WESTERN HILLS PLAZA        WESTERN HILLS PLAZA                          6180 GLENWAY AVE BLDG F               SPACE 825                CINCINNATI          OH   45211-6320   US   3,015
1577   753   TG   18   A   1577   SC                   VALUE CITY SC        VALUE CITY SC                                5245 RIDGE AVE                                                 CINCINNATI          OH   45213-2509   US   2,404
2604   754   TG   18   A   2604   JC              WESTERN COMMONS           WESTERN COMMONS                              6560 HARRISON AVE                     STE 1                    CINCINNATI          OH   45247-7823   US   2,700
3003   755   TG   18   A   3003   SC               BRENTWOOD PLAZA          BRENTWOOD PLAZA                              8449 WINTON RD                                                 CINCINNATI          OH   45231-0000   US   2,800
3064   756   TG   18   A   3064   SC          700 EASTGATE DRIVE SOUTH      700 EASTGATE DRIVE SOUTH                                                           UNIT 220                 CINCINNATI          OH   45245-0000   US   6,000
4049   757   TG   18   A   4049   M                   EASTGATE MALL         EASTGATE MALL                                4601 EASTGATE BLVD BLDG 832                                    CINCINNATI          OH   45245-1258   US   2,617
2639   758   TG   18   A   2639   JC             4409 MONTGOMERY RD         4409 MONTGOMERY RD                                                                                          NORWOOD             OH   45212-3115   US   3,000
1472   759   GA   19   A   1472   M                  FOX VALLEY MALL        FOX VALLEY MALL                              1164 FOX VALLEY MALL                  SPACE H1D                AURORA              IL   60504-4107   US   2,865
2981   760   GA   19   A   2981   SC               AURORA COMMONS           AURORA COMMONS                               1246 N LAKE ST                        SPACE 2110               AURORA              IL   60506-2453   US   2,563
3566   761   GA   19   A   3566   SC             BLOOMINGDALE COURT         BLOOMINGDALE COURT                           320 W ARMY TRAIL RD STE 100                                    BLOOMINGDALE        IL   60108-5614   US   3,000
1594   762   GA   19   A   1594   JC           DEKALB MARKET SQUARE         DEKALB MARKET SQUARE                         2350 SYCAMORE RD                      SUITE K                  DEKALB              IL   60115-2000   US   2,400
4437   763   GA   19   A   4437   SC    MALLARD CROSSING SHOPPING CENTER    MALLARD CROSSING SHOPPING CENTER             851 MEACHAM RD                                                 ELK GROVE VILLAGE   IL   60007-3073   US   2,354
1113   764   GA   19   A   1113   JC               WESTRIDGE COURT          WESTRIDGE COURT                              256 S RT 59                           SPACE 128                NAPERVILLE          IL   60540-0915   US   2,560
2506   765   GA   19   A   2506   SC               OSWEGO COMMONS           OSWEGO COMMONS                               3006 ROUTE 34                         SPACE 2-B                OSWEGO              IL   60543-8333   US   2,496
5126   766   GA   19   A   5126   JC              WESTVIEW COMMONS          WESTVIEW COMMONS                             1594 BUTTITTI RD                                               STREAMWOOD          IL   60107-2297   US   3,000
1151   767   GA   19   A   1151   M                 SPRING HILL MALL        SPRING HILL MALL                             1306 SPRING HILL MALL                 SPACE 1306               WEST DUNDEE         IL   60118-1262   US   4,102
1338   768   GA   19   A   1338   SC                  CERMAK COURT          CERMAK COURT                                 2537 W CERMAK RD                                               CHICAGO             IL   60608-3719   US   3,000
2294   769   GA   19   A   2294   CB                4024 W NORTH AVE        4024 W NORTH AVE                                                                                            CHICAGO             IL   60639-5204   US   3,084
2578   770   GA   19   A   2578   SC        HALL PLAZA SHOPPING CENTER      HALL PLAZA SHOPPING CENTER                   4648 W DIVERSEY AVE                                            CHICAGO             IL   60639-0000   US   3,564
 592   771   GA   19   A    592   SC             CICERO MARKET PLACE        CICERO MARKET PLACE                          3021 S CICERO AVENUE                                           CICERO              IL   60804-3639   US   4,000
2953   772   GA   19   A   2953   SC           DOWNERS PARK PLAZA SC        DOWNERS PARK PLAZA SC                        7401A LEMONT RD                                                DOWNERS GROVE       IL   60516-3805   US   2,340
5779   773   GA   19   A   5779   M                YORKTOWN CENTER          YORKTOWN CENTER                              170 YORKTOWN CENTER                                            LOMBARD             IL   60148-5527   US   3,000
6127   774   GA   19   A   6127   SC              1234 WINSTON PLAZA        1234 WINSTON PLAZA                                                                                          MELROSE PARK        IL   60160-1507   US   4,866
2309   776   GA   19   A   2309   SC            NORTH RIVERSIDE PLAZA       NORTH RIVERSIDE PLAZA                        2210 HARLEM AVE                                                NORTH RIVERSIDE     IL   60546-1413   US   6,516
3675   777   GA   19   A   3675   M          NORTH RIVERSIDE PARK MALL      NORTH RIVERSIDE PARK MALL                    7501 W CERMAK RD                                               NORTH RIVERSIDE     IL   60546-1461   US   3,677
 783   778   GA   19   A    783   FS                 801 N GILBERT ST       801 N GILBERT ST                                                                                            DANVILLE            IL   61832-3823   US   4,000
6317   779   GA   19   A   6317   SC              16745 TORRENCE AVE        16745 TORRENCE AVE                                                                                          LANSING             IL   60438-6018   US   3,000
2945   780   GA   19   A   2945   SC                 GRIFFITH CENTER        GRIFFITH CENTER                              430 W RIDGE RD                                                 GRIFFITH            IN   46319-1018   US   2,610
2018   781   GA   19   A   2018   FS            6702 INDIANAPOLIS BLVD      6702 INDIANAPOLIS BLVD                                                                                      HAMMOND             IN   46324-1708   US   3,096
3345   782   GA   19   A   3345   SC       NORTH RIDGE SHOPPING CENTER      NORTH RIDGE SHOPPING CENTER                  7796 E 37TH AVE                                                HOBART              IN   46342-2467   US   3,000
6238   783   GA   19   A   6238   FS                    603 J STREET        603 J STREET                                                                                                LA PORTE            IN   46350-5457   US   4,055
3764   784   GA   19   A   3764   M                  SOUTHLAKE MALL         SOUTHLAKE MALL                               2101 SOUTHLAKE MALL                   SPACE DU836              MERRILLVILLE        IN   46410-6438   US   4,846
3908   785   GA   19   A   3908   M              UNIVERSITY PARK MALL       UNIVERSITY PARK MALL                         6501 N GRAPE RD                       SPACE 418                MISHAWAKA           IN   46545-1101   US   3,200
6232   786   GA   19   A   6232   SC              519 W MCKINLEY AVE        519 W MCKINLEY AVE                                                                                          MISHAWAKA           IN   46545-5519   US   4,001
3732   787   GA   19   A   3732   SC     THE CROSSROADS SHOPPING CENTER     THE CROSSROADS SHOPPING CENTER               1525 US HWY 41                        SUITE C-34               SCHERERVILLE        IN   46375-1395   US   3,422
5614   788   GA   19   A   5614   SC                2410 LAPORTE AVE        2410 LAPORTE AVE                             SPACE 130                                                      VALPARAISO          IN   46383-6914   US   2,887
6266   789   GA   19   A   6266   FS                   2706 S 11TH ST       2706 S 11TH ST                                                                                              NILES               MI   49120-4420   US   4,000
3773   790   GA   19   A   3773   SC              SOUTHTOWN CENTER          SOUTHTOWN CENTER                             4346 SCATTERFIELD RD                                           ANDERSON            IN   46013-2631   US   3,000
2693   791   GA   19   A   2693   M               GLENBROOK SQUARE          GLENBROOK SQUARE                             4201 COLDWATER RD                     SUITE 423 SPACE G07      FORT WAYNE          IN   46805-1119   US   5,893
3700   792   GA   19   A   3700   SC               NORTHWOOD PLAZA          NORTHWOOD PLAZA                              6103 STELLHORN RD                                              FORT WAYNE          IN   46815-5357   US   3,000
4051   793   GA   19   A   4051   M            JEFFERSON POINTE MALL        JEFFERSON POINTE MALL                        4150 W JEFFERSON BLVD                 SUITE K8                 FORT WAYNE          IN   46804-6816   US   3,169
2306   794   GA   19   A   2306   SC           ELKHART MARKET CENTRE        ELKHART MARKET CENTRE                        4024 ELKHART RD                       SUITE 8                  GOSHEN              IN   46526-5802   US   3,000
6210   795   GA   19   A   6210   SC           BOULEVARD CROSSING SC        BOULEVARD CROSSING SC                        2140 E BLVD ST                                                 KOKOMO              IN   46902-2401   US   4,950
                                                             Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                                                                                    Pg 37 of 57
                                                                                               Store Closing List




3241   796   GA   19   A   3241   M               TIPPECANOE MALL        TIPPECANOE MALL                              2415 SAGOMORE PKWY SOUTH         SPACE A07C              LAFAYETTE          IN   47905-5124   US   3,329
1783   797   GA   19   A   1783   SC             VALLEY VIEW PLAZA       VALLEY VIEW PLAZA                            3304 S WESTERN AVE               SPACE 12                MARION             IN   46953-0000   US   3,300
3994   798   GA   19   A   3994   M                  MUNCIE MALL         MUNCIE MALL                                  3501 N GRANVILLE AVE             SPACE J03A              MUNCIE             IN   47303-1263   US   2,917
 995   799   GA   19   A    995   JC                2251 N OAK DR        2251 N OAK DR                                                                                         PLYMOUTH           IN   46563-3432   US   2,600
 655   800   GA   19   A    655   SC      MARKET PLACE OF WARSAW         MARKET PLACE OF WARSAW                       2818 FRONTAGE RD                                         WARSAW             IN   46580-3912   US   2,934
3122   801   TG   20   a   3122   M               NORTHPARK MALL         NORTHPARK MALL                               320 W KIMBERLY RD                SPACE 230               DAVENPORT          IA   52806-5995   US   2,595
2865   802   TG   20   a   2865   M                 KENNEDY MALL         KENNEDY MALL                                 555 JFK RD                       UNIT 246                DUBUQUE            IA   52002-5202   US   3,810
  79   803   TG   20   a     79   JC              411 W AGENCY RD        411 W AGENCY RD                              SUITE 6                                                  WEST BURLINGTON    IA   52655-1702   US   2,800
3634   804   TG   20   a   3634   M               SOUTHPARK MALL         SOUTHPARK MALL                               4500 16TH ST                     SPACE 171               MOLINE             IL   61265-7069   US   2,935
 133   805   TG   20   a    133   M                  QUINCY MALL         QUINCY MALL                                  3255 BROADWAY                                            QUINCY             IL   62301-3711   US   3,530
2396   806   TG   20   A   2396   SC             MARSHFIELD PLAZA        MARSHFIELD PLAZA                             11622 S MARSHFIELD AVENUE                                CHICAGO            IL   60643-0000   US   3,250
4860   808   TG   20   A   4860   M            CHICAGO RIDGE MALL        CHICAGO RIDGE MALL                           100 CHICAGO RIDGE MALL                                   CHICAGO RIDGE      IL   60415-2601   US   2,923
2159   809   TG   20   A   2159   SC     HILLCREST SHOPPING CENTER       HILLCREST SHOPPING CENTER                    1701 N LARKIN AVE                SUITE B3                CREST HILL         IL   60403-9731   US   2,900
5072   810   TG   20   A   5072   SC            RIVERCREST CENTER        RIVERCREST CENTER                            4833 CAL-SAG RD                                          CRESTWOOD          IL   60445-4415   US   2,973
4557   811   TG   20   A   4557   SC    THE QUARRY SHOPPING CENTER       THE QUARRY SHOPPING CENTER                   9430 JOLIET RD                   SUITE 700               HODGKINS           IL   60525-7266   US   5,000
1628   812   TG   20   A   1628   M               LOUIS JOLIET MALL      LOUIS JOLIET MALL                            3340 MALL LOOP DR                SPACE 1418A             JOLIET             IL   60435-1057   US   3,201
1637   813   TG   20   A   1637   SC          OAKLAWN PROMENADE          OAKLAWN PROMENADE                            6356 W 95TH ST                                           OAK LAWN           IL   60453-2202   US   2,600
4867   814   TG   20   A   4867   M                ORLAND SQUARE         ORLAND SQUARE                                602 ORLAND SQUARE                SPACE F01A SPACE F01B   ORLAND PARK        IL   60462-3219   US   3,091
6281   815   TG   20   A   6281   SC         1107 BROOK FOREST AVE       1107 BROOK FOREST AVE                                                                                 SHOREWOOD          IL   60431-0000   US   2,908
 859   816   TG   20   A    859   M                EASTLAND MALL         EASTLAND MALL                                1615 E EMPIRE ST                 SPACE A6 AND A7         BLOOMINGTON        IL   61701-3581   US   2,791
 763   817   TG   20   A    763   FS       CHAMPAIGN TOWN CENTER         CHAMPAIGN TOWN CENTER                        2002 N PROSPECT                                          CHAMPAIGN          IL   61822-1230   US   3,062
5067   818   TG   20   A   5067   M    MARKET PLACE SHOPPING CENTER      MARKET PLACE SHOPPING CENTER                 2000 N NEIL STREET                                       CHAMPAIGN          IL   61820-7808   US   4,408
1720   819   TG   20   A   1720   JC       EFFINGHAM CROSSROADS          EFFINGHAM CROSSROADS                         1302 AVENUE OF MID AMERICA       SPACE 74                EFFINGHAM          IL   62401-4588   US   2,960
2809   820   TG   20   A   2809   M            CROSS COUNTY MALL         CROSS COUNTY MALL                            700 BROADWAY AVE E               SPACE 23                MATTOON            IL   61938-4671   US   2,400
2642   821   TG   20   A   2642   SC            EAST COURT VILLAGE       EAST COURT VILLAGE                           3516 COURT ST                                            PEKIN              IL   61554-6211   US   2,869
 847   822   TG   20   A    847   FS           3421 N UNIVERSITY ST      3421 N UNIVERSITY ST                                                                                  PEORIA             IL   61604-1322   US   3,088
1745   823   TG   20   A   1745   M             NORTHWOODS MALL          NORTHWOODS MALL                              4501 N WAR MEMORIAL DR           SPACE BU07              PEORIA             IL   61613-1000   US   3,062
2130   824   TG   20   A   2130   M                   PERU MALL          PERU MALL                                    26 PERU MALL                     SUITE G4                PERU               IL   61354-1029   US   3,406
 849   825   TG   20   A    849   JC        2500 N DIRKSEN PARKWAY       2500 N DIRKSEN PARKWAY                                                                                SPRINGFIELD        IL   62702-1447   US   3,000
3157   826   TG   20   A   3157   M               WHITE OAKS MALL        WHITE OAKS MALL                              2501 WABASH AVE                  SPACE E-1               SPRINGFIELD        IL   62704-4205   US   3,568
1361   827   TG   20   A   1361   M                 ALTON SQUARE         ALTON SQUARE                                 106 ALTON SQ                     SPACE 106               ALTON              IL   62002-5917   US   3,377
4488   828   TG   20   A   4488   SC     COTTONWOOD STATION MALL         COTTONWOOD STATION MALL                      146 JUNCTION DR                                          GLEN CARBON        IL   62034-4322   US   3,000
 902   829   TG   20   A    902   SC          NAMEOKI COMMONS SC         NAMEOKI COMMONS SC                           3499 NAMEOKI RD                                          GRANITE CITY       IL   62040-3719   US   3,000
2456   830   TG   20   A   2456   FS                DUNN CENTER          DUNN CENTER                                  11225 W FLORISSANT AVE                                   FLORISSANT         MO   63033-6742   US   3,061
2238   831   TG   20   A   2238   FS         7661 N LINDBERGH BLVD       7661 N LINDBERGH BLVD                                                                                 HAZELWOOD          MO   63042-2124   US   3,096
4286   832   TG   20   A   4286   JC       THE SHOPS AT LAURA HILL       THE SHOPS AT LAURA HILL                      2206 HIGHWAY K                                           O FALLON           MO   63366-7929   US   2,600
 779   833   TG   20   A    779   SC           9080 OVERLAND PLAZA       9080 OVERLAND PLAZA                                                                                   OVERLAND           MO   63114-6122   US   2,846
4616   834   TG   20   A   4616   SC             BOGEY HILLS PLAZA       BOGEY HILLS PLAZA                            2047 ZUMBEHL ROAD                                        SAINT CHARLES      MO   63303-2723   US   3,200
2712   835   TG   20   A   2712   M                MID RIVERS MALL       MID RIVERS MALL                              1600 MID RIVERS MALL DR                                  SAINT PETERS       MO   63376-4358   US   3,771
2092   836   TG   20   A   2092   SC       WENTZVILLE CROSSROADS         WENTZVILLE CROSSROADS                        1957 WENTZVILLE PKWY             SUITE 102               WENTZVILLE         MO   63385-3424   US   2,800
2551   837   GA   21   a   2551   M                FOX RIVER MALL        FOX RIVER MALL                               4301 W WISCONSIN AVE SUITE 100                           APPLETON           WI   54915-8605   US   3,000
1649   838   GA   21   A   1649   M               BAY PARK SQUARE        BAY PARK SQUARE                              607 BAY PARK SQUARE              SPACE 607               GREEN BAY          WI   54304-5202   US   3,329
5345   839   GA   21   a   5345   FS         1925 S KOELLER STREET       1925 S KOELLER STREET                                                                                 OSHKOSH            WI   54902-6100   US   2,900
5635   840   GA   21   a   5635   M        BROOKFIELD SQUARE MALL        BROOKFIELD SQUARE MALL                       95 NORTH MOORLAND RD A7                                  BROOKFIELD         WI   53005-6021   US   2,550
3420   841   GA   21   a   3420   M              SOUTHRIDGE MALL         SOUTHRIDGE MALL                              5300 S 76TH ST                   SPACE 1100              GREENDALE          WI   53129-1102   US   3,842
3607   842   GA   21   a   3607   SC      N96W18453 COUNTY LINE RD       N96W18453 COUNTY LINE RD                                                                              MENOMONEE FALLS    WI   53051-7101   US   3,000
 918   843   GA   21   a    918   SC             DEER TRACE PLAZA        DEER TRACE PLAZA                             4097 STATE HWY 28                                        SHEBOYGAN FALLS    WI   53085-2848   US   2,560
3620   844   GA   21   a   3620   SC    WESTBROOK SHOPPING CENTER        WESTBROOK SHOPPING CENTER                    2140 E MORELAND BLVD                                     WAUKESHA           WI   53186-4021   US   3,280
2504   845   GA   21   a   2504   M        BAYSHORE TOWN CENTER          BAYSHORE TOWN CENTER                         5800 N BAYSHORE DR               SPACE B127              GLENDALE           WI   53217-4556   US   3,212
5083   846   GA   21   a   5083   SC             SOUTHPORT PLAZA         SOUTHPORT PLAZA                              7380 GREEN BAY ROAD                                      KENOSHA            WI   53142-3517   US   6,605
 888   847   GA   21   a    888   JC       SOUTHGATE MARKETPLACE         SOUTHGATE MARKETPLACE                        3333 S 27TH ST                   SUITE 150               MILWAUKEE          WI   53215-4349   US   3,600
1474   848   GA   21   a   1474   CB          1001 WEST MITCHELL ST      1001 WEST MITCHELL ST                                                                                 MILWAUKEE          WI   53204-3308   US   4,700
2917   849   GA   21   a   2917   SC    RIVER WEST SHOPPING CENTER       RIVER WEST SHOPPING CENTER                   320 E CAPITOL DRIVE                                      MILWAUKEE          WI   53212-1210   US   3,077
2165   850   GA   21   a   2165   M                 MAYFAIR MALL         MAYFAIR MALL                                 2500 N MAYFAIR ROAD              SPACE 805               WAUWATOSA          WI   53226-1409   US   3,525
2907   851   GA   21   a   2907   SC                FOREST PLAZA         FOREST PLAZA                                 6059 E STATE ST                  SUITE 105               ROCKFORD           IL   61108-2512   US   3,603
4122   852   GA   21   a   4122   M              CHERRYVALE MALL         CHERRYVALE MALL                              7200 HARRISON AVE                                        ROCKFORD           IL   61112-1017   US   3,186
6209   853   GA   21   a   6209   FS            1901 MILTON AVENUE       1901 MILTON AVENUE                                                                                    JANESVILLE         WI   53545-0836   US   4,750
4367   854   GA   21   A   4367   SC          WOODS CREEK CENTER         WOODS CREEK CENTER                           706 SOUTH RANDALL RD                                     ALGONQUIN          IL   60102-5915   US   3,021
1062   855   GA   21   A   1062   M                FORD CITY MALL        FORD CITY MALL                               7601 S CICERO AVE                SPACE 1498              CHICAGO            IL   60652-1574   US   4,079
1362   856   GA   21   A   1362   SC       CHATHAM VILLAGE SQUARE        CHATHAM VILLAGE SQUARE                       8552 S COTTAGE GROVE                                     CHICAGO            IL   60619-0000   US   2,500
2053   857   GA   21   A   2053   SC              GATEWAY CENTER         GATEWAY CENTER                               1751 W HOWARD ST                 SUITE B                 CHICAGO            IL   60626-1645   US   6,443
2393   858   GA   21   A   2393   CB          3401 W LAWRENCE AVE        3401 W LAWRENCE AVE                                                                                   CHICAGO            IL   60625-5103   US   3,605
2976   859   GA   21   A   2976   SC          SUGAR HOUSE CENTER         SUGAR HOUSE CENTER                           111 W 87TH ST                                            CHICAGO            IL   60620-1304   US   5,570
3300   860   GA   21   A   3300   SC              BROADWAY PLAZA         BROADWAY PLAZA                               1133 W BERWYN AVE                                        CHICAGO            IL   60640-2301   US   2,609
3348   861   GA   21   A   3348   SC              THE YARDS PLAZA        THE YARDS PLAZA                              4610 S DAMEN AVE                                         CHICAGO            IL   60609-4043   US   3,100
3544   862   GA   21   A   3544   CB                 13 N STATE ST       13 N STATE ST                                                                                         CHICAGO            IL   60602-3200   US   3,283
4113   863   GA   21   A   4113   CB             4772 N LINCOLN AVE      4772 N LINCOLN AVE                                                                                    CHICAGO            IL   60625-2010   US   2,990
6125   864   GA   21   A   6125   SC             KEDZIE PLAZA EAST       KEDZIE PLAZA EAST                            4707 S KEDZIE                                            CHICAGO            IL   60632-3001   US   2,250
5683   865   GA   21   A   5683   SC            COUNTRY CORNERS          COUNTRY CORNERS                              230 W VIRGINIA ST                                        CRYSTAL LAKE       IL   60014-7245   US   3,000
3871   866   GA   21   A   3871   M                 GURNEE MILLS         GURNEE MILLS                                 6170 W GRAND AVENUE              SUITE 809               GURNEE             IL   60031-4553   US   2,981
4415   867   GA   21   A   4415   SC        THE SHOPS AT FOX RIVER       THE SHOPS AT FOX RIVER                       2922 COMMERCE DR                 UNIT F3                 JOHNSBURG          IL   60051-5409   US   3,000
3489   868   GA   21   A   3489   M      LINCOLNWOOD TOWN CENTER         LINCOLNWOOD TOWN CENTER                      3333 W TOUHY AVE                 SPACE 1-12              LINCOLNWOOD        IL   60712-2721   US   2,753
1888   869   GA   21   A   1888   SC           154 TOWNCENTER RD         154 TOWNCENTER RD                                                                                     MATTESON           IL   60443-2245   US   3,028
2028   870   GA   21   A   2028   SC                 GOLF PLAZA II       GOLF PLAZA II                                1002 S ELMHURST RD                                       MOUNT PROSPECT     IL   60056-4240   US   3,200
 457   871   GA   21   A    457   SC           NORRIDGE COMMONS          NORRIDGE COMMONS                             4141 N HARLEM AVE                                        NORRIDGE           IL   60706-1211   US   3,750
4486   872   GA   21   A   4486   M             HARLEM IRVING MALL       HARLEM IRVING MALL                           4202 N HARLEM AVE SUITE I                                NORRIDGE           IL   60706-1223   US   3,660
5773   873   GA   21   A   5773   SC           DEER GROVE CENTER         DEER GROVE CENTER                            639 E DUNDEE RD                                          PALATINE           IL   60074-2817   US   3,775
4570   874   GA   21   A   4570   SC            ROUND LAKE COURT         ROUND LAKE COURT                             272 E ROLLINS ROAD                                       ROUND LAKE BEACH   IL   60073-1330   US   3,511
5663   875   GA   21   A   5663   M               WOODFIELD MALL         WOODFIELD MALL                               5 WOODFIELD MALL SUITE F101                              SCHAUMBURG         IL   60173-5017   US   2,800
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                                                                                                    Pg 38 of 57
                                                                                               Store Closing List




3638   876   GA   21   A   3638   SC         VILLAGE CROSSING            VILLAGE CROSSING                             5553 TOUHY AVE                                    SKOKIE            IL   60077-3235   US   3,073
2879   877   GA   21   A   2879   SC     BROOKSIDE MARKETPLACE           BROOKSIDE MARKETPLACE                        7314 W 191ST ST                                   TINLEY PARK       IL   60487-9361   US   4,178
2225   878   GA   21   A   2225   FS            2511 GRAND AVE           2511 GRAND AVE                                                                                 WAUKEGAN          IL   60085-3316   US   3,096
4059   879   TG   22   A   4059   M            WESTGATE MALL             WESTGATE MALL                                14136 BAXTER DR                  SUITE 21         BRAINERD          MN   56401-3261   US   2,960
4973   880   TG   22   A   4973   FS       1275 HIGHWAY 10 WEST          1275 HIGHWAY 10 WEST                                                                           DETROIT LAKES     MN   56502-0000   US   3,060
3411   881   TG   22   A   3411   M        CROSSROADS CENTER             CROSSROADS CENTER                            4101 W DIVISION ST               SPACE B-0036     SAINT CLOUD       MN   56301-6600   US   2,755
2232   882   TG   22   A   2232   FS              1413 1ST ST S          1413 1ST ST S                                                                                  WILLMAR           MN   56201-4221   US   3,096
 154   883   TG   22   A    154   M            KIRKWOOD PLAZA            KIRKWOOD PLAZA                               659 KIRKWOOD MALL                                 BISMARCK          ND   58504-5704   US   3,018
3493   885   TG   22   A   3493   M             COLUMBIA MALL            COLUMBIA MALL                                2800 S COLUMBIA RD #A-4          BOX 6            GRAND FORKS       ND   58201-6076   US   3,579
 131   886   TG   22   A    131   M        DAKOTA SQUARE MALL            DAKOTA SQUARE MALL                           2400 10TH ST SW                  SPACE 204        MINOT             ND   58701-6997   US   3,017
4784   887   TG   22   A   4784   JC     8510 SPRINGBROOK DRIVE          8510 SPRINGBROOK DRIVE                                                                         COON RAPIDS       MN   55433-6085   US   3,120
 471   888   TG   22   A    471   SC               CRYSTAL SC            CRYSTAL SC                                   143 WILLOW BEND                                   CRYSTAL           MN   55428-3934   US   7,182
2362   889   TG   22   A   2362   M        EDEN PRAIRIE CENTER           EDEN PRAIRIE CENTER                          125 EDEN PRAIRIE CENTER          SPACE 2216       EDEN PRAIRIE      MN   55344-0000   US   2,533
3860   890   TG   22   A   3860   M            RIVER HILLS MALL          RIVER HILLS MALL                             1850 ADAMS ST STE 132                             MANKATO           MN   56001-4846   US   2,418
1093   891   TG   22   A   1093   SC     MAPLE GROVE CROSSINGS           MAPLE GROVE CROSSINGS                        8056 WEDGEWOOD LANE NORTH                         MAPLE GROVE       MN   55369-9406   US   2,700
 734   892   TG   22   A    734   SC          3047 NICOLLET AVE          3047 NICOLLET AVE                                                                              MINNEAPOLIS       MN   55408-3129   US   2,784
4480   893   TG   22   A   4480   M          RIDGEDALE CENTER            RIDGEDALE CENTER                             12685 WAYZATA BLVD STE 248                        MINNETONKA        MN   55305-1941   US   3,014
2501   894   TG   22   A   2501   SC       RICHFIELD SHOPPES N           RICHFIELD SHOPPES N                          4 E 66TH ST                                       RICHFIELD         MN   55423-2454   US   2,816
3692   895   TG   22   A   3692   JC        SOUTHPORT CENTRE             SOUTHPORT CENTRE                             15050 CEDAR AVE SOUTH            SPACE 119        APPLE VALLEY      MN   55124-7045   US   3,500
2102   896   TG   22   A   2102   M         BURNSVILLE CENTER            BURNSVILLE CENTER                            1051 BURNSVILLE CTR                               BURNSVILLE        MN   55306-4438   US   2,788
1749   897   TG   22   A   1749   M            MILLER HILL MALL          MILLER HILL MALL                             1600 MILLER TRUNK HWY                             DULUTH            MN   55811-5640   US   3,044
1715   898   TG   22   A   1715   M           MAPLEWOOD MALL             MAPLEWOOD MALL                               3001 WHITE BEAR AVE N            SPACE 2009       MAPLEWOOD         MN   55109-1215   US   3,903
4442   899   TG   22   A   4442   M           MALL OF AMERICA            MALL OF AMERICA                              150 N GARDENS                                     MINNEAPOLIS       MN   55425-5517   US   3,001
3929   900   TG   22   A   3929   M          ROSEDALE CENTER             ROSEDALE CENTER                              1595 HIGHWAY 36 W                SPACE 315        ROSEVILLE         MN   55113-3009   US   3,321
 682   901   TG   22   A    682   SC     MIDWAY SHOPPING CENTER          MIDWAY SHOPPING CENTER                       1468 UNIVERSITY AVE W                             SAINT PAUL        MN   55104-3901   US   3,514
 735   902   TG   22   A    735   SC          1615 ROBERT ST S           1615 ROBERT ST S                                                                               WEST SAINT PAUL   MN   55118-3903   US   2,997
1580   903   TG   22   A   1580   M             OAKWOOD MALL             OAKWOOD MALL                                 4800 GOLF RD                     SPACE 80         EAU CLAIRE        WI   54701-9024   US   5,711
3876   904   TG   22   A   3876   M           EAST TOWNE MALL            EAST TOWNE MALL                              46 E TOWNE MALL                  SPACE D406       MADISON           WI   53704-3712   US   3,006
3893   905   TG   22   A   3893   M          WEST TOWNE MALL             WEST TOWNE MALL                              243 WEST TOWNE MALL              UNIT E5          MADISON           WI   53719-1024   US   3,659
4043   906   TG   22   A   4043   M               APACHE MALL            APACHE MALL                                  1201 12TH STREET SW SUITE 1070                    ROCHESTER         MN   55902-2126   US   3,386
3852   907   TG   22   A   3852   M           VALLEY VIEW MALL           VALLEY VIEW MALL                             3800 STATE ROAD 16               SPACE 159        LA CROSSE         WI   54601-1898   US   2,777
6546   908   TG   22   A   6546   FS               9362 HWY 16           9362 HWY 16                                                                                    ONALASKA          WI   54650-8526   US   4,500
2007   909   TG   23   A   2007   M        SOUTHERN HILLS MALL           SOUTHERN HILLS MALL                          4400 SARGEANT RD                 SPACE 362        SIOUX CITY        IA   51106-0000   US   2,746
3549   910   TG   23   A   3549   JC          111 SALE BARN RD           111 SALE BARN RD                             SUITE 9                                           STORM LAKE        IA   50588-0000   US   2,850
1711   911   TG   23   A   1711   M                THE EMPIRE            THE EMPIRE                                   340 EMPIRE MALL                                   SIOUX FALLS       SD   57106-6507   US   3,365
2015   912   TG   23   A   2015   FS              EMPIRE MALL            EMPIRE MALL                                  3921 W 41ST ST                                    SIOUX FALLS       SD   57106-0721   US   3,096
  58   913   TG   23   a     58   JC           PINE TREE PLAZA           PINE TREE PLAZA                              550 36TH AVE SW                  SUITES Q AND 4   ALTOONA           IA   50009-0000   US   3,200
2866   914   TG   23   a   2866   M          NORTH GRAND MALL            NORTH GRAND MALL                             2801 N GRAND MALL                                 AMES              IA   50010-4668   US   3,209
2864   915   TG   23   a   2864   M               LINDALE MALL           LINDALE MALL                                 4444 1ST AVE NE # 234                             CEDAR RAPIDS      IA   52402-3239   US   3,445
5629   916   TG   23   a   5629   M          CORAL RIDGE MALL            CORAL RIDGE MALL                             1451 CORAL RIDGE AVE             SPACE 302        CORALVILLE        IA   52241-0000   US   3,000
 111   917   TG   23   a    111   JC          5406 DOUGLAS AVE           5406 DOUGLAS AVE                                                                               DES MOINES        IA   50310-1840   US   4,000
4116   918   TG   23   a   4116   SC   SOUTHDALE SHOPPING CENTER         SOUTHDALE SHOPPING CENTER                    5110 SE 14TH ST                                   DES MOINES        IA   50320-1608   US   2,940
 867   919   TG   23   a    867   M        CROSSROADS CENTER             CROSSROADS CENTER                            2060 CORSSROADS BLVD             SUITE 115        WATERLOO          IA   50702-4423   US   2,855
 972   920   TG   23   a    972   M    JORDAN CREEK TOWN CENTER          JORDAN CREEK TOWN CENTER                     101 JORDAN CREEK PARKWAY         SUITE 11004      WEST DES MOINES   IA   50266-8113   US   3,544
1883   921   TG   23   a   1883   M          VALLEY WEST MALL            VALLEY WEST MALL                             1551 VALLEY WEST DR              SPACE 156        WEST DES MOINES   IA   50266-1112   US   4,310
 710   922   TG   23   B    710   JC             1012 E 23RD ST          1012 E 23RD ST                               SUITE 100                                         COLUMBUS          NE   68601-3706   US   2,770
2169   923   TG   23   B   2169   JC            FREMONT PLAZA            FREMONT PLAZA                                841 E 23RD ST                                     FREMONT           NE   68025-2444   US   3,150
3515   924   TG   23   B   3515   M           CONESTOGA MALL             CONESTOGA MALL                               3404 W 13TH ST SPACE A-9                          GRAND ISLAND      NE   68803-2389   US   3,460
 659   925   TG   23   B    659   M               HILLTOP MALL           HILLTOP MALL                                 5019 NORTH 2ND AVENUE            SPACE 19         KEARNEY           NE   68847-2427   US   2,783
  85   926   TG   23   B     85   M               SUNSET MALL            SUNSET MALL                                  1700 MARKET LANE                                  NORFOLK           NE   68701-7328   US   3,672
2107   927   TG   23   B   2107   M          PLATTE RIVER MALL           PLATTE RIVER MALL                            1100 S DEWEY ST                                   NORTH PLATTE      NE   69101-6161   US   3,000
1047   928   TG   23   B   1047   M            RUSHMORE MALL             RUSHMORE MALL                                2200 N MAPLE AVE                 SPACE 508        RAPID CITY        SD   57701-7881   US   4,253
5584   929   TG   23   B   5584   JC   LAKE MANAWA POWER CENTER          LAKE MANAWA POWER CENTER                     3134 MANAWA CENTRE DR            SUITE 1          COUNCIL BLUFFS    IA   51501-7690   US   2,520
 775   930   TG   23   B    775   JC            WOLF CREEK SC            WOLF CREEK SC                                10503 SOUTH 15TH ST              SUITE 104        BELLEVUE          NE   68123-4085   US   2,800
4612   931   TG   23   B   4612   FS             4620 N. 27TH ST         4620 N. 27TH ST                                                                                LINCOLN           NE   68521-4700   US   3,060
5341   932   TG   23   B   5341   M             GATEWAY MALL             GATEWAY MALL                                 6100 O STREET #A194                               LINCOLN           NE   68528-9142   US   3,091
 759   933   TG   23   B    759   FS        MAPLEWOOD SQUARE             MAPLEWOOD SQUARE                             2716 N 90TH ST                                    OMAHA             NE   68134-5706   US   4,026
 788   934   TG   23   B    788   SC         WESTWOOD PLAZA              WESTWOOD PLAZA                               12289 W CENTER RD                                 OMAHA             NE   68144-3931   US   2,463
4180   935   TG   23   B   4180   M           WESTROADS MALL             WESTROADS MALL                               10000 CALIFORNIA ST STE 2513                      OMAHA             NE   68114-2308   US   2,634
 168   936   TG   24   B    168   M         VILLAGE SQUARE S/C           VILLAGE SQUARE S/C                           2601 CENTRAL AVE                                  DODGE CITY        KS   67801-6272   US   3,300
2549   937   TG   24   B   2549   SC         GARDEN CITY PLAZA           GARDEN CITY PLAZA                            2214 E KANSAS AVE                                 GARDEN CITY       KS   67846-6967   US   3,200
 189   938   TG   24   B    189   M         BIG CREEK CROSSING           BIG CREEK CROSSING                           2918 VINE ST                     SPACE #260       HAYS              KS   67601-1929   US   3,000
1331   939   TG   24   B   1331   SC   THE LEGENDS AT VILLAGE WEST       THE LEGENDS AT VILLAGE WEST                  10920 STADIUM PKWY                                KANSAS CITY       KS   66111-8100   US   3,172
4781   940   TG   24   B   4781   SC         1540 WAKARUSA RD            1540 WAKARUSA RD                             SPACE A                          SUITE 38 39 40   LAWRENCE          KS   66047-2096   US   5,706
1871   941   TG   24   B   1871   M      MANHATTAN TOWN CENTER           MANHATTAN TOWN CENTER                        100 MANHATTAN TOWN CTR           SPACE 465        MANHATTAN         KS   66502-6001   US   3,047
2442   942   TG   24   B   2442   FS         1985 E SANTA FE ST          1985 E SANTA FE ST                                                                             OLATHE            KS   66062-1610   US   3,061
4107   943   TG   24   B   4107   M             OAK PARK MALL            OAK PARK MALL                                11391 W 95TH ST                  SUITE 41A        OVERLAND PARK     KS   66214-1826   US   7,162
1148   944   TG   24   B   1148   M              CENTRAL MALL            CENTRAL MALL                                 2259 S 9TH ST                    SPACE 16         SALINA            KS   67401-7313   US   3,999
2461   945   TG   24   B   2461   FS            11207 W 63RD ST          11207 W 63RD ST                                                                                SHAWNEE           KS   66203-3333   US   3,135
3065   946   TG   24   B   3065   M           WEST RIDGE MALL            WEST RIDGE MALL                              1801 SW WANAMAKER RD             SPACE F8         TOPEKA            KS   66604-3804   US   2,566
  77   948   TG   24   B     77   FS           1514 S OLIVER ST          1514 S OLIVER ST                                                                               WICHITA           KS   67218-3228   US   4,000
1709   949   TG   24   B   1709   M        TOWNE WEST SQUARE             TOWNE WEST SQUARE                            4600 W KELLOGG                   SPACE LO6A       WICHITA           KS   67209-2568   US   2,900
2535   950   TG   24   B   2535   SC       NEW MARKET SQUARE             NEW MARKET SQUARE                            2441 N MAIZE RD                  SUITE 301        WICHITA           KS   67205-0000   US   3,000
2821   951   TG   24   B   2821   M         TOWNE EAST SQUARE            TOWNE EAST SQUARE                            7700 E KELLOGG DR                SPACE 745        WICHITA           KS   67207-1772   US   2,570
 145   952   TG   24   B    145   FS              4824 S 4TH ST          4824 S 4TH ST                                                                                  LEAVENWORTH       KS   66048-5035   US   3,096
3980   953   TG   24   B   3980   SC       ADAMS DAIRY LANDING           ADAMS DAIRY LANDING                          1154 NE CORONADO DRIVE           SUITE L 131      BLUE SPRINGS      MO   64014-2944   US   6,755
  62   954   TG   24   B     62   SC          4023 S NOLAND RD           4023 S NOLAND RD                                                                               INDEPENDENCE      MO   64055-6531   US   2,436
                                                               Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                                                                                      Pg 39 of 57
                                                                                                 Store Closing List




 426    955   TG   24   B    426   SC              BOLGER SQUARE SC        BOLGER SQUARE SC                             17710 EAST 39 ST SOUTH                             INDEPENDENCE       MO   64055-6725   US   3,710
 102    956   TG   24   B    102   SC            NORTHEAST PLAZA S/C       NORTHEAST PLAZA S/C                          5908 WILSON RD # 10                                KANSAS CITY        MO   64123-1941   US   3,200
 428    957   TG   24   B    428   SC            SHOPS AT BOARDWALK        SHOPS AT BOARDWALK                           8608 N BOARDWALK AVE                               KANSAS CITY        MO   64154-5239   US   3,294
2371    958   TG   24   B   2371   M                THE LANDING MALL       THE LANDING MALL                             1126 E MEYER BLVD                                  KANSAS CITY        MO   64131-1205   US   4,075
2643    959   TG   24   B   2643   SC          CHOUTEAU CROSSING SC        CHOUTEAU CROSSING SC                         4367 NE CHOUTEAU TRAFFICWAY                        KANSAS CITY        MO   64117-2434   US   3,297
4174    960   TG   24   B   4174   JC              WILSHIRE PLAZA SC       WILSHIRE PLAZA SC                            8418 N CHURCH RD                                   KANSAS CITY        MO   64157-1204   US   3,044
1406    961   TG   24   B   1406   SC          SUMMITWOOD CROSSING         SUMMITWOOD CROSSING                          1734 NW CHIPMAN RD                    SPACE S      LEES SUMMIT        MO   64081-2447   US   2,715
 142    962   TG   24   B    142   JC                 601 S BELT HWY       601 S BELT HWY                                                                                  SAINT JOSEPH       MO   64507-2108   US   4,000
3617    963   TG   24   B   3617   M        NORTHWEST ARKANSAS MALL        NORTHWEST ARKANSAS MALL                      4201 N SHILOH DR                                   FAYETTEVILLE       AR   72703-5197   US   2,832
5157    964   TG   24   B   5157   FS             FRISCO STATION MALL      FRISCO STATION MALL                          2001 W WALNUT STREET                               ROGERS             AR   72756-3243   US   3,850
4590    965   TG   24   B   4590   FS             1502 S RANGE LINE RD     1502 S RANGE LINE RD                                                                            JOPLIN             MO   64804-3229   US   3,060
4958    966   TG   24   B   4958   M                 NORTHPARK MALL        NORTHPARK MALL                               101 RANGELINE ROAD                    SPACE #118   JOPLIN             MO   64801-4118   US   3,682
 705    967   TG   24   B    705   JC           2923 W BROADWAY BLVD       2923 W BROADWAY BLVD                         STOP ONE                                           SEDALIA            MO   65301-2214   US   3,024
2444    968   TG   24   B   2444   M                BATTLEFIELD MALL       BATTLEFIELD MALL                             2825 S GLENSTONE AVE                  SPACE V09    SPRINGFIELD        MO   65804-3728   US   3,981
4319    969   TG   24   B   4319   FS          3425 S CAMPBELL AVENUE      3425 S CAMPBELL AVENUE                                                                          SPRINGFIELD        MO   65807-5101   US   3,010
4598    970   TG   24   B   4598   FS              2817 N KANSAS EXPY      2817 N KANSAS EXPY                                                                              SPRINGFIELD        MO   65803-1017   US   3,060
 712    971   TG   24   B    712   SC     NORTHPARK SHOPPING CENTER        NORTHPARK SHOPPING CENTER                    320 E YOUNG ST                        SUITE C      WARRENSBURG        MO   64093-1258   US   3,200
2807    972   GA   25   A   2807   M                 ST CLAIR SQUARE       ST CLAIR SQUARE                              239 SAINT CLAIR SQ                                 FAIRVIEW HEIGHTS   IL   62208-2134   US   4,159
 815    973   GA   25   A    815   SC   3640 GREEN MOUNT CROSSING DRIVE    3640 GREEN MOUNT CROSSING DRIVE              SUITE 109                                          SHILOH             IL   62269-0000   US   2,800
 915    975   GA   25   A    915   FS           100 BUSINESS LOOP 70 W     100 BUSINESS LOOP 70 W                                                                          COLUMBIA           MO   65203-3245   US   3,600
2974    976   GA   25   A   2974   M                  COLUMBIA MALL        COLUMBIA MALL                                2300 BERNADETTE DR                    SUITE 520    COLUMBIA           MO   65203-0000   US   2,993
3767    977   GA   25   A   3767   M               WEST COUNTY MALL        WEST COUNTY MALL                             8 WEST COUNTY CENTER                               DES PERES          MO   63131-0000   US   3,454
 901   979    GA   25   A    901   FS               4926 CHRISTY BLVD      4926 CHRISTY BLVD                                                                               SAINT LOUIS        MO   63116-1218   US   3,096
1031   980    GA   25   A   1031   M            SOUTH COUNTY CENTER        SOUTH COUNTY CENTER                          43 S COUNTY CENTER WAY                             SAINT LOUIS        MO   63129-1006   US   3,144
1446   981    GA   25   A   1446   SC            LINDELL MARKET PLACE      LINDELL MARKET PLACE                         4159 LINDELL BLVD                                  SAINT LOUIS        MO   63108-2913   US   3,150
2000    982   GA   25   A   2000   SC        SOUTH LAKEVIEW PLAZA S/C      SOUTH LAKEVIEW PLAZA S/C                     4404 LEMAY FERRY RD                                SAINT LOUIS        MO   63129-1758   US   2,986
 619    983   GA   25   A    619   FS          555 WASHINGTON SQUARE       555 WASHINGTON SQUARE                                                                           WASHINGTON         MO   63090-5343   US   3,060
1309    984   GA   25   A   1309   M                 UNIVERSITY MALL       UNIVERSITY MALL                              1237 E MAIN ST                        SUITE A 37   CARBONDALE         IL   62901-3114   US   3,000
2489    985   GA   25   A   2489   SC             EVANSVILLE PAVILION      EVANSVILLE PAVILION                          6501 E LLOYD EXPRESSWAY               SP 23        EVANSVILLE         IN   47715-4104   US   2,800
5646    986   GA   25   A   5646   M                  EASTLAND MALL        EASTLAND MALL                                800 N GREEN RIVER RD                  SPACE 224    EVANSVILLE         IN   47715-2471   US   3,240
 757    987   GA   25   A    757   JC                  3437 WILLIAM        3437 WILLIAM                                                                                    CAPE GIRARDEAU     MO   63701-9507   US   3,000
2288    988   GA   25   A   2288   M                 WEST PARK MALL        WEST PARK MALL                               3049 WILLIAMS ST                      SUITE 197    CAPE GIRARDEAU     MO   63703-6340   US   3,154
3441   989    GA   25   A   3441   FS                 730 MARKET ST        730 MARKET ST                                                                                   FARMINGTON         MO   63640-1951   US   3,060
5305    990   GA   25   A   5305   SC                 FENTON PLAZA         FENTON PLAZA                                 53 FENTON PLAZA                                    FENTON             MO   63026-4110   US   3,222
 789    991   GA   25   A    789   FS         MANSION MALL SHPG CNTR       MANSION MALL SHPG CNTR                       1435 NORTHWESTWOOD                                 POPLAR BLUFF       MO   63901-3315   US   4,000
 641    992   GA   25   A    641   JC                603 S BISHOP AVE      603 S BISHOP AVE                             SUITE A                                            ROLLA              MO   65401-4314   US   2,700
3350    993   GA   25   B   3350   M             MALL AT TURTLE CREEK      MALL AT TURTLE CREEK                         3000 HIGHLAND AVE                     SPACE 515    JONESBORO          AR   72401-6321   US   3,146
1152    994   GA   25   B   1152   SC     TOWN WEST SHOPPING CENTER        TOWN WEST SHOPPING CENTER                    2505 W KINGS HIGHWAY                               PARAGOULD          AR   72450-3921   US   3,000
 868    995   GA   25   B    868   JC               111 N MISSOURI ST      111 N MISSOURI ST                                                                               WEST MEMPHIS       AR   72301-3109   US   3,515
 328   996    GA   25   B    328   FS                 EAST TOWN SC         EAST TOWN SC                                 2013 HIGHWAY 72 E                     SPACE E      CORINTH            MS   38834-6710   US   4,150
3828   997    GA   25   B   3828   SC            8110 CAMP CREEK BLVD      8110 CAMP CREEK BLVD                         SUITE 119                                          OLIVE BRANCH       MS   38654-1613   US   2,800
 212    998   GA   25   B    212   M         SOUTHHAVEN TOWN CENTER        SOUTHHAVEN TOWN CENTER                       6592 TOWNE CENTER LOOP                SPACE 1070   SOUTHAVEN          MS   38671-0000   US   3,000
4410   1000   GA   25   B   4410   M             WOLFCHASE GALLERIA        WOLFCHASE GALLERIA                           2760 N GERMAN TOWN PKWY               SUITE 105    BARTLETT           TN   38133-8154   US   3,489
 942   1001   GA   25   B    942   JC             OLD HICKORY SQUARE       OLD HICKORY SQUARE                           1970 N HIGHLAND AVE                                JACKSON            TN   38305-4526   US   2,860
 839   1002   GA   25   B    839   SC                  SOUTH PLAZA         SOUTH PLAZA                                  4052 S PLAZA DR                                    MEMPHIS            TN   38116-6335   US   6,000
1324   1003   GA   25   B   1324   FS               4600 SUMMER AVE        4600 SUMMER AVE                                                                                 MEMPHIS            TN   38122-4136   US   3,060
2311   1004   GA   25   B   2311   SC       HICKORY RIDGE CROSSING S/C     HICKORY RIDGE CROSSING S/C                   3625 HICKORY HILL RD                               MEMPHIS            TN   38115-5010   US   2,975
2437   1005   GA   25   B   2437   SC           CENTER CITY SHPG CNTR      CENTER CITY SHPG CNTR                        152 N AVALON ST                                    MEMPHIS            TN   38104-2408   US   3,300
2011   1006   GA   25   B   2011   FS           MILLINGTON SHPG CNTR       MILLINGTON SHPG CNTR                         8043 US HIGHWAY 51 N                               MILLINGTON         TN   38053-1730   US   3,096
 701   1007   TG   26   B    701   FS             1000 W BROADWAY ST       1000 W BROADWAY ST                                                                              ARDMORE            OK   73401-4531   US   4,000
 162   1008   TG   26   B    162   SC             ELK PLAZA SHPG CNTR      ELK PLAZA SHPG CNTR                          1521 N HIGHWAY 81                                  DUNCAN             OK   73533-1407   US   3,200
2443   1009   TG   26   B   2443   SC                NEILSON SQUARE        NEILSON SQUARE                               3514 W GARRIOTT RD                    SPACE B-18   ENID               OK   73703-4909   US   2,600
  15   1010   TG   26   B     15   JC               1202 NW SHERIDAN       1202 NW SHERIDAN                                                                                LAWTON             OK   73505-5210   US   2,700
1397   1011   TG   26   B   1397   M                   SOONER MALL         SOONER MALL                                  3215 W MAIN ST                        SPACE 211    NORMAN             OK   73072-4806   US   2,800
1872   1012   TG   26   B   1872   M               QUAIL SPRINGS MALL      QUAIL SPRINGS MALL                           2501 W MEMORIAL RD                    SPACE 205    OKLAHOMA CITY      OK   73134-8039   US   4,118
2037   1013   TG   26   B   2037   JC                ROCKWELL PLAZA        ROCKWELL PLAZA                               7228 NORTHWEST HIGHWAY                             OKLAHOMA CITY      OK   73132-0000   US   2,954
 308   1014   TG   26   B    308   JC       SHAWNEE SHOPPING CENTER        SHAWNEE SHOPPING CENTER                      4903 N UNION                          SUITE 101    SHAWNEE            OK   74804-0000   US   3,000
4539   1015   TG   26   B   4539   JC          1204 GARTH BROOKS BLVD      1204 GARTH BROOKS BLVD                                                                          YUKON              OK   73099-4107   US   3,000
2032   1016   TG   26   B   2032   M                  CENTRAL MALL         CENTRAL MALL                                 5111 ROGERS AVENUE                    SUITE 40X    FORT SMITH         AR   72903-2047   US   3,244
3586   1017   TG   26   B   3586   SC                RED BUD CENTER        RED BUD CENTER                               2409 W KENOSHA                        SUITE 113    BROKEN ARROW       OK   74012-8964   US   2,800
2425   1018   TG   26   B   2425   FS          998 W WILL ROGERS BLVD      998 W WILL ROGERS BLVD                                                                          CLAREMORE          OK   74017-5417   US   3,885
2088   1019   TG   26   B   2088   M                ARROWHEAD MALL         ARROWHEAD MALL                               501 N MAIN ST                         SPACE 52     MUSKOGEE           OK   74401-6348   US   2,694
 886   1020   TG   26   B    886   SC           TWO THOUSAND CENTER        TWO THOUSAND CENTER                          2008 S WOOD DR                                     OKMULGEE           OK   74447-6849   US   3,200
  48   1021   TG   26   B     48   SC        SMITH FARMS MARKETPLACE       SMITH FARMS MARKETPLACE                      9002 NORTH 121ST EAST AVE SUITE 700   SUITE 700    OWASSO             OK   74055-0000   US   4,000
 143   1022   TG   26   B    143   SC         PIONEER SQUARE CENTER        PIONEER SQUARE CENTER                        715 N PERKINS RD                                   STILLWATER         OK   74075-5419   US   3,200
2797   1023   TG   26   B   2797   FS             1585 S MUSKOGEE AVE      1585 S MUSKOGEE AVE                                                                             TAHLEQUAH          OK   74464-5285   US   3,062
 118   1024   TG   26   B    118   JC               7301 E ADMIRAL PL      7301 E ADMIRAL PL                                                                               TULSA              OK   74115-7910   US   4,425
1873   1025   TG   26   B   1873   SC      TULSA HILLS SHOPPING CENTER     TULSA HILLS SHOPPING CENTER                  7323 S OLYMPIA AVE                                 TULSA              OK   74132-0000   US   3,000
3196   1026   TG   26   B   3196   M             WOODLAND HILLS MALL       WOODLAND HILLS MALL                          7021 S MEMORIAL DR                    SPACE 101    TULSA              OK   74133-2049   US   2,985
2133   1027   TG   26   B   2133   SC         TRINITY VALLEY SHPG CNTR     TRINITY VALLEY SHPG CNTR                     2630 N JOSEY LN STE 101                            CARROLLTON         TX   75007-5541   US   2,880
2171   1028   TG   26   B   2171   M                 GALLERIA DALLAS       GALLERIA DALLAS                              13350 DALLAS PKWY                     SUITE 3270   DALLAS             TX   75240-6658   US   3,246
3229   1029   TG   26   B   3229   M            GOLDEN TRIANGLE MALL       GOLDEN TRIANGLE MALL                         2201 I 35 EAST                        SPACE M2     DENTON             TX   76205-8191   US   2,626
6680   1030   TG   26   B   6680   M              STONEBRIAR CENTRE        STONEBRIAR CENTRE                            2601 PRESTON RD                       SUITE 1132   FRISCO             TX   75034-0000   US   2,023
6720   1031   TG   26   B   6720   SC     THE CENTRE AT PRESTON RIDGE      THE CENTRE AT PRESTON RIDGE                  8300 GAYLORD PARKWAY                  SUITE 1      FRISCO             TX   75034-8567   US   3,000
2103   1032   TG   26   B   2103   SC     GAINESVILLE SHOPPING CENTER      GAINESVILLE SHOPPING CENTER                  960 E HIGHWAY 82                                   GAINESVILLE        TX   76240-2720   US   4,000
5593   1033   TG   26   B   5593   M                 GRAPEVINE MILLS       GRAPEVINE MILLS                              3000 GRAPEVINE MILLS PKWY             SPACE 414    GRAPEVINE          TX   76051-2008   US   3,550
                                                               Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44     Main Document
                                                                                                      Pg 40 of 57
                                                                                                 Store Closing List




 975   1034   TG   26   B    975   SC          WESTGATE SHPG CNTR          WESTGATE SHPG CNTR                           131 S CENTRAL EXPY                                   MC KINNEY           TX   75070-3743   US   3,250
4380   1035   TG   26   B   4380   FS                700 W 15TH ST         700 W 15TH ST                                                                                     PLANO               TX   75075-8823   US   3,120
4600   1036   TG   26   B   4600   SC        SHERMAN TOWN CENTER           SHERMAN TOWN CENTER                          4172 TOWN CENTER STREET                              SHERMAN             TX   75090-0000   US   2,934
1604   1037   TG   26   B   1604   JC           THE COLONY SQUARE          THE COLONY SQUARE                            5001 MAIN ST                      SPACE 101          THE COLONY          TX   75056-2266   US   2,795
2801   1038   TG   26   B   2801   SC       BALCH SPRINGS COMMONS          BALCH SPRINGS COMMONS                        12250 LAKE JUNE RD                SUITE 105          BALCH SPRINGS       TX   75180-0000   US   3,000
1422   1039   TG   26   B   1422   SC          WYNNEWOOD VILLAGE           WYNNEWOOD VILLAGE                            655 W. ILLINOIS AVE STE 926                          DALLAS              TX   75224-1826   US   3,225
2049   1040   TG   26   B   2049   SC             NORTHTOWN MALL           NORTHTOWN MALL                               3131 FOREST LANE                  SPACE 403          DALLAS              TX   75234-7783   US   3,000
2529   1041   TG   26   B   2529   FS               3230 W DAVIS ST        3230 W DAVIS ST                                                                                   DALLAS              TX   75211-2922   US   3,062
3048   1042   TG   26   B   3048   SC       VILLAGE AT BACHMAN LAKE        VILLAGE AT BACHMAN LAKE                      3701 W NORTHWEST HWY              SUITE 226          DALLAS              TX   75220-4961   US   3,815
5130   1043   TG   26   B   5130   SC            CITY MARKET PLACE         CITY MARKET PLACE                            2415 N HASKELL AVENUE SPACE 106                      DALLAS              TX   75204-3782   US   6,200
  25   1044   TG   26   B     25   SC   CENTERVILLE/CROSSROADS CENTER      CENTERVILLE/CROSSROADS CENTER                1202 W CENTERVILLE RD # A                            GARLAND             TX   75041-5905   US   2,800
1634   1045   TG   26   B   1634   SC            BUCKINGHAM PLAZA          BUCKINGHAM PLAZA                             1501 A W BUCKINGHAM PLAZA                            GARLAND             TX   75042-4204   US   3,000
3152   1046   TG   26   B   3152   M        FIREWHEEL TOWN CENTER          FIREWHEEL TOWN CENTER                        130 CEDAR SAGE DRIVE                                 GARLAND             TX   75040-0000   US   2,848
3370   1047   TG   26   B   3370   M               TOWN EAST MALL          TOWN EAST MALL                               1072 TOWN EAST MALL                                  MESQUITE            TX   75150-4116   US   4,186
3562   1048   TG   26   B   3562   FS      TOWN EAST MALL OUTPARCEL        TOWN EAST MALL OUTPARCEL                     1638 N TOWN EAST BLVD             SUITE 126          MESQUITE            TX   75150-5738   US   3,346
3854   1050   TG   26   B   3854   SC     RICHARDSON HEIGHTS VILLAGE       RICHARDSON HEIGHTS VILLAGE                   100 S. CENTRAL EXPRESSWAY         SUITE 104          RICHARDSON          TX   75080-0000   US   2,534
3044   1051   GA   27   B   3044   M         THE PARKS AT ARLINGTON        THE PARKS AT ARLINGTON                       3811 S COOPER ST                  SPACE 1188         ARLINGTON           TX   76015-4134   US   3,587
4490   1052   GA   27   B   4490   SC       BARDIN SHOPPING CENTER         BARDIN SHOPPING CENTER                       4638 S COOPER STREET # 196                           ARLINGTON           TX   76017-5863   US   3,017
1231   1053   GA   27   B   1231   SC        THE PLAZA AT CEDAR HILL       THE PLAZA AT CEDAR HILL                      352 NORTH HIGHWAY 67              SUITE 352 A        CEDAR HILL          TX   75106-0000   US   3,000
  26   1054   GA   27   B     26   SC              SIERRA VISTA SC         SIERRA VISTA SC                              3434 W ILLINOIS AVE               BLDG 2 SUITE 202   DALLAS              TX   75211-8722   US   3,000
1631   1055   GA   27   B   1631   JC             WHEATLAND PLAZA          WHEATLAND PLAZA                              3215 KIRNWOOD DR                  SUITE 101          DALLAS              TX   75237-0000   US   2,975
1102   1056   GA   27   B   1102   SC                THE CROSSING          THE CROSSING                                 1001 N BECKLEY RD                 SPACE 430C         DESOTO              TX   75115-4261   US   2,899
2799   1057   GA   27   B   2799   FS                480 W 303 HWY         480 W 303 HWY                                                                                     GRAND PRAIRIE       TX   75051-4805   US   3,062
  27   1058   GA   27   B     27   SC   PLYMOUTH PARK SHOPPING CENTER      PLYMOUTH PARK SHOPPING CENTER                1735 N STORY RD                   SUITE 105          IRVING              TX   75061-1852   US   3,808
1193   1059   GA   27   B   1193   M                  IRVING MALL          IRVING MALL                                  3723 IRVING MALL                  SPACE F-5A         IRVING              TX   75062-5157   US   3,178
2041   1060   GA   27   B   2041   SC             UNIVERSITY PLAZA         UNIVERSITY PLAZA                             401 N HIGHWAY 77 STE 20           SPACE 4004         WAXAHACHIE          TX   75165-1874   US   2,880
2299   1061   GA   27   B   2299   SC              ATHENS CENTER           ATHENS CENTER                                1111 E TYLER ST                   SUITE 121          ATHENS              TX   75751-2182   US   2,850
 226   1062   GA   27   B    226   M                LONGVIEW MALL          LONGVIEW MALL                                3500 MCCANN RD                    SUITE N01B         LONGVIEW            TX   75605-4406   US   6,839
 254   1063   GA   27   B    254   JC          TOWN SOUTH CENTER           TOWN SOUTH CENTER                            103 N BRENTWOOD DR                SUITE 100          LUFKIN              TX   75901-0000   US   3,000
 953   1064   GA   27   B    953   FS              101 E END BLVD S        101 E END BLVD S                                                                                  MARSHALL            TX   75670-5601   US   3,060
 948   1065   GA   27   B    948   FS          2305 S JEFFERSON AVE        2305 S JEFFERSON AVE                                                                              MOUNT PLEASANT      TX   75455-6011   US   3,060
1242   1066   GA   27   B   1242   M               UNIVERSITY MALL         UNIVERSITY MALL                              1122 N UNIVERSITY DR # 0                             NACOGDOCHES         TX   75961-4264   US   3,200
 13    1067   GA   27   B    13    SC          PARIS TOWNE CENTER          PARIS TOWNE CENTER                           3562 LAMAR AVE                                       PARIS               TX   75460-5026   US   5,000
2265   1068   GA   27   B   2265   SC     CENTER AT SULPHUR SPRINGS        CENTER AT SULPHUR SPRINGS                    1402 MOCKINGBIRD LN                                  SULPHUR SPRINGS     TX   75482-6006   US   2,850
 253   1069   GA   27   B    253   JC                 1121 E 5TH ST        1121 E 5TH ST                                                                                     TYLER               TX   75701-3318   US   4,500
 616   1070   GA   27   B    616   JC                TYLER OUTLET          TYLER OUTLET                                 3840 W HIGHWAY 64                                    TYLER               TX   75704-6924   US   2,800
 349   1071   GA   27   B    349   FS               2011 AIRLINE DR        2011 AIRLINE DR                                                                                   BOSSIER CITY        LA   71111-3203   US   3,960
1748   1072   GA   27   B   1748   M           PIERRE BOSSIER MALL         PIERRE BOSSIER MALL                          2950 E TEXAS ST                   SUITE 552          BOSSIER CITY        LA   71111-3265   US   3,127
 369   1073   GA   27   B    369   FS            3011 LOUISVILLE AVE       3011 LOUISVILLE AVE                                                                               MONROE              LA   71201-5136   US   4,000
 215   1074   GA   27   B    215   FS                 BASIC PLAZA          BASIC PLAZA                                  100 BASIC DRIVE                                      WEST MONROE         LA   71292-7900   US   3,575
5370   1075   GA   27   B   5370   FS           316 HIGHWAY 80 EAST        316 HIGHWAY 80 EAST                                                                               CLINTON             MS   39056-4718   US   2,616
 243   1076   GA   27   B    243   FS              GULFPORT PLAZA          GULFPORT PLAZA                               9368 HWY 49                       NO C AND D         GULFPORT            MS   39503-4259   US   3,062
5523   1077   GA   27   B   5523   JC           53 LAKEWOOD DRIVE          53 LAKEWOOD DRIVE                                                                                 HATTIESBURG         MS   39402-6109   US   3,200
5407   1078   GA   27   B   5407   SC           6351 I-55 NORTH #105       6351 I-55 NORTH #105                                                                              JACKSON             MS   39213-9742   US   2,820
1722   1079   GA   27   B   1722   M              SAWMILL SQUARE           SAWMILL SQUARE                               910 SAWMILL RD                    SUITE 213          LAUREL              MS   39440-3951   US   2,859
 304   1080   GA   27   B    304   JC            GREAT RIVER RD SC         GREAT RIVER RD SC                            287 SARGENT PRENTISS DR                              NATCHEZ             MS   39120-4225   US   3,150
2522   1081   GA   27   B   2522   M            PEMBERTON SQUARE           PEMBERTON SQUARE                             3505 PEMBERTON SQUARE BLVD        SPACE 40           VICKSBURG           MS   39180-5564   US   4,381
 916   1082   GA   27   B    916   SC              1516 MILITARY RD        1516 MILITARY RD                                                               SPACE D            BENTON              AR   72015-2915   US   3,000
 891   1083   GA   27   B    891   SC            CONWAY COMMONS            CONWAY COMMONS                               555 ELSINGER BLVD                                    CONWAY              AR   72032-4714   US   2,867
 353   1084   GA   27   B    353   FS              1330 N WEST AVE         1330 N WEST AVE                                                                                   EL DORADO           AR   71730-3854   US   4,000
1076   1085   GA   27   B   1076   JC     10101 MABLEVALE PLAZA DRIVE      10101 MABLEVALE PLAZA DRIVE                  5                                 SPACE A            LITTLE ROCK         AR   72209-4959   US   3,000
1207   1086   GA   27   B   1207   SC              MAGNOLIA PLAZA          MAGNOLIA PLAZA                               50 HWY 79 BYPASS NORTH            PO BOX 296         MAGNOLIA            AR   71754-0000   US   2,800
5413   1087   GA   27   B   5413   SC        NORTH PARK VILLAGE S/C        NORTH PARK VILLAGE S/C                       109 NORTH PARK DRIVE                                 MONTICELLO          AR   71655-3952   US   2,640
3843   1088   GA   27   B   3843   M                  MCCAIN MALL          MCCAIN MALL                                  3929 MCCAIN SPACE I-5                                NORTH LITTLE ROCK   AR   72116-8088   US   2,500
2664   1089   GA   27   B   2664   SC       TOWN AND COUNTRY PLAZA         TOWN AND COUNTRY PLAZA                       107 N POPLAR ST                                      SEARCY              AR   72143-6003   US   2,867
1224   1090   GA   27   B   1224   SC           RICHMOND RANCH SC          RICHMOND RANCH SC                            220 RICHMOND RANCH RD             SPACE 2            TEXARKANA           TX   75503-3838   US   2,800
2581   1091   GA   27   B   2581   M                 CENTRAL MALL          CENTRAL MALL                                 119 CENTRAL MALL                                     TEXARKANA           TX   75503-2447   US   2,503
 841   1092   TG   28   B    841   M              GREEN TREE MALL          GREEN TREE MALL                              757 E LEWIS AND CLARK PARKWAY     SUITE 204          CLARKSVILLE         IN   47129-2269   US   4,096
3509   1093   TG   28   B   3509   JC            2916 GRANT LINE RD        2916 GRANT LINE RD                                                             UNIT 254           NEW ALBANY          IN   47150-0000   US   2,800
1321   1094   TG   28   B   1321   M                  TOWNE MALL           TOWNE MALL                                   1704 N DIXIE HWY                  SPACE A-4          ELIZABETHTOWN       KY   42701-9449   US   3,000
 814   1095   TG   28   B    814   SC         BASHFORD MANOR MALL          BASHFORD MANOR MALL                          3610 MALL RD                                         LOUISVILLE          KY   40218-5403   US   2,800
 875   1096   TG   28   B    875   SC          TYMBERWOOD CENTER           TYMBERWOOD CENTER                            4237-A OUTER LOOP                                    LOUISVILLE          KY   40219-3850   US   4,200
3487   1097   TG   28   B   3487   M             MALL ST MATTHEWS          MALL ST MATTHEWS                             5000 SHELBYVILLE RD               SUITE 1153         LOUISVILLE          KY   40207-0000   US   2,968
3783   1098   TG   28   B   3783   M               JEFFERSON MALL          JEFFERSON MALL                               4801 OUTER LOOP                   SUITE D-628        LOUISVILLE          KY   40219-3205   US   3,000
5620   1099   TG   28   B   5620   FS      SPRINGHURST TOWN CENTER         SPRINGHURST TOWN CENTER                      10621 FISHER PARK DR                                 LOUISVILLE          KY   40241-4138   US   3,000
1346   1100   TG   28   B   1346   M              GREENWOOD MALL           GREENWOOD MALL                               2625 SCOTTSVILLE RD               SPACE 518          BOWLING GREEN       KY   42104-4477   US   2,535
1004   1101   TG   28   B   1004   M            GOVERNORS SQUARE           GOVERNORS SQUARE                             2801 WILMA RUDOLPH BLVD           SUITE 230          CLARKSVILLE         TN   37040-5063   US   3,100
 913   1102   TG   28   B    913   FS          777 SOUTH JEFFERSON         777 SOUTH JEFFERSON                                                                               COOKEVILLE          TN   38501-4071   US   2,794
2794   1103   TG   28   B   2794   M         COOL SPRINGS GALLERIA         COOL SPRINGS GALLERIA                        1800 GALLERIA BLVD                SPACE 1035         FRANKLIN            TN   37067-1605   US   3,932
 871   1104   TG   28   B    871   M               RIVERGATE MALL          RIVERGATE MALL                               1000 RIVERGATE PKWY               SPACE 1610         GOODLETTSVILLE      TN   37072-0000   US   3,325
1393   1105   TG   28   B   1393   SC       NORTHSIDE MARKETPLACE          NORTHSIDE MARKETPLACE                        2277 GALLATIN PIKE N                                 MADISON             TN   37115-2018   US   2,500
 934   1106   TG   28   B    934   FS         BROAD STREET CENTRE          BROAD STREET CENTRE                          1276 NW BROAD ST # 58                                MURFREESBORO        TN   37129-1713   US   3,060
4181   1107   TG   28   B   4181   M               OPRY MILLS MALL         OPRY MILLS MALL                              390 OPRY MILLS DR                                    NASHVILLE           TN   37214-0000   US   2,900
6715   1108   TG   28   B   6715   JC    ELYSIAN FIELD SHOPPING CENTER     ELYSIAN FIELD SHOPPING CENTER                3991 NOLENSVILLE RD                                  NASHVILLE           TN   37211-4202   US   2,444
1920   1109   TG   28   B   1920   SC           COLONIAL TOWNPARK          COLONIAL TOWNPARK                            801 INDUSTRIAL BLVD               SUITE 130          SMYRNA              TN   37167-6875   US   3,051
3658   1110   TG   28   B   3658   FS          STARKVILLE CROSSING         STARKVILLE CROSSING                          812 HIGHWAY 12                                       STARKVILLE          MS   39759-3580   US   3,010
                                                                Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                                                                                       Pg 41 of 57
                                                                                                  Store Closing List




 494   1111   TG   28   B    494   M                    FAYETTE MALL        FAYETTE MALL                                 3615 NICHOLASVILLE RD            SUITE 856       LEXINGTON       KY   40503-4409   US   3,456
5606   1112   TG   28   B   5606   SC                HAMBURG PAVILION       HAMBURG PAVILION                             2160 SIR BARTON WAY              SPACE 139       LEXINGTON       KY   40509-2228   US   2,975
5353   1113   TG   28   B   5353   M                   RICHMOND MALL        RICHMOND MALL                                424 RICHMOND MALL                                RICHMOND        KY   40475-2967   US   2,548
 312   1114   TG   28   B    312   JC          BRAINARD MARKET CENTER       BRAINARD MARKET CENTER                       480 GREENWAY VIEW DRIVE          SUITE 101       CHATTANOOGA     TN   37411-5689   US   2,800
 485   1115   TG   28   B    485   M                  NORTHGATE MALL        NORTHGATE MALL                               218 NORTHGATE MALL               SPC H0045       CHATTANOOGA     TN   37415-6921   US   2,500
5244   1116   TG   28   B   5244   FS             2124 GUNBARREL ROAD       2124 GUNBARREL ROAD                                                                           CHATTANOOGA     TN   37421-2607   US   3,200
3946   1117   TG   28   B   3946   M              MALL AT JOHNSON CITY      MALL AT JOHNSON CITY                         2011 N ROAN ST                   SPACE D 5       JOHNSON CITY    TN   37601-3130   US   2,436
1332   1118   TG   28   B   1332   M                 FORT HENRY MALL        FORT HENRY MALL                              2101 FORT HENRY DR               SPACE 55        KINGSPORT       TN   37664-3659   US   2,864
2635   1119   TG   28   B   2635   M                 KNOXVILLE CENTER       KNOXVILLE CENTER                             3006 N MALL RD                   SUITE 2292      KNOXVILLE       TN   37924-2054   US   2,865
5669   1120   TG   28   B   5669   FS                   2611 PARK WAY       2611 PARK WAY                                                                                 PIGEON FORGE    TN   37863-3213   US   2,950
5792   1121   TG   28   B   5792   SC   EAST WEST COMMONS SHOPPING CENTER   EAST WEST COMMONS SHOPPING CENTER            1757 EAST WEST CONNECTOR         SPACE 490       AUSTELL         GA   30106-1251   US   2,925
1680   1122   TG   28   B   1680   SC            5719 APPALACHIAN HWY       5719 APPALACHIAN HWY                                                                          BLUE RIDGE      GA   30513-4248   US   2,800
 467   1123   TG   28   B    467   SC       INDIAN HILLS SHOPPING CENTER    INDIAN HILLS SHOPPING CENTER                 475 HWY E 53                                     CALHOUN         GA   30701-3058   US   2,800
5660   1124   TG   28   B   5660   SC                RIVERSTONE PLAZA       RIVERSTONE PLAZA                             1437 RIVERSTONE PKWY             SPACE 110       CANTON          GA   30114-5623   US   3,225
1077   1125   TG   28   B   1077   SC                  CARROLLTON SC        CARROLLTON SC                                1305 S PARK ST                                   CARROLLTON      GA   30117-4433   US   2,800
1875   1126   TG   28   B   1875   M              WALNUT SQUARE MALL        WALNUT SQUARE MALL                           816 WALNUT SQUARE BLVD           SUITE 40        DALTON          GA   30721-4595   US   2,375
5763   1127   TG   28   B   5763   M                 ARBOR PLACE MALL       ARBOR PLACE MALL                             6700 DOUGLAS BLVD                SPACE 1020      DOUGLASVILLE    GA   30135-1599   US   2,604
4746   1128   TG   28   B   4746   SC                  HIRAM PAVILLION      HIRAM PAVILLION                              5140 JIMMY LEE SMITH PKWY        SUITE 101       HIRAM           GA   30141-2736   US   2,800
4483   1129   TG   28   B   4483   M             TOWN CENTER AT COBB        TOWN CENTER AT COBB                          400 BARRETT PARKWAY              SPACE 251       KENNESAW        GA   30144-4985   US   3,234
5325   1130   TG   28   B   5325   FS            4395 WADE GREEN ROAD       4395 WADE GREEN ROAD                                                                          KENNESAW        GA   30144-1246   US   3,200
 870   1131   TG   28   B    870   FS          1314 TURNER MCCALL BLVD      1314 TURNER MCCALL BLVD                                                                       ROME            GA   30161-6070   US   3,150
4285   1132   TG   28   B   4285   SC              WOODSTOCK SQUARE         WOODSTOCK SQUARE                             128 WOODSTOCK SQUARE AVE         SUITE 520       WOODSTOCK       GA   30189-0000   US   2,800
1606   1133   GA   29   A   1606   SC              RIVERS EDGE CENTRE       RIVERS EDGE CENTRE                           560 JACKSON BLVD                                 ERWIN           NC   28339-0000   US   3,000
4110   1134   GA   29   A   4110   SC              WHITE OAK CROSSING       WHITE OAK CROSSING                           175 SHENSTONE BLVD                               GARNER          NC   27529-6904   US   2,800
4827   1135   GA   29   A   4827   FS           136 S W GREENVILLE BLVD     136 S W GREENVILLE BLVD                                                                       GREENVILLE      NC   27834-6906   US   3,829
1675   1136   GA   29   A   1675   SC          VILLAGE SHOPPING CENTER      VILLAGE SHOPPING CENTER                      3020 N MAIN                      SUITE 282       HOPE MILLS      NC   28348-1731   US   2,975
5741   1137   GA   29   A   5741   FS                  GATEWAY PLAZA        GATEWAY PLAZA                                1375 WESTERN BLVD                                JACKSONVILLE    NC   28546-6663   US   3,055
2747   1138   GA   29   A   2747   SC    THE SHOPPES AT MIDWAY PLANTATION   THE SHOPPES AT MIDWAY PLANTATION             1002-E SHOPPES AT MIDWAY DRIVE                   KNIGHTDALE      NC   27545-7313   US   3,000
2597   1139   GA   29   A   2597   SC                 OFFICE DEPOT JC       OFFICE DEPOT JC                              5084 FAYETTEVILLE RD                             LUMBERTON       NC   28358-0000   US   3,000
 443   1140   GA   29   A    443   SC              NEW BERN COMMONS         NEW BERN COMMONS                             4501 NEW BERN AVE                SPACE 110       RALEIGH         NC   27610-1441   US   2,800
5667   1141   GA   29   A   5667   M            TRIANGLE TOWN CENTER        TRIANGLE TOWN CENTER                         5959 TRIANGLE TOWN CETNER BLVD   SUITE AL 1004   RALEIGH         NC   27616-3268   US   2,631
5529   1142   GA   29   A   5529   JC                 348 S COLLEGE RD      348 S COLLEGE RD                                                                              WILMINGTON      NC   28403-1632   US   2,519
3861   1143   GA   29   A   3861   M                   ASHEVILLE MALL       ASHEVILLE MALL                               3 SOUTH TUNNEL ROAD              SUITE A15       ASHEVILLE       NC   28805-2557   US   3,000
 412   1144   GA   29   A    412   M                  NORTHLAKE MALL        NORTHLAKE MALL                               6801 NORTHLAKE MALL DR           SUITE 147       CHARLOTTE       NC   28216-0000   US   2,800
1684   1145   GA   29   A   1684   SC         GALLERIA SHOPPING CENTER      GALLERIA SHOPPING CENTER                     1816 GALLERIA BLVD               SUITE A         CHARLOTTE       NC   28270-2409   US   3,093
3831   1146   GA   29   A   3831   SC               EASTWAY CROSSING        EASTWAY CROSSING                             3124 EASTWAY DR                  SUITE 620       CHARLOTTE       NC   28205-5664   US   2,800
5592   1147   GA   29   A   5592   JC                     TARGET SC         TARGET SC                                    850 CHANCELLOR PARK DR                           CHARLOTTE       NC   28213-8231   US   2,800
5707   1148   GA   29   A   5707   M                   CONCORD MILLS        CONCORD MILLS                                8111 CONCORD MILLS BLVD          SPACE 414       CONCORD         NC   28027-6462   US   3,054
4820   1149   GA   29   A   4820   FS           1600 EAST FRANKLIN BLVD     1600 EAST FRANKLIN BLVD                                                                       GASTONIA        NC   28054-4747   US   4,648
3009   1150   GA   29   A   3009   SC                    POPLIN PLACE       POPLIN PLACE                                 2897 WEST HIGHWAY 74                             MONROE          NC   28110-8434   US   2,800
1700   1151   GA   29   A   1700   M              CAROLINA PLACE MALL       CAROLINA PLACE MALL                          11025 CAROLINA PLACE PARKWAY     SPACE C 30      PINEVILLE       NC   28134-8843   US   3,218
4672   1152   GA   29   A   4672   FS        ROCK HILL SHOPPING CENTER      ROCK HILL SHOPPING CENTER                    2353 N CHERRY RD                                 ROCK HILL       SC   29732-2166   US   3,060
 444   1153   GA   29   B    444   SC                  ATHENS CENTER        ATHENS CENTER                                3061 ATLANTA HIGHWAY             SUITE 201       ATHENS          GA   30606-3334   US   2,800
1190   1154   GA   29   B   1190   M                  GEORGIA SQUARE        GEORGIA SQUARE                               3700 ATLANTA HWY                 SPACE 125       ATHENS          GA   30606-7201   US   2,750
 486   1155   GA   29   B    486   M                    AUGUSTA MALL        AUGUSTA MALL                                 3450 WRIGHTSBORO RD              SUITE 2290      AUGUSTA         GA   30909-2599   US   2,616
1642   1156   GA   29   B   1642   FS            1651 GORDON HIGHWAY        1651 GORDON HIGHWAY                                                                           AUGUSTA         GA   30906-2220   US   3,158
1199   1157   GA   29   B   1199   FS                  3601 RIVERS AVE      3601 RIVERS AVE                                                                               CHARLESTON      SC   29405-7038   US   3,060
3471   1158   GA   29   B   3471   M                NORTHWOODS MALL         NORTHWOODS MALL                              2150 NORTHWOODS BLVD             SPACE 812       CHARLESTON      SC   29406-0000   US   2,800
1525   1159   GA   29   B   1525   SC             CHERRYDALE POINT SC       CHERRYDALE POINT SC                          1508 POINTSET HWY                SUITE A2        GREENVILLE      SC   29609-2929   US   2,400
5778   1160   GA   29   B   5778   JC          TARGET SHOPPING CENTER       TARGET SHOPPING CENTER                       1106A WOODRUF RD                                 GREENVILLE      SC   29607-4109   US   2,898
3015   1161   GA   29   B   3015   M                   WESTGATE MALL        WESTGATE MALL                                205 W BLACKSTOCK RD SUITE 330    SPACE E3        SPARTANBURG     SC   29301-3207   US   2,905
1166   1162   GA   29   B   1166   SC                   1317 N MAIN ST      1317 N MAIN ST                                                                SPACE A-1       SUMMERVILLE     SC   29483-7342   US   2,700
2446   1163   GA   29   B   2446   SC                62 E DERENNE AVE       62 E DERENNE AVE                                                                              SAVANNAH        GA   31405-6712   US   4,800
3858   1164   GA   29   B   3858   M                 OGLETHORPE MALL        OGLETHORPE MALL                              7804 ABERCORN EXT UNIT 36                        SAVANNAH        GA   31406-3502   US   2,754
5476   1165   GA   29   B   5476   FS          113 NORTHSIDE DRIVE EAST     113 NORTHSIDE DRIVE EAST                                                                      STATESBORO      GA   30458-4766   US   2,774
1312   1166   GA   29   B   1312   SC                  TARGET CENTER        TARGET CENTER                                1050-F FORDING ISLAND RD                         BLUFFTON        SC   29910-0000   US   2,800
 993   1167   GA   29   B    993   SC               EAST FOREST PLAZA       EAST FOREST PLAZA                            5422 FOREST DR                   SUITE 102       COLUMBIA        SC   29206-5401   US   3,200
5583   1168   GA   29   B   5583   SC                 COASTAL CENTRE        COASTAL CENTRE                               1610 CHURCH STREET STE M                         CONWAY          SC   29526-2932   US   2,402
4458   1169   GA   29   B   4458   M                   MAGNOLIA MALL        MAGNOLIA MALL                                2701 DAVID H MCLEOD BLVD         SPACE 1452      FLORENCE        SC   29501-4028   US   3,124
4505   1170   GA   29   B   4505   FS               1901 W PALMETTO ST      1901 W PALMETTO ST                                                                            FLORENCE        SC   29501-4051   US   3,060
5232   1171   GA   29   B   5232   FS             713 WEST MAIN STREET      713 WEST MAIN STREET                                                                          LEXINGTON       SC   29072-2505   US   3,968
3018   1172   GA   29   B   3018   SC        ARCADIAN SHORES COMMONS        ARCADIAN SHORES COMMONS                      10792 KINGS RD                   SUITE 460       MYRTLE BEACH    SC   29572-6073   US   4,333
3934   1173   GA   29   B   3934   M              COASTAL GRAND MALL        COASTAL GRAND MALL                           1304 COASTAL GRAND CIRCLE        SPACE 350       MYRTLE BEACH    SC   29577-3037   US   2,808
4366   1174   GA   29   B   4366   JC                   1021 BROAD ST       1021 BROAD ST                                                                                 SUMTER          SC   29150-2504   US   4,264
171    1175   TG   30   B   171    SC            OAKLEAF TOWN CENTER        OAKLEAF TOWN CENTER                          8180 MERCHANTS GATE DR           SUITE 108       JACKSONVILLE    FL   32222-5821   US   2,800
 205   1176   TG   30   B    205   FS              5606 NORMANDY BLVD       5606 NORMANDY BLVD                                                                            JACKSONVILLE    FL   32205-6249   US   3,600
 454   1177   TG   30   B    454   M             ST JOHNS TOWN CENTER       ST JOHNS TOWN CENTER                         4611 RIVER CITY DR               SPACE 101       JACKSONVILLE    FL   32246-7426   US   2,800
 938   1178   TG   30   B    938   JC        MEMORIAL HEALTH CARE PLAZA     MEMORIAL HEALTH CARE PLAZA                   3997 UNIVERSITY BLVD S                           JACKSONVILLE    FL   32216-4312   US   3,640
2178   1179   TG   30   B   2178   SC          RIVER CITY MARKET PLACE      RIVER CITY MARKET PLACE                      13249 CITY SQUARE DR             SUITE 103       JACKSONVILLE    FL   32218-7239   US   2,805
2638   1180   TG   30   B   2638   SC            MANDARIN CORNERS SC        MANDARIN CORNERS SC                          10991 SAN JOSE BLVD              SUITE 2         JACKSONVILLE    FL   32223-6600   US   3,000
3117   1181   TG   30   B   3117   SC         JACKSONVILLE REGIONAL S/C     JACKSONVILLE REGIONAL S/C                    3000 DUNN AVE                    SPACE 8         JACKSONVILLE    FL   32218-4598   US   3,000
3424   1182   TG   30   B   3424   M                 THE AVENUES MALL       THE AVENUES MALL                             10300 SOUTHSIDE BLVD             SPACE #135      JACKSONVILLE    FL   32256-0770   US   3,079
3663   1183   TG   30   B   3663   SC            REGENCY COMMONS SC         REGENCY COMMONS SC                           651 COMMERCE CENTER DR           UNIT 515        JACKSONVILLE    FL   32225-7210   US   3,200
1291   1184   TG   30   B   1291   M                ORANGE PARK MALL        ORANGE PARK MALL                             1910 WELLS RD                    SPACE E-15      ORANGE PARK     FL   32073-6771   US   3,056
4028   1185   TG   30   B   4028   SC     BELLAIRE PLAZA SHOPPING CENTER    BELLAIRE PLAZA SHOPPING CENTER               2605 N ATLANTIC AVE # 16                         DAYTONA BEACH   FL   32118-3205   US   3,000
4864   1186   TG   30   B   4864   M                     VOLUSIA MALL       VOLUSIA MALL                                 1700 VOLUSIA AVENUE #434                         DAYTONA BEACH   FL   32114-1361   US   3,189
                                                               Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                                                                                      Pg 42 of 57
                                                                                                 Store Closing List




3284   1187   TG   30   B   3284   JC           METRO POINTE CENTER        METRO POINTE CENTER                          2210 S KIRKMAN                                  ORLANDO             FL   32811-7604   US   2,944
4025   1188   TG   30   B   4025   SC                COLONIAL PLAZA        COLONIAL PLAZA                               2764 E COLONIAL DR                              ORLANDO             FL   32803-0000   US   6,664
4659   1189   TG   30   B   4659   SC        GOLDENROD MARKETPLACE         GOLDENROD MARKETPLACE                        5963 S GOLDENROD RD               SUITE G       ORLANDO             FL   32822-0000   US   6,000
5449   1190   TG   30   B   5449   SC        304 EAST MICHIGAN STREET      304 EAST MICHIGAN STREET                                                                     ORLANDO             FL   32806-0000   US   3,125
5530   1191   TG   30   B   5530   FS   5900 SOUTH ORANGE BLOSSOM TRAIL    5900 SOUTH ORANGE BLOSSOM TRAIL                                                              ORLANDO             FL   32809-4606   US   3,062
5639   1192   TG   30   B   5639   SC             HUNTERS CREEK SC         HUNTERS CREEK SC                             2105 TOWN CENTER BLVD                           ORLANDO             FL   32837-6801   US   2,800
1265   1193   TG   30   B   1265   JC          TOWN AND COUNTRY SC         TOWN AND COUNTRY SC                          205 HWY 19 SOUTH                                PALATKA             FL   32177-3937   US   3,000
 306   1195   TG   30   B    306   SC           COBBLESTONE VILLAGE        COBBLESTONE VILLAGE                          370 CBL DR                        SUITE 101     SAINT AUGUSTINE     FL   32086-0000   US   2,800
5497   1196   TG   30   B   5497   M          SEMINOLE TOWNE CENTER        SEMINOLE TOWNE CENTER                        210 TOWN CENTER CIRCLE            SPACE K-3     SANFORD             FL   32771-7409   US   2,664
4387   1197   TG   30   B   4387   M                ALTAMONTE MALL         ALTAMONTE MALL                               451 E ALTAMONTE DR                SPACE 1305    ALTAMONTE SPRINGS   FL   32701-0000   US   3,563
3561   1198   TG   30   B   3561   SC    WEST VOLUSIA SHOPPING CENTER      WEST VOLUSIA SHOPPING CENTER                 2621 S WOODLAND BLVD                            DELAND              FL   32720-8667   US   2,818
3226   1199   TG   30   B   3226   SC                 FERN PARK SC         FERN PARK SC                                 159 E SEMORAN BLVD                SPACE C       FERN PARK           FL   32730-2101   US   3,750
3698   1200   TG   30   B   3698   M            MERRITT SQUARE MALL        MERRITT SQUARE MALL                          777 E MERRITT ISLAND CSWY                       MERRITT ISLAND      FL   32952-3588   US   3,904
1212   1201   TG   30   B   1212   SC    NEW SMYRNA BEACH REGIONAL S/C     NEW SMYRNA BEACH REGIONAL S/C                1996 HWY 44                                     NEW SMYRNA BEACH    FL   32168-8349   US   2,900
3501   1202   TG   30   B   3501   SC      WEST VOLUSIA TOWNE CENTRE       WEST VOLUSIA TOWNE CENTRE                    985 HARLEY STRICTLAND BLVD        SUITE 300     ORANGE CITY         FL   32763-0000   US   2,950
5747   1203   TG   30   B   5747   SC    WATERFORD LAKES TOWN CENTER       WATERFORD LAKES TOWN CENTER                  357 N ALAFAYA TRAIL               SUITE B2      ORLANDO             FL   32828-7012   US   3,000
5621   1204   TG   30   B   5621   M            OVIEDO MARKETPLACE         OVIEDO MARKETPLACE                           1430 OVIEDO MARKETPLACE BLVD                    OVIEDO              FL   32765-7475   US   2,493
3525   1205   TG   30   B   3525   SC      THE PAVILION AT PORT ORANGE     THE PAVILION AT PORT ORANGE                  5521 S WILLIAMSON BLVD            SUITE 405     PORT ORANGE         FL   32128-0000   US   2,916
1307   1206   TG   30   B   1307   SC       CROSSROADS MARKET PLACE        CROSSROADS MARKET PLACE                      3055 COLUMBIA BLVD                SUITE B110    TITUSVILLE          FL   32780-7863   US   2,590
1283   1207   TG   30   B   1283   SC        BIG LAKE SHOPPING CENTER      BIG LAKE SHOPPING CENTER                     946 S MAIN                                      BELLE GLADE         FL   33430-4226   US   3,000
3846   1208   TG   30   B   3846   SC              4395 BOCA SQUARE        4395 BOCA SQUARE                             21661 STATE ROAD 7                              BOCA RATON          FL   33428-1812   US   3,040
3758   1209   TG   30   B   3758   FS         K MART SHOPPING CENTER       K MART SHOPPING CENTER                       2061 S US 1                                     FORT PIERCE         FL   34950-5149   US   3,060
3096   1210   TG   30   B   3096   M          TREASURE COAST SQUARE        TREASURE COAST SQUARE                        3354 NW FEDERAL HWY               SPACE 3354    JENSEN BEACH        FL   34957-4404   US   2,803
3534   1211   TG   30   B   3534   SC               2863 N LAKE BLVD       2863 N LAKE BLVD                             SUITE 1                                         LAKE PARK           FL   33403-1959   US   3,330
 391   1212   TG   30   B    391   JC          140 NW CALIFORNIA BLVD      140 NW CALIFORNIA BLVD                                                                       PORT SAINT LUCIE    FL   34986-0000   US   2,805
 326   1213   TG   30   B    326   SC        SHOPPES AT MARKET PLACE       SHOPPES AT MARKET PLACE                      4203 SE FEDERAL HWY               SUITE 103     STUART              FL   34997-0000   US   2,800
5459   1214   TG   30   B   5459   JC            INDIAN RIVER SQUARE       INDIAN RIVER SQUARE                          5960 20TH STREET                                VERO BEACH          FL   32966-1019   US   3,000
 246   1215   TG   30   B    246   SC              HAMMOCK LANDING         HAMMOCK LANDING                              4311 NORFOLK PKWY                 SUITE 102     WEST MELBOURNE      FL   32904-8617   US   2,800
3747   1216   TG   30   B   3747   M          MELBOURNE SQUARE MALL        MELBOURNE SQUARE MALL                        1700 W NEW HAVEN AVE                            WEST MELBOURNE      FL   32904-3910   US   2,867
2605   1217   GA   31   B   2605   JC          BOYNTON TOWN CENTER         BOYNTON TOWN CENTER                          870 N CONGRESS AVE                SPACE G-130   BOYNTON BEACH       FL   33426-3301   US   2,800
5127   1218   GA   31   B   5127   M            BOYNTON BEACH MALL         BOYNTON BEACH MALL                           801 N CONGRESS AVE                SPACE 967     BOYNTON BEACH       FL   33426-3334   US   3,143
3381   1219   GA   31   B   3381   M              CORAL SQUARE MALL        CORAL SQUARE MALL                            9461A WEST ATLANTIC BLVD                        CORAL SPRINGS       FL   33071-6945   US   3,896
3609   1220   GA   31   B   3609   SC           DELRAY TOWN CENTER         DELRAY TOWN CENTER                           4801 LINTON BLVD                                DELRAY BEACH        FL   33445-6503   US   2,800
1271   1221   GA   31   B   1271   FS              3980 S MILITARY TRL     3980 S MILITARY TRL                                                                          LAKE WORTH          FL   33463-3434   US   3,182
1226   1222   GA   31   B   1226   SC         BABY SUPERSTORE PLAZA        BABY SUPERSTORE PLAZA                        7554 W COMMERCIAL BLVD                          LAUDERHILL          FL   33319-2132   US   3,000
1211   1223   GA   31   B   1211   SC               CORAL SKY PLAZA        CORAL SKY PLAZA                              510 SR #7                                       ROYAL PALM BEACH    FL   33411-0000   US   2,800
2873   1224   GA   31   B   2873   M          WELLINGTON GREEN MALL        WELLINGTON GREEN MALL                        10300 W FOREST HILL BLVD          SPACE 101     WELLINGTON          FL   33414-0000   US   2,600
1548   1225   GA   31   B   1548   SC                    SEARS SC          SEARS SC                                     4618 FOREST HILL BLVD                           WEST PALM BEACH     FL   33415-5724   US   3,600
3190   1226   GA   31   B   3190   JC              1749 N MILITARY TRL     1749 N MILITARY TRL                                                                          WEST PALM BEACH     FL   33409-4769   US   3,945
1268   1227   GA   31   B   1268   FS              18299 NW 27TH AVE       18299 NW 27TH AVE                                                                            CAROL CITY          FL   33056-3510   US   4,333
 256   1228   GA   31   B    256   SC           NORTH SPRINGS PLAZA        NORTH SPRINGS PLAZA                          9610 WESTVIEW DR                                CORAL SPRINGS       FL   33076-0000   US   3,006
1245   1229   GA   31   B   1245   M               CORAL RIDGE MALL        CORAL RIDGE MALL                             3200 N FEDERAL HWY                SPACE 152     FORT LAUDERDALE     FL   33306-1062   US   4,000
1249   1230   GA   31   B   1249   M                LAUDERHILL MALL        LAUDERHILL MALL                              1429 N W 40TH AVENUE                            FORT LAUDERDALE     FL   33313-5805   US   4,800
4946   1231   GA   31   B   4946   SC   WEST BROWARD SHOPPING CENTER       WEST BROWARD SHOPPING CENTER                 3925 WEST BROWARD BLVD            SUITE 110     FORT LAUDERDALE     FL   33312-1042   US   3,216
5211   1232   GA   31   B   5211   JC          WALMART SUPERCENTER         WALMART SUPERCENTER                          17776 NW 57TH AVE                               HIALEAH             FL   33015-5118   US   2,800
6698   1233   GA   31   B   6698   SC      VILLAVERDE SHOPPING CENTER      VILLAVERDE SHOPPING CENTER                   3102 W 76TH ST                                  HIALEAH             FL   33018-3803   US   3,024
6728   1234   GA   31   B   6728   M                 WESTLAND MALL         WESTLAND MALL                                1705 WEST 49 ST                   SPACE 1040    HIALEAH             FL   33012-2930   US   3,662
4014   1235   GA   31   B   4014   SC               SHERIDAN PLAZA         SHERIDAN PLAZA                               5101 SHERIDAN ST #24                            HOLLYWOOD           FL   33021-2833   US   3,000
4693   1236   GA   31   B   4693   SC               OAKWOOD PLAZA          OAKWOOD PLAZA                                3771 OAKWOOD BLVD.                              HOLLYWOOD           FL   33020-7112   US   3,000
4649   1237   GA   31   B   4649   FS                  REEF PLAZA          REEF PLAZA                                   3981 OAKLAND PARK BLVD                          LAUDERDALE LAKES    FL   33311-1007   US   4,011
3333   1238   GA   31   B   3333   SC                 LAKEWOOD SC          LAKEWOOD SC                                  5471 W ATLANTIC BOULEVARD                       MARGATE             FL   33063-5210   US   2,880
1269   1239   GA   31   B   1269   SC                 NORTHSIDE SC         NORTHSIDE SC                                 7900 NW 27TH AVE                                MIAMI               FL   33147-4902   US   7,375
1643   1240   GA   31   B   1643   M             MIAMI INTERNATIONAL       MIAMI INTERNATIONAL                          1455 NW 107 AVE                   SUITE 894     MIAMI               FL   33172-2723   US   4,285
2827   1241   GA   31   B   2827   SC                CENTRAL PLAZA         CENTRAL PLAZA                                3717 NW 7TH ST                                  MIAMI               FL   33126-5501   US   4,953
3670   1242   GA   31   B   3670   JC         12460 BISCAYNE BLVD # 90     12460 BISCAYNE BLVD # 90                                                                     MIAMI               FL   33181-2521   US   3,188
3751   1243   GA   31   B   3751   SC   BISCAYNE PLAZA SHOPPING CENTER     BISCAYNE PLAZA SHOPPING CENTER               8020 NE 5TH AVE                   SPACE 3       MIAMI               FL   33138-4510   US   2,538
3881   1244   GA   31   B   3881   SC                   IVES PLAZA         IVES PLAZA                                   19946 NW 2ND AVE                                MIAMI               FL   33169-2904   US   3,552
4889   1245   GA   31   B   4889   FS           11106 N W 7TH AVENUE       11106 N W 7TH AVENUE                                                                         MIAMI               FL   33168-2202   US   4,132
5716   1246   GA   31   B   5716   M                  DOLPHIN MALL         DOLPHIN MALL                                 11401 NW 12TH ST                  SPACE 342     MIAMI               FL   33172-0000   US   4,656
4284   1247   GA   31   B   4284   SC              BOULEVARD SHOPS         BOULEVARD SHOPS                              11120 PINES BOULEVARD                           PEMBROKE PINES      FL   33026-5210   US   3,033
4417   1248   GA   31   B   4417   M            PEMBROKE LAKES MALL        PEMBROKE LAKES MALL                          11401 PINES BLVD                  SUITE 346     PEMBROKE PINES      FL   33026-0000   US   3,092
4087   1249   GA   31   B   4087   M             WESTFIELD BROWARD         WESTFIELD BROWARD                            8000 WEST BROWARD BLVD            SUITE 1109    PLANTATION          FL   33388-0000   US   3,200
6625   1250   GA   31   B   6625   FS             1790 N FEDERAL HWY       1790 N FEDERAL HWY                                                                           POMPANO BEACH       FL   33062-3230   US   9,976
2230   1251   GA   31   B   2230   M                SAWGRASS MILLS         SAWGRASS MILLS                               12801 W SUNRISE BLVD              SUITE 925     SUNRISE             FL   33323-4019   US   2,978
302    1252   TG   32   B    302   SC                 CORTEZ PLAZA         CORTEZ PLAZA                                 641 CORTEZ RD W                                 BRADENTON           FL   34207-1549   US   3,200
4391   1253   TG   32   B   4391   M            DESOTO SQUARE MALL         DESOTO SQUARE MALL                           303 301 BLVD W                                  BRADENTON           FL   34205-7949   US   3,482
1202   1254   TG   32   B   1202   SC     COASTAL WAY SHOPPING CENTER      COASTAL WAY SHOPPING CENTER                  13107 CORTEZ BLVD                               BROOKSVILLE         FL   34613-4802   US   2,656
3635   1255   TG   32   B   3635   M          WESTFIELD COUNTRYSIDE        WESTFIELD COUNTRYSIDE                        27001 US HWY NORTH SUITE # 2064                 CLEARWATER          FL   33761-3406   US   2,800
3278   1256   TG   32   B   3278   SC                  LARGO MALL          LARGO MALL                                   10500 ULMERTON RD                 SUITE 272     LARGO               FL   33771-3544   US   3,100
5321   1257   TG   32   B   5321   SC          SHOPPES AT PARK PLACE       SHOPPES AT PARK PLACE                        3790 PARK BLVD                                  PINELLAS PARK       FL   33781-3611   US   2,800
1499   1258   TG   32   B   1499   M               GULF VIEW SQUARE        GULF VIEW SQUARE                             9409 US HIGHWAY 19                SUITE 291     PORT RICHEY         FL   34668-4625   US   2,745
5472   1259   TG   32   B   5472   JC           1533 COMMERCIAL WAY        1533 COMMERCIAL WAY                                                                          SPRING HILL         FL   34606-0000   US   2,940
3467   1260   TG   32   B   3467   SC             WATERS AVENUE SC         WATERS AVENUE SC                             7021 W WATERS AVE                               TAMPA               FL   33634-2203   US   3,000
4124   1261   TG   32   B   4124   SC           MITCHELL RANCH PLAZA       MITCHELL RANCH PLAZA                         3034 LITTLE ROAD                                TRINITY             FL   34655-1806   US   2,400
 325   1262   TG   32   B    325   SC             2737 SE HIGHWAY 70       2737 SE HIGHWAY 70                                                                           ARCADIA             FL   34266-5401   US   2,720
3605   1263   TG   32   B   3605   FS           1628 DEL PRADO BLVD S      1628 DEL PRADO BLVD S                                                                        CAPE CORAL          FL   33990-3743   US   3,062
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                                                                                                         Pg 43 of 57
                                                                                                    Store Closing List




4435   1264   TG   32   B   4435   SC        COCONUT POINT TOWN CENTER         COCONUT POINT TOWN CENTER                   8016 MEDITERRANEAN DR                 SUITE 103           ESTERO              FL   33928-0000   US   2,832
  80   1265   TG   32   B     80   M                     EDISON MALL           EDISON MALL                                 4125 CLEVELAND AVE                    SUITE 1025          FORT MYERS          FL   33901-0000   US   2,445
1247   1266   TG   32   B   1247   SC         FT MYERS SHOPPING CENTER         FT MYERS SHOPPING CENTER                    4155 PALM BEACH BLVD                                      FORT MYERS          FL   33916-3410   US   3,000
1890   1267   TG   32   B   1890   JC               3792 CLEVELAND AVE         3792 CLEVELAND AVE                                                                                    FORT MYERS          FL   33901-7909   US   4,110
4884   1268   TG   32   B   4884   JC                  CARRILON PLAZA          CARRILON PLAZA                              5072 AIRPORT ROAD NORTH                                   NAPLES              FL   34105-2414   US   3,000
5539   1269   TG   32   B   5539   M                COASTLAND CENTER           COASTLAND CENTER                            1926 TAMIAMI TRAIL N                  SPACE J8            NAPLES              FL   34102-4803   US   2,798
3316   1270   TG   32   B   3316   M        PORT CHARLOTTE TOWN CENTER         PORT CHARLOTTE TOWN CENTER                  1441 TAMAIMI TRAIL                    SPACE 795           PORT CHARLOTTE      FL   33948-1001   US   2,975
1635   1271   TG   32   B   1635   M                   TYRONE SQUARE           TYRONE SQUARE                               2361 TYRONE WAY                       SPACE 768           SAINT PETERSBURG    FL   33710-3970   US   3,043
5161   1272   TG   32   B   5161   SC        PALM PLAZA SHOPPING CENTER        PALM PLAZA SHOPPING CENTER                  4462 BEE RIDGE ROAD SPACE # 1                             SARASOTA            FL   34233-2502   US   3,290
1316   1273   TG   32   B   1316   SC                 489 HIALEAH DR # 1       489 HIALEAH DR # 1                                                                                    HIALEAH             FL   33010-5320   US   4,000
   2   1274   TG   32   B      2   SC        THE SHOPS AT MIDTOWN MIAMI        THE SHOPS AT MIDTOWN MIAMI                  3401 N MIAMI AVE                      SUITE 160           MIAMI               FL   33127-3537   US   2,715
 184   1275   TG   32   B    184   SC               FLAGLER PARK PLAZA         FLAGLER PARK PLAZA                          10720 FLAGLER ST 9                                        MIAMI               FL   33174-4406   US   2,250
1297   1276   TG   32   B   1297   M                 MALL OF AMERICAS          MALL OF AMERICAS                            7795 WEST FLAGLER ST                  SUITE 51            MIAMI               FL   33144-2303   US   4,380
1313   1277   TG   32   B   1313   CB                  141 E FLAGLER ST        141 E FLAGLER ST                                                                                      MIAMI               FL   33131-1101   US   7,002
1583   1278   TG   32   B   1583   JC                   6661 SW 8TH ST         6661 SW 8TH ST                                                                                        MIAMI               FL   33144-4817   US   3,300
3655   1279   TG   32   B   3655   SC               FLAGLER PARK PLAZA         FLAGLER PARK PLAZA                          8297 W FLAGLER ST                                         MIAMI               FL   33144-2070   US   5,000
3880   1280   TG   32   B   3880   CB                 PASEO DEL PRADO          PASEO DEL PRADO                             1199 W FLAGLER ST                                         MIAMI               FL   33130-1055   US   2,866
4976   1281   TG   32   B   4976   FS          2199 WEST FLAGLER STREET        2199 WEST FLAGLER STREET                                                                              MIAMI               FL   33135-1638   US   4,323
1073   1282   TG   32   B   1073   CB                   215 LINCOLN RD         215 LINCOLN RD                                                                                        MIAMI BEACH         FL   33139-3116   US   2,400
1539   1283   TG   32   B   1539   M                   SOUTHLAND MALL          SOUTHLAND MALL                              20505 S DIXIE HWY                     SUITE 1767          CUTLER BAY          FL   33189-1227   US   3,847
2880   1284   TG   32   B   2880   JC          HIALEAH SPEEDWAY CENTER         HIALEAH SPEEDWAY CENTER                     3665 W 18TH AVE                                           HIALEAH             FL   33012-0000   US   3,000
3930   1285   TG   32   B   3930   SC       EL MERCADO SHOPPING CENTER         EL MERCADO SHOPPING CENTER                  2404 WEST 60TH STREET                                     HIALEAH             FL   33016-0000   US   3,200
4314   1286   TG   32   B   4314   FS                    495 W 49TH ST         495 W 49TH ST                                                                                         HIALEAH             FL   33012-3602   US   4,786
5007   1287   TG   32   B   5007   SC          HOMESTEAD TOWN SQUARE           HOMESTEAD TOWN SQUARE                       805 N HOMESTED BLVD                                       HOMESTEAD           FL   33033-0000   US   4,105
1165   1289   TG   32   B   1165   SC                 WESTCHESTER S/C          WESTCHESTER S/C                             8681 SW 24TH ST                                           MIAMI               FL   33155-2337   US   3,833
1603   1290   TG   32   B   1603   SC             LAS AMERICAS PLAZA V         LAS AMERICAS PLAZA V                        11865 SW 26TH ST                      SUITE G1            MIAMI               FL   33175-2471   US   2,975
3466   1291   TG   32   B   3466   SC                   BIRD 107 PLAZA         BIRD 107 PLAZA                              10615 SW 40TH ST                                          MIAMI               FL   33165-3612   US   2,840
3913   1292   TG   32   B   3913   M                    DADELAND MALL          DADELAND MALL                               7233 N KENDALL DRIVE                  SPACE 3020          MIAMI               FL   33156-7808   US   3,216
5275   1293   TG   32   B   5275   FS              15703 SW 88TH STREET        15703 SW 88TH STREET                                                                                  MIAMI               FL   33196-1001   US   3,485
1230   1294   GA   33   B   1230   SC             WEST TOWN CORNERS            WEST TOWN CORNERS                           280 S SR 434                          SUITE 1043          ALTAMONTE SPRINGS   FL   32714-3859   US   3,200
 295   1295   GA   33   B    295   SC         APOPKA LAND REGIONAL MALL        APOPKA LAND REGIONAL MALL                   759 S ORANGE BLOSSOM TRL              NO 17               APOPKA              FL   32703-3708   US   3,000
1206   1296   GA   33   B   1206   SC               SHOPS AT CLERMONT          SHOPS AT CLERMONT                           2670 E HIGHWAY 50 BAYS 3 AND F                            CLERMONT            FL   34711-3184   US   2,800
1780   1297   GA   33   B   1780   SC              BUTLER PLAZA NORTH          BUTLER PLAZA NORTH                          3965 PLAZA BLVD SUITE 50                                  GAINESVILLE         FL   32608-2443   US   6,144
3328   1298   GA   33   B   3328   M                    THE OAKS MALL          THE OAKS MALL                               6477 W NEWBERRY RD                    SPACE C-12          GAINESVILLE         FL   32605-4338   US   3,871
5446   1299   GA   33   B   5446   SC    ROLLING ACRES PLAZA AT THE VILLAGES   ROLLING ACRES PLAZA AT THE VILLAGES         664 N US HIGHWAY 441                                      LADY LAKE           FL   32159-3777   US   2,800
 347   1300   GA   33   B    347   M                 LAKE SQUARE MALL          LAKE SQUARE MALL                            10401 US HIGHWAY 441 STE 064                              LEESBURG            FL   34788-7243   US   3,407
 221   1301   GA   33   B    221   JC           SILVER SPRINGS COMMONS         SILVER SPRINGS COMMONS                      4920 E SILVER SPRINGS BLVD            SUITE 101           OCALA               FL   34470-3284   US   2,975
1922   1302   GA   33   B   1922   M                    PADDOCK MALL           PADDOCK MALL                                3100 SW COLLEGE RD STE 280A                               OCALA               FL   34474-0000   US   3,000
 216   1303   GA   33   B    216   SC            WINTER GARDEN VILLAGE         WINTER GARDEN VILLAGE                       3311 DANIELS RD                       SUITE 102           WINTER GARDEN       FL   34787-0000   US   2,728
1234   1304   GA   33   B   1234   JC             SHOPS AT AUBURNDALE          SHOPS AT AUBURNDALE                         2052 HWY 92 WEST                                          AUBURNDALE          FL   33823-0000   US   3,180
 229   1305   GA   33   B    229   SC             1260 N BROADWAY AVE          1260 N BROADWAY AVE                                                               NO 2A AND 3A        BARTOW              FL   33830-3343   US   3,000
4559   1306   GA   33   B   4559   SC                   CITRUS CENTER          CITRUS CENTER                               2657 E GULF TO LAKE HIGHWAY                               INVERNESS           FL   34453-3216   US   2,700
5651   1307   GA   33   B   5651   M                  EAGLE RIDGE MALL         EAGLE RIDGE MALL                            753 EAGLE RIDGE DR                    SPACE 320           LAKE WALES          FL   33853-4740   US   2,500
 559   1308   GA   33   B    559   M             LAKELAND SQUARE MALL          LAKELAND SQUARE MALL                        3800 US HIGHWAY 98 NORTH              SUITE 470           LAKELAND            FL   33809-3824   US   2,994
3473   1309   GA   33   B   3473   FS                 IMPERIAL MALL S/C        IMPERIAL MALL S/C                           3595 S FLORIDA AVE                                        LAKELAND            FL   33803-4860   US   3,000
4018   1310   GA   33   B   4018   M                   LAKESHORE MALL          LAKESHORE MALL                              901 US WEST 27                        SUITE 5             SEBRING             FL   33870-2124   US   3,019
3618   1311   GA   33   B   3618   SC                  NORTHWOOD SC            NORTHWOOD SC                                1227 BRUCE B DOWNS BLVD                                   WESLEY CHAPEL       FL   33543-0000   US   2,800
3538   1312   GA   33   B   3538   FS                   1101 3RD ST SW         1101 3RD ST SW                                                                                        WINTER HAVEN        FL   33880-3910   US   3,000
4479   1313   GA   33   B   4479   JC              7731 GALL BOULEVARD         7731 GALL BOULEVARD                                                                                   ZEPHYRHILLS         FL   33541-4315   US   2,800
1921   1314   GA   33   B   1921   SC                POSNER COMMONS            POSNER COMMONS                              1500 POSNER BLVD                                          DAVENPORT           FL   33837-3627   US   2,800
 223   1315   GA   33   B    223   SC               AMERICAN PLAZA S/C         AMERICAN PLAZA S/C                          1524 W IRLO BRONSON MEMORIAL HWY                          KISSIMMEE           FL   34741-4002   US   3,150
1398   1316   GA   33   B   1398   SC              CYPRESS COURTYARD           CYPRESS COURTYARD                           1078 CYPRESS PKWY                                         KISSIMMEE           FL   34759-0000   US   2,800
2120   1317   GA   33   B   2120   SC            ROLLING OAKS COMMONS          ROLLING OAKS COMMONS                        3211 ROLLING OAKS BOULEVARD                               KISSIMMEE           FL   34747-3053   US   6,000
4629   1318   GA   33   B   4629   SC   THE CROSSLANDS AT OSCEOLA PARKWAY      THE CROSSLANDS AT OSCEOLA PARKWAY           608 CENTERVIEW BLVD                                       KISSIMMEE           FL   34741-7649   US   6,004
5475   1319   GA   33   B   5475   JC   KISSIMMEE COMMONS SHOPPING CENTER      KISSIMMEE COMMONS SHOPPING CENTER           4386 W VINE ST                                            KISSIMMEE           FL   34746-0000   US   2,890
5786   1320   GA   33   B   5786   SC        THE SHOPPES AT THE PARKWAY        THE SHOPPES AT THE PARKWAY                  6123 W IRLO BRONSON HIGHWAY                               KISSIMMEE           FL   34747-4512   US   2,450
1097   1321   GA   33   B   1097   SC     HIGHLAND LAKES SHOPPING CENTER       HIGHLAND LAKES SHOPPING CENTER              7457 W COLONIAL DR # 269              SPACE 14            ORLANDO             FL   32818-6508   US   3,078
1651   1322   GA   33   B   1651   M                  THE FLORIDA MALL         THE FLORIDA MALL                            8001 S ORANGE BLOSSOM TRAIL           SPACE 308 A         ORLANDO             FL   32809-7654   US   3,545
3260   1323   GA   33   B   3260   M                  THE FLORIDA MALL         THE FLORIDA MALL                            8001 S ORANGE BLOSSOM TRAIL STE 760   SPACE 760           ORLANDO             FL   32809-7668   US   3,023
 730   1324   GA   33   B    730   JC            SAINT CLOUD COMMONS           SAINT CLOUD COMMONS                         4554 13TH ST                          SPACE A             SAINT CLOUD         FL   34769-6706   US   2,800
1096   1325   GA   33   B   1096   SC            BLOOMINGDALE SQUARE           BLOOMINGDALE SQUARE                         933 E BLOOMINGDALE AVE # 935          SPACE 201 AND 203   BRANDON             FL   33511-8118   US   3,375
4856   1326   GA   33   B   4856   SC    THE PLAZA AT BRANDON TOWN CENTER      THE PLAZA AT BRANDON TOWN CENTER            175 BRANDON TOWN CENTER DRIVE                             BRANDON             FL   33511-4754   US   3,150
4862   1327   GA   33   B   4862   M               WESTFIELD BRANDON           WESTFIELD BRANDON                           659 BRANDON TOWN CENTER MALL                              BRANDON             FL   33511-5005   US   3,940
 206   1328   GA   33   B    206   FS          1801 JAMES L REDMAN PKWY        1801 JAMES L REDMAN PKWY                                                                              PLANT CITY          FL   33566-6913   US   3,060
210    1329   GA   33   B   210    FS                4004 N ARMENIA AVE        4004 N ARMENIA AVE                                                                                    TAMPA               FL   33607-1002   US   3,060
 232   1330   GA   33   B    232   M             WESTFIELD CITRUS PARK         WESTFIELD CITRUS PARK                       8130 CITRUS PARK DRIVE                                    TAMPA               FL   33625-0000   US   3,299
1243   1331   GA   33   B   1243   SC         EAST GATE SHOPPING CENTER        EAST GATE SHOPPING CENTER                   2329 E HILLSBOROUGH AVE                                   TAMPA               FL   33610-4404   US   3,360
3865   1332   GA   33   B   3865   SC           CARROLLWOOD COMMONS            CARROLLWOOD COMMONS                         15166 N DALE MABRY HWY                                    TAMPA               FL   33618-1817   US   2,813
4017   1333   GA   33   B   4017   SC                 UNIVERSITY PLAZA         UNIVERSITY PLAZA                            13620 UNIVERSITY PLAZA SPACE #10                          TAMPA               FL   33613-4649   US   3,000
6641   1334   GA   33   B   6641   M                 WESTSHORE PLAZA           WESTSHORE PLAZA                             346 WESTSHORE PLAZA                   SPACE A12           TAMPA               FL   33609-1813   US   3,122
3672   1335   TG   34   B   3672   M                     AUBURN MALL           AUBURN MALL                                 1627 OPELIKA RD                       SUITE 11            AUBURN              AL   36830-2871   US   2,500
4418   1336   TG   34   B   4418   M              REGENCY SQUARE MALL          REGENCY SQUARE MALL                         301 COX CREEK PKY                                         FLORENCE            AL   35630-1574   US   2,350
 418   1337   TG   34   B    418   JC                    PALISADES SC          PALISADES SC                                304 OXMOOR RD                                             HOMEWOOD            AL   35209-6116   US   2,700
4935   1338   TG   34   B   4935   M              RIVERCHASE GALLERIA          RIVERCHASE GALLERIA                         2000 RIVERCHASE GALLERIA              SUITE 101           HOOVER              AL   35244-2316   US   2,821
5262   1339   TG   34   B   5262   SC    ENTERPRISE PLAZA SHOPPING CENTER      ENTERPRISE PLAZA SHOPPING CENTER            6140 UNIVERSITY                                           HUNTSVILLE          AL   35806-1772   US   3,400
3127   1340   TG   34   B   3127   SC            OLIVER CREEK CROSSING         OLIVER CREEK CROSSING                       6641 ATLANTA HYW                                          MONTGOMERY          AL   36117-4233   US   2,800
                                                                 Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                                                                                        Pg 44 of 57
                                                                                                   Store Closing List




 490   1341   TG   34   B    490   FS              1220 HIGHLAND AVENUE       1220 HIGHLAND AVENUE                                                            SPACE 4A     SELMA               AL   36701-4124   US   2,772
1766   1342   TG   34   B   1766   SC           FOOD WORLD PLAZA SOUTH        FOOD WORLD PLAZA SOUTH                      600 SKYLAND BLVD E                               TUSCALOOSA          AL   35405-4037   US   4,736
3038   1343   TG   34   B   3038   SC            BRADLEY PARK CROSSING        BRADLEY PARK CROSSING                       1591 BRADLEY PARK DRIVE             SUITE E7     COLUMBUS            GA   31907-0000   US   2,800
3114   1344   TG   34   B   3114   M                   PEACHTREE MALL         PEACHTREE MALL                              3131 MANCHESTER EXPRESSWAY          SPACE 56     COLUMBUS            GA   31909-6400   US   2,866
4272   1345   TG   34   B   4272   SC        NORTHPOINTE MARKET CENTER        NORTHPOINTE MARKET CENTER                   6120 NORTHPOINT PKWY                SUITE 100    ALPHARETTA          GA   30022-3010   US   3,200
3956   1346   TG   34   B   3956   M                   PERIMETER MALL         PERIMETER MALL                              4400 ASHFORD DUNWOODY RD            SUITE 1715   ATLANTA             GA   30346-0000   US   2,886
5717   1347   TG   34   B   5717   M                 CUMBERLAND MALL          CUMBERLAND MALL                             2860 CUMBERLAND MALL SE             SUITE 1446   ATLANTA             GA   30339-3139   US   2,733
4263   1348   TG   34   B   4263   JC                 5038 BUFORD HWY         5038 BUFORD HWY                                                                              CHAMBLEE            GA   30341-2997   US   3,956
1856   1349   TG   34   B   1856   SC                      TARGET SC          TARGET SC                                   1555 MARKET PLACE BLVD                           CUMMING             GA   30041-7935   US   2,800
3954   1350   TG   34   B   3954   M               GWINNETT PLACE MALL        GWINNETT PLACE MALL                         2100 PLEASANT HILL RD               A 06         DULUTH              GA   30096-4701   US   3,804
 854   1351   TG   34   B    854   SC            MARIETTA TRADE CENTER        MARIETTA TRADE CENTER                       180 COBB PARKWAY S                  SUITE 440    MARIETTA            GA   30060-0000   US   3,070
 744   1352   TG   34   B    744   SC      MEMORIAL BEND SHOPPING CENTER      MEMORIAL BEND SHOPPING CENTER               5234 MEMORIAL DR                    SUITE D      STONE MOUNTAIN      GA   30083-3113   US   5,500
5700   1353   TG   34   B   5700   SC            STONE MOUNTAIN SQUARE        STONE MOUNTAIN SQUARE                       5370 US HWY 78                      SUITE 310    STONE MOUNTAIN      GA   30087-3581   US   3,200
5739   1354   TG   34   B   5739   SC     COFER CROSSING SHOPPING CENTER      COFER CROSSING SHOPPING CENTER              4367 LAWRENCEVILLE HWY              SUITE B      TUCKER              GA   30084-3719   US   2,800
1463   1355   TG   34   B   1463   M                  GREENBRIAR MALL         GREENBRIAR MALL                             2841 GREENBRIAR PKY SW              SPACE N220   ATLANTA             GA   30331-2620   US   4,786
2325   1356   TG   34   B   2325   M                 THE MALL WEST END        THE MALL WEST END                           861 RALPH DAVID ABERNATHY BLVD SW                ATLANTA             GA   30310-1828   US   3,491
2003   1357   TG   34   B   2003   SC           CAMP CREEK MARKETPLACE        CAMP CREEK MARKETPLACE                      3662 MARKET PLACE BLVD              STE 720      EAST POINT          GA   30344-2027   US   2,873
 420   1358   TG   34   B    420   JC             150 PAVILLION PARKWAY       150 PAVILLION PARKWAY                                                           B7-B8        FAYETTEVILLE        GA   30214-7308   US   3,000
 989   1359   TG   34   B    989   SC               GRIFFIN CROSSROADS        GRIFFIN CROSSROADS                          1575 N EXPRESSWAY                                GRIFFIN             GA   30223-1746   US   2,800
 862   1360   TG   34   B    862   SC               WALNUT CREEK PLAZA        WALNUT CREEK PLAZA                          1461 GRAY HWY                       SUITE 4      MACON               GA   31211-1905   US   3,200
2068   1361   TG   34   B   2068   SC          4673 PRESIDENTIAL PARKWAY      4673 PRESIDENTIAL PARKWAY                   SUITE 206                                        MACON               GA   31206-0000   US   2,783
4476   1362   TG   34   B   4476   M                   SOUTHLAKE MALL         SOUTHLAKE MALL                              2460 SOUTHLAKE MALL                              MORROW              GA   30260-2334   US   3,534
5653   1363   TG   34   B   5653   JC                   2005 MT ZION RD       2005 MT ZION RD                                                                              MORROW              GA   30260-3313   US   3,206
2556   1364   TG   34   B   2556   SC    NEWNAN CROSSING SHOPPING CENTER      NEWNAN CROSSING SHOPPING CENTER             561 BULLSBORO DR                                 NEWNAN              GA   30263-1045   US   3,000
 958   1365   TG   34   B    958   SC              WARNER ROBINS PLACE        WARNER ROBINS PLACE                         2724 WATSON BLVD                    SPACE L K    WARNER ROBINS       GA   31093-8051   US   2,400
5708   1366   TG   34   B   5708   SC            MILL CREEK CROSSING SC       MILL CREEK CROSSING SC                      1950 BUFORD MILL DR                 SUITE A-1    BUFORD              GA   30518-4904   US   3,500
5762   1367   TG   34   B   5762   M                  MALL OF GEORGIA         MALL OF GEORGIA                             3333 BUFORD DRIVE                   SPACE 1001   BUFORD              GA   30519-7930   US   3,049
 650   1368   TG   34   B    650   SC                CONYERS CROSSING         CONYERS CROSSING                            1489 HIGHWAY 138 SE                              CONYERS             GA   30013-1286   US   3,500
6006   1369   TG   34   B   6006   M         THE GALLERY AT SOUTH DEKALB      THE GALLERY AT SOUTH DEKALB                 2801 CANDLER ROAD                                DECATUR             GA   30034-1423   US   3,375
1625   1370   TG   34   B   1625   SC       VILLAGE SHOPPES OF GAINSVILLE     VILLAGE SHOPPES OF GAINSVILLE               891 DAWSONVILLE HIGHWAY 190         SPACE 43     GAINESVILLE         GA   30501-2637   US   2,798
5360   1371   TG   34   B   5360   SC             LAWRENCEVILLE MARKET        LAWRENCEVILLE MARKET                        875 LAWRENCEVILLE-SUWANEE RD        #540         LAWRENCEVILLE       GA   30043-5483   US   3,200
4089   1372   TG   34   B   4089   SC                CENTRE AT LILBURN        CENTRE AT LILBURN                           4030 LAWRENCEVILLE HIGHWAY          SUITE 7      LILBURN             GA   30047-2820   US   2,800
1191   1373   TG   34   B   1191   M             THE MALL AT STONECREST       THE MALL AT STONECREST                      2929 TURNER HILL RD                 SUITE 1020   LITHONIA            GA   30038-2527   US   2,900
2886   1374   TG   34   B   2886   SC               HENRY TOWN CENTER         HENRY TOWN CENTER                           1880 JONESBORO RD                                MCDONOUGH           GA   30253-5960   US   2,800
4282   1375   TG   34   B   4282   SC   PRESIDENTIAL MARKET SHOPPING CENTER   PRESIDENTIAL MARKET SHOPPING CENTER         1905 SCENIC HIGHWAY                 SUITE 110    SNELLVILLE          GA   30078-0000   US   3,450
1701   1376   GA   35   B   1701   M                  ALEXANDRIA MALL         ALEXANDRIA MALL                             3437 MASONIC DR                     SUITE 1180   ALEXANDRIA          LA   71301-3686   US   2,650
2817   1377   GA   35   B   2817   FS                 8065 FLORIDA BLVD       8065 FLORIDA BLVD                                                                            BATON ROUGE         LA   70806-4713   US   3,600
4441   1378   GA   35   B   4441   SC                    SIEGEN PLAZA         SIEGEN PLAZA                                6841 SIEGEN LANE                    SPACE B      BATON ROUGE         LA   70809-4528   US   2,800
4682   1379   GA   35   B   4682   SC                  9636 AIRLINE HWY       9636 AIRLINE HWY                                                                             BATON ROUGE         LA   70815-5505   US   3,427
 303   1380   GA   35   B    303   FS                  111 W WILLOW ST        111 W WILLOW ST                                                                              LAFAYETTE           LA   70501-2839   US   4,012
3186   1381   GA   35   B   3186   M                    ACADIANA MALL         ACADIANA MALL                               5725 JOHNSTON ST                    SPACE F244   LAFAYETTE           LA   70503-5307   US   4,542
3239   1382   GA   35   B   3239   SC               RIVER MARKETPLACE         RIVER MARKETPLACE                           4401 AMBASSADOR CAFFERY             SUITE 100    LAFAYETTE           LA   70508-6705   US   3,360
1852   1383   GA   35   B   1852   M                   PRIEN LAKE MALL        PRIEN LAKE MALL                             680 W PRIEN LAKE RD                 SPACE A01    LAKE CHARLES        LA   70601-8457   US   2,669
 314   1384   GA   35   B    314   SC        DIXIE PLAZA SHOPPING CENTER      DIXIE PLAZA SHOPPING CENTER                 310 DIXIE PLAZA                                  NATCHITOCHES        LA   71457-5880   US   3,400
 313   1385   GA   35   B    313   JC                  WAL MART PLAZA         WAL MART PLAZA                              1002 JEFFERSON TERRACE BLVD         SUITE F      NEW IBERIA          LA   70560-5712   US   2,800
4680   1386   GA   35   B   4680   FS                 924 CRESSWELL LN        924 CRESSWELL LN                                                                             OPELOUSAS           LA   70570-5820   US   3,825
5423   1387   GA   35   B   5423   SC                     5514 MAIN ST        5514 MAIN ST                                SUITE 4                                          ZACHARY             LA   70791-4022   US   2,480
1200   1388   GA   35   B   1200   SC            301 N HIGHWAY 190 STE A2     301 N HIGHWAY 190 STE A2                                                        SPACE A-2    COVINGTON           LA   70433-5057   US   3,200
1623   1389   GA   35   B   1623   M                  OAKWOOD CENTER          OAKWOOD CENTER                              197 WESTBANK EXPY                   SUITE 1210   GRETNA              LA   70053-2549   US   3,444
 330   1390   GA   35   B    330   SC               HOBBY LOBBY CENTER        HOBBY LOBBY CENTER                          2702 W THOMAS ST                                 HAMMOND             LA   70401-2839   US   3,200
 384   1391   GA   35   B    384   M                   SOUTHLAND MALL         SOUTHLAND MALL                              5953 W PARK AVE SUITE 3013                       HOUMA               LA   70364-3739   US   3,600
1208   1392   GA   35   B   1208   SC       BELLE TERRE SHOPPING CENTER       BELLE TERRE SHOPPING CENTER                 1800 W AIRLINE HWY                  SUITE C      LA PLACE            LA   70068-3335   US   3,060
1203   1393   GA   35   B   1203   SC                    WESTGATE SC          WESTGATE SC                                 8847 VETERANS BLVD                  SPACE 9      METAIRIE            LA   70003-5268   US   3,000
5085   1394   GA   35   B   5085   FS               3141 VETERANS BLVD        3141 VETERANS BLVD                                                                           METAIRIE            LA   70002-6047   US   3,120
1487   1395   GA   35   B   1487   CB                 730 CANAL STREET        730 CANAL STREET                                                                             NEW ORLEANS         LA   70130-2310   US   2,820
3935   1396   GA   35   B   3935   SC                3143 GENTILLY BLVD       3143 GENTILLY BLVD                                                                           NEW ORLEANS         LA   70122-0000   US   3,200
 346   1397   GA   35   B    346   SC             FREMAUX TOWN CENTER         FREMAUX TOWN CENTER                         270 TOWN CENTER PARKWAY                          SLIDELL             LA   70458-8088   US   2,700
4685   1398   GA   35   B   4685   JC                 231 FRONTAGE RD         231 FRONTAGE RD                                                                 SPACE 2      PICAYUNE            MS   39466-7587   US   2,400
1670   1399   GA   35   B   1670   M               WIRE GRASS COMMONS         WIRE GRASS COMMONS                          900 COMMONS DRIVE #103                           DOTHAN              AL   36303-2200   US   3,414
 357   1400   GA   35   B    357   M                     BEL AIR MALL         BEL AIR MALL                                3402 BEL AIR MALL                   SPACE E-2    MOBILE              AL   36606-3402   US   2,500
1648   1401   GA   35   B   1648   SC                TILLMANS CORNERS         TILLMANS CORNERS                            5300 HALLS MILL RD                  SUITE B      MOBILE              AL   36619-9613   US   2,820
5417   1402   GA   35   B   5417   SC       AMBASSADOR SHOPPING CENTER        AMBASSADOR SHOPPING CENTER                  312 SCHILLINGER RD S                SUITE J-K    MOBILE              AL   36608-5032   US   3,000
 379   1403   GA   35   B    379   SC                  BOWDOIN PLACE          BOWDOIN PLACE                               705E HIGHWAY 43 S                                SARALAND            AL   36571-3604   US   2,800
 217   1404   GA   35   B    217   FS            2573 SOUTH FERDON BLVD       2573 SOUTH FERDON BLVD                                                                       CRESTVIEW           FL   32536-9425   US   3,060
239    1405   GA   35   B   239    JC                   DOLPHIN PLAZA         DOLPHIN PLAZA                               421 MARY ESTHER BLVD                             MARY ESTHER         FL   32569-1692   US   3,220
 600   1407   GA   35   B    600   SC         PIER PARK SHOPPING CENTER       PIER PARK SHOPPING CENTER                   15565 STARFISH ST                   SUITE 100    PANAMA CITY BEACH   FL   32413-0000   US   3,001
1782   1408   GA   35   B   1782   SC                   MARKS SQUARE          MARKS SQUARE                                4600 MOBILE HWY                     SUITE 16     PENSACOLA           FL   32506-3529   US   3,000
3066   1409   GA   35   B   3066   M                    CORDOVA MALL          CORDOVA MALL                                5100 N 9TH AVE                      SPACE D401   PENSACOLA           FL   32504-8739   US   2,192
 204   1410   GA   35   B    204   M                    LAKE CITY MALL        LAKE CITY MALL                              2469 SW US HIGHWAY 90 SUITE 118     PO BOX 218   LAKE CITY           FL   32055-8236   US   3,131
 371   1411   GA   35   B    371   SC         PARKWAY SHOPPING CENTER         PARKWAY SHOPPING CENTER                     1231 APALACHEE PARKWAY              #J           TALLAHASSEE         FL   32301-4543   US   4,375
4185   1412   GA   35   B   4185   M            GOVERNOR'S SQUARE MALL        GOVERNOR'S SQUARE MALL                      1500 APALACHEE PKY STE 1009                      TALLAHASSEE         FL   32301-3017   US   2,315
5298   1413   GA   35   B   5298   FS                 CAPITAL WEST S/C        CAPITAL WEST S/C                            4610 TENNESSEE ST                                TALLAHASSEE         FL   32304-1051   US   3,062
3775   1414   GA   35   B   3775   FS                  2546 DAWSON RD         2546 DAWSON RD                                                                               ALBANY              GA   31707-2316   US   3,010
4303   1415   GA   35   B   4303   M                     ALBANY MALL          ALBANY MALL                                 2601 DAWSON ROAD SPACE B10                       ALBANY              GA   31707-1632   US   2,880
 950   1416   GA   35   B    950   FS         130 ALTAMA CONNECTOR BLVD       130 ALTAMA CONNECTOR BLVD                                                                    BRUNSWICK           GA   31525-1891   US   3,060
 414   1417   GA   35   B    414   SC                CROSSROADS PLAZA         CROSSROADS PLAZA                            519 OGLETHORPE HWY                               HINESVILLE          GA   31313-4412   US   3,060
                                                                Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                                                                                       Pg 45 of 57
                                                                                                  Store Closing List




2292   1418   GA   35   B   2292   SC        GATEWAY SHOPPING CENTER        GATEWAY SHOPPING CENTER                      15161 U S HWY 19 SOUTH                                THOMASVILLE       GA   31792-4853   US   2,900
 969   1419   GA   35   B    969   SC     PERIMETER OAKS SHOPPING CENTER    PERIMETER OAKS SHOPPING CENTER               3268 INNER PERIMETER RD                SUITE A        VALDOSTA          GA   31602-1006   US   3,500
2803   1420   GA   35   B   2803   M                  VALDOSTA MALL         VALDOSTA MALL                                1700 NORMAN DR                         SPACE 1130     VALDOSTA          GA   31601-7482   US   3,161
3060   1421   TG   36   B   3060   SC       THE MARKET AT LAKE HOUSTON      THE MARKET AT LAKE HOUSTON                   7405 FM 1960 EAST 202                                 ATASCOCITA        TX   77346-3128   US   2,803
2538   1422   TG   36   B   2538   SC               TOWNE CENTER SC         TOWNE CENTER SC                              1317 W DAVIS ST                        STE C          CONROE            TX   77304-2309   US   2,800
4793   1423   TG   36   B   4793   SC          CONROE MARKETPLACE SC        CONROE MARKETPLACE SC                        2904 I-45 N                            SUITE 100      CONROE            TX   77303-0000   US   3,462
3075   1424   TG   36   B   3075   M                 DEERBROOK MALL         DEERBROOK MALL                               20131 HIGHWAY 59 N                     SPACE 1022     HUMBLE            TX   77338-2313   US   3,282
3461   1425   TG   36   B   3461   FS                    3012 11TH ST       3012 11TH ST                                                                                       HUNTSVILLE        TX   77340-3518   US   3,060
2453   1426   TG   36   B   2453   SC      PORTERWOOD SHOPPING CENTER       PORTERWOOD SHOPPING CENTER                   23741 HWY 59                           SUITE 18       PORTER            TX   77365-5389   US   2,820
2147   1427   TG   36   B   2147   SC               LOUETTA CROSSING        LOUETTA CROSSING                             20530 I 45 NORTH                       SUITE A        SPRING            TX   77373-2931   US   2,800
2203   1428   TG   36   B   2203   JC               21212 KUYKENDAHL        21212 KUYKENDAHL                             UNIT K                                                SPRING            TX   77379-2606   US   3,010
5133   1429   TG   36   B   5133   M              THE WOODLANDS MALL        THE WOODLANDS MALL                           1201 LAKE WOODLANDS DRIVE SPACE 1220                  THE WOODLANDS     TX   77380-0000   US   3,828
 576   1430   TG   36   B    576   FS                 FOUR CORNERS          FOUR CORNERS                                 28435 TOMBALL PKY                                     TOMBALL           TX   77375-3307   US   3,060
4535   1431   TG   36   B   4535   JC          11022 SPRING CYPRESS RD      11022 SPRING CYPRESS RD                      SUITE 100                                             TOMBALL           TX   77377-6519   US   2,800
 269   1432   TG   36   B    269   JC         920 GULFGATE CENTER MALL      920 GULFGATE CENTER MALL                                                                           HOUSTON           TX   77087-3028   US   2,989
1925   1433   TG   36   B   1925   SC          NORTHEAST MARKETPLACE        NORTHEAST MARKETPLACE                        10722 EASTEX FREEWAY                                  HOUSTON           TX   77093-0000   US   3,000
2602   1434   TG   36   B   2602   JC           SCOTT ST RETAIL CENTER      SCOTT ST RETAIL CENTER                       6057 SCOTT ST                                         HOUSTON           TX   77021-2663   US   2,800
3266   1435   TG   36   B   3266   SC                 NORTH OAKS SC         NORTH OAKS SC                                4603 FM 1960 RD W                      SUITE A        HOUSTON           TX   77069-4603   US   3,400
3308   1436   TG   36   B   3308   SC             HILLCROFT VILLAGE S/C     HILLCROFT VILLAGE S/C                        6700 HILLCROFT ST                                     HOUSTON           TX   77081-4804   US   2,935
3401   1437   TG   36   B   3401   JC             GREENS CROSSROADS         GREENS CROSSROADS                            349 W GREENS RD                                       HOUSTON           TX   77067-4501   US   2,804
3736   1438   TG   36   B   3736   M                   THE GALLERIA II      THE GALLERIA II                              5061 WESTHEIMER RD                     SUITE B-9000   HOUSTON           TX   77056-0000   US   2,817
4777   1439   TG   36   B   4777   FS               6229 BELLAIRE BLVD      6229 BELLAIRE BLVD                                                                                 HOUSTON           TX   77081-4901   US   4,455
4796   1440   TG   36   B   4796   FS        MCLENDON TOWNE CROSSING        MCLENDON TOWNE CROSSING                      215 WEST ROAD                                         HOUSTON           TX   77038-2601   US   4,624
4526   1441   TG   36   B   4526   FS                  3426 GARTH RD        3426 GARTH RD                                                                                      BAYTOWN           TX   77521-3849   US   3,060
 249   1442   TG   36   B    249   FS                   2315 S 11TH ST      2315 S 11TH ST                                                                                     BEAUMONT          TX   77701-6425   US   3,000
1233   1443   TG   36   B   1233   SC               NORTH PARK PLAZA        NORTH PARK PLAZA                             5852 EASTEX FREEWAY                                   BEAUMONT          TX   77708-4824   US   2,970
1477   1444   TG   36   B   1477   JC    ALMEDA CROSSING SHOPPING CENTER    ALMEDA CROSSING SHOPPING CENTER              10013 ALMEDA GENOA RD STE G                           HOUSTON           TX   77075-0000   US   3,000
2201   1445   TG   36   B   2201   SC            NEW FOREST CROSSING        NEW FOREST CROSSING                          5915 E SAM HOUSTON PKWY NORTH                         HOUSTON           TX   77049-2506   US   3,045
2451   1446   TG   36   B   2451   JC            SPENCER AT EAST BLVD       SPENCER AT EAST BLVD                         9001 SPENCER HIGHWAY                   SPACE G        LA PORTE          TX   77571-3897   US   2,800
 272   1447   TG   36   B    272   JC            SOUTHMORE VILLAGE SC       SOUTHMORE VILLAGE SC                         120 E SOUTHMORE                                       PASADENA          TX   77502-1708   US   3,000
2459   1448   TG   36   B   2459   M                    PLAZA PASEO         PLAZA PASEO                                  260 PASADENA TOWN SQUARE MALL                         PASADENA          TX   77506-4842   US   2,686
2562   1449   TG   36   B   2562   JC              PASADENA PARK S/C        PASADENA PARK S/C                            6848 A SPENCER HWY                                    PASADENA          TX   77505-1709   US   3,000
1262   1450   TG   36   B   1262   JC           PARK CENTRAL CROSSING       PARK CENTRAL CROSSING                        8555 MEMORIAL BLVD                     SP 400         PORT ARTHUR       TX   77640-0000   US   2,795
2045   1451   TG   36   B   2045   JC                  ALVIN 6 CENTER       ALVIN 6 CENTER                               1591 EAST HIGHWAY 6                    SUITE 106      ALVIN             TX   77511-4600   US   2,800
2067   1452   TG   36   B   2067   FS                     3915 7TH ST       3915 7TH ST                                                                                        BAY CITY          TX   77414-4513   US   3,096
2271   1453   TG   36   B   2271   SC          GALVEZ SHOPPING CENTER       GALVEZ SHOPPING CENTER                       6228 BROADWAY                          SUITE O        GALVESTON         TX   77551-1031   US   2,800
 284   1454   TG   36   B    284   SC          TARGET SHOPPING CENTER       TARGET SHOPPING CENTER                       204 HWY 332 WEST                       SPACE A        LAKE JACKSON      TX   77566-4013   US   3,110
3564   1455   TG   36   B   3564   JC         LEAGUE CITY MARKETPLACE       LEAGUE CITY MARKETPLACE                      2950A GULF FWY SOUTH                                  LEAGUE CITY       TX   77573-6751   US   2,800
 565   1456   TG   36   B    565   SC     THE CENTER AT PEARLAND PARKWAY    THE CENTER AT PEARLAND PARKWAY               2650 PEARLAND PARKWAY SUITE 120                       PEARLAND          TX   77581-0000   US   6,700
 691   1457   TG   36   B    691   M            PEARLAND TOWN CENTER        PEARLAND TOWN CENTER                         11200 BROADWAY                         SUITE 945      PEARLAND          TX   77584-0000   US   3,084
2027   1458   TG   36   B   2027   SC       SILVERLAKE SHOPPING CENTER      SILVERLAKE SHOPPING CENTER                   3101 SILVERLAKE VILLAGE DRIVE                         PEARLAND          TX   77584-8082   US   2,804
 264   1459   TG   36   B    264   SC                3505 PALMER HWY        3505 PALMER HWY                                                                                    TEXAS CITY        TX   77590-7059   US   2,950
 497   1460   TG   36   B    497   SC        BAYBROOK SHOPPING CENTER       BAYBROOK SHOPPING CENTER                     1805 WEST BAY AREA BLVD                               WEBSTER           TX   77598-3403   US   3,000
 283   1461   GA   37   B    283   SC                    LAVALLITA SC       LAVALLITA SC                                 1714 E MAIN ST                                        ALICE             TX   78332-4083   US   4,000
  89   1462   GA   37   B     89   SC               LAS TIENDAS PLAZA       LAS TIENDAS PLAZA                            431 E MORRISON RD                                     BROWNSVILLE       TX   78526-0000   US   3,000
1735   1463   GA   37   B   1735   M                    SUNRISE MALL        SUNRISE MALL                                 2370 N EXPRESSWAY                      SUITE 1066     BROWNSVILLE       TX   78526-1606   US   3,180
3502   1464   GA   37   B   3502   CB              1158 E ELIZABETH ST      1158 E ELIZABETH ST                                                                                BROWNSVILLE       TX   78520-5024   US   5,432
5579   1465   GA   37   B   5579   JC        2821 BOCA CHICA BOULEVARD      2821 BOCA CHICA BOULEVARD                    SUITE 103                                             BROWNSVILLE       TX   78521-0000   US   3,000
1124   1466   GA   37   B   1124   SC                     FIVE POINTS       FIVE POINTS                                  4101 IH 69 ACCESS ROAD                 #B-1           CORPUS CHRISTI    TX   78410-4542   US   2,633
1767   1467   GA   37   B   1767   M        LA PALMERA SHOPPING CENTER      LA PALMERA SHOPPING CENTER                   5488 S PADRE ISLAND DR STE 1362                       CORPUS CHRISTI    TX   78411-4117   US   3,360
3415   1468   GA   37   B   3415   SC                   MOORE PLAZA         MOORE PLAZA                                  5425 S PADRE ISLAND DR                 SPACE 127      CORPUS CHRISTI    TX   78411-5301   US   3,031
 265   1469   GA   37   B    265   SC     LAUREL HEIGHTS SHOPPING CENTER    LAUREL HEIGHTS SHOPPING CENTER               1210 S 77 SUNSHIRE STRIP                              HARLINGEN         TX   78550-8016   US   4,000
2914   1470   GA   37   B   2914   M        RIO GRANDE PREMIUM OUTLETS      RIO GRANDE PREMIUM OUTLETS                   5001 EAST EXPRESWAY 83                 SPACE 218      MERCEDES          TX   78570-4575   US   3,533
 280   1471   GA   37   B    280   FS                701 N TEXAS BLVD       701 N TEXAS BLVD                                                                                   WESLACO           TX   78596-4805   US   4,600
 642   1472   GA   37   B    642   SC                UNIVERSITY PLAZA       UNIVERSITY PLAZA                             405 E UNIVERSITY DR                                   EDINBURG          TX   78539-3562   US   4,000
2625   1473   GA   37   B   2625   SC                 DON JOSE PLAZA        DON JOSE PLAZA                               400 SOUTH INTERNATIONAL BLVD                          HIDALGO           TX   78557-0000   US   3,500
1396   1474   GA   37   B   1396   M                  MALL DEL NORTE        MALL DEL NORTE                               5300 SAN DARIO AVE                     SUITE 206      LAREDO            TX   78041-3002   US   4,345
4602   1475   GA   37   B   4602   CB            BORDER CROSSING CBD        BORDER CROSSING CBD                          1119 FARRAGUT ST                                      LAREDO            TX   78040-5057   US   4,128
4798   1476   GA   37   B   4798   FS           NORTH CREEK PLAZA MAR       NORTH CREEK PLAZA MAR                        7411 SAN DARIO                                        LAREDO            TX   78045-7220   US   4,489
3109   1477   GA   37   B   3109   M                   LA PLAZA MALL        LA PLAZA MALL                                2200 S 10TH ST                         SPACE H-03     MCALLEN           TX   78503-5437   US   3,150
3645   1478   GA   37   B   3645   SC   TRENTON CROSSING/NORTH MCALLEN SC   TRENTON CROSSING/NORTH MCALLEN SC            7400 N 10TH ST                         SUITE 1        MCALLEN           TX   78504-7700   US   2,800
2218   1479   GA   37   B   2218   SC      CONWAY PLAZA SHOPPING CENTER     CONWAY PLAZA SHOPPING CENTER                 217 E EXPRESSWAY 83                                   MISSION           TX   78572-5558   US   3,450
2300   1480   GA   37   B   2300   FS                 806 N CAGE BLVD       806 N CAGE BLVD                                                                                    PHARR             TX   78577-3106   US   3,120
4299   1481   GA   37   B   4299   SC        RIVERVIEW SHOPPING CENTER      RIVERVIEW SHOPPING CENTER                    6 E GRANT ST                                          ROMA              TX   78584-8085   US   3,280
2023   1482   GA   37   B   2023   SC         MARKET SQUARE SHPG CNTR       MARKET SQUARE SHPG CNTR                      2206H S MARKET ST                                     BRENHAM           TX   77833-5832   US   2,800
 270   1483   GA   37   B    270   SC                  TEJAS CENTER         TEJAS CENTER                                 725 E VILLA MARIA RD                   SUITE 5300     BRYAN             TX   77802-5319   US   2,858
2860   1484   GA   37   B   2860   M                   POST OAK MALL        POST OAK MALL                                1500 HARVEY RD                         SUITE 4002     COLLEGE STATION   TX   77840-3713   US   2,925
5034   1485   GA   37   B   5034   SC              SPRING CYPRESS SC        SPRING CYPRESS SC                            26084 HWY 290 W                                       CYPRESS           TX   77429-1050   US   2,800
 276   1486   GA   37   B    276   JC                  WESTCREST SC         WESTCREST SC                                 8554 LONG POINT RD                                    HOUSTON           TX   77055-2311   US   4,920
1646   1487   GA   37   B   1646   SC                HAMMERLY PLAZA         HAMMERLY PLAZA                               10148 HAMMERLY BLVD                                   HOUSTON           TX   77080-5010   US   3,000
2031   1488   GA   37   B   2031   SC   ELDRIDGE CROSSING SHOPPING CENTER   ELDRIDGE CROSSING SHOPPING CENTER            12637 FM 1960 RD W                                    HOUSTON           TX   77065-4003   US   3,000
2366   1489   GA   37   B   2366   M               MEMORIAL CITY MALL       MEMORIAL CITY MALL                           303 MEMORIAL CITY                      SUITE 524      HOUSTON           TX   77024-2677   US   3,626
3189   1490   GA   37   B   3189   M               WILLOWBROOK MALL         WILLOWBROOK MALL                             7925 FM 1960 RD W                      SPACE 1026     HOUSTON           TX   77070-5723   US   3,484
3206   1491   GA   37   B   3206   SC         NORTHWEST MARKET PLACE        NORTHWEST MARKET PLACE                       13754 NORTHWEST FREEWAY                               HOUSTON           TX   77040-5202   US   3,220
4012   1492   GA   37   B   4012   JC             COPPER CROSSING SC        COPPER CROSSING SC                           16255 FM 529                                          HOUSTON           TX   77095-1433   US   2,832
2162   1494   GA   37   B   2162   JC             3418 HIGHWAY 6 SOUTH      3418 HIGHWAY 6 SOUTH                         SUITE A                                               HOUSTON           TX   77082-4204   US   2,800
                                                                 Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                                                                                        Pg 46 of 57
                                                                                                   Store Closing List




3006   1495   GA   37   B   3006   SC           FONDREN SOUTHWEST SC          FONDREN SOUTHWEST SC                        11160 FONDREN RD                                       HOUSTON         TX   77096-5506   US   3,500
5543   1496   GA   37   B   5543   SC              HUNTINGTON VILLAGE         HUNTINGTON VILLAGE                          12675 BISSONNET                    SPACE 20 AND 21     HOUSTON         TX   77099-1331   US   2,550
1185   1497   GA   37   B   1185   SC              FRY ROAD CROSSING          FRY ROAD CROSSING                           1741 N FRY RD                                          KATY            TX   77449-3347   US   2,800
5705   1498   GA   37   B   5705   M         KATY MILLS SHOPPING CENTER       KATY MILLS SHOPPING CENTER                  5000 KATY MILLS CIRCLE             SUITE 542           KATY            TX   77494-4402   US   3,089
2048   1499   GA   37   B   2048   SC                5950 STATE HWY 6         5950 STATE HWY 6                            SUTIE F                                                MISSOURI CITY   TX   77459-0000   US   3,000
1278   1500   GA   37   B   1278   SC             BRAZOS TOWN CENTER          BRAZOS TOWN CENTER                          24820 COMMERCIAL DR                UNIT E              ROSENBERG       TX   77471-0000   US   3,600
1172   1501   GA   37   B   1172   SC           TOWNE CENTER LAKESIDE         TOWNE CENTER LAKESIDE                       16312 SOUTHWEST FREEWAY            SPACE F             SUGAR LAND      TX   77479-0000   US   2,800
5659   1502   GA   37   B   5659   M                FIRST COLONY MALL         FIRST COLONY MALL                           16535 SW FREEWAY                   SUITE 170           SUGAR LAND      TX   77479-2332   US   6,532
 255   1503   GA   38   B    255   SC             NORWOOD PARK PLAZA          NORWOOD PARK PLAZA                          1030 NORWOOD PARK BLVD             SUITE 320           AUSTIN          TX   78753-0000   US   2,800
4297   1504   GA   38   B   4297   M                      DOMAIN II           DOMAIN II                                   3220 FEATHERGRASS COURT                                AUSTIN          TX   78758-7777   US   2,848
4438   1505   GA   38   B   4438   FS       NORTHWEND SHOPPING CENTER         NORTHWEND SHOPPING CENTER                   9511 N LAMAR BLVD                                      AUSTIN          TX   78753-4107   US   4,000
4960   1506   GA   38   B   4960   FS                  5001 W HWY 290         5001 W HWY 290                                                                                     AUSTIN          TX   78735-6703   US   4,300
5500   1507   GA   38   B   5500   FS                  490-B HWY 71 W         490-B HWY 71 W                                                                                     BASTROP         TX   78602-3731   US   2,616
6721   1508   GA   38   B   6721   M                   LAKELINE MALL          LAKELINE MALL                               11200 LAKELINE MALL DR             SPACE H01           CEDAR PARK      TX   78613-1501   US   2,813
2337   1509   GA   38   B   2337   JC               1304 JUNCTION HWY         1304 JUNCTION HWY                           SUITE 400                                              KERRVILLE       TX   78028-4807   US   2,600
 739   1510   GA   38   B    739   SC              EXPRESSWAY PLAZA           EXPRESSWAY PLAZA                            1200 LOWES BOULEVARD               SUITE 112           KILLEEN         TX   76542-5204   US   3,557
5380   1511   GA   38   B   5380   FS              2713 HWY 281 NORTH         2713 HWY 281 NORTH                                                                                 MARBLE FALLS    TX   78654-3809   US   2,616
2126   1512   GA   38   B   2126   SC              WALNUT SQUARE SC           WALNUT SQUARE SC                            604 S WALNUT AVE                   SUITE 400           NEW BRAUNFELS   TX   78130-5723   US   5,500
5281   1513   GA   38   B   5281   FS         210 LOUIS HENNA BOULEVARD       210 LOUIS HENNA BOULEVARD                                                                          ROUND ROCK      TX   78664-7312   US   3,517
1036   1515   GA   38   B   1036   SC                 BANDERA POINTE          BANDERA POINTE                              11321 BANDERA RD                                       SAN ANTONIO     TX   78250-0000   US   2,784
1772   1516   GA   38   B   1772   M                 SOUTH PARK MALL          SOUTH PARK MALL                             2310 SW MILITARY DR                SUITE 514           SAN ANTONIO     TX   78224-1409   US   3,681
2278   1517   GA   38   B   2278   SC   CROSSTOWNE MERCADO SHOPPING CENTER    CROSSTOWNE MERCADO SHOPPING CENTER          4801 WEST COMMERCE STREET          SPACE 101           SAN ANTONIO     TX   78237-1505   US   3,000
2378   1518   GA   38   B   2378   SC        MCCRELESS SHOPPING CENTER        MCCRELESS SHOPPING CENTER                   4102 S NEW BRAUNFELS AVE STE 103                       SAN ANTONIO     TX   78223-1700   US   3,195
3715   1519   GA   38   B   3715   SC     WESTOVER PLACE SHOPPING CENTER      WESTOVER PLACE SHOPPING CENTER              8219 STATE HIGHWAY 151             SUITE 128           SAN ANTONIO     TX   78245-2193   US   2,984
3733   1520   GA   38   B   3733   SC             WOODLAKE CROSSING           WOODLAKE CROSSING                           6230 WOOD GLEN DRIVE               SUITE 111           SAN ANTONIO     TX   78244-0000   US   2,800
2405   1521   GA   38   B   2405   SC                  SAN MAR PLAZA          SAN MAR PLAZA                               929 HIGHWAY 80                                         SAN MARCOS      TX   78666-8133   US   3,200
2116   1522   GA   38   B   2116   JC                    KING PLAZA           KING PLAZA                                  1415 E WALNUT ST                   SUITE 500           SEGUIN          TX   78155-0000   US   3,000
2096   1523   GA   38   B   2096   SC            THE FORUM AT OLYMPIA         THE FORUM AT OLYMPIA                        8352 AGORA PKWY                    SUITE 140           SELMA           TX   78154-1326   US   8,719
1394   1524   GA   38   B   1394   M                    TEMPLE MALL           TEMPLE MALL                                 3111 S 31ST ST                     SPACE 3113          TEMPLE          TX   76502-1956   US   2,918
2690   1525   GA   38   B   2690   M                   VICTORIA MALL          VICTORIA MALL                               7800 N NAVARRO                     SUITE 185           VICTORIA        TX   77904-2699   US   3,750
 257   1526   GA   38   B    257   SC        CENTRAL TEXAS MARKETPLACE        CENTRAL TEXAS MARKETPLACE                   2600 W LOOP 340                                        WACO            TX   76711-0000   US   3,000
 263   1527   GA   38   B    263   SC          BOSQUE AT WOODED ACRES         BOSQUE AT WOODED ACRES                      5201 BOSQUE DRIVE                  STE 200             WACO            TX   76710-0000   US   2,800
2559   1528   GA   38   B   2559   M               MALL DE LAS AGUILAS        MALL DE LAS AGUILAS                         455 S BIBB AVE                                         EAGLE PASS      TX   78852-9997   US   3,292
3010   1529   GA   38   B   3010   SC                 LEON VALLEY SC          LEON VALLEY SC                              6963 BANDERA RD                                        LEON VALLEY     TX   78238-1361   US   3,260
3774   1530   GA   38   B   3774   JC               ATASCOSA MARKET           ATASCOSA MARKET                             2087 W OAKLAWN                     SUITE 206           PLEASANTON      TX   78064-4608   US   2,800
 458   1531   GA   38   B    458   JC    UNIVERSITY HEIGHTS SHOPPING CENTER   UNIVERSITY HEIGHTS SHOPPING CENTER          12822 I-10 WEST                    BLDG 2 SUITE 210    SAN ANTONIO     TX   78249-2210   US   2,900
1843   1532   GA   38   B   1843   SC                THE VINEYARD SC          THE VINEYARD SC                             1205 N FM 1604 WEST                SUITE 101           SAN ANTONIO     TX   78258-0000   US   2,800
2998   1533   GA   38   B   2998   M                INGRAM PARK MALL          INGRAM PARK MALL                            6301 NW LOOP 410                                       SAN ANTONIO     TX   78238-3824   US   3,676
3151   1534   GA   38   B   3151   M                ROLLING OAKS MALL         ROLLING OAKS MALL                           6909 N LOOP 1604 E                 SUITE 2022          SAN ANTONIO     TX   78247-5303   US   3,177
3344   1535   GA   38   B   3344   M                 NORTH STAR MALL          NORTH STAR MALL                             7400 SAN PEDRO                     SP 882              SAN ANTONIO     TX   78216-8319   US   2,684
3892   1536   GA   38   B   3892   JC       PARK NORTH SHOPPING CENTER        PARK NORTH SHOPPING CENTER                  854 NW LOOP 410                    SUITE 102           SAN ANTONIO     TX   78216-5601   US   3,000
  42   1537   GA   39   B     42   JC                 3900 N PRINCE ST        3900 N PRINCE ST                            SPACE D                                                CLOVIS          NM   88101-9702   US   3,000
 130   1538   GA   39   B    130   FS                828 N DAL PASO ST        828 N DAL PASO ST                                                                                  HOBBS           NM   88240-5318   US   4,000
1368   1539   GA   39   B   1368   SC                   GRAND PLAZA           GRAND PLAZA                                 3300 E I-40 HWY                    SPACE C             AMARILLO        TX   79103-4831   US   3,000
5234   1540   GA   39   B   5234   FS                2600 SONCY ROAD          2600 SONCY ROAD                                                                                    AMARILLO        TX   79124-2302   US   3,600
1363   1541   GA   39   B   1363   FS                  4225 S LOOP 289        4225 S LOOP 289                                                                                    LUBBOCK         TX   79423-1100   US   3,061
 100   1542   GA   39   B    100   FS                 900 N MIDKIFF RD        900 N MIDKIFF RD                                                                                   MIDLAND         TX   79701-2111   US   4,000
 16    1543   GA   39   B    16    FS                   1001 E 8TH ST         1001 E 8TH ST                                                                                      ODESSA          TX   79761-4633   US   3,856
1427   1544   GA   39   B   1427   M                  MUSIC CITY MALL         MUSIC CITY MALL                             4101 E 42ND ST                     SPACE L60 BOX 101   ODESSA          TX   79762-7239   US   3,526
2689   1545   GA   39   B   2689   SC              ONE ENERGY SQUARE          ONE ENERGY SQUARE                           3136 ANDREWS HWY                                       ODESSA          TX   79762-7521   US   3,000
2702   1546   GA   39   B   2702   SC               LA MIRADA SQUARE          LA MIRADA SQUARE                            8220 MONTGOMERY BLVD NE                                ALBUQUERQUE     NM   87109-1602   US   3,600
3042   1547   GA   39   B   3042   JC        WEST BLUFF SHOPPING CENTER       WEST BLUFF SHOPPING CENTER                  5201 OURAY NW C                                        ALBUQUERQUE     NM   87120-3033   US   3,084
3389   1548   GA   39   B   3389   SC                VALLE DEL SOL SC         VALLE DEL SOL SC                            1625 RIO BRAVO BLVD SW             SUITE 1             ALBUQUERQUE     NM   87105-6057   US   3,202
3656   1549   GA   39   B   3656   SC              PASEO DEL NORTE SC         PASEO DEL NORTE SC                          9301 COORS BLVD NW                 SUITE B-1           ALBUQUERQUE     NM   87114-4005   US   3,400
4143   1550   GA   39   B   4143   M            CORONADO CENTER MALL          CORONADO CENTER MALL                        6600 MENAUL BLVD NE STE J06A                           ALBUQUERQUE     NM   87110-3458   US   3,763
4517   1551   GA   39   B   4517   FS              360 EUBANK BLVD NE         360 EUBANK BLVD NE                                                                                 ALBUQUERQUE     NM   87123-2755   US   3,120
5541   1552   GA   39   B   5541   M                COTTONWOOD MALL           COTTONWOOD MALL                             10000 COORS BYP NW                 SUITE E203          ALBUQUERQUE     NM   87114-4062   US   2,502
2374   1553   GA   39   B   2374   M               ANIMAS VALLEY MALL         ANIMAS VALLEY MALL                          4601 E MAIN ST                     SUITE 450           FARMINGTON      NM   87402-8667   US   3,428
3588   1554   GA   39   B   3588   FS                    819 U.S. 491         819 U.S. 491                                                                                       GALLUP          NM   87301-5389   US   3,062
 670   1555   GA   39   B    670   SC          COLLEGE PLAZA SHPG CNTR        COLLEGE PLAZA SHPG CNTR                     2010 CERRILLOS RD STE 6                                SANTA FE        NM   87505-3275   US   3,200
1329   1556   GA   39   B   1329   M                  SANTA FE PLACE          SANTA FE PLACE                              4250 CERRILLOS RD SPACE 144        PO BOX 29601        SANTA FE        NM   87592-4697   US   2,884
 792   1557   GA   39   B    792   FS                  219 N CANAL ST         219 N CANAL ST                                                                                     CARLSBAD        NM   88220-5829   US   4,000
2566   1558   GA   39   B   2566   FS                1007 EL PASEO ST         1007 EL PASEO ST                                                                                   LAS CRUCES      NM   88001-6029   US   3,060
2570   1559   GA   39   B   2570   M               MESILLA VALLEY MALL        MESILLA VALLEY MALL                         700 S TELSHOR BLVD STE 1304                            LAS CRUCES      NM   88011-8606   US   3,070
 37    1560   GA   39   B    37    FS                   8401 DYER ST          8401 DYER ST                                                                                       EL PASO         TX   79904-2803   US   4,000
 676   1561   GA   39   B    676   M                  BASSETT CENTER          BASSETT CENTER                              6101 GATEWAY BLVD W                SPACE C9            EL PASO         TX   79925-3416   US   4,712
1440   1562   GA   39   B   1440   JC         ALEMEDE AMERICAS CENTER         ALEMEDE AMERICAS CENTER                     9417 ALEMEDA AVE                   SPACE E             EL PASO         TX   79907-5601   US   3,010
3172   1563   GA   39   B   3172   CB                 800 S EL PASO ST        800 S EL PASO ST                                                                                   EL PASO         TX   79901-3245   US   5,165
3296   1564   GA   39   B   3296   SC            EL PASEO MARKETPLACE         EL PASEO MARKETPLACE                        1886 JOE BATTLE BLVD               SUITE 208           EL PASO         TX   79936-0000   US   3,300
3640   1565   GA   39   B   3640   M                 CIELO VISTA MALL         CIELO VISTA MALL                            8401 GATEWAY BLVD W                SPACE A07D          EL PASO         TX   79925-5668   US   4,712
2875   1566   GA   39   B   2875   SC                   1 OREILLY ST          1 OREILLY ST                                                                   PO BOX 1110         PRESIDIO        TX   79845-0000   US   3,000
 630   1567   GA   39   B    630   M                  MALL OF ABILENE         MALL OF ABILENE                             4310 BUFFALO GAP RD STE 1270       SPACE 1124          ABILENE         TX   79606-2785   US   3,867
 722   1568   GA   39   B    722   JC                   3520 N 1ST ST         3520 N 1ST ST                                                                                      ABILENE         TX   79603-6914   US   3,827
 666   1570   GA   39   B    666   SC           SOUTH TOWNE CROSSING          SOUTH TOWNE CROSSING                        140 NW JOHN JONES DR               SUITE 148           BURLESON        TX   76028-0000   US   3,000
3225   1571   GA   39   B   3225   SC                   WESTGATE SC           WESTGATE SC                                 1607 W HENDERSON ST                SUITE P             CLEBURNE        TX   76033-3488   US   2,400
1164   1572   GA   39   B   1164   M                   RIDGMAR MALL           RIDGMAR MALL                                1822 GREEN OAKS RD                 SPACE N-9           FORT WORTH      TX   76116-1702   US   2,610
                                                                Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                                                                                       Pg 47 of 57
                                                                                                  Store Closing List




2179   1573   GA   39   B   2179   JC         3210 SYCAMORE SCHOOL RD       3210 SYCAMORE SCHOOL RD                                                                                  FORT WORTH         TX   76133-5602   US   2,808
3806   1574   GA   39   B   3806   M                    HULEN MALL          HULEN MALL                                   4800 S HULEN ST STE 102                                     FORT WORTH         TX   76132-1400   US   3,070
  99   1575   GA   39   B     99   JC              805 MELBOURNE RD         805 MELBOURNE RD                                                                                         HURST              TX   76053-4630   US   3,200
3118   1576   GA   39   B   3118   M                NORTHEAST MALL          NORTHEAST MALL                               1101 MELBOURNE RD                       SPACE 2014          HURST              TX   76053-6205   US   3,245
3255   1577   GA   39   B   3255   SC           7645 N MACARTHUR BLVD       7645 N MACARTHUR BLVD                        SUITE 120                                                   IRVING             TX   75063-7513   US   2,300
4082   1578   GA   39   B   4082   JC         MANSFIELD TOWNE CENTER        MANSFIELD TOWNE CENTER                       120 WEST DEBBIE LANE                    SUITE 360           MANSFIELD          TX   76063-0000   US   3,000
4298   1579   GA   39   B   4298   SC         WATAUGA TOWN CROSSING         WATAUGA TOWN CROSSING                        8004 DENTON HIGHWAY                     SUITE 104           WATAUGA            TX   76148-2468   US   3,000
 892   1580   TG   40   B    892   SC        PROMENADE AT CASA GRANDE       PROMENADE AT CASA GRANDE                     1005 N PROMENADE PKWY                   SUITE 102           CASA GRANDE        AZ   85194-5421   US   3,280
4487   1581   TG   40   B   4487   FS                  100 W 5TH ST         100 W 5TH ST                                                                                             DOUGLAS            AZ   85607-2849   US   3,062
2657   1582   TG   40   B   2657   M                 FLAGSTAFF MALL         FLAGSTAFF MALL                               4650 N US HIGHWAY 89                    SUITE G002          FLAGSTAFF          AZ   86004-2447   US   3,574
4970   1583   TG   40   B   4970   SC            210 W. MARIPOSA ROAD       210 W. MARIPOSA ROAD                                                                                     NOGALES            AZ   85621-0000   US   3,000
3387   1584   TG   40   B   3387   SC      PARK PINEWAY SHOPPING CENTER     PARK PINEWAY SHOPPING CENTER                 4431 S WHITE MOUNTAIN RD                SUITE C6 AND C7     SHOW LOW           AZ   85901-7776   US   2,658
2042   1585   TG   40   B   2042   M              MALL AT SIERRA VISTA      MALL AT SIERRA VISTA                         2200 EL MERCADO LOOP                    SPACE 1142          SIERRA VISTA       AZ   85635-5217   US   3,706
 602   1586   TG   40   B    602   SC               WILMOT PLAZA SC         WILMOT PLAZA SC                              6351 E BROADWAY BLVD                    SUITE 115           TUCSON             AZ   85710-3510   US   6,334
 840   1587   TG   40   B    840   JC    TUCSON SPECTRUM SHOPPING CENTE     TUCSON SPECTRUM SHOPPING CENTE               1183 W IRVINGTON RD                     SUITE 191           TUCSON             AZ   85714-0000   US   3,000
1002   1588   TG   40   B   1002   M                    PARK PLACE          PARK PLACE                                   5870 E BROADWAY BLVD                    SPACE 405           TUCSON             AZ   85711-3914   US   2,800
2228   1589   TG   40   B   2228   FS              760 W VALENCIA RD        760 W VALENCIA RD                                                                                        TUCSON             AZ   85706-7644   US   3,096
2933   1590   TG   40   B   2933   M                   TUCSON MALL          TUCSON MALL                                  4500 N ORACLE RD                        SUITE 157           TUCSON             AZ   85705-8003   US   3,231
3212   1591   TG   40   B   3212   SC              TUCSON PLACE S/C         TUCSON PLACE S/C                             485 E WETMORE RD STE 101                                    TUCSON             AZ   85705-1714   US   3,010
4639   1592   TG   40   B   4639   SC                FOOTHILLS MALL         FOOTHILLS MALL                               7475 N CHOLLA BLVD                      SP 422              TUCSON             AZ   85741-0000   US   3,204
1019   1593   TG   40   B   1019   SC                  AVONDALE SC          AVONDALE SC                                  1450 N DYSART RD                        SPACE A-7 AND A-8   AVONDALE           AZ   85323-1533   US   3,008
3047   1594   TG   40   B   3047   SC              PEORIA CROSSINGS         PEORIA CROSSINGS                             9440 W NORTHERN                                             GLENDALE           AZ   85305-1104   US   4,042
3650   1595   TG   40   B   3650   SC           PALM VALLEY PAVILLIONS      PALM VALLEY PAVILLIONS                       1428 N LITCHFIELD RD                    SPACE E4            GOODYEAR           AZ   85395-0000   US   2,843
 770   1596   TG   40   B    770   SC          BETHANY TOWNE CENTER         BETHANY TOWNE CENTER                         6135 N 35TH AVE                         SUITE 189           PHOENIX            AZ   85017-1955   US   3,010
2319   1597   TG   40   B   2319   SC               SOUTHERN PLAZA          SOUTHERN PLAZA                               825 W SOUTHERN AVE                      SUITE 100           PHOENIX            AZ   85041-4705   US   3,389
2661   1598   TG   40   B   2661   M                DESERT SKY MALL         DESERT SKY MALL                              7611 W THOMAS RD                        E16                 PHOENIX            AZ   85033-5430   US   3,625
3856   1599   TG   40   B   3856   M                CHRIS-TOWN MALL         CHRIS-TOWN MALL                              1623 W BETHANY HOME RD                                      PHOENIX            AZ   85015-2519   US   3,056
4037   1600   TG   40   B   4037   M           PRESCOTT GATEWAY MALL        PRESCOTT GATEWAY MALL                        3250 GATEWAY BLVD 102                   SUITE 45            PRESCOTT           AZ   86303-5668   US   2,800
3392   1601   TG   40   B   3392   FS                    639 N MAIN         639 N MAIN                                   PO BOX 13812                                                SAN LUIS           AZ   85349-2449   US   5,665
 282   1602   TG   40   B    282   SC       YUMA PALMS REGIONAL CENTER      YUMA PALMS REGIONAL CENTER                   1401 S YUMA PALMS PARKWAY 8                                 YUMA               AZ   85365-0000   US   3,150
3711   1603   TG   40   B   3711   SC           PALO VERDE VILLAGE SC       PALO VERDE VILLAGE SC                        2850 S PACIFIC AVE                      SPACE F6            YUMA               AZ   85365-3513   US   3,114
3435   1604   TG   40   B   3435   SC             COTTONWOOD PLAZA          COTTONWOOD PLAZA                             1100 S STATE ROUTE 260                  SPACE D-15 AND 16   COTTONWOOD         AZ   86326-4640   US   3,120
1798   1605   TG   40   B   1798   SC                10222 N 43RD AVE       10222 N 43RD AVE                                                                                         GLENDALE           AZ   85302-2037   US   2,900
1799   1606   TG   40   B   1799   JC            TALAVI TOWNE CENTRE        TALAVI TOWNE CENTRE                          5795 W BELL RD                          SUITE 3             GLENDALE           AZ   85308-0000   US   2,750
4808   1607   TG   40   B   4808   M         ARROWHEAD TOWNE CENTER         ARROWHEAD TOWNE CENTER                       7700 W ARROWHEAD TOWNE CENTRE SP 2145                       GLENDALE           AZ   85308-8616   US   2,901
 857   1608   TG   40   B    857   SC                  MESA RANCH           MESA RANCH                                   1116 SOUTH STAPLEY DRIVE SUITE 107      SUITE 107           MESA               AZ   85204-5052   US   3,950
2500   1609   TG   40   B   2500   SC             4465 E MCKELLIPS RD       4465 E MCKELLIPS RD                          SPACE 101                                                   MESA               AZ   85215-2553   US   2,783
1388   1610   TG   40   B   1388   SC               FOUNTAIN SQUARE         FOUNTAIN SQUARE                              350 E BELL ROAD 14.15                   SUITE 14            PHOENIX            AZ   85022-6311   US   3,000
2763   1611   TG   40   B   2763   SC        HAPPY VALLEY TOWNE CENTER      HAPPY VALLEY TOWNE CENTER                    2501 W HAPPY VALLEY RD                  SUITE 32-1090       PHOENIX            AZ   85027-0000   US   3,000
3676   1612   TG   40   B   3676   M             PARADISE VALLEY MALL       PARADISE VALLEY MALL                         4550 E CACTUS RD                        SUITE 330           PHOENIX            AZ   85032-7728   US   3,340
3878   1613   TG   40   B   3878   SC       TATUM POINT SHOPPING CENTER     TATUM POINT SHOPPING CENTER                  4727 E BELL RD STE 1                                        PHOENIX            AZ   85032-2310   US   3,200
 285   1614   TG   40   B    285   SC             VILLAGE AT SURPRISE       VILLAGE AT SURPRISE                          13980 W BELL RD                         SUITE 22            SURPRISE           AZ   85374-3863   US   2,996
 522   1615   TG   40   B    522   SC           1033 N ARIZONA AVENUE       1033 N ARIZONA AVENUE                                                                                    CHANDLER           AZ   85225-6693   US   3,000
1857   1616   TG   40   B   1857   M          CHANDLER FASHION CENTER       CHANDLER FASHION CENTER                      3111 WEST CHANDLER BLVD                 SUITE 2008          CHANDLER           AZ   85226-5082   US   2,700
1015   1617   TG   40   B   1015   SC          VAL VISTA TOWNE CENTER       VAL VISTA TOWNE CENTER                       1505 EAST WARNER RD                     SUITE 103           GILBERT            AZ   85296-3150   US   3,200
1377   1618   TG   40   B   1377   SC        CROSSROADS TOWNE CENTER        CROSSROADS TOWNE CENTER                      3855 S GILBERT RD                       SUITE 102           GILBERT            AZ   85297-0000   US   3,978
2889   1619   TG   40   B   2889   M      SAN TAN VILLAGE REGIONAL CENTER   SAN TAN VILLAGE REGIONAL CENTER              2180 E WILLIAMS FIELD RD                SUITE 105           GILBERT            AZ   85295-0715   US   3,140
1444   1620   TG   40   B   1444   SC                EAST TABLELAND         EAST TABLELAND                               1221 S GILBERT RD                       SPACE 35            MESA               AZ   85204-6078   US   3,010
3462   1621   TG   40   B   3462   M             SUPERSTITION SPRINGS       SUPERSTITION SPRINGS                         6555 E SOUTHERN AVE                     SUITE 1208          MESA               AZ   85206-3718   US   3,521
4823   1622   TG   40   B   4823   SC         SUPERSTITION SPRINGS S/C      SUPERSTITION SPRINGS S/C                     1455 S POWER ROAD STE 101                                   MESA               AZ   85206-3754   US   3,000
1213   1623   TG   40   B   1213   SC       DESERT PALMS POWER CENTRE       DESERT PALMS POWER CENTRE                    3833 E THOMAS RD                                            PHOENIX            AZ   85018-7511   US   2,800
2585   1624   TG   40   B   2585   SC             TEMPE MARKETPLACE         TEMPE MARKETPLACE                            1900 E RIO SALADO PARKWAY               SUITE 160           TEMPE              AZ   85281-0000   US   3,000
5567   1625   TG   40   B   5567   M                  ARIZONA MILLS         ARIZONA MILLS                                5000 ARIZONA MILLS CIRCLE               SPACE 697           TEMPE              AZ   85283-0000   US   3,463
1788   1626   TG   41   B   1788   SC               AURORA PLAZA S/C        AURORA PLAZA S/C                             673 PEORIA ST                                               AURORA             CO   80011-8228   US   3,000
1811   1627   TG   41   B   1811   M           TOWN CENTER AT AURORA        TOWN CENTER AT AURORA                        14200 E ALAMEDA AVE                     SUITE 2041          AURORA             CO   80012-2511   US   4,005
4359   1628   TG   41   B   4359   JC              AURORA CITY PLACE        AURORA CITY PLACE                            14152 E CEDAR AVE                                           AURORA             CO   80012-1419   US   6,538
4634   1629   TG   41   B   4634   SC         16932 EAST QUINCY AVENUE      16932 EAST QUINCY AVENUE                                                                                 AURORA             CO   80015-2745   US   3,000
2403   1630   TG   41   B   2403   FS             BRENTWOOD CENTER          BRENTWOOD CENTER                             2099 S FEDERAL BLVD                                         DENVER             CO   80219-5429   US   3,000
3089   1631   TG   41   B   3089   SC                QUEBEC SQUARE          QUEBEC SQUARE                                7306 EAST 36TH AVENUE                   SUITE 270           DENVER             CO   80238-2471   US   2,875
5068   1633   TG   41   B   5068   FS              4260 EAST ALAMEDA        4260 EAST ALAMEDA                                                                                        GLENDALE           CO   80246-1070   US   3,062
5273   1634   TG   41   B   5273   M           GLENWOOD SPRINGS MALL        GLENWOOD SPRINGS MALL                        51027 HWY 6 AND 24                                          GLENWOOD SPRINGS   CO   81601-2576   US   3,100
2210   1635   TG   41   B   2210   M                    MESA MALL           MESA MALL                                    2424 HIGHWAY 6 AND 50                   SPACE 504           GRAND JUNCTION     CO   81505-1115   US   3,088
4374   1636   TG   41   B   4374   FS                2883 NORTH AVE         2883 NORTH AVE                                                                                           GRAND JUNCTION     CO   81501-5064   US   3,062
1177   1637   TG   41   B   1177   M               SOUTHWEST PLAZA          SOUTHWEST PLAZA                              8501 W BOWLES AVE                       SPACE 2150          LITTLETON          CO   80123-9502   US   2,902
1790   1638   TG   41   B   1790   SC      VILLAGE WEST SHOPPING CENTER     VILLAGE WEST SHOPPING CENTER                 8555 W BELLEVIEW AVE                    SUITE D26           LITTLETON          CO   80123-7307   US   3,470
4193   1639   TG   41   B   4193   SC      THE PLAZA AT HIGHLANDS RANCH     THE PLAZA AT HIGHLANDS RANCH                 1970 E COUNTY LINE ROAD                                     LITTLETON          CO   80126-2437   US   2,664
5076   1640   TG   41   B   5076   SC            9855 SO PARKER ROAD        9855 SO PARKER ROAD                                                                                      PARKER             CO   80134-8815   US   3,730
 679   1641   TG   41   B    679   SC                NORTHRIDGE SC          NORTHRIDGE SC                                7891 WADSWORTH BLVD                                         ARVADA             CO   80003-2107   US   3,400
2514   1642   TG   41   B   2514   M           FLATIRON CROSSING MALL       FLATIRON CROSSING MALL                       1 WEST FLATIRON CROSSING DR             SUITE 2104          BROOMFIELD         CO   80021-8893   US   2,630
1810   1643   TG   41   B   1810   M    FOOTHILLS FASHION SHOPPING CENTER   FOOTHILLS FASHION SHOPPING CENTER            215 E FOOTHILLS PARKWAY                 SUITE 125           FORT COLLINS       CO   80525-2624   US   2,606
1812   1644   TG   41   B   1812   M                  GREELEY MALL          GREELEY MALL                                 1952 GREELEY MALL                                           GREELEY            CO   80631-8522   US   3,600
3577   1645   TG   41   B   3577   M                 COLORADO MILLS         COLORADO MILLS                               14500 W COLFAX AVE                      SP 527              LAKEWOOD           CO   80401-3221   US   2,979
 733   1647   TG   41   B    733   SC          THORNTON TOWN CENTER         THORNTON TOWN CENTER                         10001 GRANT STREET                      SPACE D             THORNTON           CO   80229-4535   US   2,956
3252   1648   TG   41   B   3252   JC           THORNCREEK CROSSING         THORNCREEK CROSSING                          901 E 120TH                             SUITE F             THORNTON           CO   80233-5717   US   2,920
4031   1649   TG   41   B   4031   M            ORCHARD TOWN CENTER         ORCHARD TOWN CENTER                          14647 DELAWARE ST                       SUITE 1300          WESTMINSTER        CO   80023-9188   US   2,977
5009   1650   TG   41   B   5009   FS              WESTFIELD CENTER         WESTFIELD CENTER                             9409 SHERIDAN BLVD                                          WESTMINSTER        CO   80031-6532   US   3,730
                                                                Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                                                                                       Pg 48 of 57
                                                                                                  Store Closing List




2517   1651   TG   41   B   2517   SC        ARVADA RIDGE MARKETPLACE       ARVADA RIDGE MARKETPLACE                     5091 KIPLING ST                  SUITE 100       WHEAT RIDGE        CO   80033-0000   US   2,923
  70   1652   TG   41   B     70   JC               WALMART CENTER          WALMART CENTER                               3410 AVE I                       SUITE D         SCOTTSBLUFF        NE   69361-0000   US   2,720
4130   1653   TG   41   B   4130   JC                 DEL SOL PALZA         DEL SOL PALZA                                702 DEL SOL DR                                   ALAMOSA            CO   81101-0000   US   2,590
1119   1654   TG   41   B   1119   SC                ACADEMY PLACE          ACADEMY PLACE                                5120 N ACADEMY BLVD                              COLORADO SPRINGS   CO   80918-4002   US   3,973
2338   1655   TG   41   B   2338   M               CHAPEL HILLS MALL        CHAPEL HILLS MALL                            1710 BRIARGATE BLVD              SUIE 401        COLORADO SPRINGS   CO   80920-3449   US   3,472
5113   1656   TG   41   B   5113   SC            3740 BLOOMINGTON ST        3740 BLOOMINGTON ST                                                                           COLORADO SPRINGS   CO   80922-3200   US   2,990
5148   1657   TG   41   B   5148   M                    THE CITADEL         THE CITADEL                                  750 CITADEL MALL DRIVE           SPACE 2102      COLORADO SPRINGS   CO   80909-0000   US   3,237
5402   1658   TG   41   B   5402   SC      CHEYENNE MOUNTAIN CENTER N-2     CHEYENNE MOUNTAIN CENTER N-2                 1670 E. CHEYENNE MTN. BLVD.                      COLORADO SPRINGS   CO   80906-4035   US   3,256
2057   1659   TG   41   B   2057   SC             NORTH FOUNTAIN SC         NORTH FOUNTAIN SC                            6344 S US HIGHWAY 85-87                          FOUNTAIN           CO   80817-1006   US   3,000
  64   1660   TG   41   B     64   M                    PUEBLO MALL         PUEBLO MALL                                  3545 DILLON DR                   SPACE 9         PUEBLO             CO   81008-1008   US   2,930
5282   1661   TG   41   B   5282   FS          2009 SOUTH PUEBLO BLVD       2009 SOUTH PUEBLO BLVD                                                                        PUEBLO             CO   81005-2577   US   3,062
5507   1662   TG   41   B   5507   SC               CRUZ ALTA PLAZA         CRUZ ALTA PLAZA                              710 PASEO DEL PUEBLO                             TAOS               NM   87571-6061   US   3,000
3105   1663   GA   42   B   3105   M             BOISE TOWNE SQUARE         BOISE TOWNE SQUARE                           350 N MILWAUKEE ST               SUITE 2028      BOISE              ID   83704-0100   US   3,030
5379   1664   GA   42   B   5379   SC          WESTPARK TOWNE PLAZA         WESTPARK TOWNE PLAZA                         411 N MILWAUKEE #B2                              BOISE              ID   83704-9140   US   2,845
 748   1665   GA   42   B    748   JC             CLEARWATER PLAZA          CLEARWATER PLAZA                             5216 E CLEVELAND BLVD            SUITE J         CALDWELL           ID   83607-8124   US   2,940
5572   1666   GA   42   B   5572   SC                 CHERRY PLAZA          CHERRY PLAZA                                 108 EAST FAIRVIEW AVE                            MERIDIAN           ID   83642-1733   US   2,537
 127   1667   GA   42   B    127   SC   BRECKENRIDGE FARM SHOPPING CENTER   BRECKENRIDGE FARM SHOPPING CENTER            1605 N BLUE LAKE BLVD                            TWIN FALLS         ID   83301-3374   US   2,840
1610   1668   GA   42   B   1610   M              MAGIC VALLEY MALL         MAGIC VALLEY MALL                            1485 POLELINE RD E               SPACE 163       TWIN FALLS         ID   83301-3588   US   2,659
2358   1669   GA   42   B   2358   JC           ONTARIO MARKETPLACE         ONTARIO MARKETPLACE                          203 E LANE NORTH                 SUITE 1         ONTARIO            OR   97914-3061   US   3,000
2364   1670   GA   42   B   2364   M                 PINE RIDGE MALL        PINE RIDGE MALL                              4155 YELLOWSTONE AVE # 182                       CHUBBUCK           ID   83202-2452   US   3,133
 128   1671   GA   42   B    128   FS               425 N HOLMES AVE        425 N HOLMES AVE                                                                              IDAHO FALLS        ID   83401-2615   US   4,000
2573   1672   GA   42   B   2573   M              GRAND TETON MALL          GRAND TETON MALL                             2300 E 17TH ST                   SPACE 1232      IDAHO FALLS        ID   83404-6551   US   3,414
4420   1673   GA   42   B   4420   SC           MOUNTAIN RIVER PLAZA        MOUNTAIN RIVER PLAZA                         510 N 2ND E STE 1                                REXBURG            ID   83440-3566   US   2,893
3681   1674   GA   42   B   3681   M                  RIMROCK MALL          RIMROCK MALL                                 300 S 24TH ST W                                  BILLINGS           MT   59102-5650   US   2,785
2193   1675   GA   42   B   2193   M             GALLATIN VALLEY MALL       GALLATIN VALLEY MALL                         2825 W MAIN ST                   SUITE 3B        BOZEMAN            MT   59718-3927   US   3,000
1802   1676   GA   42   B   1802   M              HOLIDAY VILLAGE S/C       HOLIDAY VILLAGE S/C                          1200 10TH AVE S                                  GREAT FALLS        MT   59405-4424   US   3,061
5720   1677   GA   42   B   5720   JC         CENTERVILLE MARKETPLACE       CENTERVILLE MARKETPLACE                      312 N MARKETPLACE                                CENTERVILLE        UT   84014-1702   US   2,800
 107   1678   GA   42   B    107   JC     CLINTON SUPER WALMART CENTER      CLINTON SUPER WALMART CENTER                 1917 WEST 1800 NORTH             BLDG 2          CLINTON            UT   84015-8328   US   3,000
3847   1679   GA   42   B   3847   SC       HARRISVILLE SHOPPING CENTER     HARRISVILLE SHOPPING CENTER                  486 NORTH 325 EAST                               HARRISVILLE        UT   84404-0000   US   2,871
2185   1680   GA   42   B   2185   JC                    729 KING ST        729 KING ST                                  SUITE 100                                        LAYTON             UT   84041-4672   US   3,000
2924   1681   GA   42   B   2924   M               LAYTON HILLS MALL        LAYTON HILLS MALL                            1038 NORTH LAYTON HILLS          SUITE 1038      LAYTON             UT   84041-2103   US   3,670
 639   1682   GA   42   B    639   JC                  1205 N MAIN ST       1205 N MAIN ST                                                                                LOGAN              UT   84341-2219   US   3,572
1830   1683   GA   42   B   1830   M                  NEWGATE MALL          NEWGATE MALL                                 1216 NEWGATE MALL                                OGDEN              UT   84405-1707   US   3,126
3719   1684   GA   42   B   3719   JC             484 NORTH 950 WEST        484 NORTH 950 WEST                           SPACE A                                          AMERICAN FORK      UT   84003-0000   US   2,735
4817   1685   GA   42   B   4817   JC                 DRAPER PEAKS          DRAPER PEAKS                                 183 E 12300 SOUTH                SUITE K4        DRAPER             UT   84020-8186   US   3,276
1323   1686   GA   42   B   1323   M                 UNIVERSITY MALL        UNIVERSITY MALL                              575 E UNIVERSITY PKWY            SUITE A7        OREM               UT   84097-7528   US   3,110
2229   1687   GA   42   B   2229   SC                 KMART CENTER          KMART CENTER                                 495 N STATE ST                                   OREM               UT   84057-3801   US   3,200
3062   1688   GA   42   B   3062   JC         898 S GROWERS GROVE RD        898 S GROWERS GROVE RD                                                        SPACE 56        PAYSON             UT   84651-0004   US   2,800
3964   1689   GA   42   B   3964   SC      PLEASANT GROVE TOWN CENTER       PLEASANT GROVE TOWN CENTER                   985 WEST STATE ROAD              SUITE 101       PLEASANT GROVE     UT   84062-2487   US   3,000
5687   1690   GA   42   B   5687   M            PROVO TOWNE CENTRE          PROVO TOWNE CENTRE                           1200 TOWNE CENTRE BLVD           SPACE 2012      PROVO              UT   84601-5947   US   3,121
1543   1691   GA   42   B   1543   SC                   THE DISTRICT        THE DISTRICT                                 11511 PARKWAY PLAZA DR           SUITE 100       SOUTH JORDAN       UT   84095-0000   US   3,076
 987   1692   GA   42   B    987   SC        WEST JORDAN TOWN CENTER        WEST JORDAN TOWN CENTER                      6802 S REDWOOD RD                SPACE C1        WEST JORDAN        UT   84084-2405   US   2,925
1607   1693   GA   42   B   1607   SC                   7015 S 1300 E       7015 S 1300 E                                                                                 MIDVALE            UT   84047-1860   US   4,260
3757   1694   GA   42   B   3757   SC                  SUGAR HOUSE          SUGAR HOUSE                                  2274 S 1300 E STE G1                             SALT LAKE CITY     UT   84106-2882   US   4,386
3958   1695   GA   42   B   3958   SC         TARGET SHOPPING CENTER        TARGET SHOPPING CENTER                       1094 S 300 WEST                  UNIT F          SALT LAKE CITY     UT   84101-0000   US   2,800
4541   1696   GA   42   B   4541   M             SOUTH TOWNE CENTER         SOUTH TOWNE CENTER                           10450 STATE ST STE 2214                          SANDY              UT   84070-4194   US   2,891
4349   1697   GA   42   B   4349   FS                   720 N MAIN ST       720 N MAIN ST                                                                                 TOOELE             UT   84074-1612   US   3,062
1494   1698   GA   42   B   1494   SC                JORDAN LANDING         JORDAN LANDING                               7104 SOUTH PLAZA CENTER DR                       WEST JORDAN        UT   84084-1761   US   8,357
1485   1699   GA   42   B   1485   FS                   5670 W 3500 S       5670 W 3500 S                                                                                 WEST VALLEY CITY   UT   84128-2602   US   3,120
3040   1700   GA   42   B   3040   M                VALLEY FAIR MALL        VALLEY FAIR MALL                             3601 S 2700 W                    SPACE C-118     WEST VALLEY CITY   UT   84119-3761   US   3,202
4386   1701   TG   43   B   4386   SC              CENTERPOINTE S C         CENTERPOINTE S C                             1100 S MOUNT VERNON AVE                          COLTON             CA   92324-4255   US   2,650
3095   1702   TG   43   B   3095   FS      FALLBROOK TOWN AND COUNTRY       FALLBROOK TOWN AND COUNTRY                   1079 S MISSION RD                                FALLBROOK          CA   92028-3221   US   2,904
3885   1703   TG   43   B   3885   SC                 FONTANA PLAZA         FONTANA PLAZA                                17151 FOOTHILL BLVD SUITE M                      FONTANA            CA   92335-9009   US   3,320
4403   1704   TG   43   B   4403   SC                 EMPIRE CENTER         EMPIRE CENTER                                17064 SLOVER AVE STE C104                        FONTANA            CA   92337-7592   US   3,203
2317   1705   TG   43   B   2317   SC            HEMET VALLEY CENTER        HEMET VALLEY CENTER                          3541 W FLORIDA AVE                               HEMET              CA   92545-3564   US   3,020
2753   1706   TG   43   B   2753   M              HEMET VALLEY MALL         HEMET VALLEY MALL                            2200 W FLORIDA AVE               SUITE 230       HEMET              CA   92545-3666   US   3,071
3423   1707   TG   43   B   3423   SC        LAKE ELSINORE CITY CENTER      LAKE ELSINORE CITY CENTER                    31660 GRAPE ST                   SUITE C         LAKE ELSINORE      CA   92532-9703   US   3,003
4261   1708   TG   43   B   4261   M        LAKE ELSINORE OUTLET CENTER     LAKE ELSINORE OUTLET CENTER                  17600 COLLIER AVE                SUITE E146      LAKE ELSINORE      CA   92530-2633   US   2,779
4333   1709   TG   43   B   4333   SC        COUNTRYSIDE MARKETPLACE        COUNTRYSIDE MARKETPLACE                      30230 HAUN RD                    SUITE 510-520   MENIFEE            CA   92584-6821   US   3,022
3228   1710   TG   43   B   3228   SC       TOWNGATE COMMUNITY CENTER       TOWNGATE COMMUNITY CENTER                    12625-B9 FREDERICK ST                            MORENO VALLEY      CA   92553-5232   US   2,885
4137   1711   TG   43   B   4137   M             MORENO VALLEY MALL         MORENO VALLEY MALL                           22500 TOWNGATE CIR # 1003                        MORENO VALLEY      CA   92553-7510   US   3,230
2473   1712   TG   43   B   2473   SC           CALIFORNIA OAKS PLAZA       CALIFORNIA OAKS PLAZA                        41038 CALIFORNIA OAKS RD                         MURRIETA           CA   92562-0000   US   3,080
4300   1713   TG   43   B   4300   SC          PERRIS VALLEY SPECTRUM       PERRIS VALLEY SPECTRUM                       2560 N PERRIS BLVD STE R5                        PERRIS             CA   92571-3251   US   2,800
 535   1714   TG   43   B    535   FS              6948 MAGNOLIA AVE        6948 MAGNOLIA AVE                                                                             RIVERSIDE          CA   92506-2845   US   3,600
2277   1715   TG   43   B   2277   SC           DEANZA COUNTRY PLAZA        DEANZA COUNTRY PLAZA                         7830 LIMONITE AVE # 32                           RIVERSIDE          CA   92509-5360   US   2,600
3310   1717   TG   43   B   3310   M             PARKWAY PLAZA MALL         PARKWAY PLAZA MALL                           533 PARKWAY PLAZA                SPACE N-35      EL CAJON           CA   92020-2532   US   3,024
 489   1718   TG   43   B    489   JC        ESCONDIDO MISSION CENTER       ESCONDIDO MISSION CENTER                     357 W MISSION AVE                                ESCONDIDO          CA   92025-1729   US   4,200
2991   1719   TG   43   B   2991   SC                     VONS SC           VONS SC                                      2355 E VALLEY PKY                SUITE A         ESCONDIDO          CA   92027-2715   US   3,500
5278   1720   TG   43   B   5278   M          WESTFIELD NORTH COUNTY        WESTFIELD NORTH COUNTY                       200 EAST VIA RANCHO PLAZA #365                   ESCONDIDO          CA   92025-8009   US   3,247
6471   1721   TG   43   B   6471   FS               SOUTH BAY PLAZA         SOUTH BAY PLAZA                              900 PLAZA BLVD                                   NATIONAL CITY      CA   91950-3524   US   5,000
3804   1722   TG   43   B   3804   SC          805 COLLEGE BLVD STE 101     805 COLLEGE BLVD STE 101                                                                      OCEANSIDE          CA   92057-6258   US   4,200
1373   1723   TG   43   B   1373   SC             MIRA MESA SC WEST         MIRA MESA SC WEST                            8155 MIRA MESA BLVD              SUITE 9         SAN DIEGO          CA   92126-2635   US   2,805
2136   1724   TG   43   B   2136   M          WESTFIELD MISSION VALLEY      WESTFIELD MISSION VALLEY                     1640 CAMINO DEL RIO              SUITE 129       SAN DIEGO          CA   92108-1506   US   2,926
4506   1725   TG   43   B   4506   SC          CARMEL MOUNTAIN PLAZA        CARMEL MOUNTAIN PLAZA                        11946 CARMEL MOUNTAIN RD         SUITE 222       SAN DIEGO          CA   92128-4641   US   2,700
1846   1726   TG   43   B   1846   M       LAS AMERICAS PREMIUM OUTLETS     LAS AMERICAS PREMIUM OUTLETS                 4265 CAMINO DE LA PLAZA          SP 192          SAN YSIDRO         CA   92173-3026   US   2,800
 574   1727   TG   43   B    574   SC          SANTEE TROLLEY SQUARE        SANTEE TROLLEY SQUARE                        9850 MISSION GORGE RD            SUITE B         SANTEE             CA   92071-3834   US   3,000
                                                                   Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                                                                                          Pg 49 of 57
                                                                                                     Store Closing List




  73   1728   TG   43   B     73   CB                      205 E 2ND ST          205 E 2ND ST                                                                                 CALEXICO           CA   92231-2753   US   3,818
4677   1729   TG   43   B   4677   SC               EL PASEO POWER FLOOR         EL PASEO POWER FLOOR                       2451 ROCKWOOD AVENUE SUITE 119                    CALEXICO           CA   92231-4405   US   3,720
 220   1730   TG   43   B    220   SC                EASTLAKE TERRACE SC         EASTLAKE TERRACE SC                        1450 EASTLAKE PARKWAY             SUITE 806       CHULA VISTA        CA   91915-0000   US   2,880
1828   1731   TG   43   B   1828   M                  CHULA VISTA CENTER         CHULA VISTA CENTER                         555 BROADWAY                      SPACE 1088      CHULA VISTA        CA   91910-5346   US   3,758
6523   1732   TG   43   B   6523   JC             PALOMAR TROLLEY CENTER         PALOMAR TROLLEY CENTER                     648 PALOMAR STREET                                CHULA VISTA        CA   91911-2975   US   3,997
2043   1733   TG   43   B   2043   M                 IMPERIAL VALLEY MALL        IMPERIAL VALLEY MALL                       3451 S DOGWOOD AVE                SUITE 1414      EL CENTRO          CA   92243-9673   US   3,183
2959   1734   TG   43   B   2959   FS                 2290 N IMPERIAL AVE        2290 N IMPERIAL AVE                                                                          EL CENTRO          CA   92243-1334   US   3,010
3315   1735   TG   43   B   3315   M                  GROSSMONT CENTER           GROSSMONT CENTER                           5500 GROSSMONT CENTER DR          SUITE 195       LA MESA            CA   91942-3016   US   4,012
2792   1736   TG   43   B   2792   M               WESTFIELD PLAZA BONITA        WESTFIELD PLAZA BONITA                     3030 PLAZA BONITA RD              SPACE 1328      NATIONAL CITY      CA   91950-8095   US   4,185
4342   1737   TG   43   B   4342   SC   SPORTS ARENA BOULEVARD SHOPPING CENTER   SPORTS ARENA BOULEVARD SHOPPING CENTER     3225 SPORTS ARENA BLVD STE 1                      SAN DIEGO          CA   92110-4548   US   4,000
5249   1738   TG   43   B   5249   SC                   PALM PROMENADE           PALM PROMENADE                             662 DENNERY ROAD SPACE 103                        SAN DIEGO          CA   92154-8402   US   4,120
4615   1739   TG   43   B   4615   JC                TECATE ROAD BORDER          TECATE ROAD BORDER                         406 TECATE RD                     PO BOX 1332     TECATE             CA   91980-0000   US   5,016
4427   1742   GA   44   B   4427   M            PEARLRIDGE CENTER UPTOWN         PEARLRIDGE CENTER UPTOWN                   98-1005 MOANALUA RD               SUITE 141       AIEA               HI   96701-4708   US   5,717
4426   1743   GA   44   B   4426   M                  PRINCE KUHIO PLAZA         PRINCE KUHIO PLAZA                         111 E PUAINAKO ST                 SPACE 765       HILO               HI   96720-5288   US   2,914
4575   1744   GA   44   B   4575   SC                   KAMEHAMEHA S C           KAMEHAMEHA S C                             1620 N SCHOOL ST                                  HONOLULU           HI   96817-1844   US   2,902
5044   1745   GA   44   B   5044   SC                   ALA MOANA PLAZA          ALA MOANA PLAZA                            451 PIIKOI STREET                                 HONOLULU           HI   96814-4220   US   3,080
4772   1746   GA   44   B   4772   M             QUEEN KAAHUMANU CENTER          QUEEN KAAHUMANU CENTER                     275 KAAHUMANU AVENUE              SUITE B1        KAHULUI            HI   96732-1630   US   3,319
4423   1747   GA   44   B   4423   M                     WINDWARD MALL           WINDWARD MALL                              46-056 KAM HIGHWAY                                KANEOHE            HI   96744-3755   US   3,261
4818   1748   GA   44   B   4818   SC             PEARL HIGHLANDS CENTER         PEARL HIGHLANDS CENTER                     1000 KAMEHAMEHA HWY               SUITE 206       PEARL CITY         HI   96782-2596   US   3,073
4424   1749   GA   44   B   4424   SC               WAIPAHU TOWN CENTER          WAIPAHU TOWN CENTER                        94-050 FARRINGTON HWY             SUITE C-1       WAIPAHU            HI   96797-1841   US   2,810
1795   1751   GA   44   B   1795   SC                  THE MARKETPLACE           THE MARKETPLACE                            834 E VALLEY BLVD                                 ALHAMBRA           CA   91801-5225   US   3,750
5043   1752   GA   44   B   5043   M                WESTFIELD SANTA ANITA        WESTFIELD SANTA ANITA                      400 S BALDWIN                     SUITE 260-L     ARCADIA            CA   91007-1900   US   3,211
2915   1753   GA   44   B   2915   SC                    SIERRA CENTER           SIERRA CENTER                              3060 BALDWIN PARK                                 BALDWIN PARK       CA   91706-4704   US   2,520
2736   1754   GA   44   B   2736   M                   PUENTE HILLS MALL         PUENTE HILLS MALL                          1600 S AZUSA AVE                  UNIT 130        CITY OF INDUSTRY   CA   91748-8634   US   3,537
2755   1756   GA   44   B   2755   SC                 COMMERCE CENTER            COMMERCE CENTER                            5514 WHITTIER BLVD                                LOS ANGELES        CA   90022-4104   US   4,235
2512   1757   GA   44   B   2512   M             THE SHOPS AT MONTEBELLO         THE SHOPS AT MONTEBELLO                    2007 MONTEBELLO TOWN CENTER DR    SPACE DU20      MONTEBELLO         CA   90640-0000   US   3,875
4538   1758   GA   44   B   4538   JC       ATLANTIC SQUARE SHOPPING CENTER      ATLANTIC SQUARE SHOPPING CENTER            2150 S ATLANTIC BLVD SUITE 2128                   MONTEREY PARK      CA   91754-6802   US   4,140
1140   1759   GA   44   B   1140   SC                 NORTH LAKE SQUARE          NORTH LAKE SQUARE                          1245 N LAKE AVE                                   PASADENA           CA   91104-2855   US   3,987
2743   1760   GA   44   B   2743   M                  PLAZA WEST COVINA          PLAZA WEST COVINA                          675 PLAZA DRIVE                                   WEST COVINA        CA   91790-2825   US   6,698
1168   1761   GA   44   B   1168   SC                 CHINO TOWN CENTER          CHINO TOWN CENTER                          5533 PHILADELPHIA ST              SPACE 5         CHINO              CA   91710-7538   US   3,150
1855   1762   GA   44   B   1855   SC             SPECTRUM TOWNE CENTER          SPECTRUM TOWNE CENTER                      3935 GRAND AVE                    SPACE A         CHINO              CA   91710-0000   US   2,700
2941   1763   GA   44   B   2941   FS               1481 N HOLLENBECK AVE        1481 N HOLLENBECK AVE                                                                        COVINA             CA   91722-1543   US   4,500
2978   1764   GA   44   B   2978   SC        DUARTE SOUTH SHOPPING CENTER        DUARTE SOUTH SHOPPING CENTER               922 HAMILTON RD                                   DUARTE             CA   91010-0000   US   3,000
3429   1765   GA   44   B   3429   SC           FALCON RIDGE TOWN CENTER         FALCON RIDGE TOWN CENTER                   15268 SUMMIT AVE                  SUITE 100 B-1   FONTANA            CA   92336-5489   US   3,000
2725   1766   GA   44   B   2725   SC              LA VERNE TOWNE CENTER         LA VERNE TOWNE CENTER                      2418 FOOTHILL BLVD UNIT A                         LA VERNE           CA   91750-3065   US   2,880
1512   1768   GA   44   B   1512   M                    MONTCLAIR PLACE          MONTCLAIR PLACE                            2168 E MONTCLAIR PLAZA LN                         MONTCLAIR          CA   91763-1535   US   2,918
5374   1769   GA   44   B   5374   M                      ONTARIO MILLS          ONTARIO MILLS                              1 MILLS CIRCLE                    SUITE 301       ONTARIO            CA   91764-5207   US   3,387
6062   1770   GA   44   B   6062   SC            10730 FOOTHILL BLVD STE 130     10730 FOOTHILL BLVD STE 130                                                                  RANCHO CUCAMONGA   CA   91730-3887   US   3,329
3805   1771   GA   44   B   3805   M                   GALLERIA AT TYLER         GALLERIA AT TYLER                          1357 GALLERIA AT TYLER # E-22                     RIVERSIDE          CA   92503-4141   US   3,299
1052   1772   GA   44   B   1052   SC                   SAN DIMAS PLAZA          SAN DIMAS PLAZA                            987 W ARROW HWY                                   SAN DIMAS          CA   91773-2410   US   2,800
4571   1773   GA   44   B   4571   SC               BARSTOW ROAD CENTER          BARSTOW ROAD CENTER                        512 E VIRGINIA WAY                SPACE B 1-1     BARSTOW            CA   92311-3910   US   3,000
2757   1774   GA   44   B   2757   SC       VALLEY CENTRAL SHOPPING CENTER       VALLEY CENTRAL SHOPPING CENTER             44450 VALLEY CENTER WAY                           LANCASTER          CA   93536-6532   US   4,000
2955   1775   GA   44   B   2955   SC         LANCASTER COMMERCE CENTER          LANCASTER COMMERCE CENTER                  1034 W AVENUE K                   SPACE 1316      LANCASTER          CA   93534-5918   US   4,796
4365   1776   GA   44   B   4365   M                ANTELOPE VALLEY MALL         ANTELOPE VALLEY MALL                       1233 W AVENUE P STE 537                           PALMDALE           CA   93551-3983   US   3,304
 588   1777   GA   44   B    588   SC                    SEVEN TREES SC          SEVEN TREES SC                             2334 STERLING AVE                 SPACE 3 C       SAN BERNARDINO     CA   92404-4624   US   2,980
1524   1778   GA   44   B   1524   SC                BEST MARSHALL PLAZA         BEST MARSHALL PLAZA                        721 W 2ND ST STE A                                SAN BERNARDINO     CA   92410-3261   US   2,700
3912   1779   GA   44   B   3912   M                     INLAND CENTER           INLAND CENTER                              500 INLAND CENTER DR              SPACE 126       SAN BERNARDINO     CA   92408-0000   US   3,635
1038   1780   GA   44   B   1038   M             THE MALL AT VICTOR VALLEY       THE MALL AT VICTOR VALLEY                  14440 BEAR VALLEY RD              SPACE 441       VICTORVILLE        CA   92392-5404   US   2,852
5453   1781   GA   44   B   5453   SC                    TARGET CENTER           TARGET CENTER                              15329 PALMDALE RD                 SUITE B AND C   VICTORVILLE        CA   92392-2460   US   2,700
4449   1782   GA   44   B   4449   JC              DATE PALM PLAZA CENTER        DATE PALM PLAZA CENTER                     31375 DATE PALM DRIVE                             CATHEDRAL CITY     CA   92234-3020   US   2,820
4039   1783   GA   44   B   4039   SC                   COACHELLA PLAZA          COACHELLA PLAZA                            50057 HARRISON ST # 4                             COACHELLA          CA   92236-1474   US   3,010
2929   1784   GA   44   B   2929   SC                 SHOWCASE AT INDIO          SHOWCASE AT INDIO                          42225 JACKSON ST                  C103            INDIO              CA   92203-9304   US   5,400
4066   1785   GA   44   B   4066   SC                  79305 HIGHWAY 111         79305 HIGHWAY 111                          SUITE 3                                           LA QUINTA          CA   92253-4506   US   2,868
5144   1786   GA   44   B   5144   M               WESTFIELD PALM DESERT         WESTFIELD PALM DESERT                      72840 HWY 111 SPACE D162                          PALM DESERT        CA   92260-3333   US   3,000
2091   1787   GA   44   B   2091   SC              REDLANDS TOWN CENTER          REDLANDS TOWN CENTER                       10010 ALABAMA ST                  SUITE A         REDLANDS           CA   92374-2062   US   3,000
3148   1788   GA   44   B   3148   SC           VONS YUCAIPA COMM. CENTER        VONS YUCAIPA COMM. CENTER                  34324 YUCAIPA BLVD UNIT A                         YUCAIPA            CA   92399-2410   US   2,925
2213   1789   GA   44   B   2213   SC                  JOSHUA VILLAGE SC         JOSHUA VILLAGE SC                          57990 29 PALMS HWY                                YUCCA VALLEY       CA   92284-5878   US   2,900
2465   1790   GA   45   B   2465   M                WESTFIELD CULVER CITY        WESTFIELD CULVER CITY                      6000 SEPULVEDA BOULEVARD          SUITE 2541      CULVER CITY        CA   90230-6431   US   3,507
4993   1791   GA   45   B   4993   CB                   6725 PACIFIC BLVD        6725 PACIFIC BLVD                                                                            HUNTINGTON PARK    CA   90255-4109   US   4,275
1793   1792   GA   45   B   1793   SC                   PLAZA LA CIENEGA         PLAZA LA CIENEGA                           1831 LA CIENEGA BOULEVARD         SUITE D         LOS ANGELES        CA   90035-4603   US   2,611
2732   1793   GA   45   B   2732   CB                       2065 W 6TH           2065 W 6TH                                 UNIT B1                                           LOS ANGELES        CA   90057-3158   US   4,000
2735   1794   GA   45   B   2735   SC               TOWN AND COUNTRY S/C         TOWN AND COUNTRY S/C                       6324 W 3RD ST                                     LOS ANGELES        CA   90036-3155   US   3,804
2738   1795   GA   45   B   2738   SC                 1541 N VERMONT AVE         1541 N VERMONT AVE                                                                           LOS ANGELES        CA   90027-5330   US   2,400
2944   1796   GA   45   B   2944   JC             11973 W WASHINGTON BLVD        11973 W WASHINGTON BLVD                                                                      LOS ANGELES        CA   90066-5825   US   4,000
3097   1797   GA   45   B   3097   M          BALDWIN HILLS CRENSHAW PLAZA       BALDWIN HILLS CRENSHAW PLAZA               3650 MARTIN LUTHER KING JR BLVD   SUITE 222       LOS ANGELES        CA   90008-1784   US   3,204
4959   1798   GA   45   B   4959   JC                       SUN PLAZA            SUN PLAZA                                  763 S VERMONT                                     LOS ANGELES        CA   90005-1518   US   4,020
2808   1799   GA   45   B   2808   SC          LA ALAMEDA SHOPPING CENTER        LA ALAMEDA SHOPPING CENTER                 7408 S ALAMEDA ST                                 WALNUT PARK        CA   90255-0000   US   3,000
2368   1800   GA   45   B   2368   M                  SOUTHBAY PAVILION          SOUTHBAY PAVILION                          20700 AVALON BLVD                 SUITE 120       CARSON             CA   90746-3716   US   6,072
1109   1801   GA   45   B   1109   M                 LOS CERRITOS CENTER         LOS CERRITOS CENTER                        108 LOS CERRITOS MALL                             CERRITOS           CA   90703-5421   US   5,319
5754   1802   GA   45   B   5754   SC              GARDENA VALLEY CENTER         GARDENA VALLEY CENTER                      1270 W REDONDO BEACH BLVD                         GARDENA            CA   90247-3411   US   2,520
1435   1804   GA   45   B   1435   SC               CRENSHAW/IMPERIAL SC         CRENSHAW/IMPERIAL SC                       11312 CRENSHAW BLVD                               INGLEWOOD          CA   90303-2807   US   3,500
1837   1805   GA   45   B   1837   JC                  3421 CENTURY BLVD         3421 CENTURY BLVD                                                                            INGLEWOOD          CA   90303-1218   US   3,000
2660   1806   GA   45   B   2660   M               LAKEWOOD CENTER MALL          LAKEWOOD CENTER MALL                       116 LAKEWOOD CENTER MALL                          LAKEWOOD           CA   90712-2417   US   4,093
3179   1807   GA   45   B   3179   SC      VERMONT SLAUSON SHOPPING CENTER       VERMONT SLAUSON SHOPPING CENTER            5844 S VERMONT AVE                                LOS ANGELES        CA   90044-3712   US   3,500
1400   1808   GA   45   B   1400   M               THE SOUTH BAY GALLERIA        THE SOUTH BAY GALLERIA                     1815 HAWTHORNE BLVD               SPACE #198      REDONDO BEACH      CA   90278-3424   US   2,536
 515   1809   GA   45   B    515   FS                    640 S GAFFEY ST         640 S GAFFEY ST                                                                              SAN PEDRO          CA   90731-3027   US   4,000
                                                              Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                                                                                     Pg 50 of 57
                                                                                                Store Closing List




5269   1810   GA   45   B   5269   SC               PACIFIC PLAZA SC      PACIFIC PLAZA SC                             5001 PACIFIC COAST HWY                           TORRANCE          CA   90505-5441   US   2,911
1831   1811   GA   45   B   1831   M               BUENA PARK MALL        BUENA PARK MALL                              8370 ON THE MALL                  SUITE F        BUENA PARK        CA   90620-3243   US   3,600
4972   1812   GA   45   B   4972   SC     K-MART PLAZA SHOPPING CENTER    K-MART PLAZA SHOPPING CENTER                 2200 HARBOR BLVD                  SUITE B 110    COSTA MESA        CA   92627-5846   US   3,010
2109   1813   GA   45   B   2109   SC                CUDAHY PLAZA         CUDAHY PLAZA                                 7913 ATLANTIC                                    CUDAHY            CA   90201-5710   US   3,000
1433   1814   GA   45   B   1433   SC         CYPRESS FASHION PLAZA       CYPRESS FASHION PLAZA                        6868 KATELLA AVE                                 CYPRESS           CA   90630-5108   US   2,830
3412   1815   GA   45   B   3412   SC       LA HABRA WESTRIDGE PLAZA      LA HABRA WESTRIDGE PLAZA                     1326 SOUTH BEACH BLVD             SUITE C        LA HABRA          CA   90631-6374   US   3,080
3249   1816   GA   45   B   3249   SC                   CITY PLACE        CITY PLACE                                   201 E 5TH STREET                                 LONG BEACH        CA   90802-2484   US   3,000
5090   1817   GA   45   B   5090   FS               LOS ALTOS PLAZA       LOS ALTOS PLAZA                              2280 BELLFLOWER BLVD                             LONG BEACH        CA   90815-2017   US   3,834
2784   1818   GA   45   B   2784   SC              NORWALK SQUARE         NORWALK SQUARE                               11725 ROSECRANS AVE                              NORWALK           CA   90650-3927   US   4,250
4048   1819   GA   45   B   4048   M           THE VILLAGE AT ORANGE      THE VILLAGE AT ORANGE                        2131 N ORANGE MALL                SPACE F 17     ORANGE            CA   92865-3611   US   3,590
2908   1820   GA   45   B   2908   SC                SOUTH GATE SC        SOUTH GATE SC                                3848 TWEEDY BLVD                  SPACE A1       SOUTH GATE        CA   90280-6151   US   3,120
1644   1821   GA   45   B   1644   SC                 THE PAVILION        THE PAVILION                                 16408 BEACH BLVD                                 WESTMINSTER       CA   92683-7835   US   2,911
4880   1822   GA   45   B   4880   SC        HILL RANCH TOWNE CENTER      HILL RANCH TOWNE CENTER                      26756 PORTOLA PARKWAY             #2 - B         FOOTHILL RANCH    CA   92610-1751   US   3,600
3444   1824   GA   45   B   3444   SC             THE MARKET PLACE        THE MARKET PLACE                             13234 JAMBOREE RD                 SPACE 105      IRVINE            CA   92602-0000   US   2,252
5089   1825   GA   45   B   5089   SC       MKTPLACE AT LAGUNA NIGUEL     MKTPLACE AT LAGUNA NIGUEL                    27230-C ALICIA PARKWAY                           LAGUNA NIGUEL     CA   92677-3414   US   3,200
5444   1826   GA   45   B   5444   SC     LAGUNA HILLS SHOPPING CENTER    LAGUNA HILLS SHOPPING CENTER                 24422 ROCKFIELD BLVD.                            LAKE FOREST       CA   92630-4771   US   3,180
2055   1827   GA   45   B   2055   M        THE SHOPS AT MISSION VIEJO    THE SHOPS AT MISSION VIEJO                   198 THE SHOPS AT MISSION VIEJO                   MISSION VIEJO     CA   92691-0000   US   3,838
5722   1828   GA   45   B   5722   M                MAINPLACE MALL        MAINPLACE MALL                               2800 N MAIN ST                    SPACE 601      SANTA ANA         CA   92705-6613   US   4,150
1692   1829   GA   45   B   1692   SC               LARWIN SQUARE         LARWIN SQUARE                                616 E FIRST STREET                               TUSTIN            CA   92780-3418   US   2,600
1838   1830   GA   45   B   1838   M              WESTMINSTER MALL        WESTMINSTER MALL                             2036 WESTMINSTER MALL                            WESTMINSTER       CA   92683-4951   US   7,064
4094   1831   TG   46   B   4094   JC        870 W EL MONTE WAY STE A     870 W EL MONTE WAY STE A                                                                      DINUBA            CA   93618-0000   US   3,008
1489   1832   TG   46   B   1489   SC                TIMES SQUARE         TIMES SQUARE                                 3656 W SHAW AVE                                  FRESNO            CA   93711-3231   US   2,820
3171   1833   TG   46   B   3171   M            FRESNO FASHION FAIR       FRESNO FASHION FAIR                          713 E SHAW AVE                    SPACE G13      FRESNO            CA   93710-7703   US   3,864
3725   1834   TG   46   B   3725   SC          KINGS CANYON PAVILION      KINGS CANYON PAVILION                        4975 E KINGS CANYON RD                           FRESNO            CA   93727-3812   US   3,150
4330   1835   TG   46   B   4330   M                 HANFORD MALL         HANFORD MALL                                 1675 W LACEY BLVD                 SUITE G3       HANFORD           CA   93230-5938   US   3,497
4005   1836   TG   46   B   4005   SC               PORTERVILLE S C       PORTERVILLE S C                              1311 WEST HENDERSON SPACE A-2                    PORTERVILLE       CA   93257-1456   US   3,000
1698   1837   TG   46   B   1698   JC             1359 E MANNING AVE      1359 E MANNING AVE                                                                            REEDLEY           CA   93654-2352   US   2,925
1423   1838   TG   46   B   1423   JC                    SELMA SC         SELMA SC                                     2837 WHITSON ST                                  SELMA             CA   93662-2623   US   2,990
3820   1839   TG   46   B   3820   SC                 K-MART PLAZA        K-MART PLAZA                                 1549 HILLMAN ST                                  TULARE            CA   93274-1632   US   2,963
 537   1840   TG   46   B    537   FS            1014 S MOONEY BLVD       1014 S MOONEY BLVD                                                                            VISALIA           CA   93277-3502   US   3,311
2653   1841   TG   46   B   2653   M                  VISALIA MALL        VISALIA MALL                                 2195 SOUTH MOONEY BLVD                           VISALIA           CA   93277-0000   US   3,135
1819   1842   TG   46   B   1819   M                  VALLEY PLAZA        VALLEY PLAZA                                 2701 MING AVE                     SUITE C80      BAKERSFIELD       CA   93304-4440   US   3,754
2564   1843   TG   46   B   2564   SC                NILES PLAZA S/C      NILES PLAZA S/C                              6301 NILES ST                                    BAKERSFIELD       CA   93306-4691   US   2,765
2954   1844   TG   46   B   2954   SC              GOSFORD VILLAGE        GOSFORD VILLAGE                              5041 GOSFORD ROAD                 SUITE 200      BAKERSFIELD       CA   93313-5053   US   2,604
3821   1845   TG   46   B   3821   SC         NORTHWEST PROMENADE         NORTHWEST PROMENADE                          8430 ROSEDALE HIGHWAY             UNIT 7         BAKERSFIELD       CA   93312-2621   US   3,000
2247   1846   TG   46   B   2247   CB                  1122 MAIN ST       1122 MAIN ST                                                                                  DELANO            CA   93215-1734   US   3,765
2304   1847   TG   46   B   2304   SC   LOMPOC CORNERS SHOPPING CENTER    LOMPOC CORNERS SHOPPING CENTER               663 W CENTRAL AVE                                LOMPOC            CA   93436-2837   US   2,760
5005   1848   TG   46   B   5005   SC            WOODLAND PLAZA 11        WOODLAND PLAZA 11                            176 NIBLICKS ROAD                                PASO ROBLES       CA   93446-4842   US   2,940
3335   1849   TG   46   B   3335   SC       SAN LUIS OBISPO PROMENADE     SAN LUIS OBISPO PROMENADE                    487 MADONNA RD                    SUITE 1        SAN LUIS OBISPO   CA   93405-6543   US   2,799
2149   1850   TG   46   B   2149   SC               SANTA MARIA SC        SANTA MARIA SC                               1427 S BROADWAY                                  SANTA MARIA       CA   93454-6913   US   2,680
2977   1851   TG   46   B   2977   M         SANTA MARIA TOWN CENTER      SANTA MARIA TOWN CENTER                      261 TOWN CTR E                                   SANTA MARIA       CA   93454-5130   US   3,000
5017   1852   TG   46   B   5017   M             WESTFIELD TOPANGA        WESTFIELD TOPANGA                            6600 TOPANGA CANYON BLVD          SUITE 2010-B   CANOGA PARK       CA   91303-0000   US   2,838
2719   1853   TG   46   B   2719   SC             NORTHRIDGE PLAZA        NORTHRIDGE PLAZA                             8742 CORBIN AVE                                  NORTHRIDGE        CA   91324-3307   US   3,400
5245   1854   TG   46   B   5245   M       NORTHRIDGE FASHION CENTER      NORTHRIDGE FASHION CENTER                    9301 TAMPA AVENUE                                NORTHRIDGE        CA   91324-2503   US   3,110
2468   1855   TG   46   B   2468   SC                ESPLANADE SC         ESPLANADE SC                                 181 W ESPLANADE DR                               OXNARD            CA   93030-0000   US   2,520
2718   1856   TG   46   B   2718   M              CENTERPOINT MALL        CENTERPOINT MALL                             2657 SAVIERS RD                                  OXNARD            CA   93033-4519   US   4,898
4564   1857   TG   46   B   4564   SC          SHOPPING AT THE ROSE       SHOPPING AT THE ROSE                         2051 ROSE AVENUE                  SUITE 160      OXNARD            CA   93030-2685   US   3,000
 542   1858   TG   46   B    542   SC                RESEDA PLAZA         RESEDA PLAZA                                 18201 SHERMAN WAY                                RESEDA            CA   91335-4551   US   3,212
2749   1859   TG   46   B   2749   SC          2837 COCHRAN ST STE D      2837 COCHRAN ST STE D                                                                         SIMI VALLEY       CA   93065-2766   US   3,440
 473   1860   TG   46   B    473   M             JANSS MARKETPLACE        JANSS MARKETPLACE                            225 N MOORPARK RD                 SUITE B        THOUSAND OAKS     CA   91360-4321   US   4,000
3093   1861   TG   46   B   3093   M                  PACIFIC VIEW        PACIFIC VIEW                                 3301-1018 E MAIN ST               SUITE 1018     VENTURA           CA   93003-0927   US   3,273
4178   1862   TG   46   B   4178   M           BURBANK TOWN CENTER        BURBANK TOWN CENTER                          201 E MAGNOLIA BOULEVARD                         BURBANK           CA   91502-1160   US   2,960
2926   1863   TG   46   B   2926   SC         CANYON COUNTRY PLAZA        CANYON COUNTRY PLAZA                         19194 SOLEDAD CANYON RD                          CANYON COUNTRY    CA   91351-3364   US   4,375
2263   1864   TG   46   B   2263   M              EAGLE ROCK PLAZA        EAGLE ROCK PLAZA                             2700 COLORADO BLVD                SPACE 108      LOS ANGELES       CA   90041-1099   US   3,903
2940   1865   TG   46   B   2940   JC             6005 N FIGUEROA ST      6005 N FIGUEROA ST                                                                            LOS ANGELES       CA   90042-4231   US   4,500
3542   1866   TG   46   B   3542   JC               TARGET CENTER         TARGET CENTER                                6423 VINELAND AVE # 27                           NORTH HOLLYWOOD   CA   91606-2712   US   3,465
5318   1867   TG   46   B   5318   JC        TARGET SHOPPING CENTER       TARGET SHOPPING CENTER                       9745 LAUREL CANYON BLVD SPACE A                  PACOIMA           CA   91331-4115   US   3,900
2609   1868   TG   46   B   2609   M                PANORAMA MALL         PANORAMA MALL                                19 PANORAMA MALL                                 PANORAMA CITY     CA   91402-3623   US   3,960
5432   1869   TG   46   B   5432   JC          VALENCIA MARKETPLACE       VALENCIA MARKETPLACE                         25590 THE OLD ROAD                               STEVENSON RANCH   CA   91381-1705   US   2,700
4123   1870   TG   46   B   4123   SC            13772 FOOTHILL BLVD      13772 FOOTHILL BLVD                                                                           SYLMAR            CA   91342-3104   US   3,200
5075   1871   TG   46   B   5075   SC       VAN NUYS SHOPPING CENTER      VAN NUYS SHOPPING CENTER                     6633 VAN NUYS BLVD                               VAN NUYS          CA   91405-4618   US   4,500
1008   1872   GA   47   B   1008   JC            781 W HAMILTON AVE       781 W HAMILTON AVE                                                                            CAMPBELL          CA   95008-0402   US   3,250
3629   1873   GA   47   B   3629   M                 CAPITOLA MALL        CAPITOLA MALL                                1855 41ST AVE                     SPACE D5 F11   CAPITOLA          CA   95010-2511   US   2,943
5187   1874   GA   47   B   5187   SC              PLAZA SAN BENITO       PLAZA SAN BENITO                             1760 AIRLINE HIGHWAY SUITE K                     HOLLISTER         CA   95023-5634   US   3,600
3272   1875   GA   47   B   3272   SC       KING CITY SHOPPING CENTER     KING CITY SHOPPING CENTER                    510 CANAL ST                                     KING CITY         CA   93930-3443   US   2,750
2434   1876   GA   47   B   2434   FS                712 E ALISAL ST      712 E ALISAL ST                                                                               SALINAS           CA   93905-2604   US   3,060
2767   1877   GA   47   B   2767   M               NORTHRIDGE MALL        NORTHRIDGE MALL                              700 NORTHRIDGE MALL               SUITE G11      SALINAS           CA   93906-2015   US   3,145
3816   1878   GA   47   B   3816   SC           HARDEN RANCH PLAZA        HARDEN RANCH PLAZA                           1648 N MAIN ST                                   SALINAS           CA   93906-5102   US   3,200
1471   1879   GA   47   B   1471   M              WESTGATE CENTER         WESTGATE CENTER                              1600 SARATOGA AVE                 SPACE 45       SAN JOSE          CA   95129-5101   US   3,171
5586   1880   GA   47   B   5586   SC            2030 CALIFORNIA AVE      2030 CALIFORNIA AVE                          SUITE B                                          SAND CITY         CA   93955-3150   US   2,520
1544   1881   GA   47   B   1544   SC             SCOTTS VALLEY S/C       SCOTTS VALLEY S/C                            266A MOUNT HERMON RD                             SCOTTS VALLEY     CA   95066-4024   US   2,950
2776   1882   GA   47   B   2776   SC               FREMONT HUB SC        FREMONT HUB SC                               39015 FREMONT HUB                 SUITE 342      FREMONT           CA   94538-0000   US   2,500
4834   1883   GA   47   B   4834   M          GREAT MALL OF BAY AREA      GREAT MALL OF BAY AREA                       200 GREAT MALL DR                 SPACE 200      MILPITAS          CA   95035-0000   US   3,020
5290   1884   GA   47   B   5290   SC     SAN ANTONIO SHOPPING CENTER     SAN ANTONIO SHOPPING CENTER                  530 SHOWERS BLDG AA                              MOUNTAIN VIEW     CA   94040-4740   US   2,784
1650   1885   GA   47   B   1650   M                 NEWPARK MALL         NEWPARK MALL                                 2215 NEWPARK MALL                                NEWARK            CA   94560-5248   US   3,008
 552   1886   GA   47   B    552   SC              GOLDEN CIRCLE SC       GOLDEN CIRCLE SC                             311 N CAPITOL AVE                 SUITE 1        SAN JOSE          CA   95133-1943   US   3,300
                                                                 Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                                                                                        Pg 51 of 57
                                                                                                   Store Closing List




2871   1887   GA   47   B   2871   M                  EASTRIDGE MALL         EASTRIDGE MALL                               2200 EASTRIDGE LOOP                 SUITE 2070       SAN JOSE          CA   95122-1418   US   6,785
4118   1888   GA   47   B   4118   FS            1815 HILLSDALE AVENUE       1815 HILLSDALE AVENUE                        SUITE 30                                             SAN JOSE          CA   95124-3027   US   3,024
4953   1889   GA   47   B   4953   M              WESTFIELD OAKRIDGE         WESTFIELD OAKRIDGE                           925 BLOSSOM HILLS RD SUITE# 1024    SUITE 1024       SAN JOSE          CA   95123-1242   US   3,486
3355   1890   GA   47   B   3355   JC               BOWERS CORNERS           BOWERS CORNERS                               2801 EL CAMINO REAL                                  SANTA CLARA       CA   95051-2901   US   2,800
 580   1891   GA   47   B    580   JC                 GOOD CIRCLE SC         GOOD CIRCLE SC                               157 E EL CAMINO REAL                                 SUNNYVALE         CA   94087-1937   US   3,000
1429   1892   GA   47   B   1429   M        ALAMEDA SOUTH SHORE CENTER       ALAMEDA SOUTH SHORE CENTER                   2202 J SOUTH SHORE CENTER                            ALAMEDA           CA   94501-5746   US   3,921
3697   1893   GA   47   B   3697   M              SERRAMONTE CENTER          SERRAMONTE CENTER                            127 F SERRAMONTE CENTER SPACE 652                    DALY CITY         CA   94015-2349   US   3,110
2284   1894   GA   47   B   2284   M             SOLANO TOWN CENTER          SOLANO TOWN CENTER                           1350 TRAVIS BLVD                    SPACE 1386A      FAIRFIELD         CA   94533-0000   US   3,465
2342   1895   GA   47   B   2342   CB              3410 INTERNATIONAL        3410 INTERNATIONAL                                                                                OAKLAND           CA   94601-3036   US   4,451
2775   1896   GA   47   B   2775   SC            PENINSULA BOARDWALK         PENINSULA BOARDWALK                          340 WALNUT ST                                        REDWOOD CITY      CA   94063-1718   US   4,416
4635   1897   GA   47   B   4635   SC        MACDONALD 80 RETAIL CENTER      MACDONALD 80 RETAIL CENTER                   4200 MACDONALD AVE STE G                             RICHMOND          CA   94805-2315   US   3,000
5342   1898   GA   47   B   5342   M               SHOPS AT TANFORAN         SHOPS AT TANFORAN                            1150 EL CAMINO REAL                 SUITE 125        SAN BRUNO         CA   94066-2421   US   3,239
2497   1899   GA   47   B   2497   CB                  4570 MISSION ST       4570 MISSION ST                                                                                   SAN FRANCISCO     CA   94112-2622   US   2,388
2777   1900   GA   47   B   2777   CB               2656 MISSION ST # 8      2656 MISSION ST # 8                                                                               SAN FRANCISCO     CA   94110-3102   US   3,750
4822   1901   GA   47   B   4822   CB               934 MARKET STREET        934 MARKET STREET                                                                                 SAN FRANCISCO     CA   94102-2823   US   9,042
4584   1902   GA   47   B   4584   JC            3690 S EL CAMINO REAL       3690 S EL CAMINO REAL                                                                             SAN MATEO         CA   94403-4421   US   5,325
4413   1903   GA   47   B   4413   SC             VACAVILLE COMMONS          VACAVILLE COMMONS                            2060 HARBISON DR                    SUITE C          VACAVILLE         CA   95687-3907   US   3,200
2706   1904   GA   47   B   2706   SC                  PARK PLAZA S/C        PARK PLAZA S/C                               770 MANGROVE AVE                                     CHICO             CA   95926-3948   US   2,700
3008   1905   GA   47   B   3008   M                     CHICO MALL          CHICO MALL                                   1950 E 20TH ST                      SPACE B235       CHICO             CA   95928-6369   US   2,786
1091   1906   GA   47   B   1091   JC        TRANCAS JEFFERSON CENTER        TRANCAS JEFFERSON CENTER                     1303 TRANCAS ST                                      NAPA              CA   94558-2911   US   2,838
 464   1907   GA   47   B    464   SC                 OROVILLE PLAZA         OROVILLE PLAZA                               1124 ORO DAM BLVD E                 SUITE L          OROVILLE          CA   95965-5844   US   3,600
4020   1908   GA   47   B   4020   SC      MARIN SQUARE SHOPPING CENTER      MARIN SQUARE SHOPPING CENTER                 75L BELLAM BLVD                                      SAN RAFAEL        CA   94901-5352   US   2,720
1815   1909   GA   47   B   1815   M                SANTA ROSA PLAZA         SANTA ROSA PLAZA                             1031 SANTA ROSA PLAZA                                SANTA ROSA        CA   95401-6340   US   2,414
2115   1910   GA   47   B   2115   SC                     KMART SC           KMART SC                                     3565 INDUSTRIAL DR                                   SANTA ROSA        CA   95403-2012   US   3,869
3750   1911   GA   47   B   3750   M               CODDINGTOWN MALL          CODDINGTOWN MALL                             250 CODDINGTOWN CENTER                               SANTA ROSA        CA   95401-0000   US   5,943
3160   1912   GA   47   B   3160   SC             MAXWELL VILLAGE S/C        MAXWELL VILLAGE S/C                          19191 SONOMA HWY                    SPACE 21         SONOMA            CA   95476-5449   US   3,092
3338   1913   GA   47   B   3338   M                YUBA SUTTER MALL         YUBA SUTTER MALL                             1201J COLUSA AVE                                     YUBA CITY         CA   95991-3657   US   2,916
3687   1914   TG   48   B   3687   SC                    2840 HWY 95         2840 HWY 95                                  SUITE 410                           SPACE 312        BULLHEAD CITY     AZ   86442-0000   US   3,000
2164   1915   TG   48   B   2164   SC                  MOHAVE PLAZA          MOHAVE PLAZA                                 3352 E ANDY DEVINE AVE # US66                        KINGMAN           AZ   86401-3704   US   2,700
4503   1916   TG   48   B   4503   SC             CARSON VALLEY PLAZA        CARSON VALLEY PLAZA                          911 TOPSY LANE                      SUITE 118        CARSON CITY       NV   89705-8403   US   2,800
5435   1917   TG   48   B   5435   SC            1895 W WILLIAMS ROAD        1895 W WILLIAMS ROAD                                                                              FALLON            NV   89406-2647   US   4,083
4086   1918   TG   48   B   4086   SC                530 MARKS STREET        530 MARKS STREET                             SUITE A                             SP A1            HENDERSON         NV   89014-8603   US   2,889
5016   1919   TG   48   B   5016   M               GALLERIA AT SUNSET        GALLERIA AT SUNSET                           1300 W SUNSET ROAD SPACE 1557                        HENDERSON         NV   89014-6626   US   4,000
 663   1920   TG   48   B    663   FS                BONANZA SQUARE          BONANZA SQUARE                               581 N EASTERN AVE                   PAD A            LAS VEGAS         NV   89101-3422   US   3,010
1058   1921   TG   48   B   1058   SC             GRAND CANYON PKWY          GRAND CANYON PKWY                            4205 S GRAND CANYON DRIVE           SUITE 4          LAS VEGAS         NV   89147-7124   US   2,724
1137   1922   TG   48   B   1137   SC           BLUE DIAMOND CROSSING        BLUE DIAMOND CROSSING                        4150 BLUE DIAMOND RD                SUITE 102        LAS VEGAS         NV   89139-0000   US   3,000
1672   1923   TG   48   B   1672   SC             MARYLAND CROSSING          MARYLAND CROSSING                            4011 S MARYLAND PKY                                  LAS VEGAS         NV   89119-7548   US   2,880
2663   1924   TG   48   B   2663   SC       CROSSROADS AT TOWN CENTER        CROSSROADS AT TOWN CENTER                    6536 N DECATUR BLVD                 SUITE 130        LAS VEGAS         NV   89131-1033   US   3,000
3738   1925   TG   48   B   3738   SC            CHARLESTON COMMONS          CHARLESTON COMMONS                           163 N NELLIS BLVD                                    LAS VEGAS         NV   89110-5320   US   6,400
3945   1926   TG   48   B   3945   SC          MCCARRAN MARKETPLACE          MCCARRAN MARKETPLACE                         5915 SOUTH EASTERN AVENUE           SUITE 104        LAS VEGAS         NV   89119-3117   US   3,200
4057   1927   TG   48   B   4057   SC           RAINBOW SPRINGS WEST         RAINBOW SPRINGS WEST                         3675 S RAINBOW BLVD # 105                            LAS VEGAS         NV   89103-1059   US   2,880
4187   1928   TG   48   B   4187   SC             CHEYENNE COMMONS           CHEYENNE COMMONS                             3065 N RAINBOW BLVD STE F-1                          LAS VEGAS         NV   89108-4577   US   2,800
4281   1929   TG   48   B   4281   SC              CENTENNIAL CENTRE         CENTENNIAL CENTRE                            7950 W TROPICAL PARKWAY             SPACE 150        LAS VEGAS         NV   89149-0000   US   2,560
5143   1930   TG   48   B   5143   M               THE MEADOWS MALL          THE MEADOWS MALL                             4300 MEADOWS LANE                   SUITE 227        LAS VEGAS         NV   89107-3000   US   3,832
5633   1931   TG   48   B   5633   SC          EASTERN BELTWAY CENTER        EASTERN BELTWAY CENTER                       2220 E SERENE AVE                                    LAS VEGAS         NV   89123-4818   US   2,800
5798   1932   TG   48   B   5798   SC           BOCA PARK MARKEPLACE         BOCA PARK MARKEPLACE                         8740 W CHARLESTON BLVD              SPACE 7          LAS VEGAS         NV   89117-5458   US   2,653
5556   1933   TG   48   B   5556   SC               NORTH MESA PLAZA         NORTH MESA PLAZA                             1631 W CRAIG RD                     UNIT 14          NORTH LAS VEGAS   NV   89032-0227   US   2,800
5390   1934   TG   48   B   5390   SC               10580 N MCCARRAN         10580 N MCCARRAN                             SUITE 112                                            RENO              NV   89503-1896   US   3,220
6696   1935   TG   48   B   6696   M                MEADOWOOD MALL           MEADOWOOD MALL                               5480 MEADOWOOD MALL CIRCLE          SPACE C129       RENO              NV   89502-6508   US   2,827
2791   1936   TG   48   B   2791   SC       IRON HORSE SHOPPING CENTER       IRON HORSE SHOPPING CENTER                   543 E PRATER WAY                                     SPARKS            NV   89431-4685   US   3,000
4895   1937   TG   48   B   4895   SC           THE OUTLETS AT SPARKS        THE OUTLETS AT SPARKS                        1320 E LINCOLN WAY                  SUITE 100        SPARKS            NV   89434-8053   US   7,500
2341   1938   TG   48   B   2341   SC      1380 S PROVIDENCE CENTER DRIVE    1380 S PROVIDENCE CENTER DRIVE               SPACE A                                              CEDAR CITY        UT   84720-1891   US   3,000
2488   1939   TG   48   B   2488   SC      ST GEORGE COMMERCIAL CENTER       ST GEORGE COMMERCIAL CENTER                  755 S BLUFF ST                                       SAINT GEORGE      UT   84770-3560   US   2,961
3383   1940   TG   48   B   3383   JC              740 W TELEGRAPH RD        740 W TELEGRAPH RD                           SUITE 5                             SPACE 168        WASHINGTON        UT   84780-0000   US   3,000
2849   1941   TG   48   B   2849   SC   APPLEGATE RANCH COMMERCIAL CENTER    APPLEGATE RANCH COMMERCIAL CENTER            1106 COMMERCE AVE                                    ATWATER           CA   95301-0000   US   2,997
2206   1942   TG   48   B   2206   SC              CLOVIS COMMONS SC         CLOVIS COMMONS SC                            635 W HERNDON AVE                   SUITE 500        CLOVIS            CA   93612-0196   US   3,200
3110   1943   TG   48   B   3110   M                SIERRA VISTA MALL        SIERRA VISTA MALL                            1050 SHAW AVE                       SPACE 1005       CLOVIS            CA   93612-3922   US   2,887
4990   1944   TG   48   B   4990   SC      311 WEST SHAW AVENUE SPACE B      311 WEST SHAW AVENUE SPACE B                                                                      CLOVIS            CA   93612-3685   US   3,040
5568   1945   TG   48   B   5568   SC      THE MARKETPLACE AT RIVER PARK     THE MARKETPLACE AT RIVER PARK                7622 N BLACKSTONE                                    FRESNO            CA   93720-4300   US   2,789
5426   1946   TG   48   B   5426   SC         KERMAN SHOPPING CENTER         KERMAN SHOPPING CENTER                       15136 WEST WHITESBRIDGE                              KERMAN            CA   93630-1019   US   3,150
2146   1947   TG   48   B   2146   SC            COUNTRY CLUB VILLAGE        COUNTRY CLUB VILLAGE                         1105 COUNTRY CLUB DR                                 MADERA            CA   93638-1537   US   3,000
4029   1948   TG   48   B   4029   SC            MADERA MARKETPLACE          MADERA MARKETPLACE                           2091 W CLEVELAND AVE                                 MADERA            CA   93637-8721   US   3,000
2912   1949   TG   48   B   2912   M                    MERCED MALL          MERCED MALL                                  590 MERCED MALL                                      MERCED            CA   95348-2413   US   3,245
4877   1950   TG   48   B   4877   SC           OAKHURST MARKETPLACE         OAKHURST MARKETPLACE                         40032 HWY 49 SUITE 2                                 OAKHURST          CA   93644-8825   US   3,000
5266   1951   TG   48   B   5266   SC              COUNTRYSIDE PLAZA         COUNTRYSIDE PLAZA                            1800 COUNTRYSIDE DRIVE                               TURLOCK           CA   95380-9530   US   3,600
5625   1952   TG   48   B   5625   SC            7601 LAGUNA BLVD #140       7601 LAGUNA BLVD #140                                                                             ELK GROVE         CA   95758-5065   US   2,933
5688   1953   TG   48   B   5688   SC            RALEY'S GOLD COUNTRY        RALEY'S GOLD COUNTRY                         777-1 S HWY 49                                       JACKSON           CA   95642-2621   US   2,520
2764   1954   TG   48   B   2764   JC      2309 W KETTLEMAN LANE SUITE 104   2309 W KETTLEMAN LANE SUITE 104                                                                   LODI              CA   95242-4120   US   3,000
1816   1955   TG   48   B   1816   M               VINTAGE FAIRE MALL        VINTAGE FAIRE MALL                           3401 DALE RD                        SPACE 255        MODESTO           CA   95356-0505   US   3,266
3713   1956   TG   48   B   3713   SC            CENTRAL VALLEY PLAZA        CENTRAL VALLEY PLAZA                         2225 PLAZA PKY STE K1                                MODESTO           CA   95350-6220   US   3,040
 562   1957   TG   48   B    562   SC                SOUTHGATE PLAZA         SOUTHGATE PLAZA                              4306 FLORIN RD                      SPACES 2 AND 3   SACRAMENTO        CA   95823-2510   US   2,609
3209   1958   TG   48   B   3209   SC         LAKECREST VILLAGE CENTER       LAKECREST VILLAGE CENTER                     994 FLORIN RD                                        SACRAMENTO        CA   95831-3515   US   3,200
5694   1959   TG   48   B   5694   SC    HOWE BOUT ARDEN SHOPPING CENTER     HOWE BOUT ARDEN SHOPPING CENTER              2100 ARDEN WAY                      SPACE 165        SACRAMENTO        CA   95825-2216   US   3,025
2766   1960   TG   48   B   2766   M                  SHERWOOD MALL          SHERWOOD MALL                                5308 PACIFIC AVE                                     STOCKTON          CA   95207-5619   US   3,707
5008   1961   TG   48   B   5008   FS           NORTHTOWN VILLAGE SC         NORTHTOWN VILLAGE SC                         3708 EAST HAMMER LANE                                STOCKTON          CA   95212-2811   US   3,914
1599   1962   TG   48   B   1599   M                 COUNTY FAIR MALL        COUNTY FAIR MALL                             1264 E GIBSON RD                    SPACE C-311      WOODLAND          CA   95776-6316   US   2,636
                                                                Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                                                                                       Pg 52 of 57
                                                                                                  Store Closing List




1308   1963   TG   48   B   1308   JC              WHITE LANE PLAZA         WHITE LANE PLAZA                             2200 WHITE LANE                                     BAKERSFIELD       CA   93304-4678   US   2,800
3055   1964   GA   49   B   3055   M                 HERITAGE MALL          HERITAGE MALL                                1949 14TH AVE SE               SPACE D 409          ALBANY            OR   97321-8505   US   2,912
5488   1965   GA   49   B   5488   JC    TANASBOURNE TOWN CENTER NORTH      TANASBOURNE TOWN CENTER NORTH                18021 NW EVERGREEN PARKWAY     BUILDING E SPACE S   BEAVERTON         OR   97006-7452   US   2,600
1562   1966   GA   49   B   1562   SC   MARKET PLACE WEST SHOPPING CENTER   MARKET PLACE WEST SHOPPING CENTER            3009 W 11TH AVE                                     EUGENE            OR   97402-3101   US   2,592
 578   1967   GA   49   B    578   SC               SUNWEST PLAZA           SUNWEST PLAZA                                1300 B SW OAK                                       HILLSBORO         OR   97123-3875   US   3,360
6527   1968   GA   49   B   6527   SC             SUNSET ESPLANADE          SUNSET ESPLANADE                             2231 SE TAULATIN VALLEY HWY    SPACE D5             HILLSBORO         OR   97123-7915   US   3,150
5563   1969   GA   49   B   5563   SC                LEBANON PLAZA          LEBANON PLAZA                                2562 S SANTIAM HIGHWAY                              LEBANON           OR   97355-3052   US   4,360
1488   1970   GA   49   B   1488   SC             MCMINNVILLE PLAZA         MCMINNVILLE PLAZA                            2280 N HIGHWAY 99W             SUITE B              MCMINNVILLE       OR   97128-9219   US   3,960
776    1971   GA   49   B   776    M              PONY VILLAGE MALL         PONY VILLAGE MALL                            1611 VIRGINIA AVE              BOX 512              NORTH BEND        OR   97459-2729   US   2,800
6480   1972   GA   49   B   6480   SC            707 LANCASTER DR NE        707 LANCASTER DR NE                                                                              SALEM             OR   97301-2928   US   5,000
3078   1973   GA   49   B   3078   SC            WASHINGTON CIRCLE          WASHINGTON CIRCLE                            9009 SW HALL BLVD                                   TIGARD            OR   97223-4432   US   2,725
 422   1974   GA   49   B    422   SC             ROCK CREEK PLAZA          ROCK CREEK PLAZA                             2775 BELL RD                                        AUBURN            CA   95603-0000   US   4,000
3144   1975   GA   49   B   3144   SC             CRESTVIEW VILLAGE         CRESTVIEW VILLAGE                            4742 MANZANITA AVE                                  CARMICHAEL        CA   95608-0823   US   3,000
1833   1976   GA   49   B   1833   M                  SUNRISE MALL          SUNRISE MALL                                 5951 SUNRISE MALL                                   CITRUS HEIGHTS    CA   95610-6901   US   3,323
2861   1977   GA   49   B   2861   SC        MERVYNS SHOPPING CENTER        MERVYNS SHOPPING CENTER                      7350 GREENBACK LANE                                 CITRUS HEIGHTS    CA   95621-5531   US   2,800
4142   1978   GA   49   B   4142   SC              WAL MART CENTER          WAL MART CENTER                              1014 RILEY STREET              SUITE 5              FOLSOM            CA   95630-3264   US   3,000
3094   1979   GA   49   B   3094   SC                PINE CREEK SC          PINE CREEK SC                                742 FREEMAN LN                 SUITE A              GRASS VALLEY      CA   95949-9640   US   2,680
4064   1980   GA   49   B   4064   SC             WATT TOWN CENTER          WATT TOWN CENTER                             3609 ELKHORN BOULEVARD                              NORTH HIGHLANDS   CA   95660-0000   US   2,720
2765   1981   GA   49   B   2765   SC            PROSPECTORS PLAZA          PROSPECTORS PLAZA                            3966 MISSOURI FLAT RD          SUITE L              PLACERVILLE       CA   95667-5239   US   3,060
2329   1982   GA   49   B   2329   SC            CORDOVA VILLAGE SC         CORDOVA VILLAGE SC                           10697 FOLSOM BLVD                                   RANCHO CORDOVA    CA   95670-4828   US   3,000
1173   1983   GA   49   B   1173   SC             ROSEVILLE CENTER          ROSEVILLE CENTER                             1921 DOUGLAS BLVD              SUITE 107            ROSEVILLE         CA   95661-3817   US   2,800
2327   1984   GA   49   B   2327   JC         ROSEVILLE MARKETPLACE         ROSEVILLE MARKETPLACE                        10431 FAIRWAY DRIVE 100                             ROSEVILLE         CA   95678-1987   US   2,650
4265   1985   GA   49   B   4265   M      WESTFIELD GALLERIA AT ROSEVILLE   WESTFIELD GALLERIA AT ROSEVILLE              1151 GALLERIA BLVD             SUITE 102            ROSEVILLE         CA   95678-1938   US   3,061
5636   1986   GA   49   B   5636   SC          NATOMAS MARKETPLACE          NATOMAS MARKETPLACE                          3651 TRUXEL RD                 SUITE 7              SACRAMENTO        CA   95834-3607   US   2,700
 533   1987   GA   49   B    533   SC        CENTER AT SLATTEN RANCH        CENTER AT SLATTEN RANCH                      5749 LONE TREE WAY             SPACE B              ANTIOCH           CA   94531-8587   US   2,700
5030   1988   GA   49   B   5030   SC           20461 REDWOOD ROAD          20461 REDWOOD ROAD                                                                               CASTRO VALLEY     CA   94546-4315   US   4,347
 581   1989   GA   49   B    581   SC            VINEYARD SHPG CNTR         VINEYARD SHPG CNTR                           5100 CLAYTON RD STE 18                              CONCORD           CA   94521-3139   US   2,550
3063   1990   GA   49   B   3063   SC             PARK AND SHOP SC          PARK AND SHOP SC                             1679 WILLOW PASS RD                                 CONCORD           CA   94520-2611   US   4,700
6695   1991   GA   49   B   6695   M                SUNVALLEY MALL          SUNVALLEY MALL                               482 SUNVALLEY MALL             SPACE A-202          CONCORD           CA   94520-5814   US   2,695
1144   1992   GA   49   B   1144   M                SOUTHLAND MALL          SOUTHLAND MALL                               1 SOUTHLAND MALL DR #346       SUITE 80             HAYWARD           CA   94545-2131   US   3,705
4343   1993   GA   49   B   4343   SC        MANTECA STADIUM CENTER         MANTECA STADIUM CENTER                       2232 DANIELS STREET                                 MANTECA           CA   95337-0000   US   3,000
6524   1994   GA   49   B   6524   SC     CENTURY PLAZA SHOPPING CENTER     CENTURY PLAZA SHOPPING CENTER                4225 CENTURY BLVD                                   PITTSBURG         CA   94565-7113   US   3,150
2867   1995   GA   49   B   2867   M               STONERIDGE MALL          STONERIDGE MALL                              1468 STONERIDGE MALL RD        SPACE E101           PLEASANTON        CA   94588-0000   US   3,115
1553   1996   GA   49   B   1553   SC            FASHION FAIRE PLACE        FASHION FAIRE PLACE                          15100 HESPERIAN BLVD           SUITE 304 306        SAN LEANDRO       CA   94578-3600   US   3,437
5332   1997   GA   49   B   5332   M               WEST VALLEY MALL         WEST VALLEY MALL                             3200 NAGLEE RD                 SUITE 436            TRACY             CA   95304-7333   US   3,882
2550   1998   GA   49   B   2550   M                BAYSHORE MALL           BAYSHORE MALL                                3300 BROADWAY ST # 300                              EUREKA            CA   95501-3809   US   3,137
4764   1999   GA   49   B   4764   SC       RED BLUFF SHOPPING CENTER       RED BLUFF SHOPPING CENTER                    1005 S MAIN STREET                                  RED BLUFF         CA   96080-4360   US   3,000
1348   2000   GA   49   B   1348   SC               HILLTOP CENTER          HILLTOP CENTER                               1611 HILLTOP DR STE A                               REDDING           CA   96002-0254   US   4,410
2707   2001   GA   49   B   2707   M             MOUNT SHASTA MALL          MOUNT SHASTA MALL                            900 DANA DR                                         REDDING           CA   96003-4053   US   2,500
 484   2002   GA   49   B    484   SC                 PEAR TREE S/C         PEAR TREE S/C                                211 N ORCHARD AVE                                   UKIAH             CA   95482-4503   US   3,360
593    2003   GA   49   B   593    JC        DIAMOND SHOPPING CENTER        DIAMOND SHOPPING CENTER                      1891 NE 7TH ST                                      GRANTS PASS       OR   97526-3403   US   3,430
4444   2004   GA   49   B   4444   FS             KLAMATH WALMART           KLAMATH WALMART                              3610 WASHBURN WAY                                   KLAMATH FALLS     OR   97603-4539   US   3,062
1419   2005   GA   49   B   1419   M              ROGUE VALLEY MALL         ROGUE VALLEY MALL                            1600 N RIVERSIDE AVE           SPACE 2095           MEDFORD           OR   97501-4661   US   2,651
6530   2006   GA   49   B   6530   SC                293 BARNETT RD         293 BARNETT RD                                                                                   MEDFORD           OR   97501-7936   US   4,018
3141   2007   TG   50   B   3141   M                 FACTORIA MALL          FACTORIA MALL                                4025 SE FACTORIA MALL                               BELLEVUE          WA   98006-0000   US   2,961
3020   2008   TG   50   B   3020   FS               100 SW 143RD ST         100 SW 143RD ST                                                                                  BURIEN            WA   98166-1530   US   3,044
4519   2009   TG   50   B   4519   M          WENATCHEE VALLEY MALL         WENATCHEE VALLEY MALL                        511 VALLEY MALL PKY                                 EAST WENATCHEE    WA   98802-4844   US   2,785
1824   2010   TG   50   B   1824   M       THE COMMONS AT FEDERAL WAY       THE COMMONS AT FEDERAL WAY                   1812 S SEATAC MALL                                  FEDERAL WAY       WA   98003-6038   US   3,001
4186   2011   TG   50   B   4186   SC            CANYON RIDGE PLAZA         CANYON RIDGE PLAZA                           26125 104TH AVENUE SE                               KENT              WA   98031-7674   US   2,863
2475   2012   TG   50   B   2475   JC       WESTWOOD SHOPPING CENTER        WESTWOOD SHOPPING CENTER                     2600 SW BARTON ST              SUITE C1             SEATTLE           WA   98126-3952   US   3,012
3717   2013   TG   50   B   3717   CB           OLYMPIC TOWER BLDG          OLYMPIC TOWER BLDG                           1529 3RD AVE                                        SEATTLE           WA   98101-1611   US   3,900
5617   2014   TG   50   B   5617   M               NORTHGATE MALL           NORTHGATE MALL                               401 NE NORTHGATE WAY           SPACE 308            SEATTLE           WA   98125-8513   US   3,047
4307   2015   TG   50   B   4307   M          WESTFIELD SOUTHCENTER         WESTFIELD SOUTHCENTER                        2866 SOUTHCENTER MALL                               TUKWILA           WA   98188-0000   US   3,120
 683   2016   TG   50   B    683   SC             AUBURN NORTH S/C          AUBURN NORTH S/C                             1215 AUBURN WAY N                                   AUBURN            WA   98002-4148   US   3,250
4630   2017   TG   50   B   4630   M      THE OUTLET COLLECTION - SEATTLE   THE OUTLET COLLECTION - SEATTLE              1101 OUTLET COLLECTION WAY     SUITE 1105           AUBURN            WA   98002-0000   US   4,080
2631   2018   TG   50   B   2631   SC        LAKEWOOD TOWNE CENTER          LAKEWOOD TOWNE CENTER                        10321 GRAVELLY LAKE DR SW      SUITE B              LAKEWOOD          WA   98499-0000   US   3,200
3230   2019   TG   50   B   3230   FS                  1908 E 1ST ST        1908 E 1ST ST                                                                                    PORT ANGELES      WA   98362-4900   US   3,061
2596   2020   TG   50   B   2596   SC       PORT ORCHARD K-MART PLAZA       PORT ORCHARD K-MART PLAZA                    1397 OLNEY AVE E               SUITE 117            PORT ORCHARD      WA   98366-4920   US   2,800
3147   2021   TG   50   B   3147   M                SOUTH HILL MALL         SOUTH HILL MALL                              3500 S MERIDIAN ST             SUITE 918            PUYALLUP          WA   98373-3722   US   2,868
6489   2022   TG   50   B   6489   SC              SOUTH HILL PLAZA         SOUTH HILL PLAZA                             3860 S MERIDIAN ST                                  PUYALLUP          WA   98373-3757   US   4,080
 767   2023   TG   50   B    767   M                   KITSAP MALL          KITSAP MALL                                  SPACE K-4                      PO BOX 2291          SILVERDALE        WA   98383-2291   US   2,932
6478   2024   TG   50   B   6478   JC                137 161ST ST SO        137 161ST ST SO                                                                                  SPANAWAY          WA   98387-8235   US   5,100
1880   2025   TG   50   B   1880   SC            TACOMA CENTRAL SC          TACOMA CENTRAL SC                            3304 S 23RD ST                 SUITE 1              TACOMA            WA   98405-1699   US   2,932
3013   2026   TG   50   B   3013   FS                 1601 E 72ND ST        1601 E 72ND ST                                                                                   TACOMA            WA   98404-5402   US   3,044
3530   2027   TG   50   B   3530   M                  TACOMA MALL           TACOMA MALL                                  4502 S STEELE ST               SPACE 1147           TACOMA            WA   98409-7247   US   3,276
2071   2028   TG   50   B   2071   SC              OLYMPIC GATEWAY          OLYMPIC GATEWAY                              1163 E WISHKAH ST                                   ABERDEEN          WA   98520-4201   US   2,976
3539   2029   TG   50   B   3539   SC           1519 NW LOUISIANA AVE       1519 NW LOUISIANA AVE                                                       SPACE 120            CHEHALIS          WA   98532-1748   US   2,600
3497   2030   TG   50   B   3497   SC               MARKET SQUARE           MARKET SQUARE                                700 SLEATER KINNEY RD SE       SPACE I-9            LACEY             WA   98503-1150   US   2,913
6534   2031   TG   50   B   6534   SC              TWIN CITY CENTER         TWIN CITY CENTER                             760 G OCEAN BEACH HIGHWAY                           LONGVIEW          WA   98632-4055   US   3,000
1821   2032   TG   50   B   1821   M                  CAPITAL MALL          CAPITAL MALL                                 625 BLACK LAKE BLVD STE 106                         OLYMPIA           WA   98502-0000   US   2,983
2333   2033   TG   50   B   2333   M               VANCOUVER MALL           VANCOUVER MALL                               8700 NE VANCOUVER MALL DR      SUITE 159            VANCOUVER         WA   98662-6750   US   3,319
3090   2034   TG   50   B   3090   SC              VANCOUVER PLAZA          VANCOUVER PLAZA                              7809 B NE VANCOUVER PLAZA DR   SPACE 240            VANCOUVER         WA   98662-6624   US   3,330
5255   2035   TG   50   B   5255   JC               530 SE 192ND AVE        530 SE 192ND AVE                             SUITE 104                                           VANCOUVER         WA   98683-9681   US   3,100
6473   2036   TG   50   B   6473   SC                 TARGET PLAZA          TARGET PLAZA                                 8901 NE HAZEL DELL AVENUE      SUITE 101            VANCOUVER         WA   98665-0000   US   3,000
6472   2037   TG   50   B   6472   SC          GRESHAM TOWN FAIR S/C        GRESHAM TOWN FAIR S/C                        302 NW EASTMAN PKWY                                 GRESHAM           OR   97030-7250   US   3,558
1807   2038   TG   50   B   1807   M          CLACKAMAS TOWN CENTER         CLACKAMAS TOWN CENTER                        12000 SE 82ND AVE              SPACE 1016           HAPPY VALLEY      OR   97086-7729   US   6,889
                                                              Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                                                                                     Pg 53 of 57
                                                                                                Store Closing List




3459   2039   TG   50   B   3459   SC               BERRY HILL S/C        BERRY HILL S/C                               19017 S BEAVERCREEK RD                                      OREGON CITY       OR   97045-9537   US            3,300
3506   2040   TG   50   B   3506   M                LLOYD CENTER          LLOYD CENTER                                 978 LLOYD CTR                                               PORTLAND          OR   97232-1263   US            3,029
3938   2041   TG   50   B   3938   SC             EASTPORT PLAZA          EASTPORT PLAZA                               4124 SE 82ND AVENUE                   SUITE 500             PORTLAND          OR   97266-2912   US            3,227
4320   2042   TG   50   B   4320   CB             606 SW ALDER ST         606 SW ALDER ST                                                                                          PORTLAND          OR   97205-3614   US            3,830
 978   2043   TG   50   B    978   SC             MID VALLEY PLAZA        MID VALLEY PLAZA                             1641 MOUNT HOOD AVE                                         WOODBURN          OR   97071-9070   US            3,200
3386   2044   TG   50   B   3386   M              MID-VALLEY MALL         MID-VALLEY MALL                              2010 YAKIMA VALLEY HWY                SPACE G-9             SUNNYSIDE         WA   98944-1288   US            4,632
6532   2045   TG   50   B   6532   SC               1731 S FIRST ST       1731 S FIRST ST                              SUITE 500                                                   YAKIMA            WA   98901-3796   US            3,700
5460   2046   GA   51   B   5460   M               DIMOND CENTER          DIMOND CENTER                                800 E DIMOND BLVD                     SUITE 155             ANCHORAGE         AK   99515-2053   US            3,111
5461   2047   GA   51   B   5461   M                  SEARS MALL          SEARS MALL                                   600 E NORTHERN LIGHTS #157                                  ANCHORAGE         AK   99503-4134   US            3,057
5462   2048   GA   51   B   5462   M              5TH AVENUE MALL         5TH AVENUE MALL                              320 W 5TH AVENUE SUITE 241                                  ANCHORAGE         AK   99501-2357   US            3,821
5534   2049   GA   51   B   5534   M                BENTLEY MALL          BENTLEY MALL                                 32 COLLEGE ROAD                       SUITE 2               FAIRBANKS         AK   99701-1701   US            3,220
5535   2050   GA   51   B   5535   M                 NUGGET MALL          NUGGET MALL                                  8745 GLACIER HWY                      SPACE 165             JUNEAU            AK   99801-8000   US            3,000
5589   2051   GA   51   B   5589   M         PENINSULA CENTER MALL        PENINSULA CENTER MALL                        44332 STERLING HWY                    STE 16                SOLDOTNA          AK   99669-8000   US            2,800
5463   2052   GA   51   B   5463   JC     1301 S SEWARD MERIDIAN HWY      1301 S SEWARD MERIDIAN HWY                   UNIT A                                SUITE C14             WASILLA           AK   99654-0000   US            3,000
3056   2053   GA   51   B   3056   M              BELLIS FAIR MALL        BELLIS FAIR MALL                             1 BELLIS FAIR PKWY                    SUITE 609             BELLINGHAM        WA   98226-5590   US            3,422
6531   2054   GA   51   B   6531   SC        1598 S BURLINGTON BLVD       1598 S BURLINGTON BLVD                       SPACE R                                                     BURLINGTON        WA   98233-3220   US            3,600
1311   2055   GA   51   B   1311   M                EVERETT MALL          EVERETT MALL                                 1402 SE EVERETT MALL WAY              SPACE 372             EVERETT           WA   98208-2824   US            3,100
6467   2056   GA   51   B   6467   FS          7807 EVERGREEN WAY         7807 EVERGREEN WAY                                                                                       EVERETT           WA   98203-6427   US            3,960
5451   2057   GA   51   B   5451   SC           303 91ST AVENUE NE        303 91ST AVENUE NE                           SPACE G702                                                  LAKE STEVENS      WA   98258-1539   US            2,800
1860   2058   GA   51   B   1860   SC             1402 164TH ST SW        1402 164TH ST SW                             SUITE 305 306                                               LYNNWOOD          WA   98037-8515   US            2,601
2090   2059   GA   51   B   2090   M             ALDERWOOD MALL           ALDERWOOD MALL                               3000 184TH STREET SW                  SPACE 392             LYNNWOOD          WA   98037-4770   US            2,749
6488   2060   GA   51   B   6488   SC          193 MARYSVILLE MALL        193 MARYSVILLE MALL                                                                                      MARYSVILLE        WA   98270-5500   US            4,285
6486   2061   GA   51   B   6486   SC        32185 STATE ROUTE 20 #1      32185 STATE ROUTE 20 #1                                                                                  OAK HARBOR        WA   98277-5209   US            4,000
2526   2062   GA   51   B   2526   SC          13930 NE 178TH PLACE       13930 NE 178TH PLACE                         SUITE 102                                                   WOODINVILLE       WA   98072-3531   US            2,850
2150   2063   GA   51   B   2150   M          PALOUSE EMPIRE MALL         PALOUSE EMPIRE MALL                          1996 W PULLMAN RD                                           MOSCOW            ID   83843-4013   US            2,880
4523   2064   GA   51   B   4523   FS                 1390 N FIRST        1390 N FIRST                                                                                             HERMISTON         OR   97838-1102   US            3,672
2392   2065   GA   51   B   2392   SC            KENNEWICK PLAZA          KENNEWICK PLAZA                              2817 W KENNEWICK AVE                                        KENNEWICK         WA   99336-2927   US            2,400
3140   2066   GA   51   B   3140   M             COLUMBIA CENTER          COLUMBIA CENTER                              1321 N COLUMBIA CENTER BLVD STE 451   SUITE 451             KENNEWICK         WA   99336-7180   US            2,554
4368   2067   GA   51   B   4368   FS       1034 NORTH STRATFORD RD       1034 NORTH STRATFORD RD                                                                                  MOSES LAKE        WA   98837-1573   US            3,062
3693   2068   GA   51   B   3693   SC      OMACHE SHOPPING CENTER         OMACHE SHOPPING CENTER                       606 OMACHE DRIVE # F                                        OMAK              WA   98841-9692   US            2,880
2073   2069   GA   51   B   2073   SC               RIVERVIEW SC          RIVERVIEW SC                                 3427 W COURT ST                                             PASCO             WA   99301-3871   US            3,000
1235   2070   GA   51   B   1235   SC          PLAZA AT POST FALLS        PLAZA AT POST FALLS                          710 CECIL RD                          104                   POST FALLS        ID   83854-0000   US            2,840
3838   2071   GA   51   B   3838   M         KALISPELL CENTER MALL        KALISPELL CENTER MALL                        20 N MAIN ST                                                KALISPELL         MT   59901-4080   US            3,091
3567   2072   GA   51   B   3567   SC           NORTHPOINTE PLAZA         NORTHPOINTE PLAZA                            9762 N NEWPORT HWY                                          SPOKANE           WA   99218-1249   US            2,992
3785   2073   GA   51   B   3785   M             NORTHTOWN MALL           NORTHTOWN MALL                               4750 N DIVISION ST                    SUITE 138             SPOKANE           WA   99207-1441   US            2,819
5235   2074   GA   51   B   5235   FS          13020 E SPRAGUE AVE        13020 E SPRAGUE AVE                                                                                      SPOKANE VALLEY    WA   99216-0734   US            4,032
5619   2075   GA   51   B   5619   M          SPOKANE VALLEY MALL         SPOKANE VALLEY MALL                          14700 E INDIANA                       SPACE 2156            SPOKANE VALLEY    WA   99216-1839   US            2,887
4223   2076   TG   52   -   4223   M               AGUADILLA MALL         AGUADILLA MALL                               15005 AVE LOS CORAZONES                                     AGUADILLA         PR   00603-0000   Puerto Rico   4,681
4221   2077   TG   52   -   4221   M           PLAZA DEL ATLANTICO        PLAZA DEL ATLANTICO                          1400 AVE MIRAMAR                      SUITE 20              ARECIBO           PR   00612-2747   Puerto Rico   3,302
4159   2078   TG   52   -   4159   SC        REXVILLE TOWNE CENTER        REXVILLE TOWNE CENTER                        3009 CARR 167                         SUITE 305             BAYAMON           PR   00956-9215   Puerto Rico   3,000
4242   2079   TG   52   -   4242   M          PLAZA RIO HONDO MALL        PLAZA RIO HONDO MALL                         60 AVENUE RIO HONDO                   SUITE 2000            BAYAMON           PR   00961-3121   Puerto Rico   3,750
4250   2080   TG   52   -   4250   M            PLAZA DEL SOL MALL        PLAZA DEL SOL MALL                           725 AVE W MAIN                        SUITE 660             BAYAMON           PR   00961-4470   Puerto Rico   3,411
4248   2082   TG   52   -   4248   M            LAS CATALINAS MALL        LAS CATALINAS MALL                           CALLE BETANCES #410                                         CAGUAS            PR   00725-5200   Puerto Rico   3,164
4992   2083   TG   52   -   4992   SC     200 AVENUE RAFAEL CORDERO       200 AVENUE RAFAEL CORDERO                    PLAZA CENTRO 1 SPACE 60                                     CAGUAS            PR   00725-5200   Puerto Rico   3,000
3749   2084   TG   52   -   3749   M            THE OUTLET 66 MALL        THE OUTLET 66 MALL                           18400 STATE ROAD NO 3                 SUITE 171             CANOVANAS         PR   00729-4359   Puerto Rico   2,929
 141   2085   TG   52   -    141   M               PLAZA CAROLINA         PLAZA CAROLINA                               65 INFANTRY                           SPACE 126A            CAROLINA          PR   00982-0000   Puerto Rico   7,390
4247   2086   TG   52   -   4247   SC             LOS COLOBOS SC          LOS COLOBOS SC                               14220 AVE 65 INFANTERIA                                     CAROLINA          PR   00987-2227   Puerto Rico   3,200
4253   2087   TG   52   -   4253   SC              PLAZA ESCORIAL         PLAZA ESCORIAL                               5840 PLAZA ESCORIAL                   SUITE 3               CAROLINA          PR   00987-5001   Puerto Rico   3,521
4245   2088   TG   52   -   4245   SC        PEREZ HERMANOS PLAZA         PEREZ HERMANOS PLAZA                         4007 AVE JESUS T PINERO                                     CAYEY             PR   00736-5544   Puerto Rico   3,200
4206   2089   TG   52   -   4206   SC              PLAZA FAJARDO          PLAZA FAJARDO                                150 CARR 940                          SUITE 310             FAJARDO           PR   00738-8634   Puerto Rico   3,200
4239   2090   TG   52   -   4239   M            SAN PATRICIO PLAZA        SAN PATRICIO PLAZA                           100 AVE SAN PATRICIO                  SUITE C-12            GUAYNABO          PR   00968-2609   Puerto Rico   3,300
4255   2091   TG   52   -   4255   SC           PLAZA GUAYNABO SC         PLAZA GUAYNABO SC                            CALLE MARGINAL ESMERALDA #130                               GUAYNABO          PR   00969-0382   Puerto Rico   3,380
4215   2092   TG   52   -   4215   M          PLAZA DEL NORTE MALL        PLAZA DEL NORTE MALL                         506 CALLE TRUNCADO                    SUITE C106            HATILLO           PR   00659-2716   Puerto Rico   4,252
4235   2093   TG   52   -   4235   SC               PLAZA ISABELA         PLAZA ISABELA                                3535 AVE MILITAR                      SUITE 253             ISABELA           PR   00662-4011   Puerto Rico   3,000
1836   2094   TG   52   -   1836   SC                MANATI PLAZA         MANATI PLAZA                                 10 CARR 149                           SUITE 235             MANATI            PR   00674-6215   Puerto Rico   2,710
4213   2095   TG   52   -   4213   M               MAYAGUEZ MALL          MAYAGUEZ MALL                                975 AVE HOSTOS                        SUITE 245             MAYAGUEZ          PR   00680-1285   Puerto Rico   3,500
3286   2096   TG   52   -   3286   SC              MERCADO PLAZA          MERCADO PLAZA                                EL MERCADO PLAZA 33 PR 152 KM. 16                           NARANJITO         PR   00719-0000   Puerto Rico   2,545
4205   2097   TG   52   -   4205   M             PLAZA DEL CARIBE         PLAZA DEL CARIBE                             2050 PONCE BY PASS                    SUITE 102             PONCE             PR   00717-1313   Puerto Rico   4,354
4260   2098   TG   52   -   4260   M          CENTRO DEL SUR MALL         CENTRO DEL SUR MALL                          1485 BLVD MIGUEL POU                  SUITE 131             PONCE             PR   00717-2702   Puerto Rico   2,912
4238   2099   TG   52   -   4238   M     THE OUTLETS AT MONTEHIEDRA       THE OUTLETS AT MONTEHIEDRA                   9410 AVE LOS ROMEROS                  SUITE 1330            RIO PIEDRAS       PR   00926-7007   Puerto Rico   3,048
 286   2100   TG   52   -    286   M           PLAZA LAS AMERICAS         PLAZA LAS AMERICAS                           525 ROOSEVELT AVE                     2ND FLOOR SPACE 194   SAN JUAN          PR   00918-0000   Puerto Rico   6,467
4156   2101   TG   52   -   4156   SC   65TH INFANTRY SHOPPING CENTER     65TH INFANTRY SHOPPING CENTER                AVE 65 INFANTERIA SPACE 15                                  SAN JUAN          PR   00923-0000   Puerto Rico   3,026
4164   2102   TG   52   -   4164   M             PLAZA CARIBE MALL        PLAZA CARIBE MALL                            PLAZA CARIBE MALL APT 30                                    VEGA ALTA         PR   00692-6761   Puerto Rico   3,576
4733   2107   GA   53   T   4733   JC             WEST GATE PLAZA         WEST GATE PLAZA                              6007 SOUTHRIDGE AVENUE                SPACE 101             PRINCE GEORGE     BC   V2N 6Z4      Canada        2,514
6968   2108   GA   53   T   6968   M                 PINE CENTRE          PINE CENTRE                                  3055 MASSEY DRIVE                     UNIT 203              PRINCE GEORGE     BC   V2N 2S9      Canada        2,296
6944   2109   GA   53   T   6944   M     SEVENOAKS SHOPPING CENTRE        SEVENOAKS SHOPPING CENTRE                    32900 SOUTH FRASER WAY                CRU 115               ABBOTSFORD        BC   V2S 5A1      Canada        2,971
5855   2110   GA   53   T   5855   M       BRENTWOOD TOWN CENTRE          BRENTWOOD TOWN CENTRE                        4567 LOUGHEED HWY                     UNIT 223A             BURNABY           BC   V5C 3Z6      Canada        2,561
5970   2111   GA   53   T   5970   M       METROPOLIS AT METROTOWN        METROPOLIS AT METROTOWN                      4700 KINGSWAY                         SPACE 1160A           BURNABY           BC   V5H 4M1      Canada        2,800
5971   2112   GA   53   T   5971   M       METROPOLIS AT METROTOWN        METROPOLIS AT METROTOWN                      131 - 4800 KINGSWAY                   SPACE G14 BOX 17      BURNABY           BC   V5H 4J2      Canada        2,568
5910   2113   GA   53   T   5910   M            COTTONWOOD MALL           COTTONWOOD MALL                              45585 LUCKUKUCK WAY                   SPACE 2               CHILLIWACK        BC   V2R 1A1      Canada        2,607
5894   2114   GA   53   T   5894   M    WILLOWBROOK SHOPPING CENTRE       WILLOWBROOK SHOPPING CENTRE                  19705 FRASER HWY                      SPACE 416-417         LANGLEY           BC   V3A 7E9      Canada        2,799
6929   2115   GA   53   T   6929   JC            LANGLEY WALMART          LANGLEY WALMART                              20202 66TH AVENUE                     UNIT 100              LANGLEY           BC   V2Y 1P3      Canada        2,608
5920   2116   GA   53   T   5920   M           LYNN VALLEY CENTRE         LYNN VALLEY CENTRE                           1199 LYNN VALLEY RD                   SPACE 126             NORTH VANCOUVER   BC   V7J 3H2      Canada        2,005
6949   2117   GA   53   T   6949   M              KINGSGATE MALL          KINGSGATE MALL                               370 EAST BROADWAY                     UNIT 101              VANCOUVER         BC   V5T 4G5      Canada        2,897
7182   2118   GA   53   T   7182   CB         804 GRANVILLE STREET        804 GRANVILLE STREET                                                                                     VANCOUVER         BC   V6Z 1K3      Canada        5,207
5974   2119   GA   53   T   5974   M            COQUITLAM CENTRE          COQUITLAM CENTRE                             2929 BARNET HIGHWAY                   UNIT 2224             COQUITLAM         BC   V3B 5R5      Canada        3,043
                                                               Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                                                                                      Pg 54 of 57
                                                                                                 Store Closing List




5911   2120   GA   53   T   5911   M               ABERDEEN MALL           ABERDEEN MALL                                216A 1320 W TRANS CANADA                                             KAMLOOPS            BC   V1S 1J2   Canada   2,827
6985   2121   GA   53   T   6985   JC            1055 HILLSIDE DRIVE       1055 HILLSIDE DRIVE                                                                 310                           KAMLOOPS            BC   V2E 2S5   Canada   2,540
5916   2122   GA   53   T   5916   M               ORCHARD PARK            ORCHARD PARK                                 2271 HARVEY AVE                        SPACE 560                     KELOWNA             BC   V1Y 6H2   Canada   2,439
5882   2123   GA   53   T   5882   M             HANEY PLACE MALL          HANEY PLACE MALL                             35 11900 HANEY PLACE                   SUITE 117                     MAPLE RIDGE         BC   V2X 8R9   Canada   2,242
4711   2124   GA   53   T   4711   SC            KINGS CROSS MALL          KINGS CROSS MALL                             7488 KING GEORGE HWY                   UNIT 320                      SURREY              BC   V3W 0H9   Canada   2,567
5858   2125   GA   53   T   5858   M     CENTRAL CITY SHOPPING CENTRE      CENTRAL CITY SHOPPING CENTRE                 2170 CENTRAL CITY                      10153 KING GEORGE BOULEVARD   SURREY              BC   V3T 2W1   Canada   2,454
5861   2126   GA   53   T   5861   JC   SURREY WEST SHOPPING CENTER        SURREY WEST SHOPPING CENTER                  12477 88TH AVE                         SUITE C110                    SURREY              BC   V3W 1P8   Canada   2,598
5868   2127   GA   53   T   5868   M         GUILDFORD TOWN CENTER         GUILDFORD TOWN CENTER                        10355 152ND ST                         SUITE 1143                    SURREY              BC   V3R 7C1   Canada   2,716
5884   2128   GA   53   T   5884   SC             STRAWBERRY HILL          STRAWBERRY HILL                              12101 72ND AVE                         SPACE 126                     SURREY              BC   V3W 2M1   Canada   2,902
5909   2129   GA   53   T   5909   M            VILLAGE GREEN MALL         VILLAGE GREEN MALL                           4900 27TH ST                           SPACE 730                     VERNON              BC   V1T 7G7   Canada   2,511
6916   2130   GA   53   T   6916   SC      DISCOVERY HARBOUR CENTRE        DISCOVERY HARBOUR CENTRE                     160 1436 ISLAND HWY                                                  CAMPBELL RIVER      BC   V9W 8C9   Canada   3,095
5885   2131   GA   53   T   5885   M           WOODGROVE CENTRE            WOODGROVE CENTRE                             6631 ISLAND HWY NORTH                  SPACE 95                      NANAIMO             BC   V9T 4T7   Canada   3,084
5857   2132   GA   53   T   5857   M            LANSDOWNE CENTRE           LANSDOWNE CENTRE                             5300 N 3 RD                            UNIT 968                      RICHMOND            BC   V6X 2X9   Canada   2,838
5993   2133   GA   53   T   5993   M             RICHMOND CENTRE           RICHMOND CENTRE                              1115-6551 NO. 3 ROAD                                                 RICHMOND            BC   V6Y 2B6   Canada   2,401
5886   2134   GA   53   T   5886   M                TILLICUM MALL          TILLICUM MALL                                3170 TILLICUM RD                       UNIT 123A                     VICTORIA            BC   V9A 7C5   Canada   2,558
5896   2135   GA   53   T   5896   M               THE BAY CENTRE          THE BAY CENTRE                               300-1150 DOUGLAS ST                                                  VICTORIA            BC   V8W 3M9   Canada   3,030
5984   2136   GA   53   T   5984   M        HILLSIDE SHOPPING CENTER       HILLSIDE SHOPPING CENTER                     1644 HILLSIDE AVENUE                   SPACE 77A                     VICTORIA            BC   V8T 2C5   Canada   2,573
6965   2137   GA   53   T   6965   M        MAYFAIR SHOPPING CENTRE        MAYFAIR SHOPPING CENTRE                      3147 DOUGLAS ST                        BOX 23 UNIT 195               VICTORIA            BC   V8Z 6E3   Canada   2,095
6918   2138   GA   54   T   6918   JC   CORNERSTONE SHOPPING CENTER        CORNERSTONE SHOPPING CENTER                  160 CORNERSTONE 6800-48 AVE                                          CAMROSE             AB   T4V 4T1   Canada   2,745
4731   2139   GA   54   T   4731   JC             13744 40TH ST NW         13744 40TH ST NW                                                                                                  EDMONTON            AB   T5Y 3E5   Canada   2,515
4737   2140   GA   54   T   4737   M           WEST EDMONTON MALL          WEST EDMONTON MALL                           8882 170TH STREET NW                   SP 1077                       EDMONTON            AB   T5T 3J7   Canada   6,503
4739   2141   GA   54   T   4739   JC           WEST PLAIN CENTRE          WEST PLAIN CENTRE                            18457 STONY PLAIN RD NW                                              EDMONTON            AB   T5S 2V6   Canada   2,539
5844   2142   GA   54   T   5844   M         MILLWOODS TOWN CENTER         MILLWOODS TOWN CENTER                        2331 66TH ST NW                        SPACE 309                     EDMONTON            AB   T6K 4B5   Canada   2,996
5845   2143   GA   54   T   5845   M               KINGSWAY MALL           KINGSWAY MALL                                109 ST AND PRINCESS ELIZABETH AVE      SPACE 250                     EDMONTON            AB   T5G 3A6   Canada   2,949
5874   2144   GA   54   T   5874   M           WEST EDMONTON MALL          WEST EDMONTON MALL                           8882 170TH                             #2165                         EDMONTON            AB   T5T 4J2   Canada   4,338
5876   2145   GA   54   T   5876   M            LONDONDERRY MALL           LONDONDERRY MALL                             137 AVE & 66 ST                        SPACE 294                     EDMONTON            AB   T5C 3C8   Canada   5,346
5877   2146   GA   54   T   5877   JC       SOUTH EDMONTON COMMON          SOUTH EDMONTON COMMON                        2083 98 ST NW                                                        EDMONTON            AB   T6N 1K2   Canada   2,770
5878   2147   GA   54   T   5878   M       EDMONTON CITY CENTRE EAST       EDMONTON CITY CENTRE EAST                    122 101 102ND AVE                      UNIT 122                      EDMONTON            AB   T5J 2Z2   Canada   2,875
5935   2148   GA   54   T   5935   M     BONNIE DOON SHOPPING CENTRE       BONNIE DOON SHOPPING CENTRE                  82ND AVE/83D ST                        SPACE 148                     EDMONTON            AB   T6C 4E3   Canada   3,107
6960   2149   GA   54   T   6960   SC           WHITE OAKS SQUARE          WHITE OAKS SQUARE                            12222-137 AVE                          UNIT 118                      EDMONTON            AB   T5L 4X5   Canada   2,316
6930   2150   GA   54   T   6930   M              PETER POND MALL          PETER POND MALL                              9713 HARDIN STREET                     UNIT 1123                     FORT MCMURRAY       AB   T9H 1L2   Canada   2,739
4738   2151   GA   54   T   4738   JC   CORNERSTONE FT SASKATCHEWAN        CORNERSTONE FT SASKATCHEWAN                  115 CORNERSTONE 8701 94TH STREET                                     FORT SASKATCHEWAN   AB   T8L 4P7   Canada   2,759
5959   2152   GA   54   T   5959   JC        GATEWAY POWER CENTRE          GATEWAY POWER CENTRE                         11020 100 AVE                          BAY 101                       GRANDE PRAIRIE      AB   T8V 7L5   Canada   2,638
4732   2153   GA   54   T   4732   JC              LEDUC COMMON            LEDUC COMMON                                 5310 DISCOVERY WAY                     UNIT 4                        LEDUC               AB   T9E 8L9   Canada   2,564
5991   2154   GA   54   T   5991   JC     LLOYDMINSTER POWER CENTER        LLOYDMINSTER POWER CENTER                    7003 44TH ST                                                         LLOYDMINSTER        AB   T9V 2X1   Canada   2,683
5958   2155   GA   54   T   5958   JC                 203 WYE RD           203 WYE RD                                                                                                        SHERWOOD PARK       AB   T8A 2G4   Canada   2,533
4704   2156   GA   54   T   4704   JC         SPRUCE GROVE CENTRE          SPRUCE GROVE CENTRE                          96 CAMPSITE RD                         UNIT 18                       SPRUCE GROVE        AB   T7X 4H4   Canada   2,560
5846   2157   GA   54   T   5846   M             ST ALBERT CENTRE          ST ALBERT CENTRE                             375 ST ALBERT TRAIL                    SPACE 112                     ST. ALBERT          AB   T8N 3K8   Canada   3,533
7181   2158   GA   54   T   7181   JC         530-700 ST ALBERT TRAIL      530-700 ST ALBERT TRAIL                      BUILDING E                                                           ST. ALBERT          AB   T8N 7A5   Canada   2,362
4713   2159   GA   54   T   4713   JC          4703 130TH AVENUE SE        4703 130TH AVENUE SE                         UNIT 3                                                               CALGARY             AB   T2Z 4J2   Canada   2,475
5881   2160   GA   54   T   5881   JC       SHAWNESSY TOWNE CENTER         SHAWNESSY TOWNE CENTER                       296 SHAWVILLE BLVD SOUTHEAST           SPACE 110                     CALGARY             AB   T2Y 3S4   Canada   2,924
5912   2161   GA   54   T   5912   M              WESTBROOK MALL           WESTBROOK MALL                               1200 37TH ST SW                        SPACE 24-27                   CALGARY             AB   T3C 1S2   Canada   2,400
5979   2162   GA   54   T   5979   M              CHINOOK CENTRE           CHINOOK CENTRE                               6455 MACLE0D TRAIL SW                  SPACE 313                     CALGARY             AB   T2H 0K9   Canada   2,384
6956   2163   GA   54   T   6956   M            SOUTHCENTRE MALL           SOUTHCENTRE MALL                             100 ANDERSON ROAD SE                   UNIT 3                        CALGARY             AB   T2J 3V1   Canada   2,730
6995   2164   GA   54   T   6995   M                   THE CORE            THE CORE                                     317 7TH AVENUE SW                      UNIT 253                      CALGARY             AB   T2P 2Y9   Canada   2,774
5893   2165   GA   54   T   5893   M                  PARK PLACE           PARK PLACE                                   501 1ST AVE S                          BOX 106                       LETHBRIDGE          AB   T1J 4L9   Canada   2,537
6989   2166   GA   54   T   6989   JC      3724 MAYOR MAGRATH DRIVE S      3724 MAYOR MAGRATH DRIVE S                                                          BAY 5                         LETHBRIDGE          AB   T1K 7T6   Canada   2,531
4734   2167   GA   54   T   4734   JC         CORNERSTONE OKOTOKF          CORNERSTONE OKOTOKF                          301 CORNERSTONE 201 SOUTHRIDGE DRIVE                                 OKOTOKS             AB   T1S 2E1   Canada   2,567
4712   2168   GA   54   T   4712   M                 MARKET MALL           MARKET MALL                                  3625 SHAGANAPPI TRAIL NW               F017D                         CALGARY             AB   T3A 0E2   Canada   2,254
5842   2169   GA   54   T   5842   M            MARLBOROUGH MALL           MARLBOROUGH MALL                             1156-3800 MEMORIAL DRIVE NE            SPACE 2679                    CALGARY             AB   T2A 2K2   Canada   2,705
5843   2170   GA   54   T   5843   M              NORTHLAND MALL           NORTHLAND MALL                               5111 NORTHLAND DR NW                   SPACE 1190                    CALGARY             AB   T2L 2J8   Canada   2,416
5892   2172   GA   54   T   5892   M               SUNRIDGE MALL           SUNRIDGE MALL                                2525 36 STREET NE                      SUITE 240                     CALGARY             AB   T1Y 5T4   Canada   2,603
5875   2173   GA   54   T   5875   M               PARKLAND MALL           PARKLAND MALL                                4747 67TH STREET                       SPACE 346                     RED DEER            AB   T4N 6H3   Canada   2,840
6954   2174   GA   54   T   6954   JC         SOUTHPOINTE COMMONS          SOUTHPOINTE COMMONS                          2004 50TH AVE                          SP 175                        RED DEER            AB   T4R 3A2   Canada   2,554
7180   2175   GA   54   T   7180   M              CROSS IRON MILLS         CROSS IRON MILLS                             261055 CROSS IRON BLVD                 UNIT 417                      ROCKY VIEW COUNTY   AB   T4A 0G3   Canada   3,831
4702   2176   GA   55   T   4702   M             CENTERPOINT MALL          CENTERPOINT MALL                             6464 YONGE ST                          UNIT 137                      NORTH YORK          ON   M2M 3X4   Canada   3,052
4716   2177   GA   55   T   4716   JC   FIRST SIMCHA SHOPPING CENTRES      FIRST SIMCHA SHOPPING CENTRES                1899 BROCK RD BLDG H                   SPACE 5                       PICKERING           ON   L1V 4H7   Canada   2,541
4723   2178   GA   55   T   4723   JC     1070 MAJOR MACKENZIE DRIVE E     1070 MAJOR MACKENZIE DRIVE E                 BLDG M UNIT 1                                                        RICHMOND HILL       ON   L4S 1P3   Canada   2,340
5823   2179   GA   55   T   5823   M               HILLCREST MALL          HILLCREST MALL                               9350 YONGE STREET                      UNIT A4C                      RICHMOND HILL       ON   L4C 5G2   Canada   2,834
7171   2180   GA   55   T   7171   JC               SAULT CENTRE           SAULT CENTRE                                 518 GREAT NORTHERN RD                  UNIT 1                        SAULT STE. MARIE    ON   P6B 4Z9   Canada   2,446
4740   2181   GA   55   T   4740   JC               785 MILNER AVE         785 MILNER AVE                               CRU C3                                                               SCARBOROUGH         ON   M1B 3C3   Canada   2,558
5919   2182   GA   55   T   5919   M              CEDARBRAE MALL           CEDARBRAE MALL                               3495 LAWRENCE AVE EAST                 SPACE D3                      SCARBOROUGH         ON   M1H 1B3   Canada   3,000
6975   2183   GA   55   T   6975   M       SCARBOROUGH TOWN CENTRE         SCARBOROUGH TOWN CENTRE                      300 BOROUGH DRIVE                                                    SCARBOROUGH         ON   M1P 4P5   Canada   3,702
5928   2184   GA   55   T   5928   M           NEW SUDBURY CENTRE          NEW SUDBURY CENTRE                           1349 LASALLE BLVD                      SPACE 36A                     SUDBURY             ON   P3A 1Z2   Canada   2,541
6972   2185   GA   55   T   6972   M              SOUTHRIDGE MALL          SOUTHRIDGE MALL                              1933 REGENT ST                                                       SUDBURY             ON   P3E 5R2   Canada   2,570
6982   2186   GA   55   T   6982   M              PROMENADE MALL           PROMENADE MALL                               1 PROMENADE CIRCLE                     UNIT 0176                     THORNHILL           ON   L4J 4P8   Canada   3,584
7178   2187   GA   55   T   7178   JC        AURORA SMART CENTRES          AURORA SMART CENTRES                         91 FIRST COMMERCE DR                   UNIT 13                       AURORA              ON   L4G 0G2   Canada   2,447
6913   2188   GA   55   T   6913   JC   BAYFIELD STREET LIVINGSTONE RD     BAYFIELD STREET LIVINGSTONE RD               462 BAYFIELD STREET                    UNIT E3                       BARRIE              ON   L4M 5A2   Canada   2,744
5815   2189   GA   55   T   5815   SC    FIRST BOLTON SHOPPING CENTRE      FIRST BOLTON SHOPPING CENTRE                 50 MCEWAN DR EAST J3                   UNIT J3                       BOLTON              ON   L7E 2Y5   Canada   2,955
6911   2190   GA   55   T   6911   M               VAUGHAN MILLS           VAUGHAN MILLS                                1 BASS PRO MILLS DR                    UNIT 318                      CONCORD             ON   L4K 5W4   Canada   2,769
4720   2191   GA   55   T   4720   JC                16821 HWY 12          16821 HWY 12                                 UNIT G6                                                              MIDLAND             ON   L4R 0A9   Canada   2,609
5824   2192   GA   55   T   5824   M            UPPER CANADA MALL          UPPER CANADA MALL                            17600 YONGE ST                         SPACE BB1                     NEWMARKET           ON   L3Y 4Z1   Canada   2,874
6924   2193   GA   55   T   6924   JC        WOODLAND HILLS CENTRE         WOODLAND HILLS CENTRE                        18040 YONGE ST                                                       NEWMARKET           ON   L3Y 8S4   Canada   2,715
6917   2194   GA   55   T   6917   M              NORTHGATE MALL           NORTHGATE MALL                               1500 FISHER ST                         UNIT 132                      NORTH BAY           ON   P1B 2H3   Canada   3,158
4708   2195   GA   55   T   4708   JC            WEST RIDGE PLACE          WEST RIDGE PLACE                             3275 MONARCH DR                        UNIT 107                      ORILLIA             ON   L3V 7Z4   Canada   2,938
5872   2196   GA   55   T   5872   M               HERITAGE PLACE          HERITAGE PLACE                               1350 16TH ST EAST                      SPACE D006-D007               OWEN SOUND          ON   N4K 6N7   Canada   2,898
                                                                 Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                                                                                        Pg 55 of 57
                                                                                                   Store Closing List




6920   2197   GA   55   T   6920   FS        WESTRIDGE SHOPPING CENTRE       WESTRIDGE SHOPPING CENTRE                    170 WINDFLOWER GATE                      BLDG N              WOODBRIDGE      ON   L4L 9K8   Canada   3,020
6921   2198   GA   55   T   6921   M                   SHOPPERS MALL         SHOPPERS MALL                                1570 18TH ST                             UNIT CRU50A         BRANDON         MB   R7A 5C5   Canada   2,530
5938   2199   GA   55   T   5938   M                   PORTAGE PLACE         PORTAGE PLACE                                393 PORTAGE AVE                          SPACE 130-132       WINNIPEG        MB   R3B 3H6   Canada   3,001
5947   2200   GA   55   T   5947   M        GARDEN CITY SHOPPING CENTRE      GARDEN CITY SHOPPING CENTRE                  2305 MCPHILLIPS ST                       SPACE 138           WINNIPEG        MB   R2V 3E1   Canada   2,906
5952   2201   GA   55   T   5952   JC   CROSSROADS STATION SHOPPING CENTRE   CROSSROADS STATION SHOPPING CENTRE           1574A REGENT AVENUE WEST                 UNIT 3              WINNIPEG        MB   R2C 3B4   Canada   2,845
5953   2202   GA   55   T   5953   M                   KILDONAN PLACE        KILDONAN PLACE                               1555 REGENT AVE WEST                     SPACE T27A          WINNIPEG        MB   R2C 4J2   Canada   2,889
5988   2203   GA   55   T   5988   M                        ST VITAL         ST VITAL                                     1225 ST MARY'S ROAD                      SPACE 59            WINNIPEG        MB   R2M 5E5   Canada   2,613
6915   2204   GA   55   T   6915   M         POLO PARK SHOPPING CENTRE       POLO PARK SHOPPING CENTRE                    1485 PORTAGE AVE                         SPACE 200A          WINNIPEG        MB   R3G 0W4   Canada   2,591
6946   2205   GA   55   T   6946   JC               1659 KENASTON BLVD       1659 KENASTON BLVD                           UNIT 1                                                       WINNIPEG        MB   R3P 2M4   Canada   2,775
6981   2206   GA   55   T   6981   JC                    UNICITY MALL        UNICITY MALL                                 3653 PORTAGE AVE                         SP 6                WINNIPEG        MB   R3K 2G6   Canada   2,614
5929   2207   GA   55   T   5929   M          INTERCITY SHOPPING CENTRE      INTERCITY SHOPPING CENTRE                    1000 FT WILLIAM RD                       SPACE 25            THUNDER BAY     ON   P7B 6B9   Canada   2,086
5980   2208   GA   55   T   5980   JC        CORNERSTONE PRINCE ALBERT       CORNERSTONE PRINCE ALBERT                    800-15TH ST EAST                         BAY 700             PRINCE ALBERT   SK   S6V 8E3   Canada   2,492
5937   2210   GA   55   T   5937   SC       GRASSLANDS SHOPPING CENTER       GRASSLANDS SHOPPING CENTER                   4638 GORDON ROAD                                             REGINA          SK   S4W 0B7   Canada   2,375
5945   2211   GA   55   T   5945   M                 CORNWALL CENTRE         CORNWALL CENTRE                              2102 11TH AVE                            SPACE TT11A         REGINA          SK   S4P 3Y6   Canada   2,846
6941   2212   GA   55   T   6941   M         NORTHGATE SHOPPING CENTRE       NORTHGATE SHOPPING CENTRE                    489 ALBERT ST N                                              REGINA          SK   S4R 3C4   Canada   2,760
5936   2213   GA   55   T   5936   M         THE MALL AT LAWSON HEIGHTS      THE MALL AT LAWSON HEIGHTS                   134 PRIMROSE DR                          SPACE A 22          SASKATOON       SK   S7K 5S6   Canada   2,574
5948   2214   GA   55   T   5948   M                   MIDTOWN PLAZA         MIDTOWN PLAZA                                21ST ST EAST                             SPACE T254          SASKATOON       SK   S7K 1J9   Canada   2,519
5968   2215   GA   55   T   5968   M                     MARKET MALL         MARKET MALL                                  2325 PRESTON AVE                         SPACE 88-89         SASKATOON       SK   S7J 2G2   Canada   2,253
5851   2216   TG   56   T   5851   M         DOWNTOWN CHATHAM CENTRE         DOWNTOWN CHATHAM CENTRE                      100 KING ST WEST                         SPACE T226          CHATHAM         ON   N7M 6A9   Canada   2,551
5880   2217   TG   56   T   5880   JC              NORTH MAPLE CENTRE        NORTH MAPLE CENTRE                           877 ST CLAIR ST                          UNIT D-8            CHATHAM         ON   N7M 5J7   Canada   2,555
6935   2218   TG   56   T   6935   JC                  288 ERIE STREET       288 ERIE STREET                              UNIT D                                   UNIT 4 BLDG E       LEAMINGTON      ON   N8H 3C5   Canada   2,602
5814   2219   TG   56   T   5814   JC                    ARGYLE MALL         ARGYLE MALL                                  340 CLARKE ROAD                          UNIT J1             LONDON          ON   N5W 5G1   Canada   2,462
5847   2220   TG   56   T   5847   M                 MASONVILLE PLACE        MASONVILLE PLACE                             1680 RICHMOND ST N                       SPACE L 142         LONDON          ON   N6G 3Y9   Canada   2,627
5921   2221   TG   56   T   5921   JC              FIRST LONDON NORTH        FIRST LONDON NORTH                           1310 FANSHAWE PK RD WEST                 BUILDING F1         LONDON          ON   N6G 5B1   Canada   2,567
7191   2222   TG   56   T   7191   M                  WHITE OAKS MALL        WHITE OAKS MALL                              1105 WELLINGTON ROAD SPACE #485 & #487   SUITE 485           LONDON          ON   N6E 1V4   Canada   2,540
5973   2223   TG   56   T   5973   M                    LAMBTON MALL         LAMBTON MALL                                 1380 LONDON ROAD                         SPACE 53            SARNIA          ON   N7S 1P8   Canada   2,378
4703   2224   TG   56   T   4703   SC                 3160 DOUGALL AVE       3160 DOUGALL AVE                             BUILDING F                                                   WINDSOR         ON   N9E 1S6   Canada   3,491
5854   2225   TG   56   T   5854   M                   TECUMSEH MALL         TECUMSEH MALL                                7650 TECUMSEH RD EAST                    SPACE E1            WINDSOR         ON   N8T 1E9   Canada   2,953
5887   2226   TG   56   T   5887   M                 DEVONSHIRE MALL         DEVONSHIRE MALL                              3100 HOWARD AVE                          SPACE B1            WINDSOR         ON   N8X 3Y8   Canada   3,148
4701   2227   TG   56   T   4701   M                CAMBRIDGE CENTRE         CAMBRIDGE CENTRE                             355 HESPELER ROAD                        UNIT 290            CAMBRIDGE       ON   N1R 6B3   Canada   2,690
4727   2228   TG   56   T   4727   M                FAIRVIEW PARK MALL       FAIRVIEW PARK MALL                           2960 KINGSWAY DR                         UNIT N005A          KITCHENER       ON   N2C 1X1   Canada   3,020
5890   2229   TG   56   T   5890   SC          SUNRISE SHOPPING CENTER       SUNRISE SHOPPING CENTER                      1400 OTTAWA STREET SOUTH                 SUITE A6            KITCHENER       ON   N2E 4E2   Canada   6,477
7194   2230   TG   56   T   7194   SC                    IRA NEEDLES         IRA NEEDLES                                  200 THE BOARDWALK UNIT 1                                     KITCHENER       ON   N2N 0B1   Canada   2,493
5852   2231   TG   56   T   5852   M                      ELGIN MALL         ELGIN MALL                                   417 WELLINGTON ST                        SPACE 1             ST THOMAS       ON   N5R 5J5   Canada   2,560
6938   2232   TG   56   T   6938   M      STRATFORD FESTIVAL MARKETPLACE     STRATFORD FESTIVAL MARKETPLACE               1067 ONTARIO ST                          UNIT G-5            STRATFORD       ON   N5A 6W6   Canada   2,311
5889   2233   TG   56   T   5889   M           TILLSONBURG TOWN CENTRE       TILLSONBURG TOWN CENTRE                      200 BROADWAY STREET                      SPACE C6-7          TILLSONBURG     ON   N4G 5A7   Canada   2,400
5998   2234   TG   56   T   5998   M                  CONESTOGA MALL         CONESTOGA MALL                               550 KING ST N                            SPACE G15           WATERLOO        ON   N2L 5W6   Canada   2,269
4719   2235   TG   56   T   4719   JC                    WOODSTOCK           WOODSTOCK                                    523 NORWICH AVE BUILDING J               UNIT 1              WOODSTOCK       ON   N4S 9A2   Canada   2,043
5813   2236   TG   56   T   5813   M                 LYNDON PARK MALL        LYNDON PARK MALL                             84 LYNDEN RD                             SPACE F1            BRANTFORD       ON   N3R 6B8   Canada   3,053
5828   2237   TG   56   T   5828   JC             BRANTFORD COMMONS          BRANTFORD COMMONS                            300 KING GEORGE ROAD                     UNIT E100           BRANTFORD       ON   N3R 5L8   Canada   2,368
4721   2238   TG   56   T   4721   JC             BURLINGTON WAL MART        BURLINGTON WAL MART                          4517 DUNDAS UNIT B5                                          BURLINGTON      ON   L7M 1N9   Canada   3,095
5819   2239   TG   56   T   5819   M                  BURLINGTON MALL        BURLINGTON MALL                              777 GUELPH LINE                                              BURLINGTON      ON   L7R 3N2   Canada   3,678
6922   2240   TG   56   T   6922   M         MAPLEVIEW SHOPPING CENTRE       MAPLEVIEW SHOPPING CENTRE                    900 MAPLE AVENUE                         SUITE BB1           BURLINGTON      ON   L7S 2J8   Canada   2,245
4722   2241   TG   56   T   4722   M                    STONE RD MALL        STONE RD MALL                                435 STONE RD WEST                        UNIT Z12            GUELPH          ON   N1G 2X6   Canada   3,011
6974   2242   TG   56   T   6974   JC            SMART CENTRES GUELPH        SMART CENTRES GUELPH                         17 WOODLAWN RD WEST                      UNIT 100            GUELPH          ON   N1H 1G8   Canada   2,426
5816   2243   TG   56   T   5816   JC                    CENTRE MALL         CENTRE MALL                                  1241 BARTON STREET EAST                  UNIT Q14            HAMILTON        ON   L8H 2V4   Canada   2,937
5840   2244   TG   56   T   5840   M               MOUNTAIN PLAZA MALL       MOUNTAIN PLAZA MALL                          661 UPPER JAMES ST                       SPACE 1 AND 2       HAMILTON        ON   L9C 5R8   Canada   3,254
5883   2245   TG   56   T   5883   JC              MILTON CROSS ROADS        MILTON CROSS ROADS                           1250 STEELES AVE EAST                    UNIT E1             MILTON          ON   L9T 6R1   Canada   3,024
6919   2247   TG   56   T   6919   JC                  ANCASTER PLAZA        ANCASTER PLAZA                               1080 WILSON STREET WEST                  UNIT H1             ANCASTER        ON   L9G 3K9   Canada   2,748
5955   2248   TG   56   T   5955   M                   LIMERIDGE MALL        LIMERIDGE MALL                               999 UPPER WENTWORTH ST                   SPACE 0322 032      HAMILTON        ON   L9A 4X5   Canada   2,609
6940   2249   TG   56   T   6940   M            LLOYD D JACKSON SQUARE       LLOYD D JACKSON SQUARE                       2 KING STREET WEST                       UNIT 156            HAMILTON        ON   L8P 1A2   Canada   2,939
6990   2250   TG   56   T   6990   JC          HAMILTON WALMART CENTRE       HAMILTON WALMART CENTRE                      2176 RYMAL ROAD E                        RR #1 UNIT 101      HANNON          ON   L0R 1P0   Canada   2,550
4730   2251   TG   56   T   4730   SC           HEARTLAND TOWN CENTRE        HEARTLAND TOWN CENTRE                        650 MATHESON BLVD WEST                   UNIT 1              MISSISSAUGA     ON   L5R 3T2   Canada   7,064
6978   2252   TG   56   T   6978   SC          OAKWOOD PLACE SHOPPING        OAKWOOD PLACE SHOPPING                       7481 OAKWOOD DR                          UNIT #302           NIAGARA FALLS   ON   L2E 7K5   Canada   2,536
5805   2253   TG   56   T   5805   M                      PEN CENTRE         PEN CENTRE                                   221 GLENDALE AVE                         SPACE 40A           ST CATHARINES   ON   L2T 2K9   Canada   2,352
5838   2254   TG   56   T   5838   M                NEW FAIRVIEW MALL        NEW FAIRVIEW MALL                            285 GENEVA ST                            SPACE E5            ST CATHARINES   ON   L2N 2G1   Canada   2,500
6988   2255   TG   56   T   6988   JC                420 VANSICKLE RD 1      420 VANSICKLE RD 1                           UNIT E-07                                                    ST CATHARINES   ON   L2R 6P9   Canada   3,037
5817   2256   TG   56   T   5817   M                 EASTGATE SQUARE         EASTGATE SQUARE                              75 CENTENNIAL PKWY NORTH                 SPACE B002D         STONEY CREEK    ON   L8G 2C7   Canada   2,964
5957   2257   TG   56   T   5957   M                     SEAWAY MALL         SEAWAY MALL                                  800 NIAGARA STREET                       SPACE E11           WELLAND         ON   L3C 5Z4   Canada   2,806
4709   2258   TG   57   T   4709   JC                   181 N QUEEN ST       181 N QUEEN ST                                                                        UNIT 1              ETOBICOKE       ON   M9C 1A7   Canada   2,718
5869   2259   TG   57   T   5869   M                 WOODBINE CENTRE         WOODBINE CENTRE                              500 REXDALE BOULEVARD                    SPACE D002          ETOBICOKE       ON   M9W 6K5   Canada   2,762
5954   2260   TG   57   T   5954   M                    ALBION CENTRE        ALBION CENTRE                                1530 ALBION RD                           SPACE T88           ETOBICOKE       ON   M9V 1B4   Canada   2,808
6901   2261   TG   57   T   6901   M                 CLOVERDALE MALL         CLOVERDALE MALL                              250 THE EAST MALL                        UNIT 275            ETOBICOKE       ON   M9B 3Y8   Canada   2,327
4715   2262   TG   57   T   4715   JC              SOUTH COMMON MALL         SOUTH COMMON MALL                            2136 BURNHAMTHORPE ROAD WEST             BUILDING E UNIT 4   MISSISSAUGA     ON   L5L 5Z5   Canada   2,681
5803   2263   TG   57   T   5803   M                 DIXIE OUTLET MALL       DIXIE OUTLET MALL                            1250 S SERVICE RD                        UNIT 132B           MISSISSAUGA     ON   L5E 1V4   Canada   3,580
5839   2264   TG   57   T   5839   M             ERIN MILLS TOWN CENTER      ERIN MILLS TOWN CENTER                       5100 ERIN MILLS PKWY                     UNIT B224A          MISSISSAUGA     ON   L5M 4Z5   Canada   2,779
6923   2265   TG   57   T   6923   M              THE SHERIDAN CENTRE        THE SHERIDAN CENTRE                          2225 ERIN MILLS PARKWAY                  SPACE 35A           MISSISSAUGA     ON   L5K 1T9   Canada   2,272
5836   2266   TG   57   T   5836   JC                OAKVILLE UPTOWN         OAKVILLE UPTOWN                              275 HAYES BLVD                           BUILDING G          OAKVILLE        ON   L6H 6M2   Canada   2,835
5811   2267   TG   57   T   5811   M         BRAMPTON SHOPPERS WORLD         BRAMPTON SHOPPERS WORLD                      499 MAIN ST SOUTH                        SPACE 70            BRAMPTON        ON   L6Y 1N7   Canada   2,779
5812   2268   TG   57   T   5812   JC               2933 QUEEN ST EAST       2933 QUEEN ST EAST                           UNIT 3                                                       BRAMPTON        ON   L6T 5P9   Canada   3,035
5826   2269   TG   57   T   5826   JC              BRAMPTON CORNERS          BRAMPTON CORNERS                             78 QUARRY EDGE DR                        BLDG G              BRAMPTON        ON   L6V 4L4   Canada   2,882
5969   2270   TG   57   T   5969   M              BRAMALEA CITY CENTRE       BRAMALEA CITY CENTRE                         25 PEEL CENTRE DRIVE                     SPACE 204           BRAMPTON        ON   L6T 3R5   Canada   3,127
4736   2271   TG   57   T   4736   JC      FIRST REXDALE SHOPPING CENTRE     FIRST REXDALE SHOPPING CENTRE                2261 ISLINGTON AVENUE                    UNIT 1              ETOBICOKE       ON   M9W 3W6   Canada   2,565
5830   2272   TG   57   T   5830   M          GEORGETOWN MARKETPLACE         GEORGETOWN MARKETPLACE                       280 GUELPH ST                            UNIT 22             GEORGETOWN      ON   L7G 4B1   Canada   2,444
5804   2273   TG   57   T   5804   M        SQUARE ONE SHOPPING CENTRE       SQUARE ONE SHOPPING CENTRE                   100 CITY CENTRE DRIVE                    SPACE 1-818         MISSISSAUGA     ON   L5B 2C9   Canada   2,406
6980   2274   TG   57   T   6980   JC     WINSTON CHURCHILL DEVELOPMENTS     WINSTON CHURCHILL DEVELOPMENTS               3055 ARGENTIA RD 1                       BUILDING B UNIT 1   MISSISSAUGA     ON   L5N 8E1   Canada   2,854
                                                               Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                                                                                      Pg 56 of 57
                                                                                                 Store Closing List




5949   2275   TG   57   T   5949   JC        ORANGEVILLE FAIRGROUNDS       ORANGEVILLE FAIRGROUNDS                      95 FIRST                         UNIT 103            ORANGEVILLE           ON   L9W 3Z9   Canada   2,614
5950   2276   TG   57   T   5950   SC                DURHAM CENTRE         DURHAM CENTRE                                40 KINGSTON RD E                 UNIT A4B            AJAX                  ON   L1Z 1G1   Canada   6,921
5834   2277   TG   57   T   5834   JC            264 MILLENNIUM PKWY       264 MILLENNIUM PKWY                          UNIT 6                                               BELLEVILLE            ON   K8N 4Z5   Canada   2,674
5930   2278   TG   57   T   5930   M                   QUINTE MALL         QUINTE MALL                                  390 NORTH FRONT ST               SPACE H1            BELLEVILLE            ON   K8P 3E1   Canada   3,189
5931   2279   TG   57   T   5931   SC      CLARINGTON SHOPPING CENTRE      CLARINGTON SHOPPING CENTRE                   70 CLARINGTON BLVD               SUITE 2A            BOWMANVILLE           ON   L1C 5A5   Canada   3,078
6945   2280   TG   57   T   6945   M          CATARAQUI TOWN CENTER        CATARAQUI TOWN CENTER                        945 GARDINERS RD                 L53A                KINGSTON              ON   K7M 7H4   Canada   2,180
4705   2281   TG   57   T   4705   JC          1401 HARMONY RD NORTH       1401 HARMONY RD NORTH                        UNIT E 01                                            OSHAWA                ON   L1H 7K5   Canada   2,545
5802   2282   TG   57   T   5802   M                 OSHAWA CENTRE         OSHAWA CENTRE                                419 KING ST WEST                 SPACE 2330          OSHAWA                ON   L1J 2K5   Canada   2,549
5827   2283   TG   57   T   5827   M               LANSDOWNE PLACE         LANSDOWNE PLACE                              645 LANSDOWNE STREET WEST        SPACE 162           PETERBOROUGH          ON   K9J 7Y5   Canada   3,113
5806   2284   TG   57   T   5806   M           PICKERING TOWN CENTER       PICKERING TOWN CENTER                        UNIT 195 KINGSTON ROAD                               PICKERING             ON   L1V 1B8   Canada   2,587
5951   2285   TG   57   T   5951   M                 TIMMINS SQUARE        TIMMINS SQUARE                               1500 RIVERSIDE DR W              SPACE 4             TIMMINS               ON   P4R 1A1   Canada   2,365
5801   2286   TG   57   T   5801   M                  DUFFERIN MALL        DUFFERIN MALL                                900 DUFFERIN ST                  SPACE 0220          TORONTO               ON   M6H 4B1   Canada   2,331
4717   2287   TG   57   T   4717   JC            150 TAUNTON ROAD W        150 TAUNTON ROAD W                           BUILDING E                       UNIT 2              WHITBY                ON   L1R 3H8   Canada   2,646
5891   2288   TG   57   T   5891   JC       SHOPPERS WORLD DANFORTH        SHOPPERS WORLD DANFORTH                      3003 DANFORTH AVENUE                                 EAST YORK             ON   M4C 1M9   Canada   2,992
5808   2289   TG   57   T   5808   M         NORTH YORK SHERIDAN MALL      NORTH YORK SHERIDAN MALL                     1700 WILSON AVE                  SPACE 180           NORTH YORK            ON   M3L 1B2   Canada   2,692
5831   2290   TG   57   T   5831   M                  FAIRVIEW MALL        FAIRVIEW MALL                                1800 SHEPPARD AVENUE EAST        UNIT 1073           NORTH YORK            ON   M2J 5A7   Canada   4,090
5908   2291   TG   57   T   5908   M               LAWRENCE SQUARE         LAWRENCE SQUARE                              700 LAWRENCE AVE WEST            SPACE 116           NORTH YORK            ON   M6A 3B4   Canada   2,945
6951   2292   TG   57   T   6951   SC              NORTH PARK PLAZA        NORTH PARK PLAZA                             1383 LAWRENCE AVENUE WEST        UNIT 10             NORTH YORK            ON   M6L 1A4   Canada   3,000
5871   2293   TG   57   T   5871   M            MALVERN TOWN CENTRE        MALVERN TOWN CENTRE                          31 TAPSCOTT ROAD                 SPACE 63            SCARBOROUGH           ON   M1B 4Y7   Canada   3,522
5967   2294   TG   57   T   5967   M    EGLINTON SQUARE SHOPPING CENTER    EGLINTON SQUARE SHOPPING CENTER              1 EGLINTON SQUARE EAST           UNIT 37             SCARBOROUGH           ON   M1L 2K1   Canada   2,528
7177   2295   TG   57   T   7177   JC         EGLINTON SMART CENTRES       EGLINTON SMART CENTRES                       1900 EGLINTON AVE E              BLDG D UNIT 1       SCARBOROUGH           ON   M1L 2L9   Canada   2,643
5800   2296   TG   57   T   5800   CB                  237 YONGE ST        237 YONGE ST                                                                                      TORONTO               ON   M5B 1N8   Canada   4,500
5818   2297   TG   57   T   5818   M                GERRARD SQUARE         GERRARD SQUARE                               1000 GERRARD STREET EAST         SPACE D7B           TORONTO               ON   M4M 3G6   Canada   3,088
5933   2298   TG   57   T   5933   CB                  673 YONGE ST        673 YONGE ST                                                                                      TORONTO               ON   M4Y 1Z9   Canada   4,612
7172   2299   TG   58   T   7172   JC           FIRST PRO BROCKVILLE       FIRST PRO BROCKVILLE                         1958 PARKEDALE AVE               UNIT 4&5            BROCKVILLE            ON   K6V 7N4   Canada   2,531
5932   2300   TG   58   T   5932   M               CORNWALL SQUARE         CORNWALL SQUARE                              1 WATER STREET EAST                                  CORNWALL              ON   K6H 6R3   Canada   2,668
5986   2301   TG   58   T   5986   JC               KANATA CENTRUM         KANATA CENTRUM                               120 EARL GREY DR                                     KANATA                ON   K2T 1B6   Canada   2,493
4724   2302   TG   58   T   4724   SC      CHAPMAN MILLS MARKET PLACE      CHAPMAN MILLS MARKET PLACE                   80 MARKET PLACE AVE              UNIT J 7            NEPEAN                ON   K2J 5G3   Canada   2,007
5985   2303   TG   58   T   5985   SC                 MERIVALE MALL        MERIVALE MALL                                1642 MERIVALE ROAD               SPACE 38            NEPEAN                ON   K2G 4A1   Canada   4,185
6996   2304   TG   58   T   6996   M                   BAYSHORE SC         BAYSHORE SC                                  100 BAYSHORE DR                  SUITE B1            NEPEAN                ON   K2B 8C1   Canada   3,336
5865   2305   TG   58   T   5865   M                PLACE D'ORLEANS        PLACE D'ORLEANS                              110 PLACE D'ORLEANS DR           SPACE 690           ORLEANS               ON   K1C 2L9   Canada   2,999
5962   2306   TG   58   T   5962   JC             FIRST PRO ORLEANS        FIRST PRO ORLEANS                            3890 INNES RD                    UNIT 1              ORLEANS               ON   K1C 1T1   Canada   2,844
5863   2307   TG   58   T   5863   M            BILLINGS BRIDGE PLAZA      BILLINGS BRIDGE PLAZA                        2277 RIVERSIDE DR                SPACE 17            OTTAWA                ON   K1H 7X6   Canada   3,966
5994   2308   TG   58   T   5994   M              CARLINGWOOD MALL         CARLINGWOOD MALL                             2121 CARLING AVE                                     OTTAWA                ON   K2A 1H2   Canada   3,354
6986   2309   TG   58   T   6986   M       ST LAURENT SHOPPING CENTRE      ST LAURENT SHOPPING CENTRE                   1200 ST LAURENT BLVD             SPACE 206           OTTAWA                ON   K1K 3B8   Canada   1,958
7179   2310   TG   58   T   7179   JC            OTTAWA TRAIN YARDS        OTTAWA TRAIN YARDS                           500 TERMINAL AVE                 UNIT A-10           OTTAWA                ON   K1G 0Z3   Canada   3,242
6962   2311   TG   58   T   6962   M                 PEMBROKE MALL         PEMBROKE MALL                                1100 PEMBROKE ST EAST            SP 103              PEMBROKE              ON   K8A 6Y7   Canada   2,505
6955   2312   TG   58   T   6955   M                 MAIL CHAMPLAIN        MAIL CHAMPLAIN                               2151 BOUL LAPINIERE                                  BROSSARD              QC   J4W 2T5   Canada   2,157
5965   2313   TG   58   T   5965   M     CENTRE REGIONAL CHATEAUGUAY       CENTRE REGIONAL CHATEAUGUAY                  200 ANJOU BLVD                   SUITE 351           CHATEAUGUAY           QC   J6K 1C5   Canada   2,540
5923   2314   TG   58   T   5923   M              LES JARDINS DORVAL       LES JARDINS DORVAL                           372 AVE DORVAL                   SPACE 34            DORVAL                QC   H9S 3H8   Canada   2,964
5964   2315   TG   58   T   5964   M        PROMENADES DE L'OUTAOUAIS      PROMENADES DE L'OUTAOUAIS                    1100 MALONEY BLVD WEST           SPACE 116           GATINEAU              QC   J8T 6G3   Canada   2,614
5902   2316   TG   58   T   5902   M           CARREFOUR ANGRIGNON         CARREFOUR ANGRIGNON                          7077 NEWMAN BOULEVARD            SPACE 1120/111      LASALLE               QC   H8N 1X1   Canada   3,050
4729   2317   TG   58   T   4729   M               CARREFOUR LAVAL         CARREFOUR LAVAL                              3035 BOUL LE CARREFOUR           UNIT L-2            LAVAL                 QC   H7T 1C8   Canada   2,897
5901   2318   TG   58   T   5901   M                  CENTRE LAVAL         CENTRE LAVAL                                 1600 LE CORBUSIER BOULEVARD      SPACE 89            LAVAL                 QC   H7S 1Y9   Canada   2,709
6970   2319   TG   58   T   6970   JC   5405 BOULEVARD ROBERT-BOURASSA     5405 BOULEVARD ROBERT-BOURASSA                                                                    LAVAL                 QC   H7E 0A4   Canada   2,564
6910   2320   TG   58   T   6910   M                PLACE LONGUEUIL        PLACE LONGUEUIL                              825 OUEST ST LAURENT             SPACE 39            LONGUEUIL             QC   J4K 2V1   Canada   3,234
6984   2321   TG   58   T   6984   SC             117 MONTEE MASSON        117 MONTEE MASSON                            BLDG J-2                                             MASCOUCHE             QC   J7K 3B4   Canada   2,455
5903   2322   TG   58   T   5903   M                PLACE VERSAILLES       PLACE VERSAILLES                             7275 RUE SHERBROOKE EST          # 21                MONTREAL              QC   H1N 1E9   Canada   2,995
5922   2323   TG   58   T   5922   CB            PLAZA RUE ST HUBERT       PLAZA RUE ST HUBERT                          7043 ST HUBERT                                       MONTREAL              QC   H2S 2N1   Canada   4,300
5941   2324   TG   58   T   5941   M      PROMENADES DE LA CATHEDRALE      PROMENADES DE LA CATHEDRALE                  625 RUE STE CATHERINES W         SPACE 1010          MONTREAL              QC   H3B 1B2   Canada   2,784
4706   2325   TG   58   T   4706   JC    6158 BOUL HENRY BOURASSA EAST     6158 BOUL HENRY BOURASSA EAST                                                                     MONTREAL-NORD         QC   H1G 5X3   Canada   2,504
6932   2326   TG   58   T   6932   M          CARREFOUR DE LA POINTE       CARREFOUR DE LA POINTE                       12675 SHERBROOKE ST EAST         SUITE 108-109A      POINTE-AUX-TREMBLES   QC   H1A 3W7   Canada   2,350
5944   2327   TG   58   T   5944   M      CENTRE FAIRVIEW POINTE-CLAIRE    CENTRE FAIRVIEW POINTE-CLAIRE                6815 AUTOROUTE TRANSCANADIENNE   SPACE S001          POINTE-CLAIRE         QC   H9R 1C4   Canada   2,389
6905   2328   TG   58   T   6905   M                  PLACE LAURIER        PLACE LAURIER                                2700 BLVD LAURIER                SPACE 3330          QUEBEC CITY           QC   G1V 2L8   Canada   2,201
5943   2329   TG   58   T   5943   M         LES PROMENADES ST-BRUNO       LES PROMENADES ST-BRUNO                      506 BOULEVARD DES PROMENADES     SPACE K019          SAINT-BRUNO           QC   J3V 6A8   Canada   2,329
5924   2330   TG   58   T   5924   M              PLACE ST-EUSTACHE        PLACE ST-EUSTACHE                            367 ARTHUR SAUVE BLVD            SPACE 162-163       SAINT-EUSTACHE        QC   J7P 2B1   Canada   3,095
5900   2332   TG   58   T   5900   M                   PLACE VERTU         PLACE VERTU                                  3131 COTE VERTU                  UNIT H10            SAINT-LAURENT         QC   H4R 1Y8   Canada   3,155
5926   2333   TG   58   T   5926   M                  LE BOULEVARD         LE BOULEVARD                                 4278 JEAN TALON ST E             SPACE 5             SAINT-LEONARD         QC   H1S 1J7   Canada   2,950
5927   2334   TG   58   T   5927   M            PROMENADES DE SOREL        PROMENADES DE SOREL                          450 PROLIQOIN BLVD               SPACE 190 AND 200   SOREL-TRACY           QC   J3P 7R5   Canada   2,408
6971   2335   TG   58   T   6971   M              PLACE ALEXIS NIHON       PLACE ALEXIS NIHON                           1500 ATWATER                     LOCAL 24            WESTMOUNT             QC   H3Z 3C1   Canada   2,450
7174   2336   GA   59   T   7174   JC                ST ANNES PLAZA        ST ANNES PLAZA                               930 ST ANNE ST                   UNIT 7              BATHURST              NB   E2A 6X2   Canada   2,500
6926   2337   GA   59   T   6926   M                CHAMPLAIN PLACE        CHAMPLAIN PLACE                              477 PAUL ST                      SPACE E6            DIEPPE                NB   E1A 4X5   Canada   2,928
5989   2338   GA   59   T   5989   M                   REGENT MALL         REGENT MALL                                  1381 REGENT STREET               SPACE H002          FREDERICTON           NB   E3C 1A2   Canada   2,241
5981   2339   GA   59   T   5981   M               MC ALLISTER PLACE       MC ALLISTER PLACE                            519 WESTMORLAND ROAD             SPACE C003          SAINT JOHN            NB   E2J 3W9   Canada   2,500
7192   2340   GA   59   T   7192   M             CORNER BROOK PLAZA        CORNER BROOK PLAZA                           44 MAPLE VALLEY ROAD                                 CORNER BROOK          NL   A2H 6L8   Canada   3,242
7189   2341   GA   59   T   7189   M                   AVALON MALL         AVALON MALL                                  48 KENMOUNT ROAD                 UNIT 0210           ST. JOHN'S            NL   A1B 1W3   Canada   2,428
7190   2342   GA   59   T   7190   M       THE VILLAGE SHOPPING CENTER     THE VILLAGE SHOPPING CENTER                  430 TOPSAIL ROAD                                     ST. JOHN'S            NL   A1E 4N1   Canada   2,500
6966   2343   GA   59   T   6966   FS             BEDFORD COMMONS          BEDFORD COMMONS                              105 DAMASCUS ROAD                                    BEDFORD               NS   B4A 0C2   Canada   2,500
6959   2344   GA   59   T   6959   JC           20 NEW PINE GROVE RD       20 NEW PINE GROVE RD                         UNIT 1                                               BRIDGEWATER           NS   B4V 4H5   Canada   2,508
5975   2345   GA   59   T   5975   M                   MICMAC MALL         MICMAC MALL                                  21 MICMAC BOULEVARD              SPACE 123A          DARTMOUTH             NS   B3A 4N3   Canada   2,607
7183   2346   GA   59   T   7183   SC           DARTMOUTH CROSSING         DARTMOUTH CROSSING                           89 HECTOR GATE                                       DARTMOUTH             NS   B3B 0B8   Canada   3,500
5850   2347   GA   59   T   5850   M          HALIFAX SHOPPING CENTRE      HALIFAX SHOPPING CENTRE                      7001 MUMFORD ROAD                UNIT 259            HALIFAX               NS   B3L 1L3   Canada   2,642
6927   2348   GA   59   T   6927   M               HIGHLAND SQUARE         HIGHLAND SQUARE                              689 WESTVILLE RD                 UNIT 205            NEW GLASGOW           NS   B2H 2J6   Canada   2,153
6948   2349   GA   59   T   6948   FS            GRANITE DRIVE PLAZA       GRANITE DRIVE PLAZA                          52 SILVER FOX AVE                                    NEW MINAS             NS   B4N 0E4   Canada   2,581
5995   2350   GA   59   T   5995   M                MAYFLOWER MALL         MAYFLOWER MALL                               800 GRAND LAKE ROAD              SPACE 6             SYDNEY                NS   B1P 6S9   Canada   2,220
5990   2351   GA   59   T   5990   M                    TRURO MALL         TRURO MALL                                   245 ROBIE STREET                 SPACE B3            TRURO                 NS   B2N 5N6   Canada   2,566
                                                                    Case 19-40883   Doc 119   Filed 02/20/19 Entered 02/20/19 13:49:44   Main Document
                                                                                                           Pg 57 of 57
                                                                                                      Store Closing List




6928       2352   GA   59   T   6928   M              YARMOUTH MALL             YARMOUTH MALL                                76 STARRS RD                SPACES 18               YARMOUTH        NS   B5A 2T5      Canada   2,522
6934       2353   GA   59   T   6934   JC            WAL MART CENTRE            WAL MART CENTRE                              121 A BUCHANAN ST                                   CHARLOTTETOWN   PE   C1E 1K1      Canada   2,727
6961       2354   GA   59   T   6961   SC         GRANVILLE STREET PLAZA        GRANVILLE STREET PLAZA                       454 GRANVILLE ST N          CRU 10                  SUMMERSIDE      PE   C1N 4K7      Canada   2,450
 835   C    974   GA   25   A    835   JC           907 N ILLINOIS RTE 3        907 N ILLINOIS RTE 3                                                                             WATERLOO        IL   62298-1074   US       2,800
3082   C    23    GA    1   A   3082   M         CHAMPLAIN CENTRE NORTH         CHAMPLAIN CENTRE NORTH                       60 SMITHFIELD BLVD          SPACE C-109 AND C-110   PLATTSBURGH     NY   12901-2110   US       3,300
5513   C   1514   GA   38   B   5513   SC   PALM VALLEY PLAZA SHOPPING CENTER   PALM VALLEY PLAZA SHOPPING CENTER            4500 E PALM VALLEY BLVD     SUITE A126              ROUND ROCK      TX   78664-0000   US       3,000
5626   C   741    TG   18   A   5626   M               DAYTON MALL              DAYTON MALL                                  2700 CENTERVILLE RD                                 DAYTON          OH   45459-3738   US       2,952
5650   C   1716   TG   43   B   5650   M    THE PROMENADE IN TEMECULA VALLEY    THE PROMENADE IN TEMECULA VALLEY             40820 WINCHESTER RD         SPACE 2220              TEMECULA        CA   92591-5525   US       2,693
